            Case:21-15040-KHT Doc#:1 Filed:10/01/21                                   Entered:10/01/21 17:29:59 Page1 of 1444
                                                                                                                                                         10/01/21 5:12PM




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF COLORADO

Case number (if known)                                                        Chapter you are filing under:
                                                                                 Chapter 7

                                                                                 Chapter 11
                                                                                 Chapter 12
                                                                                 Chapter 13                                        Check if this is an
                                                                                                                                   amended filing




Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy                                                                                                         04/20
The bankruptcy forms use you and Debtor 1 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a joint
case—and in joint cases, these forms use you to ask for information from both debtors. For example, if a form asks, “Do you own a car,” the answer
would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 1 and Debtor 2 to distinguish
between them. In joint cases, one of the spouses must report information as Debtor 1 and the other as Debtor 2. The same person must be Debtor 1 in
all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If
more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer
every question.


Part 1:   Identify Yourself

                                   About Debtor 1:                                                  About Debtor 2 (Spouse Only in a Joint Case):

1.   Your full name

     Write the name that is on     Brian                                                            Holly
     your government-issued        First name                                                       First name
     picture identification (for
     example, your driver's        Stephen
     license or passport).         Middle name                                                      Middle name
     Bring your picture
     identification to your
                                   Wilbur                                                           Wilbur
     meeting with the trustee.     Last name and Suffix (Sr., Jr., II, III)                         Last name and Suffix (Sr., Jr., II, III)




2.   All other names you have
     used in the last 8 years                                                                       FKA Holly Kristine Bass
     Include your married or
     maiden names.



3.   Only the last 4 digits of
     your Social Security
     number or federal             xxx-xx-4297                                                      xxx-xx-7962
     Individual Taxpayer
     Identification number
     (ITIN)




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 1
           Case:21-15040-KHT Doc#:1 Filed:10/01/21                                    Entered:10/01/21 17:29:59 Page2 of 1444
                                                                                                                                                 10/01/21 5:12PM

Debtor 1   Brian Stephen Wilbur
Debtor 2   Holly Wilbur                                                                              Case number (if known)




                                 About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):

4.   Any business names and
     Employer Identification
     Numbers (EIN) you have         I have not used any business name or EINs.                    I have not used any business name or EINs.
     used in the last 8 years

     Include trade names and     Business name(s)                                              Business name(s)
     doing business as names

                                 EIN                                                           EIN




5.   Where you live                                                                            If Debtor 2 lives at a different address:

                                 6511 Village Rd
                                 Parker, CO 80134
                                 Number, Street, City, State & ZIP Code                        Number, Street, City, State & ZIP Code

                                 Douglas
                                 County                                                        County

                                 If your mailing address is different from the one             If Debtor 2's mailing address is different from yours, fill it
                                 above, fill it in here. Note that the court will send any     in here. Note that the court will send any notices to this
                                 notices to you at this mailing address.                       mailing address.



                                 Number, P.O. Box, Street, City, State & ZIP Code              Number, P.O. Box, Street, City, State & ZIP Code




6.   Why you are choosing        Check one:                                                    Check one:
     this district to file for
     bankruptcy                        Over the last 180 days before filing this petition,            Over the last 180 days before filing this petition, I
                                       I have lived in this district longer than in any               have lived in this district longer than in any other
                                       other district.                                                district.

                                       I have another reason.                                         I have another reason.
                                       Explain. (See 28 U.S.C. § 1408.)                               Explain. (See 28 U.S.C. § 1408.)




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 2
            Case:21-15040-KHT Doc#:1 Filed:10/01/21                                    Entered:10/01/21 17:29:59 Page3 of 1444
                                                                                                                                                     10/01/21 5:12PM

Debtor 1    Brian Stephen Wilbur
Debtor 2    Holly Wilbur                                                                                  Case number (if known)



Part 2:    Tell the Court About Your Bankruptcy Case

7.   The chapter of the      Check one. (For a brief description of each, see Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy
     Bankruptcy Code you are (Form 2010)). Also, go to the top of page 1 and check the appropriate box.
     choosing to file under
                                 Chapter 7

                                     Chapter 11
                                     Chapter 12
                                     Chapter 13



8.   How you will pay the fee            I will pay the entire fee when I file my petition. Please check with the clerk’s office in your local court for more details
                                         about how you may pay. Typically, if you are paying the fee yourself, you may pay with cash, cashier’s check, or money
                                         order. If your attorney is submitting your payment on your behalf, your attorney may pay with a credit card or check with
                                         a pre-printed address.
                                         I need to pay the fee in installments. If you choose this option, sign and attach the Application for Individuals to Pay
                                         The Filing Fee in Installments (Official Form 103A).
                                         I request that my fee be waived (You may request this option only if you are filing for Chapter 7. By law, a judge may,
                                         but is not required to, waive your fee, and may do so only if your income is less than 150% of the official poverty line that
                                         applies to your family size and you are unable to pay the fee in installments). If you choose this option, you must fill out
                                         the Application to Have the Chapter 7 Filing Fee Waived (Official Form 103B) and file it with your petition.



9.   Have you filed for             No.
     bankruptcy within the
     last 8 years?                  Yes.
                                              District                                  When                            Case number
                                              District                                  When                            Case number
                                              District                                  When                            Case number



10. Are any bankruptcy              No
    cases pending or being
    filed by a spouse who is        Yes.
    not filing this case with
    you, or by a business
    partner, or by an
    affiliate?
                                                                                                                                                  Business
                                                                                                                                                  owned by
                                              Debtor      Timeshare Termination Team, LLC                              Relationship to you        Debtors
                                              District    Colorado                      When     9/30/21               Case number, if known      21-15008-KHT
                                              Debtor                                                                   Relationship to you
                                              District                                  When                           Case number, if known



11. Do you rent your                No.        Go to line 12.
    residence?
                                    Yes.       Has your landlord obtained an eviction judgment against you?
                                                         No. Go to line 12.
                                                         Yes. Fill out Initial Statement About an Eviction Judgment Against You (Form 101A) and file it as part of
                                                         this bankruptcy petition.




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                     page 3
            Case:21-15040-KHT Doc#:1 Filed:10/01/21                                   Entered:10/01/21 17:29:59 Page4 of 1444
                                                                                                                                                  10/01/21 5:12PM

Debtor 1    Brian Stephen Wilbur
Debtor 2    Holly Wilbur                                                                                   Case number (if known)



Part 3:    Report About Any Businesses You Own as a Sole Proprietor

12. Are you a sole proprietor
    of any full- or part-time         No.      Go to Part 4.
    business?
                                      Yes.     Name and location of business
     A sole proprietorship is a
     business you operate as                   Name of business, if any
     an individual, and is not a
     separate legal entity such
     as a corporation,
     partnership, or LLC.
                                               Number, Street, City, State & ZIP Code
     If you have more than one
     sole proprietorship, use a
     separate sheet and attach
     it to this petition.                      Check the appropriate box to describe your business:
                                                       Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                                       Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                                       Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                                       Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                                       None of the above

13. Are you filing under           If you are filing under Chapter 11, the court must know whether you are a small business debtor or a debtor choosing to
    Chapter 11 of the              proceed under Subchapter V so that it can set appropriate deadlines. If you indicate that you are a small business debtor or
    Bankruptcy Code, and           you are choosing to proceed under Subchapter V, you must attach your most recent balance sheet, statement of operations,
    are you a small business       cash-flow statement, and federal income tax return or if any of these documents do not exist, follow the procedure in 11 U.S.C.
    debtor or a debtor as          § 1116(1)(B).
    defined by 11 U.S.C. §
    1182(1)?
                                      No.      I am not filing under Chapter 11.
     For a definition of small
     business debtor, see 11          No.      I am filing under Chapter 11, but I am NOT a small business debtor according to the definition in the Bankruptcy
     U.S.C. § 101(51D).                        Code.

                                      Yes.     I am filing under Chapter 11, I am a small business debtor according to the definition in the Bankruptcy Code, and
                                               I do not choose to proceed under Subchapter V of Chapter 11.

                                      Yes.     I am filing under Chapter 11, I am a debtor according to the definition in § 1182(1) of the Bankruptcy Code, and I
                                               choose to proceed under Subchapter V of Chapter 11.


Part 4:    Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own or have any            No.
    property that poses or is
    alleged to pose a threat          Yes.
    of imminent and                          What is the hazard?
    identifiable hazard to
    public health or safety?
    Or do you own any
    property that needs                      If immediate attention is
    immediate attention?                     needed, why is it needed?

     For example, do you own
     perishable goods, or
     livestock that must be fed,             Where is the property?
     or a building that needs
     urgent repairs?
                                                                            Number, Street, City, State & Zip Code




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 4
            Case:21-15040-KHT Doc#:1 Filed:10/01/21                                      Entered:10/01/21 17:29:59 Page5 of 1444
                                                                                                                                                   10/01/21 5:12PM

Debtor 1    Brian Stephen Wilbur
Debtor 2    Holly Wilbur                                                                               Case number (if known)

Part 5:    Explain Your Efforts to Receive a Briefing About Credit Counseling

                                     About Debtor 1:                                               About Debtor 2 (Spouse Only in a Joint Case):
15. Tell the court whether           You must check one:                                           You must check one:
    you have received a                  I received a briefing from an approved credit                 I received a briefing from an approved credit
    briefing about credit                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
    counseling.                          filed this bankruptcy petition, and I received a              this bankruptcy petition, and I received a certificate of
                                         certificate of completion.                                    completion.
     The law requires that you
     receive a briefing about            Attach a copy of the certificate and the payment              Attach a copy of the certificate and the payment plan, if
     credit counseling before            plan, if any, that you developed with the agency.             any, that you developed with the agency.
     you file for bankruptcy.
     You must truthfully check           I received a briefing from an approved credit                 I received a briefing from an approved credit
     one of the following                counseling agency within the 180 days before I                counseling agency within the 180 days before I filed
     choices. If you cannot do           filed this bankruptcy petition, but I do not have             this bankruptcy petition, but I do not have a certificate
     so, you are not eligible to         a certificate of completion.                                  of completion.
     file.
                                         Within 14 days after you file this bankruptcy                 Within 14 days after you file this bankruptcy petition, you
     If you file anyway, the court       petition, you MUST file a copy of the certificate and         MUST file a copy of the certificate and payment plan, if
     can dismiss your case, you          payment plan, if any.                                         any.
     will lose whatever filing fee
     you paid, and your                  I certify that I asked for credit counseling                  I certify that I asked for credit counseling services
     creditors can begin                 services from an approved agency, but was                     from an approved agency, but was unable to obtain
     collection activities again.        unable to obtain those services during the 7                  those services during the 7 days after I made my
                                         days after I made my request, and exigent                     request, and exigent circumstances merit a 30-day
                                         circumstances merit a 30-day temporary waiver                 temporary waiver of the requirement.
                                         of the requirement.
                                                                                                       To ask for a 30-day temporary waiver of the requirement,
                                         To ask for a 30-day temporary waiver of the                   attach a separate sheet explaining what efforts you made
                                         requirement, attach a separate sheet explaining               to obtain the briefing, why you were unable to obtain it
                                         what efforts you made to obtain the briefing, why             before you filed for bankruptcy, and what exigent
                                         you were unable to obtain it before you filed for             circumstances required you to file this case.
                                         bankruptcy, and what exigent circumstances
                                         required you to file this case.                               Your case may be dismissed if the court is dissatisfied
                                                                                                       with your reasons for not receiving a briefing before you
                                         Your case may be dismissed if the court is                    filed for bankruptcy.
                                         dissatisfied with your reasons for not receiving a
                                         briefing before you filed for bankruptcy.                     If the court is satisfied with your reasons, you must still
                                         If the court is satisfied with your reasons, you must         receive a briefing within 30 days after you file. You must
                                         still receive a briefing within 30 days after you file.       file a certificate from the approved agency, along with a
                                         You must file a certificate from the approved                 copy of the payment plan you developed, if any. If you do
                                         agency, along with a copy of the payment plan you             not do so, your case may be dismissed.
                                         developed, if any. If you do not do so, your case
                                                                                                       Any extension of the 30-day deadline is granted only for
                                         may be dismissed.
                                                                                                       cause and is limited to a maximum of 15 days.
                                         Any extension of the 30-day deadline is granted
                                         only for cause and is limited to a maximum of 15
                                         days.
                                         I am not required to receive a briefing about                 I am not required to receive a briefing about credit
                                         credit counseling because of:                                 counseling because of:

                                               Incapacity.                                                  Incapacity.
                                               I have a mental illness or a mental deficiency               I have a mental illness or a mental deficiency that
                                               that makes me incapable of realizing or                      makes me incapable of realizing or making rational
                                               making rational decisions about finances.                    decisions about finances.

                                               Disability.                                                  Disability.
                                               My physical disability causes me to be                       My physical disability causes me to be unable to
                                               unable to participate in a briefing in person,               participate in a briefing in person, by phone, or
                                               by phone, or through the internet, even after I              through the internet, even after I reasonably tried to
                                               reasonably tried to do so.                                   do so.

                                               Active duty.                                                 Active duty.
                                               I am currently on active military duty in a                  I am currently on active military duty in a military
                                               military combat zone.                                        combat zone.
                                         If you believe you are not required to receive a              If you believe you are not required to receive a briefing
                                         briefing about credit counseling, you must file a             about credit counseling, you must file a motion for waiver
                                         motion for waiver credit counseling with the court.           of credit counseling with the court.




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                 page 5
            Case:21-15040-KHT Doc#:1 Filed:10/01/21                                   Entered:10/01/21 17:29:59 Page6 of 1444
                                                                                                                                                       10/01/21 5:12PM

Debtor 1    Brian Stephen Wilbur
Debtor 2    Holly Wilbur                                                                                  Case number (if known)

Part 6:    Answer These Questions for Reporting Purposes

16. What kind of debts do        16a.      Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
    you have?                              individual primarily for a personal, family, or household purpose.”

                                               No. Go to line 16b.
                                               Yes. Go to line 17.
                                 16b.      Are your debts primarily business debts? Business debts are debts that you incurred to obtain
                                           money for a business or investment or through the operation of the business or investment.
                                               No. Go to line 16c.

                                               Yes. Go to line 17.
                                 16c.      State the type of debts you owe that are not consumer debts or business debts



17. Are you filing under            No.    I am not filing under Chapter 7. Go to line 18.
    Chapter 7?

     Do you estimate that           Yes.   I am filing under Chapter 7. Do you estimate that after any exempt property is excluded and administrative expenses
     after any exempt                      are paid that funds will be available to distribute to unsecured creditors?
     property is excluded and
     administrative expenses                   No
     are paid that funds will
     be available for                          Yes
     distribution to unsecured
     creditors?

18. How many Creditors do           1-49                                             1,000-5,000                                   25,001-50,000
    you estimate that you           50-99                                                                                          50,001-100,000
    owe?                                                                             5001-10,000
                                    100-199                                          10,001-25,000                                 More than100,000
                                    200-999

19. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your assets to         $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    be worth?                                                                        $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


20. How much do you                 $0 - $50,000                                     $1,000,001 - $10 million                      $500,000,001 - $1 billion
    estimate your liabilities       $50,001 - $100,000                                                                             $1,000,000,001 - $10 billion
    to be?                                                                           $10,000,001 - $50 million
                                    $100,001 - $500,000                              $50,000,001 - $100 million                    $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                   More than $50 billion


Part 7:    Sign Below

For you                          I have examined this petition, and I declare under penalty of perjury that the information provided is true and correct.

                                 If I have chosen to file under Chapter 7, I am aware that I may proceed, if eligible, under Chapter 7, 11,12, or 13 of title 11,
                                 United States Code. I understand the relief available under each chapter, and I choose to proceed under Chapter 7.

                                 If no attorney represents me and I did not pay or agree to pay someone who is not an attorney to help me fill out this
                                 document, I have obtained and read the notice required by 11 U.S.C. § 342(b).

                                 I request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

                                 I understand making a false statement, concealing property, or obtaining money or property by fraud in connection with a
                                 bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
                                 and 3571.
                                 /s/ Brian Stephen Wilbur                                          /s/ Holly Wilbur
                                 Brian Stephen Wilbur                                              Holly Wilbur
                                 Signature of Debtor 1                                             Signature of Debtor 2

                                 Executed on     October 1, 2021                                   Executed on     October 1, 2021
                                                 MM / DD / YYYY                                                    MM / DD / YYYY




Official Form 101                             Voluntary Petition for Individuals Filing for Bankruptcy                                                       page 6
           Case:21-15040-KHT Doc#:1 Filed:10/01/21                                  Entered:10/01/21 17:29:59 Page7 of 1444
                                                                                                                                                    10/01/21 5:12PM

Debtor 1   Brian Stephen Wilbur
Debtor 2   Holly Wilbur                                                                                   Case number (if known)




For your attorney, if you are   I, the attorney for the debtor(s) named in this petition, declare that I have informed the debtor(s) about eligibility to proceed
represented by one              under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief available under each chapter
                                for which the person is eligible. I also certify that I have delivered to the debtor(s) the notice required by 11 U.S.C. § 342(b)
If you are not represented by   and, in a case in which § 707(b)(4)(D) applies, certify that I have no knowledge after an inquiry that the information in the
an attorney, you do not need    schedules filed with the petition is incorrect.
to file this page.
                                /s/ Aaron A. Garber                                                Date         October 1, 2021
                                Signature of Attorney for Debtor                                                MM / DD / YYYY

                                Aaron A. Garber 36099
                                Printed name

                                Wadsworth Garber Warner Conrardy, P.C.
                                Firm name

                                2580 West Main Street
                                Suite 200
                                Littleton, CO 80120
                                Number, Street, City, State & ZIP Code

                                Contact phone     303-296-1999                               Email address         agarber@wgwc-law.com
                                36099 CO
                                Bar number & State




Official Form 101                               Voluntary Petition for Individuals Filing for Bankruptcy                                                  page 7
          Case:21-15040-KHT Doc#:1 Filed:10/01/21                                            Entered:10/01/21 17:29:59 Page8 of 1444
                                                                                                                                                           10/01/21 5:12PM




 Fill in this information to identify your case:

 Debtor 1                  Brian Stephen Wilbur
                           First Name                       Middle Name                  Last Name

 Debtor 2                  Holly Wilbur
 (Spouse if, filing)       First Name                       Middle Name                  Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                  Check if this is an
                                                                                                                                             amended filing



Official Form 107
Statement of Financial Affairs for Individuals Filing for Bankruptcy                                                                                                4/19
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

 Part 1:        Give Details About Your Marital Status and Where You Lived Before

1.     What is your current marital status?

               Married
               Not married

2.     During the last 3 years, have you lived anywhere other than where you live now?

               No
               Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

        Debtor 1 Prior Address:                                 Dates Debtor 1              Debtor 2 Prior Address:                              Dates Debtor 2
                                                                lived there                                                                      lived there
        16661 E Rice Cir                                        From-To:                        Same as Debtor 1                                    Same as Debtor 1
        Aurora, CO 80015                                        8/2014 - 4/2019                                                                  From-To:




3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington and Wisconsin.)

               No
               Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

 Part 2         Explain the Sources of Your Income

4.     Did you have any income from employment or from operating a business during this year or the two previous calendar years?
       Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
       If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

               No
               Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income             Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.         (before deductions
                                                                                    exclusions)                                                  and exclusions)

 From January 1 of current year until                Wages, commissions,                       $139,305.35           Wages, commissions,               $139,305.34
 the date you filed for bankruptcy:                bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                    Best Case Bankruptcy
         Case:21-15040-KHT Doc#:1 Filed:10/01/21                                             Entered:10/01/21 17:29:59 Page9 of 1444
                                                                                                                                                      10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                Case number (if known)


                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income                   Sources of income         Gross income
                                                   Check all that apply.            (before deductions and         Check all that apply.     (before deductions
                                                                                    exclusions)                                              and exclusions)

 For last calendar year:                             Wages, commissions,                       $196,646.44           Wages, commissions,          $196,646.44
 (January 1 to December 31, 2020 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business

 For the calendar year before that:                  Wages, commissions,                       $105,370.02           Wages, commissions,          $105,370.02
 (January 1 to December 31, 2019 )                 bonuses, tips                                                   bonuses, tips

                                                       Operating a business                                           Operating a business


5.    Did you receive any other income during this year or the two previous calendar years?
      Include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security, unemployment,
      and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and gambling and lottery
      winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

      List each source and the gross income from each source separately. Do not include income that you listed in line 4.

            No
            Yes. Fill in the details.

                                                   Debtor 1                                                        Debtor 2
                                                   Sources of income                Gross income from              Sources of income         Gross income
                                                   Describe below.                  each source                    Describe below.           (before deductions
                                                                                    (before deductions and                                   and exclusions)
                                                                                    exclusions)
 From January 1 of current year until Child Support from                                            $637.00
 the date you filed for bankruptcy:   former spouse

                                                                                                       $0.00       AirBNB                             $3,376.57

                                                   American Storage of                              $131.36
                                                   Colorado

 For last calendar year:                           American Storage of                              $357.00
 (January 1 to December 31, 2020 )                 Colorado

 For the calendar year before that:                American Storage of                            $1,532.00
 (January 1 to December 31, 2019 )                 Colorado


 Part 3:      List Certain Payments You Made Before You Filed for Bankruptcy

6.    Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?
            No.     Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an
                    individual primarily for a personal, family, or household purpose.”

                    During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?
                         No.       Go to line 7.
                         Yes     List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the total amount you
                                 paid that creditor. Do not include payments for domestic support obligations, such as child support and alimony. Also, do
                                 not include payments to an attorney for this bankruptcy case.
                     * Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                  page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                              Entered:10/01/21 17:29:59 Page10 of 1444
                                                                                                                                                          10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                Case number (if known)



            Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
                 During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

                         No.       Go to line 7.
                         Yes       List below each creditor to whom you paid a total of $600 or more and the total amount you paid that creditor. Do not
                                   include payments for domestic support obligations, such as child support and alimony. Also, do not include payments to an
                                   attorney for this bankruptcy case.


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Select Portfolio Servicing, Inc.                         8/30/21 $5,193.46               $9,928.04         $928,000.00         Mortgage
       P.O. Box 65250                                           7/8/21 $4,734.58                                                      Car
       Salt Lake City, UT 84165
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Canvas Credit Union                                      9/27/21 $518.75                 $1,556.25            $5,456.55        Mortgage
       PO Box 5238                                              8/30/21 $518.75                                                       Car
       Englewood, CO 80155                                      8/30/21 $518.75
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Best Buy Citi                                            9/7/21 $45.00                     $305.00            $1,382.96        Mortgage
       PO Box 9001007                                           8/6/21 $45.00                                                         Car
       Louisville, KY 40290                                     7/19/21 $170.00
                                                                                                                                      Credit Card
                                                                7/6/21 $45.00
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Home Depot Credit Card                                   9/2/21 $80.00                     $160.00            $2,353.67        Mortgage
       PO Box 9001030                                           8/2/21 $80.00                                                         Car
       Louisville, KY 40290
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Southwest Visa Chase                                     9/16/21 $413.00                   $816.00          $17,377.08         Mortgage
       PO Box 15298                                             8/16/21 $403.00                                                       Car
       Wilmington, DE 19850
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Synchrony Home Design - Generic                          9/7/21 $44.00                     $133.00            $1,217.64        Mortgage
       / SYNCB                                                  8/5/21 $45.00                                                         Car
       PO Box 960061                                            7/6/21 $44.00
                                                                                                                                      Credit Card
       Orlando, FL 32896
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                              Entered:10/01/21 17:29:59 Page11 of 1444
                                                                                                                                                          10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                Case number (if known)


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       Capital One - Cabela's                                   8/18/21 $61.00                      $61.00         $13,441.49         Mortgage
       PO Box 30285                                                                                                                   Car
       Salt Lake City, UT 84130
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Ford Motor Credit                                        8/26/21 $939.87                 $1,879.74                 $0.00       Mortgage
       P.O. Box 542000                                          7/26/21 $939.87                                                       Car
       Omaha, NE 68154                                          Final lease
                                                                                                                                      Credit Card
                                                                payments on
                                                                                                                                      Loan Repayment
                                                                Expedition before
                                                                purchase in                                                           Suppliers or vendors
                                                                September 2021                                                        Other


       Discover Credit Card                                     8/20/21 $35.00                      $35.00         $11,763.08         Mortgage
       PO Box 6103                                                                                                                    Car
       Carol Stream, IL 60197
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       TJX Rewards                                              7/19/21 $25.00                      $25.00                $5.95       Mortgage
       PO Box 530949                                                                                                                  Car
       Atlanta, GA 30353
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Citi Simplicity Mastercard                               8/16/21 $245.00                   $245.00            $8,005.24        Mortgage
       PO Box 9001037                                                                                                                 Car
       Salt Lake City, UT 84130
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       US Bank Visa                                             9/7/21 $257.00                    $521.00            $9,993.54        Mortgage
       PO Box 790179                                            8/4/21 $224.00                                                        Car
       Saint Louis, MO 63179                                    7/6/21 $40.00
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       US Bank Visa Perks                                       9/3/21 $163.00                    $283.00            $6,577.10        Mortgage
       PO Box 790179                                            8/3/21 $90.00                                                         Car
       Saint Louis, MO 63179                                    7/6/21 $30.00
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                              Entered:10/01/21 17:29:59 Page12 of 1444
                                                                                                                                                          10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                Case number (if known)


       Creditor's Name and Address                              Dates of payment             Total amount          Amount you       Was this payment for ...
                                                                                                     paid            still owe
       US Bank                                                  9/3/21 $154.00                    $316.00            $9,463.71        Mortgage
       PO Box 790179                                            8/3/21 $122.00                                                        Car
       Saint Louis, MO 63179                                    7/6/21 $40.00
                                                                                                                                      Credit Card
                                                                                                                                      Loan Repayment
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Other


       Terica Lascor                                            9/23/2021 $160.00               $3,733.00                 $0.00       Mortgage
       6502 Shey Place                                          9/17/2021 $160.00                                                     Car
       Littleton, CO 80130                                      9/15/2021 $160.00                                                     Credit Card
                                                                9/15/2021 $216.00                                                     Loan Repayment
                                                                9/15/2021 $160.00
                                                                                                                                      Suppliers or vendors
                                                                9/03/2021 $160.00
                                                                8/30/2021 $160.00                                                     Other Nanny
                                                                8/18/2021 $160.00
                                                                8/12/2021 $216.00
                                                                8/5/2021 $648.00
                                                                7/21/2021 $223.00
                                                                7/14/2021 $604.00
                                                                7/9/2021 $216.00
                                                                7/2/2021 $260.00
                                                                7/2/2021 $230.00


7.    Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
      Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner; corporations
      of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing agent, including one for
      a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations, such as child support and
      alimony.

            No
            Yes. List all payments to an insider.
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe

8.    Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited an
      insider?
      Include payments on debts guaranteed or cosigned by an insider.

            No
            Yes. List all payments to an insider
       Insider's Name and Address                               Dates of payment             Total amount          Amount you       Reason for this payment
                                                                                                     paid            still owe      Include creditor's name
       Timeshare Termination Team, LLC                          8/30/21                             $56.00           $5,652.25      Payment on business
       PMB #149                                                                                                                     Capital One Spark credit
       13009 S. Parker Road                                                                                                         card
       Parker, CO 80134

       Timeshare Termination Team, LLC                          8/27/21                           $132.00            $5,611.02      Payment on business
       PMB #149                                                                                                                     United Chase card
       13009 S. Parker Road
       Parker, CO 80134




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                              Entered:10/01/21 17:29:59 Page13 of 1444
                                                                                                                                                           10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                Case number (if known)


 Part 4:      Identify Legal Actions, Repossessions, and Foreclosures

9.    Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
      List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody
      modifications, and contract disputes.

            No
            Yes. Fill in the details.
       Case title                                               Nature of the case          Court or agency                          Status of the case
       Case number
       Wyco Equities Inc. v. Timeshare                          Breach of                   Arapahoe District Court                     Pending
       Termination Team LLC, f/k/a                              Contract                    7325 S. Potomac Street                      On appeal
       Vindaloo Travel Network, LLC,                                                        Englewood, CO 80112
                                                                                                                                        Concluded
       Brian S. Wilbur, and Holly Wilbur
       21CV31299

       Bluegreen Vacations Unlimited,                           False Advertising,          US District Court Southern                  Pending
       Inc. et al v. Timeshare Termination                      Tortious                    District                                    On appeal
       Team, LLC et al                                          Interference with           299 E Broward Blvd
                                                                                                                                        Concluded
       20CV25318                                                Contract,                   Suite 108
                                                                Conspiracy,                 Fort Lauderdale, FL 33301
                                                                FDUPTA

       Diamond Resorts US Collection                            Dispute related to          Middle District of Florida                  Pending
       Development, LLC et al v. Harold                         timeshare                   Orlando Div.                                On appeal
       O. Miller, Harold O. Miller Attorney,                    business                    401 West Central Boulevard
                                                                                                                                        Concluded
       LLC, et al.                                                                          Orlando, FL 32801
       6:20-cv-1668-PGB-LHR


10. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
    Check all that apply and fill in the details below.

            No. Go to line 11.
            Yes. Fill in the information below.
       Creditor Name and Address                                Describe the Property                                         Date                        Value of the
                                                                                                                                                             property
                                                                Explain what happened

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
    accounts or refuse to make a payment because you owed a debt?
            No
            Yes. Fill in the details.
       Creditor Name and Address                                Describe the action the creditor took                         Date action was                 Amount
                                                                                                                              taken

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of creditors, a
    court-appointed receiver, a custodian, or another official?

            No
            Yes

 Part 5:      List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?
            No
            Yes. Fill in the details for each gift.
       Gifts with a total value of more than $600                    Describe the gifts                                       Dates you gave                     Value
       per person                                                                                                             the gifts

       Person to Whom You Gave the Gift and
       Address:


Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                      page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                              Entered:10/01/21 17:29:59 Page14 of 1444
                                                                                                                                                       10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                Case number (if known)


14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?
        No
            Yes. Fill in the details for each gift or contribution.
       Gifts or contributions to charities that total                Describe what you contributed                            Dates you                      Value
       more than $600                                                                                                         contributed
       Charity's Name
       Address (Number, Street, City, State and ZIP Code)
       Alternatives Pregnancy Center                                 $100/month                                               01/1/2020 and            $2,400.00
       23 Inverness Way E Suite 101                                                                                           every month
       Englewood, CO 80112                                                                                                    thereafter

       Bishop Machebeuf High School                                  Donation for school busses                               05/1/2021                $5,000.00
       458 Uinta Way
       Denver, CO 80230


 Part 6:      List Certain Losses

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other disaster,
    or gambling?

            No
            Yes. Fill in the details.
       Describe the property you lost and                   Describe any insurance coverage for the loss                      Date of your      Value of property
       how the loss occurred                                Include the amount that insurance has paid. List pending          loss                           lost
                                                            insurance claims on line 33 of Schedule A/B: Property.

 Part 7:      List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone you
    consulted about seeking bankruptcy or preparing a bankruptcy petition?
    Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
       Email or website address                                                                                               made
       Person Who Made the Payment, if Not You
       Wadsworth Garber Warner Conrardy,                             Retainer                                                 8/23/21                $50,000.00
       P.C.
       2580 West Main Street
       Suite 200
       Littleton, CO 80120


17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
    promised to help you deal with your creditors or to make payments to your creditors?
    Do not include any payment or transfer that you listed on line 16.

            No
            Yes. Fill in the details.
       Person Who Was Paid                                           Description and value of any property                    Date payment             Amount of
       Address                                                       transferred                                              or transfer was           payment
                                                                                                                              made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                   page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                              Entered:10/01/21 17:29:59 Page15 of 1444
                                                                                                                                                     10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                Case number (if known)


18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
    transferred in the ordinary course of your business or financial affairs?
    Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property). Do not
    include gifts and transfers that you have already listed on this statement.
         No
            Yes. Fill in the details.
       Person Who Received Transfer                                  Description and value of                   Describe any property or     Date transfer was
       Address                                                       property transferred                       payments received or debts   made
                                                                                                                paid in exchange
       Person's relationship to you
       Third Parties via Facebook Marketplace                        The Debtors sold various                   The total payments           2019-2021
                                                                     items of home decor to third               received for the items
                                                                     parties through Facebook                   sold is $1,145.00
                                                                     Marketplace.

       Kutner Brinen Dickey Riley PC                                 10,000.00 directly from                    Legal services to            August 24, 2021
       1660 Lincoln Street                                           Debtors' personal account to               Timeshare Termination
       Suite 1720                                                    law firm. Another $10,000                  Team LLC
       Denver, CO 80264                                              transferred from Timeshare
                                                                     Termination Team LLC's
       Bankruptcy counsel for Debtors'                               account to Debtors' account
       business Timeshare Termination Team                           to the law firm.
       LLC

       Angel Oak Mortgage Solutions                                  Refinance of mortgage lien                 $928,000.00                  July 2021
       980 Hammond Dr #850,                                          on residence
       Atlanta, GA 30328



       Bingo Mortgage Inc.                                           "$75,000 transferred from                                               10/1/2021
       6511 Village Road                                             Debtors' US Bank Checking
       Parker, CO 80134                                              Account

       Debtors own company

       Reilly & Vandenberg, LLC                                      Retainer payments to law                   Legal counsel                9/13/21; 7/29/21
       123 N. College Ave, Suite 215                                 firm advising Debtors in
       Fort Collins, CO 80524                                        connection with issues
                                                                     related to Timeshare
       Legal Counsel                                                 Termination Team and
                                                                     pending lawsuits with
                                                                     BluGreen and Diamond
                                                                     Resorts:

                                                                     $25,000.00 paid on July 29,
                                                                     2021 from Debtors' Chase
                                                                     checking account.
                                                                     $125,000.00 paid on
                                                                     September 13, 2021 from
                                                                     Debtors' US Bank checking
                                                                     account.


19. Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you are a
    beneficiary? (These are often called asset-protection devices.)
            No
            Yes. Fill in the details.
       Name of trust                                                 Description and value of the property transferred                       Date Transfer was
                                                                                                                                             made




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                 page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                              Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page16 of 1444
                                                                                                                                                   10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                 Case number (if known)


 Part 8:       List of Certain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit, closed,
    sold, moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions, brokerage
    houses, pension funds, cooperatives, associations, and other financial institutions.
            No
            Yes. Fill in the details.
       Name of Financial Institution and                        Last 4 digits of              Type of account or        Date account was        Last balance
       Address (Number, Street, City, State and ZIP             account number                instrument                closed, sold,       before closing or
       Code)                                                                                                            moved, or                    transfer
                                                                                                                        transferred

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for securities,
    cash, or other valuables?

            No
            Yes. Fill in the details.
       Name of Financial Institution                                 Who else had access to it?             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City,                                         have it?
                                                                     State and ZIP Code)


22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

            No
            Yes. Fill in the details.
       Name of Storage Facility                                      Who else has or had access             Describe the contents           Do you still
       Address (Number, Street, City, State and ZIP Code)            to it?                                                                 have it?
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 9:       Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for, or hold in trust
    for someone.

            No
            Yes. Fill in the details.
       Owner's Name                                                  Where is the property?                 Describe the property                        Value
       Address (Number, Street, City, State and ZIP Code)            (Number, Street, City, State and ZIP
                                                                     Code)

       Jay and Sara McAtee                                           6511 Village Rd                        Lexus Truck                          $12,000.00
       1484 NE White Pine Ter                                        Parker, CO 80134
       Ocean Breeze, FL 34957

       Larry and Cindy Bass                                          6511 Village Rd                        Popup camper                           $4,000.00
       42 E Burgundy St                                              Parker, CO 80134
       HIGHLANDS RANCH, CO 80126

       Brian's 16 year old daughter                                  US Bank                                Savings Account at US Bank               $145.28
       6511 Village Rd.                                                                                     that Holly's name is on since
       Parker, CO 80134                                                                                     daughter is a minor.


 Part 10:      Give Details About Environmental Information

For the purpose of Part 10, the following definitions apply:

      Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of hazardous or
      toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium, including statutes or
      regulations controlling the cleanup of these substances, wastes, or material.
      Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or utilize it or used
      to own, operate, or utilize it, including disposal sites.
      Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic substance,
Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 9
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page17 of 1444
                                                                                                                                                            10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                     Case number (if known)


      hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24. Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

25. Have you notified any governmental unit of any release of hazardous material?

            No
            Yes. Fill in the details.
       Name of site                                                  Governmental unit                             Environmental law, if you         Date of notice
       Address (Number, Street, City, State and ZIP Code)            Address (Number, Street, City, State and      know it
                                                                     ZIP Code)

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No
            Yes. Fill in the details.
       Case Title                                                    Court or agency                            Nature of the case                   Status of the
       Case Number                                                   Name                                                                            case
                                                                     Address (Number, Street, City,
                                                                     State and ZIP Code)

 Part 11:     Give Details About Your Business or Connections to Any Business

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
                A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

                A member of a limited liability company (LLC) or limited liability partnership (LLP)

                A partner in a partnership

                An officer, director, or managing executive of a corporation

                An owner of at least 5% of the voting or equity securities of a corporation

            No. None of the above applies. Go to Part 12.

            Yes. Check all that apply above and fill in the details below for each business.
       Business Name                                            Describe the nature of the business                  Employer Identification number
       Address                                                                                                       Do not include Social Security number or ITIN.
       (Number, Street, City, State and ZIP Code)               Name of accountant or bookkeeper
                                                                                                                     Dates business existed
       Timeshare Termination Team LLC                           f/k/a Vindaloo Travel Network,                       EIN:       XX-XXXXXXX
       PMB #149 13009 S Parker Road                             LLC
       Parker, CO 80134                                         Assist clients in termination of                     From-To    Sept. 2011 - June 2021
                                                                timeshares

                                                                Brittany Lapiner

       Bingo Mortgage, Inc.                                     Mortgage company assisting                           EIN:       877-2904891
                                                                individuals in securing home
                                                                loans against residential property.                  From-To    10/1/2021




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                                        page 10
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                             Entered:10/01/21 17:29:59 Page18 of 1444
                                                                                                                                                   10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                                                Case number (if known)


28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
    institutions, creditors, or other parties.

             No
             Yes. Fill in the details below.
        Name                                                    Date Issued
        Address
        (Number, Street, City, State and ZIP Code)

 Part 12:     Sign Below

I have read the answers on this Statement of Financial Affairs and any attachments, and I declare under penalty of perjury that the answers
are true and correct. I understand that making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519, and 3571.

 /s/ Brian Stephen Wilbur                                                /s/ Holly Wilbur
 Brian Stephen Wilbur                                                    Holly Wilbur
 Signature of Debtor 1                                                   Signature of Debtor 2

 Date      October 1, 2021                                               Date     October 1, 2021

Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?
   No
   Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?
   No
   Yes. Name of Person                  . Attach the Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 119).




Official Form 107                                      Statement of Financial Affairs for Individuals Filing for Bankruptcy                               page 11
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                            Best Case Bankruptcy
         Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page19 of 1444
                                                                                                                                                             10/01/21 5:12PM




 Fill in this information to identify your case:

 Debtor 1                     Brian Stephen Wilbur
                              First Name                    Middle Name                     Last Name

 Debtor 2                     Holly Wilbur
 (Spouse if, filing)          First Name                    Middle Name                     Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                    Check if this is an
                                                                                                                                               amended filing



B 104
For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest
Unsecured Claims Against You and Are Not Insiders                          12/15

If you are an individual filing for bankruptcy under Chapter 11, you must fill out this form. If you are filing under Chapter 7, Chapter 12, or
Chapter 13, do not fill out this form. Do not include claims by anyone who is an insider. Insiders include your relatives; any general partners;
relatives of any general partners; partnerships of which you are a general partner; corporations of which you are an officer, director, person
in control, or owner of 20 percent or more of their voting securities; and any managing agent, including one for a business you operate as a
sole proprietor. 11 U.S.C. § 101. Also, do not include claims by secured creditors unless the unsecured claim resulting from inadequate
collateral value places the creditor among the holders of the 20 largest unsecured claims.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information.

 Part 1:        List the 20 Unsecured Claims in Order from Largest to Smallest. Do Not Include Claims by Insiders.

                                                                                                                                               Unsecured claim
 1                                                                   What is the nature of the claim?              personal credit card         $1,382.96
              Best Buy Citi
              P.O. Box 9001007                                       As of the date you file, the claim is: Check all that apply
              Louisville, KY 40290                                           Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
              Contact phone                                                         Unsecured claim


 2                                                                   What is the nature of the claim?              Business debt                $5,652.25
                                                                                                                   personally guaranteed
                                                                                                                   by Holly
              Business Capital One Spark Visa
              P.O. Box 30285                                         As of the date you file, the claim is: Check all that apply
              Salt Lake City, UT 84130                                       Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
              Contact                                                         Yes. Total claim (secured and unsecured)

B104 (Official Form 104)                         For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                         Page 1

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                Entered:10/01/21 17:29:59 Page20 of 1444
                                                                                                                                                           10/01/21 5:12PM




 Debtor 1          Brian Stephen Wilbur
 Debtor 2          Holly Wilbur                                                                     Case number (if known)


                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 3                                                                   What is the nature of the claim?              personal credit card        $13,441.49
            Capital One - Cabela's
            P.O. Box 30285                                           As of the date you file, the claim is: Check all that apply
            Salt Lake City, UT 84130                                         Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 4                                                                   What is the nature of the claim?              personal credit card        $8,005.24
            Citi Simplicity Master Card
            P.O. BOX 9001037                                         As of the date you file, the claim is: Check all that apply
            Louisville, KY 40290                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 5                                                                   What is the nature of the claim?              personal credit line        $2,035.60
            Discount Tire Synchrony
            P.O. Box 960061                                          As of the date you file, the claim is: Check all that apply
            Orlando, FL 32896                                                Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 6                                                                   What is the nature of the claim?              personal credit card        $11,763.08
            Discover
            P.O. Box 6103                                            As of the date you file, the claim is: Check all that apply
            Carol Stream, IL 60197                                           Contingent
                                                                             Unliquidated
                                                                             Disputed


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                       Page 2

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                Entered:10/01/21 17:29:59 Page21 of 1444
                                                                                                                                                           10/01/21 5:12PM




 Debtor 1          Brian Stephen Wilbur
 Debtor 2          Holly Wilbur                                                                     Case number (if known)


                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 7                                                                   What is the nature of the claim?              Credit Card Processor       $157,348.06
                                                                                                                   Business Debt -
                                                                                                                   Personally
                                                                                                                   Guaranteed by Brian
            Fiserv Merchant Services
            5775 DTC Blvd                                            As of the date you file, the claim is: Check all that apply
            Suite 100N                                                       Contingent
            Greenwood Village, CO 80111                                      Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 8                                                                   What is the nature of the claim?              Legal Representation        $424,424.46
                                                                                                                   of Debtors and
                                                                                                                   Timeshare
                                                                                                                   Termination Team LLC
                                                                                                                   in pending Bluegreen
                                                                                                                   and Diamond Resorts
                                                                                                                   lawsuits
            Hogan Lovells US LLP
            Two North Cascade Avenue                                 As of the date you file, the claim is: Check all that apply
            Suite 1300                                                       Contingent
            Colorado Springs, CO 80903                                       Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 9                                                                   What is the nature of the claim?              personal credit card        $2,353.67
            Home Depot Citi Bank
            P.O. Box 9001010                                         As of the date you file, the claim is: Check all that apply
            Louisville, KY 40290                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                       Page 3

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                Entered:10/01/21 17:29:59 Page22 of 1444
                                                                                                                                                                10/01/21 5:12PM




 Debtor 1          Brian Stephen Wilbur
 Debtor 2          Holly Wilbur                                                                     Case number (if known)




                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 10                                                                  What is the nature of the claim?              Agreement of Sale of             $600,000.00
                                                                                                                   Future Receivables
            Libertas Funding
            411 W Putnam Ave.                                        As of the date you file, the claim is: Check all that apply
            Suite 220                                                        Contingent
            Greenwich, CT 06830                                              Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 11                                                                  What is the nature of the claim?              personal medical bill            $331.05
            Professional Finance Company
            5754 W. 11th Street                                      As of the date you file, the claim is: Check all that apply
            #100                                                             Contingent
            Greeley, CO 80634                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 12                                                                  What is the nature of the claim?              2019 Ford Expedition             $5,318.37
                                                                                                                   48,329 miles
                                                                                                                   Vehicle:
            Security Service FUC
            PO Box 691510                                            As of the date you file, the claim is: Check all that apply
            San Antonio, TX 78269                                            Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)                     $66,318.37
                                                                                    Value of security:                                 - $61,000.00



B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                            Page 4

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                        Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                Entered:10/01/21 17:29:59 Page23 of 1444
                                                                                                                                                                   10/01/21 5:12PM




 Debtor 1          Brian Stephen Wilbur
 Debtor 2          Holly Wilbur                                                                     Case number (if known)

            Contact phone                                                           Unsecured claim                                        $5,318.37


 13                                                                  What is the nature of the claim?              personal credit card                $17,377.08
            Southwest Visa Chase
            P.O. Box 15298                                           As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19850                                             Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 14                                                                  What is the nature of the claim?              personal credit card                $1,217.64
            Synchrony Home Design
            GENERIC / SYNCB 24                                       As of the date you file, the claim is: Check all that apply
            PO BOX 960061                                                    Contingent
            Orlando, FL 32896                                                Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 15                                                                  What is the nature of the claim?              personal medical bill               $360.00
            UCHealth
            1635 Aurora Ct                                           As of the date you file, the claim is: Check all that apply
            Aurora, CO 80045                                                 Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 16                                                                  What is the nature of the claim?              Business debt                       $5,611.02
                                                                                                                   personally guaranteed
                                                                                                                   by Brian
            United Chase
            P.O. Box 15298                                           As of the date you file, the claim is: Check all that apply
            Wilmington, DE 19850                                             Contingent
                                                                             Unliquidated
                                                                             Disputed


B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                               Page 5

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                           Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                Entered:10/01/21 17:29:59 Page24 of 1444
                                                                                                                                                           10/01/21 5:12PM




 Debtor 1          Brian Stephen Wilbur
 Debtor 2          Holly Wilbur                                                                     Case number (if known)


                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 17                                                                  What is the nature of the claim?              personal credit card        $9,463.71
            US Bank
            PO Box 790179                                            As of the date you file, the claim is: Check all that apply
            St. Louis, MO 63179                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 18                                                                  What is the nature of the claim?              personal credit card        $9,993.54
            US Bank Visa
            PO Box 790179                                            As of the date you file, the claim is: Check all that apply
            St. Louis, MO 63179                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 19                                                                  What is the nature of the claim?              personal credit card        $6,577.10
            US Bank Visa Perks
            PO Box 790179                                            As of the date you file, the claim is: Check all that apply
            St. Louis, MO 63179                                              Contingent
                                                                             Unliquidated
                                                                             Disputed
                                                                             None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                       Page 6

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                Entered:10/01/21 17:29:59 Page25 of 1444
                                                                                                                                                          10/01/21 5:12PM




 Debtor 1          Brian Stephen Wilbur
 Debtor 2          Holly Wilbur                                                                     Case number (if known)

 20                                                                  What is the nature of the claim?              Lease for Office Space      $120,000.00
                                                                                                                   for Timeshare
                                                                                                                   Termination Team,
                                                                                                                   LLC that Debtors
                                                                                                                   personally guaranteed
            Wyco Equities
            12835 E Arapahoe Road Tower II                           As of the date you file, the claim is: Check all that apply
            STE100                                                           Contingent
            Centennial, CO 80112                                              Unliquidated
                                                                              Disputed
                                                                              None of the above apply

                                                                     Does the creditor have a lien on your property?

                                                                              No
            Contact                                                           Yes. Total claim (secured and unsecured)
                                                                                    Value of security:                                 -
            Contact phone                                                           Unsecured claim


 Part 2:      Sign Below

 Under penalty of perjury, I declare that the information provided in this form is true and correct.

 X     /s/ Brian Stephen Wilbur                                                          X   /s/ Holly Wilbur
       Brian Stephen Wilbur                                                                  Holly Wilbur
       Signature of Debtor 1                                                                 Signature of Debtor 2


       Date      October 1, 2021                                                             Date    October 1, 2021




B 104 (Official Form 104)                        For Individual Chapter 11 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims                      Page 7

Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                   Best Case Bankruptcy
         Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                         Entered:10/01/21 17:29:59 Page26 of 1444
                                                                                                                                                                                10/01/21 5:12PM


 Fill in this information to identify your case:

 Debtor 1                   Brian Stephen Wilbur
                            First Name                           Middle Name                          Last Name

 Debtor 2                   Holly Wilbur
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                                       Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................   $          1,160,000.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................        $             209,675.78

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................   $          1,369,675.78

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                    $             999,774.92

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                          $                       0.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                            $          1,398,160.27


                                                                                                                                     Your total liabilities $             2,397,935.19


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................             $                      96.00

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                         $              12,080.12

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                      Entered:10/01/21 17:29:59 Page27 of 1444
                                                                                                                                       10/01/21 5:12PM

 Debtor 1      Brian Stephen Wilbur
 Debtor 2      Holly Wilbur                                                               Case number (if known)

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                        $


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:
       9a. Domestic support obligations (Copy line 6a.)                                                   $

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $

       9d. Student loans. (Copy line 6f.)                                                                 $

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$


       9g. Total. Add lines 9a through 9f.                                                           $




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information             page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
         Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                          Entered:10/01/21 17:29:59 Page28 of 1444
                                                                                                                                                                         10/01/21 5:12PM


 Fill in this information to identify your case and this filing:

 Debtor 1                    Brian Stephen Wilbur
                             First Name                                 Middle Name                    Last Name

 Debtor 2                    Holly Wilbur
 (Spouse, if filing)         First Name                                 Middle Name                    Last Name


 United States Bankruptcy Court for the:                      DISTRICT OF COLORADO

 Case number                                                                                                                                                     Check if this is an
                                                                                                                                                                 amended filing



Official Form 106A/B
Schedule A/B: Property                                                                                                                                          12/15
In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the category where you
think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known).
Answer every question.

 Part 1: Describe Each Residence, Building, Land, or Other Real Estate You Own or Have an Interest In

1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

               No. Go to Part 2.

               Yes. Where is the property?




 1.1                                                                            What is the property? Check all that apply
        6511 Village Rd                                                                Single-family home                         Do not deduct secured claims or exemptions. Put
        Street address, if available, or other description                                                                        the amount of any secured claims on Schedule D:
                                                                                       Duplex or multi-unit building
                                                                                                                                  Creditors Who Have Claims Secured by Property.
                                                                                       Condominium or cooperative

                                                                                       Manufactured or mobile home
                                                                                                                                  Current value of the      Current value of the
        Parker                            CO        80134                              Land                                       entire property?          portion you own?
        City                              State              ZIP Code                  Investment property                            $1,160,000.00               $1,160,000.00
                                                                                       Timeshare
                                                                                                                                  Describe the nature of your ownership interest
                                                                                       Other                                      (such as fee simple, tenancy by the entireties, or
                                                                                Who has an interest in the property? Check one    a life estate), if known.
                                                                                       Debtor 1 only
                                                                                       Debtor 2 only
        County                                                                         Debtor 1 and Debtor 2 only
                                                                                                                                       Check if this is community property
                                                                                       At least one of the debtors and another         (see instructions)
                                                                                Other information you wish to add about this item, such as local
                                                                                property identification number:
                                                                                Residence: House


 2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for
    pages you have attached for Part 1. Write that number here...........................................................................=>                    $1,160,000.00


 Part 2: Describe Your Vehicles

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles you own that
someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.




Official Form 106A/B                                                                  Schedule A/B: Property                                                                  page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                   Entered:10/01/21 17:29:59 Page29 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1        Brian Stephen Wilbur
 Debtor 2        Holly Wilbur                                                                                   Case number (if known)

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
        Yes


  3.1    Make:       Toyota                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      4 Runner                                        Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2007                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                 113000                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Damaged by hail on Aug. 19,
         2021                                                        Check if this is community property                        $6,000.00                   $6,000.00
                                                                     (see instructions)



  3.2    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Excursion                                       Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2005                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                118,000                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Damaged by hail on Aug. 19,
         2021                                                        Check if this is community property                      $12,000.00                  $12,000.00
                                                                     (see instructions)



  3.3    Make:       Toyota                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Land Cruiser                                    Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1997                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                312,000                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Vehicle:
                                                                     Check if this is community property                        $4,500.00                   $4,500.00
                                                                     (see instructions)



  3.4    Make:       Toyota                                    Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Land Cruiser                                    Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       1983                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                289,754                 Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Vehicle: Possible hail damange
                                                                     Check if this is community property                        $2,500.00                   $2,500.00
                                                                     (see instructions)



  3.5    Make:       Ford                                      Who has an interest in the property? Check one          Do not deduct secured claims or exemptions. Put
                                                                                                                       the amount of any secured claims on Schedule D:
         Model:      Expedition                                      Debtor 1 only                                     Creditors Who Have Claims Secured by Property.
         Year:       2019                                            Debtor 2 only                                     Current value of the      Current value of the
         Approximate mileage:                  48,329                Debtor 1 and Debtor 2 only                        entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Vehicle:
                                                                     Check if this is community property                      $61,000.00                  $61,000.00
                                                                     (see instructions)




Official Form 106A/B                                                       Schedule A/B: Property                                                                 page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                   Entered:10/01/21 17:29:59 Page30 of 1444
                                                                                                                                                                    10/01/21 5:12PM

 Debtor 1        Brian Stephen Wilbur
 Debtor 2        Holly Wilbur                                                                                       Case number (if known)

4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

        No
        Yes

  4.1    Make:       4 Winns                                   Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Sundowner 205                                   Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       1991                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
         Vehicle: The reverse doesn't                                Check if this is community property                              $1,500.00                        $60.00
         work and the part can not be                                (see instructions)

         fixed because they don't make
         it anymore.

  4.2    Make:       Carry on trailer corp                     Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      flat bed                                        Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2019                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                              $2,000.00                    $2,000.00
         Vehicle:                                                    (see instructions)


  4.3    Make:       Passport Haulmark                         Who has an interest in the property? Check one
                                                                                                                              Do not deduct secured claims or exemptions. Put
                                                                                                                              the amount of any secured claims on Schedule D:
         Model:      Box trailer                                     Debtor 1 only                                            Creditors Who Have Claims Secured by Property.
         Year:       2017                                            Debtor 2 only
                                                                                                                              Current value of the      Current value of the
                                                                     Debtor 1 and Debtor 2 only                               entire property?          portion you own?
         Other information:                                          At least one of the debtors and another
                                                                     Check if this is community property                              $2,000.00                    $2,000.00
         Vehicle:                                                    (see instructions)




 5 Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for
   .pages you have attached for Part 2. Write that number here.............................................................................=>                 $90,060.00


 Part 3: Describe Your Personal and Household Items
 Do you own or have any legal or equitable interest in any of the following items?                                                                   Current value of the
                                                                                                                                                     portion you own?
                                                                                                                                                     Do not deduct secured
                                                                                                                                                     claims or exemptions.
6. Household goods and furnishings
   Examples: Major appliances, furniture, linens, china, kitchenware
     No
        Yes. Describe.....

                                    Household: 2 egg chairs 3 rugs 1 desk cradenza cabnet washer
                                    dryer 2 cube shelves 2 desks rug queen matress 2 office chairs
                                    guest king set 2 leather couches table 6 table chairs wood artwork
                                    1 white couch 2 white loveseats 2 cream chairs 2 blue chairs 3 end
                                    tables 6 stools 1 table with 8 chairs large art print - abstract large
                                    art print - lines 3 piece art set large mirror art 3 large fake plants
                                    Blue rug Horse print little girl 2 bed set little girl bed set toddler
                                    bed set Master king bed set Kids toys 2 kid rocking chairs tall
                                    tabble 4 chairs back patio set front patio couch snow plow Kurig
                                    Plates/silverware/cookware toaster bench Outdoor feezer
                                    Christmas decor                                                                                                                 $4,000.00



Official Form 106A/B                                                       Schedule A/B: Property                                                                        page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                             Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                         Entered:10/01/21 17:29:59 Page31 of 1444
                                                                                                                                                 10/01/21 5:12PM

 Debtor 1       Brian Stephen Wilbur
 Debtor 2       Holly Wilbur                                                                        Case number (if known)

7. Electronics
   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music collections; electronic devices
              including cell phones, cameras, media players, games
      No
        Yes. Describe.....

                                    Electronics: TV and surround sound; Macbook 2017; Macbook
                                    2019; Macbook 2020; 2 ipads ;old Cannon camera; Go Pro Vido
                                    camera; 2 small TVs ;wireless headphones ;2 monitors; computer                                               $1,000.00


8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects; stamp, coin, or baseball card collections;
               other collections, memorabilia, collectibles
        No
        Yes. Describe.....



9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes and kayaks; carpentry tools;
             musical instruments
     No
        Yes. Describe.....

                                    Sports-Hobby: 6 sleeping bags; 6 sleeping pads; cot; tent; cooking
                                    stove; stationary bike; weight;s tools; max tracks; mics                                                     $4,035.00


10. Firearms
     Examples: Pistols, rifles, shotguns, ammunition, and related equipment
        No
        Yes. Describe.....

11. Clothes
    Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
      No
        Yes. Describe.....

                                    Clothes: $200 each                                                                                             $400.00


12. Jewelry
     Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems, gold, silver
      No
        Yes. Describe.....

                                    Jewelry: Wedding ring and band; diamond necklace; opal ring;
                                    diamond bracelet; blue topaz necklace                                                                        $8,120.00


13. Non-farm animals
    Examples: Dogs, cats, birds, horses
     No
        Yes. Describe.....

                                    Animals: Dog                                                                                                       $0.00


14. Any other personal and household items you did not already list, including any health aids you did not list
        No
        Yes. Give specific information.....


Official Form 106A/B                                                 Schedule A/B: Property                                                           page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                                           Entered:10/01/21 17:29:59 Page32 of 1444
                                                                                                                                                                         10/01/21 5:12PM

 Debtor 1         Brian Stephen Wilbur
 Debtor 2         Holly Wilbur                                                                                                     Case number (if known)




 15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached
     for Part 3. Write that number here ..............................................................................                                             $17,555.00


 Part 4: Describe Your Financial Assets
 Do you own or have any legal or equitable interest in any of the following?                                                                                Current value of the
                                                                                                                                                            portion you own?
                                                                                                                                                            Do not deduct secured
                                                                                                                                                            claims or exemptions.

16. Cash
    Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition
     No
        Yes................................................................................................................

                                                                                                                                      Cash                                 $200.00


17. Deposits of money
    Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses, and other similar
                  institutions. If you have multiple accounts with the same institution, list each.
     No
     Yes........................                                     Institution name:


                                              17.1.       Checking                                Checking Account: Chase                                                $1,581.26



                                              17.2.       Checking                                Checking Account: US Bank                                            $53,742.45



                                              17.3.       Savings                                 Savings Account: Chase                                                       $0.00



                                              17.4.       Savings                                 Savings Account: US Bank                                                 $482.01



                                              17.5.       Savings                                 Savings Account: Canvas                                                      $5.00


18. Bonds, mutual funds, or publicly traded stocks
    Examples: Bond funds, investment accounts with brokerage firms, money market accounts
     No
     Yes..................        Institution or issuer name:


                                                        Financial Account: Fidelity                                                                                    $36,190.73


19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in an LLC, partnership, and
    joint venture
      No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                  % of ownership:

                                                  Timeshare Termination Team, LLC f/k/a Vindaloo
                                                  Travel Network LLC
                                                  95% Brian 5% Holly                                                                     100          %                        $0.00


Official Form 106A/B                                                                       Schedule A/B: Property                                                             page 5
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                  Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                          Entered:10/01/21 17:29:59 Page33 of 1444
                                                                                                                                                 10/01/21 5:12PM

 Debtor 1         Brian Stephen Wilbur
 Debtor 2         Holly Wilbur                                                                             Case number (if known)


                                            Bingo Mortgage, Inc.                                                 100        %                          $0.00


20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
        No
        Yes. Give specific information about them
                                    Issuer name:




21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
        No
        Yes. List each account separately.
                                Type of account:                         Institution name:



22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications companies, or others
        No
        Yes. .....................                                       Institution name or individual:




23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
        No
        Yes.............             Issuer name and description.




24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
    26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
       No
       Yes.............   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):


                                     Education IRA: Edward Jones 529 plans for 4 kids                                                            $9,359.33


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers exercisable for your benefit
        No
        Yes. Give specific information about them...




26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
    Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
        No
        Yes. Give specific information about them...




27. Licenses, franchises, and other general intangibles
     Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
        No
        Yes. Give specific information about them...




Money or property owed to you?                                                                                                      Current value of the
Official Form 106A/B                                                 Schedule A/B: Property                                                           page 6
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                          Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                         Entered:10/01/21 17:29:59 Page34 of 1444
                                                                                                                                                  10/01/21 5:12PM

 Debtor 1       Brian Stephen Wilbur
 Debtor 2       Holly Wilbur                                                                           Case number (if known)

                                                                                                                                    portion you own?
                                                                                                                                    Do not deduct secured
                                                                                                                                    claims or exemptions.

28. Tax refunds owed to you
        No
        Yes. Give specific information about them, including whether you already filed the returns and the tax years.......




29. Family support
     Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
      No
        Yes. Give specific information......


                                                         Past due child support owed by Dawn
                                                             Cushing                                                                                $500.00


30. Other amounts someone owes you
    Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation, Social Security
              benefits; unpaid loans you made to someone else
        No
        Yes. Give specific information..




31. Interests in insurance policies
     Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
      No
        Yes. Name the insurance company of each policy and list its value.
                                 Company name:                                                Beneficiary:                           Surrender or refund
                                                                                                                                     value:

                                         Insurance: Brian's life insurance                    Holly Wilbur                                              $0.00


                                         Insurance: Liberty Mutual homeowners
                                         insurance                                                                                                      $0.00


                                         Insurance: Jewelry Mutual - Wedding
                                         Ring insurance                                                                                                 $0.00


32. Any interest in property that is due you from someone who has died
    If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive property because
    someone has died.
        No
        Yes. Give specific information..




33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
    Examples: Accidents, employment disputes, insurance claims, or rights to sue
        No
        Yes. Describe each claim.........




Official Form 106A/B                                                 Schedule A/B: Property                                                             page 7
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                          Entered:10/01/21 17:29:59 Page35 of 1444
                                                                                                                                                                            10/01/21 5:12PM

 Debtor 1        Brian Stephen Wilbur
 Debtor 2        Holly Wilbur                                                                                                    Case number (if known)


34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights to set off claims
        No
        Yes. Describe each claim.........




35. Any financial assets you did not already list
        No
        Yes. Give specific information..




 36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
     for Part 4. Write that number here.....................................................................................................................         $102,060.78


 Part 5: Describe Any Business-Related Property You Own or Have an Interest In. List any real estate in Part 1.

37. Do you own or have any legal or equitable interest in any business-related property?
       No. Go to Part 6.
       Yes. Go to line 38.


                                                                                                                                                               Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

38. Accounts receivable or commissions you already earned

        No
        Yes. Describe.....


39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

        No
        Yes. Describe.....




40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

        No
        Yes. Describe.....



41. Inventory

        No
        Yes. Describe.....



42. Interests in partnerships or joint ventures

        No
        Yes. Give specific information about them...................
                                   Name of entity:                                                                                 % of ownership:

                                                                                                                                                         %


Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 8
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                          Entered:10/01/21 17:29:59 Page36 of 1444
                                                                                                                                                                            10/01/21 5:12PM

 Debtor 1        Brian Stephen Wilbur
 Debtor 2        Holly Wilbur                                                                                                    Case number (if known)

43. Customer lists, mailing lists, or other compilations
       No.
       Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?


                  No
                  Yes. Describe.....




44. Any business-related property you did not already list

        No
        Yes. Give specific information.........




 45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached
     for Part 5. Write that number here.....................................................................................................................



 Part 6:     Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an Interest In.
             If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
           No. Go to Part 7.
           Yes. Go to line 47.
                                                                                                                                                               Current value of the
                                                                                                                                                               portion you own?
                                                                                                                                                               Do not deduct secured
                                                                                                                                                               claims or exemptions.

47. Farm animals
     Examples: Livestock, poultry, farm-raised fish

        No
        Yes................



48. Crops—either growing or harvested

        No
        Yes. Give specific information.....



49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

        No
        Yes................



50. Farm and fishing supplies, chemicals, and feed

        No
        Yes................



51. Any farm- and commercial fishing-related property you did not already list

       No
Official Form 106A/B                                                           Schedule A/B: Property                                                                            page 9
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                     Best Case Bankruptcy
        Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                               Entered:10/01/21 17:29:59 Page37 of 1444
                                                                                                                                                                             10/01/21 5:12PM

 Debtor 1         Brian Stephen Wilbur
 Debtor 2         Holly Wilbur                                                                                                          Case number (if known)

        Yes. Give specific information.....




 52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached
     for Part 6. Write that number here .....................................................................................................................


 Part 7:          Describe All Property You Own or Have an Interest in That You Did Not List Above


53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership
        No
        Yes. Give specific information.........




 54. Add the dollar value of all of your entries from Part 7. Write that number here ....................................                                                     $0.00

 Part 8:         List the Totals of Each Part of this Form

 55. Part 1: Total real estate, line 2 ......................................................................................................................          $1,160,000.00
 56. Part 2: Total vehicles, line 5                                                                          $90,060.00
 57. Part 3: Total personal and household items, line 15                                                     $17,555.00
 58. Part 4: Total financial assets, line 36                                                                $102,060.78
 59. Part 5: Total business-related property, line 45                                                             $0.00
 60. Part 6: Total farm- and fishing-related property, line 52                                                    $0.00
 61. Part 7: Total other property not listed, line 54                                             +               $0.00

 62. Total personal property. Add lines 56 through 61...                                                    $209,675.78               Copy personal property total        $209,675.78

 63. Total of all property on Schedule A/B. Add line 55 + line 62                                                                                                    $1,369,675.78




Official Form 106A/B                                                               Schedule A/B: Property                                                                         page 10
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                                      Best Case Bankruptcy
         Case:21-15040-KHT Doc#:1 Filed:10/01/21                                           Entered:10/01/21 17:29:59 Page38 of 1444
                                                                                                                                                           10/01/21 5:12PM


 Fill in this information to identify your case:

 Debtor 1                Brian Stephen Wilbur
                         First Name                         Middle Name                 Last Name

 Debtor 2                Holly Wilbur
 (Spouse if, filing)     First Name                         Middle Name                 Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                               Check if this is an
                                                                                                                                          amended filing


Official Form 106C
Schedule C: The Property You Claim as Exempt                                                                                                                     4/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. Using
the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more space is
needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write your name and
case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount of
any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt retirement
funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that limits the
exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption would be limited
to the applicable statutory amount.

 Part 1:        Identify the Property You Claim as Exempt

 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

           You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)

           You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.
      Brief description of the property and line on            Current value of the   Amount of the exemption you claim        Specific laws that allow exemption
      Schedule A/B that lists this property                    portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

      6511 Village Rd Parker, CO 80134                               $1,160,000.00                                             Colo. Rev. Stat. §§
      Residence: House                                                                                                         38-41-201(1)(a), 38-41-201.6,
      Line from Schedule A/B: 1.1                                                          100% of fair market value, up to    38-41-202
                                                                                           any applicable statutory limit

      2007 Toyota 4 Runner 113000 miles                                 $6,000.00                                              Colo. Rev. Stat. §§
      Damaged by hail on Aug. 19, 2021                                                                                         13-54-102(1)(j)(I), (III)
      Line from Schedule A/B: 3.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      2019 Ford Expedition 48,329 miles                                $61,000.00                                              Colo. Rev. Stat. §§
      Vehicle:                                                                                                                 13-54-102(1)(j)(I), (III)
      Line from Schedule A/B: 3.5                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

      Household: 2 egg chairs 3 rugs 1                                  $4,000.00                                              Colo. Rev. Stat. §
      desk cradenza cabnet washer dryer 2                                                                                      13-54-102(1)(e)
      cube shelves 2 desks rug queen                                                       100% of fair market value, up to
      matress 2 office chairs guest king set                                               any applicable statutory limit
      2 leather couches table 6 table chairs
      wood artwork 1 white couch 2 white
      loveseats 2 cream chairs 2 blue
      chairs 3 en
      Line from Schedule A/B: 6.1




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                       page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                             Entered:10/01/21 17:29:59 Page39 of 1444
                                                                                                                                                            10/01/21 5:12PM



 Debtor 1    Brian Stephen Wilbur
 Debtor 2    Holly Wilbur                                                                                Case number (if known)

     Brief description of the property and line on             Current value of the   Amount of the exemption you claim           Specific laws that allow exemption
     Schedule A/B that lists this property                     portion you own
                                                               Copy the value from    Check only one box for each exemption.
                                                               Schedule A/B

     Electronics: TV and surround sound;                              $1,000.00                                                   Colo. Rev. Stat. §
     Macbook 2017; Macbook 2019;                                                                                                  13-54-102(1)(e)
     Macbook 2020; 2 ipads ;old Cannon                                                     100% of fair market value, up to
     camera; Go Pro Vido camera; 2 small                                                   any applicable statutory limit
     TVs ;wireless headphones ;2
     monitors; computer
     Line from Schedule A/B: 7.1

     Clothes: $200 each                                                  $400.00                                                  Colo. Rev. Stat. §
     Line from Schedule A/B: 11.1                                                                                                 13-54-102(1)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Jewelry: Wedding ring and band;                                  $8,120.00                                                   Colo. Rev. Stat. §
     diamond necklace; opal ring;                                                                                                 13-54-102(1)(b)
     diamond bracelet; blue topaz                                                          100% of fair market value, up to
     necklace                                                                              any applicable statutory limit
     Line from Schedule A/B: 12.1

     Checking: Checking Account: Chase                                $1,581.26                                                   Colo. Rev. Stat. §
     Line from Schedule A/B: 17.1                                                                                                 13-54-104(2)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Checking: Checking Account: US                                  $53,742.45                                                   Colo. Rev. Stat. §
     Bank                                                                                                                         13-54-104(2)(a)
     Line from Schedule A/B: 17.2                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Savings Account: US Bank                                   $482.01                                                  Colo. Rev. Stat. §
     Line from Schedule A/B: 17.4                                                                                                 13-54-104(2)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Savings: Savings Account: Canvas                                       $5.00                                                 Colo. Rev. Stat. §
     Line from Schedule A/B: 17.5                                                                                                 13-54-104(2)(a)
                                                                                           100% of fair market value, up to
                                                                                           any applicable statutory limit

     Education IRA: Edward Jones 529                                  $9,359.33                                                   Colo. Rev. Stat. § 23-3.1-307.4
     plans for 4 kids
     Line from Schedule A/B: 24.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit

     Past due child support owed by                                      $500.00                                                  Colo. Rev. Stat. §§
     Dawn Cushing                                                                                                                 13-54-102(1)(u), 13-54-102.5
     Line from Schedule A/B: 29.1                                                          100% of fair market value, up to
                                                                                           any applicable statutory limit


 3. Are you claiming a homestead exemption of more than $170,350?
    (Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.)
            No
            Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                   No
                   Yes




Official Form 106C                                      Schedule C: The Property You Claim as Exempt                                                         page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page40 of 1444
                                                                                                                                                                10/01/21 5:12PM


 Fill in this information to identify your case:

 Debtor 1                   Brian Stephen Wilbur
                            First Name                      Middle Name                      Last Name

 Debtor 2                   Holly Wilbur
 (Spouse if, filing)        First Name                      Middle Name                      Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                       Check if this is an
                                                                                                                                                  amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                         12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information. If more space
is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any additional pages, write your name and case
number (if known).
1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
           Yes. Fill in all of the information below.
 Part 1:        List All Secured Claims
                                                                                                            Column A               Column B                Column C
 2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
 for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. As   Amount of claim        Value of collateral     Unsecured
 much as possible, list the claims in alphabetical order according to the creditor’s name.                  Do not deduct the      that supports this      portion
                                                                                                            value of collateral.   claim                   If any
 2.1     Canvas Credit Union                      Describe the property that secures the claim:                   $5,456.55              $12,000.00                     $0.00
         Creditor's Name                          2005 Ford Excursion 118,000 miles
                                                  Damaged by hail on Aug. 19, 2021
                                                  As of the date you file, the claim is: Check all that
         PO Box 5238                              apply.
         Englewood, CO 80155                          Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          09/19/2018                Last 4 digits of account number        9579

 2.2     Security Service FUC                     Describe the property that secures the claim:                 $66,318.37               $61,000.00            $5,318.37
         Creditor's Name                          2019 Ford Expedition 48,329 miles
                                                  Vehicle:
                                                  As of the date you file, the claim is: Check all that
         PO Box 691510                            apply.
         San Antonio, TX 78269                        Contingent
         Number, Street, City, State & Zip Code       Unliquidated
                                                      Disputed
 Who owes the debt? Check one.                    Nature of lien. Check all that apply.
     Debtor 1 only                                    An agreement you made (such as mortgage or secured
     Debtor 2 only                                     car loan)

       Debtor 1 and Debtor 2 only                     Statutory lien (such as tax lien, mechanic's lien)
     At least one of the debtors and another          Judgment lien from a lawsuit
       Check if this claim relates to a               Other (including a right to offset)
       community debt

 Date debt was incurred          09/4/2021                 Last 4 digits of account number



Official Form 106D                                Schedule D: Creditors Who Have Claims Secured by Property                                                      page 1 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                         Best Case Bankruptcy
         Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                  Entered:10/01/21 17:29:59 Page41 of 1444
                                                                                                                                                            10/01/21 5:12PM



 Debtor 1 Brian Stephen Wilbur                                                                                Case number (if known)
               First Name                  Middle Name                      Last Name
 Debtor 2 Holly Wilbur
               First Name                  Middle Name                      Last Name


         Select Portfolio
 2.3                                                                                                                $928,000.00        $1,160,000.00             $0.00
         Servicing, Inc.                            Describe the property that secures the claim:
         Creditor's Name                            6511 Village Rd Parker, CO 80134
                                                    Residence: House
                                                    As of the date you file, the claim is: Check all that
         P.O. Box 65250                             apply.
         Salt Lake City, UT 84165                        Contingent
         Number, Street, City, State & Zip Code          Unliquidated
                                                         Disputed
 Who owes the debt? Check one.                      Nature of lien. Check all that apply.
    Debtor 1 only                                        An agreement you made (such as mortgage or secured
    Debtor 2 only                                         car loan)

       Debtor 1 and Debtor 2 only                        Statutory lien (such as tax lien, mechanic's lien)
    At least one of the debtors and another              Judgment lien from a lawsuit
       Check if this claim relates to a                  Other (including a right to offset)
       community debt

 Date debt was incurred          04/1/2021                   Last 4 digits of account number         7436


   Add the dollar value of your entries in Column A on this page. Write that number here:                                   $999,774.92
   If this is the last page of your form, add the dollar value totals from all pages.
   Write that number here:                                                                                                  $999,774.92

 Part 2:     List Others to Be Notified for a Debt That You Already Listed
 Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection agency is
 trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if you have more
 than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to be notified for any
 debts in Part 1, do not fill out or submit this page.




Official Form 106D                      Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                         page 2 of 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                     Best Case Bankruptcy
         Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page42 of 1444
                                                                                                                                                                            10/01/21 5:12PM


 Fill in this information to identify your case:

 Debtor 1                   Brian Stephen Wilbur
                            First Name                      Middle Name                       Last Name

 Debtor 2                   Holly Wilbur
 (Spouse if, filing)        First Name                      Middle Name                       Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                                               Check if this is an
                                                                                                                                                          amended filing

Official Form 106E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                     12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims. List the other party to
any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Property (Official Form 106A/B) and on
Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any creditors with partially secured claims that are listed in
Schedule D: Creditors Who Have Claims Secured by Property. If more space is needed, copy the Part you need, fill it out, number the entries in the boxes on the
left. Attach the Continuation Page to this page. If you have no information to report in a Part, do not file that Part. On the top of any additional pages, write your
name and case number (if known).
 Part 1:        List All of Your PRIORITY Unsecured Claims
 1.    Do any creditors have priority unsecured claims against you?

           No. Go to Part 2.
           Yes.

 Part 2:        List All of Your NONPRIORITY Unsecured Claims
 3.    Do any creditors have nonpriority unsecured claims against you?

           No. You have nothing to report in this part. Submit this form to the court with your other schedules.

           Yes.

 4.    List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one nonpriority
       unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already included in Part 1. If more
       than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured claims fill out the Continuation Page of
       Part 2.
                                                                                                                                                              Total claim

 4.1          1513 Media                                              Last 4 digits of account number                                                                           $0.00
              Nonpriority Creditor's Name
              13009 S Parker Rd #129                                  When was the debt incurred?
              Parker, CO 80134
              Number Street City State Zip Code                       As of the date you file, the claim is: Check all that apply
              Who incurred the debt? Check one.
                  Debtor 1 only                                           Contingent
                  Debtor 2 only                                           Unliquidated
                  Debtor 1 and Debtor 2 only                              Disputed
                  At least one of the debtors and another             Type of NONPRIORITY unsecured claim:

                  Check if this claim is for a community                  Student loans
              debt                                                       Obligations arising out of a separation agreement or divorce that you did not
              Is the claim subject to offset?                         report as priority claims

                  No                                                      Debts to pension or profit-sharing plans, and other similar debts

                  Yes                                                     Other. Specify   Business Debt




Official Form 106 E/F                                    Schedule E/F: Creditors Who Have Unsecured Claims                                                             Page     1 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                              51109                                                Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page43 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      1st Base Productions                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          J. Shields 3331 E. Euclid Ave.                             When was the debt incurred?
          Centennial, CO 80121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Aaron And Lynn Fredericks                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 915                                               When was the debt incurred?
          Kykotsmovi, AZ 86039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Aaron Nieman                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18154 E Powers Place                                       When was the debt incurred?
          Centennial, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page    2 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page44 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5      ABCDisney                                                  Last 4 digits of account number       0203                                                   $0.00
          Nonpriority Creditor's Name
          500 S. Buena Vista St. FGW #3052                           When was the debt incurred?
          Burbank, CA 91521
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $49,725.00


 4.6      Achkei Wilson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          611 Cochise Cir                                            When was the debt incurred?
          Bolingbrook, IL 60440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7      Ada Holt                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6006 saint moritz                                          When was the debt incurred?
          Temple Hills, MD 20748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page    3 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page45 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8      Ada Lollar                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3410 Mayfair Rd                                            When was the debt incurred?
          Baltimore, MD 21207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9      Adam and Leslie Stone                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4325 Diaz Ave                                              When was the debt incurred?
          Fort Worth, TX 76107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 0        Adam And Sarah Lawson                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2623 Juliet Court                                          When was the debt incurred?
          Franklin, OH 45005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page    4 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page46 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 1        Adan & Luzdary Belgodere                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17411 Prospect Meadows Drive                               When was the debt incurred?
          Houston, TX 77095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 2        Adele & Barbara Kenniston                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1812 S Buena Vista                                         When was the debt incurred?
          Chandler, AZ 85249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 3        Adeleta (Adell) and Sidney Dull                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6011 Cheryl Lane                                           When was the debt incurred?
          Rosharon, TX 77583
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page    5 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page47 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 4        Adobe Acropro                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          601 Townsend Stree                                         When was the debt incurred?
          San Francisco, CA 94103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt-


 4.1
 5        Adolf and Mildred Mueller                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12155 Boothill Drive                                       When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 6        Adrian & Marisela Torres                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30003 Penrose Lane                                         When was the debt incurred?
          Castaic, CA 91384
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page    6 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page48 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 7        Adrian & Ruth Geffre                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9633 FoxVally Dr                                           When was the debt incurred?
          Morrison, CO 80465
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 8        Adrian and Wynona Godwin                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1131 Buttonwood Dr                                         When was the debt incurred?
          Cherryhill, NJ 08003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 9        Adriana & Irene Perez                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19319 Brook Village Rd                                     When was the debt incurred?
          Houston, TX 77084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page    7 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page49 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 0        Adriana Estimbo                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18935 Oakland Manor Lane                                   When was the debt incurred?
          Richmond, TX 77407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 1        Adrianna & David Marin                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1426 De Reamer Cir                                         When was the debt incurred?
          Colorado Springs, CO 80915
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 2        Aflac                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Attn: Accounts Receivable 1932                             When was the debt incurred?
          Columbus, GA 31999
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page    8 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page50 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 3        Afreen Assad                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5701 Windmere Lane                                         When was the debt incurred?
          Haltom City, TX 76137
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 4        Agility Digital                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10421 S Jordan Gateway #550                                When was the debt incurred?
          South Jordan, UT 84095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Aimal Hayes and Josilyn
 5        Bridgeman                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8123 Bella Vista Court                                     When was the debt incurred?
          Charlotte, NC 28216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page    9 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page51 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 6        Alan & Barbara Seeling                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29275 C. R. 358-A                                          When was the debt incurred?
          Buena Vista, CO 81211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 7        Alan & Maria Pellegrino                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          534 Logan St                                               When was the debt incurred?
          Roselle, IL 60172
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 8        Alan And Joyce McGarrigle                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2352 Autumn Mist Lane                                      When was the debt incurred?
          League City, TX 77573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 10 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page52 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 9        Alan Fallows                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14422 Colonial Park Drive                                  When was the debt incurred?
          Huntersville, NC 28078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 0        Alaska Department of Law                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1031 West 4th Avenue, Suite 200                            When was the debt incurred?
          Anchorage, AK 99501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 1        Albert & Mary Ellen Ulloa                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2014 Mustang Springs Dr                                    When was the debt incurred?
          Missouri City, TX 77459
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 11 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page53 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 2        Albert & Sonja Dickerson                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8008 S. Mozart St                                          When was the debt incurred?
          Chicago, IL 60652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 3        Alberto & Jenny Torres (SPO)                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 372                                                 When was the debt incurred?
          Aguadilla, Puerto Rico 00605-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 4        Albreta Alston                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6318 Anderson St                                           When was the debt incurred?
          Philadelphia, PA 19138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 12 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page54 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 5        Alden Systems, Inc                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Inverness Center Parkway Suite                          When was the debt incurred?
          500
          Birmingham, AL 35242
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 6        Alecia And Gregory Luchin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20423 Weald Way                                            When was the debt incurred?
          Spring, TX 77388
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 7        Alessandra (Sandy) Messina                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1547 Curtain Street                                        When was the debt incurred?
          Philadelphia, PA 19145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 13 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page55 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 8        Aletha & Bernice Peters                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3601 South Dakota Ave NE                                   When was the debt incurred?
          Washington, DC 20018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 9        Alex & Diane Marin                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40 Birchtree Lane                                          When was the debt incurred?
          Ballston Spa, NY 12020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 0        Alex & Mary Kurikeshu                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3270 Eleanors Garden Way                                   When was the debt incurred?
          Woodbine, MD 20707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 14 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page56 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 1        Alex & Tricia Brig/Grimaldi                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          105 Lazarus Dr                                             When was the debt incurred?
          Ledgewood, NJ 07852
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 2        Alexa Rush                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2154 S Oakland St                                          When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 3        Alexander & Ruth Vermilyea/Daly                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Peach Orchard Drive                                      When was the debt incurred?
          Riverside, RI 02915
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 15 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page57 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 4        Alfred & Eileen Sablan                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1405 Mark Court                                            When was the debt incurred?
          White Settlment, TX 76108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 5        Alfred & Marianne Terriquez/Nesbit                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6537 S Richfield St                                        When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 6        Alice & Jeff Keane                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12722 W Figueroa Ct                                        When was the debt incurred?
          Sun City West, AZ 85375
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 16 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page58 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 7        Alice And John Brands                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11360 East Jeats Ave                                       When was the debt incurred?
          Unit 65
          Mesa, AZ 85209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 8        Alice Coleman                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22637 Pleasant Drive #4                                    When was the debt incurred?
          Richton Parl, IL 60471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 9        Alicia And Theodore Mora                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11514 Marshall Ct                                          When was the debt incurred?
          Westminster, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 17 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page59 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 0        Alicia Ward                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          733 Sand Piper Ct, Unit #6                                 When was the debt incurred?
          University Park, IL 60484
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5      Alina Bass-Harvey and Thomas
 1        Harvey                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3230 Tamara Creek Lane                                     When was the debt incurred?
          Pearland, TX 77584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 2        Alina Bracciale                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7452 Brought Street                                        When was the debt incurred?
          Sarasota, FL 34243
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 18 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page60 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 3        Allan and Trudie Fink                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          39 Portshire Dr                                            When was the debt incurred?
          Lincolnshire, IL 60069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 4        Allegiance                                                 Last 4 digits of account number       6227                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 2097                                                When was the debt incurred?
          Missoula, MT 59806
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $50.00


 4.5
 5        Allegro                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Carretera Sur San Francisco                                When was the debt incurred?
          Palancar Km.
          Cozumel Q.R., Mexico 77600-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 19 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page61 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 6        Allen & Cyndee Harmon                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          176 Charles Place                                          When was the debt incurred?
          Pocatello, ID 83201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 7        Allen & Deb Siebels                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4556 Joydance Ct.                                          When was the debt incurred?
          Fort Collins, CO 80524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 8        Allen & Mary Hultgren                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1620 Centaur Circle                                        When was the debt incurred?
          Lafayette, CO 80026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 20 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page62 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 9        Allen & Rita Walters                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3841 Arrowwood Dr                                          When was the debt incurred?
          Zephyrhills, FL 33541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 0        Allison & Christopher Palombo                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          115 Highlandwood Dr                                        When was the debt incurred?
          Beaver, PA 15009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 1        AllphaPage                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6300 E Yale Ave #128                                       When was the debt incurred?
          Denver, CO 80222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 21 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page63 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 2        Allyson Gehring                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7029 W Chestnut Dr                                         When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 3        Aloha Bay                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          78-261 Manukai Street                                      When was the debt incurred?
          Kailua, HI 96740
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 4        Alozrea (Lonnie) Austin                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12406 Evening Bay Dr                                       When was the debt incurred?
          Pearland, TX 77584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 22 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page64 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 5        Alpenland Resort                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7-9 St. Johann im Pongau 5600                              When was the debt incurred?
          Salzbuger, Austria 64127-0210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 6        Alpenrose & Rock Ridge I                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4074 Pine Blvd                                             When was the debt incurred?
          South Lake Tahoe, CA 96150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 7        Alpine Crest Resorts                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          273 Carrie Cox Drive P.O. Box 780                          When was the debt incurred?
          Helen, GA 30545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 23 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page65 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 8        Althea Starks & Dorothea Williams                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15411 Addicks Stone Dr. Unit A                             When was the debt incurred?
          Houston, TX 77082
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 9        Altus Receivable Management                                Last 4 digits of account number       9126                                                   $0.00
          Nonpriority Creditor's Name
          2400 Veterans Memorial Blvd. Suite                         When was the debt incurred?
          300
          Kenner, LA 70062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 0        Alvin & Katrina Sadaya                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3827 Portside Dr                                           When was the debt incurred?
          Bremerton, WA 98312
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 24 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page66 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 1        Aman & Parveen Sekhon                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2551 Coloma Lane                                           When was the debt incurred?
          Tracey, CA 95376
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7      Amanda Comparetto and Travis
 2        McNally                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1032 Marlin Lakes Circle                                   When was the debt incurred?
          Apartment #1233
          Sarasota, FL 34232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 3        Amanda Lantz                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13842 Elm St                                               When was the debt incurred?
          Thorton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 25 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page67 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 4        Amanda Maughmer                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20615 E Kenyon AVe                                         When was the debt incurred?
          Aurora, co 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 5        Amanda Puhal and Rosalie Kroeker                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3691 Harvard Pl                                            When was the debt incurred?
          Broomfield, co 80023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 6        Amanda Reyes and Pricilla Gomez                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3541 East Girard Drive                                     When was the debt incurred?
          Denver, CO 80236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $1,700.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 26 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page68 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7      Amber and Christopher Chris
 7        Daniels                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          799 Normandy Street apt 8303                               When was the debt incurred?
          Houston, TX 77015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 8        Amber And Jerad Hurt                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1522 Camellia Street                                       When was the debt incurred?
          Sweeny, TX 77480
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 9        Amber Barnes                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2920 Geneva Ct. #101                                       When was the debt incurred?
          Denver, CO 80238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 27 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page69 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 0        Amber Cunz and Vince Anderson                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          80 Riverside Road                                          When was the debt incurred?
          Rockford, IL 61114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8      Amelia Adkins and Evans Omani-
 1        Chima Jr.                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12401 NE 105th Way                                         When was the debt incurred?
          Vancouver, WA 98682
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 2        American Resort International                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Two TransAM Plaza Dr. Ste. 300                             When was the debt incurred?
          Oakbrook Terrace, IL 60181
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 28 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page70 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 3        Americana Vacation Club                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3845 Pioneer Trail                                         When was the debt incurred?
          South Lake Tahoe, CA 96150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 4        Americano Beach Resort                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1260 N Atlanticv Ave                                       When was the debt incurred?
          Daytona Beach, FL 32118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 5        AMEX                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 650448                                            When was the debt incurred?
          Dallas, TX 75265
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 29 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page71 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 6        Amia Bellard                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7729 Topaz Way                                             When was the debt incurred?
          Texas City, TX 77591
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 7        Amy & Madhusudan Dharawat                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3523 Bluelake Cir                                          When was the debt incurred?
          Stockton, CA 95219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 8        Amy and Dominic Leaitu                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10333 Main St Apt 221                                      When was the debt incurred?
          Belview, WA 98004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 30 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page72 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 9        Amy Funderburk                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4353 S Blackhawk Way                                       When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 0        Amy Maupin                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box1458                                               When was the debt incurred?
          Barrow, AK 99723
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 1        Amy Ou                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          221 Cordero Drive                                          When was the debt incurred?
          Civolo, TX 78108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 31 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page73 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 2        Amy Payne                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          475 Garfield St #320                                       When was the debt incurred?
          Denver, CO 80206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 3        Ana And David Garcia                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2918 Piper Road                                            When was the debt incurred?
          Pearland, TX 77584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify
                                                                                         Business Debt
 4.9
 4        Ana and Giuseppe Gambacurta                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6902 W. Clifton St                                         When was the debt incurred?
          Tampa, FL 33634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 32 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page74 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9      Andra Brangmen-Thornton and
 5        Juliet Brang                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2460 Crestdale Cir SE                                      When was the debt incurred?
          Atlanta, GA 30316
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 6        Andre and Rhonda Harris                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2085 Aqueduct Dr                                           When was the debt incurred?
          Florissant, MI 63303
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9      Andrea and David Isidorio /
 7        Madouros                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2821 Summer Day Ave                                        When was the debt incurred?
          Castlerock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 33 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page75 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 8        Andrea And Gary Kelly                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3517 Clover Blossom Circle                                 When was the debt incurred?
          Land O' Lakes, FL 34638
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 9        Andrea and Jeffrey Crooks                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19950 California Ave                                       When was the debt incurred?
          Farmington, MN 55024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 00       Andrea and Jesus Longoria                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8628 Orchard View                                          When was the debt incurred?
          Pearland, tx 77584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 34 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page76 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 01       Andrea Jacobs                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          125 Overland Trail                                         When was the debt incurred?
          Savannah, GA 31419
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 02       Andrea Smith                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          236 Berriman Street                                        When was the debt incurred?
          Brooklyn, NY 11208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 03       Andrea Zelenka                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14130 Rosemary Ln                                          When was the debt incurred?
          Largo, FL 33774
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 35 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page77 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 04       Andrew & Courtney Graham                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3546 Woods Estates Dr.                                     When was the debt incurred?
          Conroe, TX 77304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 05       Andrew & Kaye Dixon                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5384 Jauley River drive                                    When was the debt incurred?
          Stone Mountai, GA 30312
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 06       Andrew & Noah Boettinger                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2918 Wilson Parkway                                        When was the debt incurred?
          Harrisburg, PA 17104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 36 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page78 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 07       Andrew Davidson/Cynthia Spears                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          121 Koban Dori Road                                        When was the debt incurred?
          Summerville, SC 39486
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 08       Andrew Hadden                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17 Taft St, PO Box #791                                    When was the debt incurred?
          Marblehead, MA 01945
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 09       Andrew Nelson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3586 S Waco St                                             When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 37 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page79 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 10       Andy & Cynthia Sauder                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6060 Miller St                                             When was the debt incurred?
          Arvada, CO 80004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 11       Andy & Karyn Byrne                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7411 S Curtice Ct                                          When was the debt incurred?
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 12       Angel & Alexis Medina                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2647 N Champlain                                           When was the debt incurred?
          Tempe, AZ 85281
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 38 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page80 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 13       Angel & Dena Aranzamedi                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7970 Fox Glen Drive                                        When was the debt incurred?
          Franktown, CO 80116
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 14       Angel Rodriguez/Kellie Figoten                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          648 S. Azusa Ave. #23                                      When was the debt incurred?
          Azusa, CA 91702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 15       Angela & Brian Petermeyer                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 763                                                 When was the debt incurred?
          Sedalia, CO 80135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 39 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page81 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 16       Angela & Brian Petermeyer                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 763                                                 When was the debt incurred?
          Sedalia, CO 80135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 17       Angela & Carl Benbow                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2025 Medary Ave                                            When was the debt incurred?
          Phildelphia, PA 19138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 18       Angela & Rick Sego                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          185 Haywood Knolls Dr.                                     When was the debt incurred?
          Hendersonville, NC 28792
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 40 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page82 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 19       Angela And Walter (Wally) Trice                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6846 S Quantock Way                                        When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 20       Angela and Calvin Reed                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13643 Repa Lane                                            When was the debt incurred?
          Houston, TX 77014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 21       Angela and Chad Koch                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2074                                                When was the debt incurred?
          Gilroy, CA 95021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 41 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page83 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 22       Angela And Geoffery Jarrett                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          116 Charolais Drive                                        When was the debt incurred?
          McDonough, GA 30252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 23       Angela and Marife Ortiz/Mendez                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3530 Mystic Pointe Apt 215                                 When was the debt incurred?
          Aventura, FL 33180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 24       Angela Rodriguez Santiago                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          160 North Lorel Avenue                                     When was the debt incurred?
          Chicago, IL 60644
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 42 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page84 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 25       Angelica Quinones                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          325 C Street                                               When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 26       Angie & Marty Bauer                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2201 E. Prescott Place                                     When was the debt incurred?
          Chandler, AZ 85249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 27       Angie And Kevin Burttschell                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24706 Norton Road                                          When was the debt incurred?
          Sedalia, MO 65301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 43 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page85 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 28       Angie Hunter and Cynthia Ameln                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6875 Omaha Blvd                                            When was the debt incurred?
          Clorado springs, CO 80915
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 29       Angie Morehead                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3009 N Salida Del Sol                                      When was the debt incurred?
          Chandler, AZ 85224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 30       Anibal Alonso                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Bosque del Lago BC22 Plaza 7                               When was the debt incurred?
          Trujillo Alto, PR 00976
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 44 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page86 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 31       Anisha Heredia                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17135 Carlson Dr, Apt 738                                  When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 32       Anita & Donald Komorski                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1973 E Devon Ave                                           When was the debt incurred?
          Hanover Park, IL 60133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 33       Anita & Eliodoro Lopez/ Anzaldua                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2312 Majestic Fairway Lane                                 When was the debt incurred?
          League, TX 77573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 45 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page87 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 34       Anita And Tasha Hagman                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2708 Rimcon Dr.                                            When was the debt incurred?
          Junction, CO 81503
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 35       Anita Heffernan                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          260 S Degaulle St                                          When was the debt incurred?
          Aurora, CO 80018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 36       Anita Rodriguez and Angie Klash                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3812 Chapman St                                            When was the debt incurred?
          Houston, TX 77009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 46 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page88 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 37       Ann & Allen Tucker                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          98 Grapevine Rd                                            When was the debt incurred?
          Dunbarton, NH 03046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 38       Ann and Jackie Claycomb                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3935 Oxbow Village Lan NW                                  When was the debt incurred?
          Albuequerque, CANM 87120-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 39       Ann Schuck                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27300 Leona Dr                                             When was the debt incurred?
          Brookville, IN 47012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 47 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page89 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 40       Anna & Tony Lagos                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1229 south ash court                                       When was the debt incurred?
          Chandler, AZ 85286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 41       Anne Gaddis                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9306 South Calumet Avenue                                  When was the debt incurred?
          Chicago, IL 60619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 42       Anne Henrich                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          211 Standish Dr.                                           When was the debt incurred?
          Chapel Hill, NC 27517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 48 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page90 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 43       Answer First                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1602 North 21st Street                                     When was the debt incurred?
          Tampa, FL 33605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 44       Answerforce                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          033 SE Main St Ste 5                                       When was the debt incurred?
          Portland, OR 97214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 45       Anthem                                                     Last 4 digits of account number       0643                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 172405                                              When was the debt incurred?
          Denver, CO 80217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 49 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page91 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 46       Anthony & Emily Nunley/Harshaw                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2345 34th St SE                                            When was the debt incurred?
          Washington DC, VA 22204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 47       Anthony & Judith Sylvester                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3643 Idle Creek Drive                                      When was the debt incurred?
          Decatur, GA 30034
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 48       Anthony and Barbara March                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 189 730 Colfax                                    When was the debt incurred?
          Bennet, CO 80102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 50 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page92 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 49       Anthony And Donielle Gilliam                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7409 Colfax Dr                                             When was the debt incurred?
          Rowlett, TX 75089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 50       Anthony and Eloise Singleton                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          441 Foxpointe Dr                                           When was the debt incurred?
          Dover, DE 19904
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 51       Anthony and Maria Rico                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6914 Foxside Lane                                          When was the debt incurred?
          Humble, TX 77338
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 51 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page93 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Anthony Suzadail, Hemwatie
 52       Sposato, Mier                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          409 Allen Road                                             When was the debt incurred?
          Syracuse, NY 13212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 53       Antoine Clark and Ebonee Frazier                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1512 Freedom Boulevard                                     When was the debt incurred?
          Joliet, IL 60432
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 54       Antoinette & Clark Troupe                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3378 W 20th Pl                                             When was the debt incurred?
          Gary, IN 46404
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 52 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page94 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 55       Antonio And Nancy Olivera (SPO)                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13170 Staffordshire Drive South                            When was the debt incurred?
          Jacksonville, FL 32225
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 56       Antonio Polanco                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9100 E Florida Ave                                         When was the debt incurred?
          Unit 8-201
          Denver, CO 80247
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 57       Apenland Resort                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Transam Plaza Dr Ste 3000                                When was the debt incurred?
          Oakbrook Terrace, IL 60181-4817
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 53 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page95 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 58       APIntego                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 Columbine St.                                          When was the debt incurred?
          Denver, CO 80206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 59       April Perez                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          864 Diamond Rim Dr                                         When was the debt incurred?
          Colorado Springs, CO 80921
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 60       Aquarius Vacation Club                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 Dorado Del Mar Blvd                                    When was the debt incurred?
          Dorado, Puerto Rico 00646-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 54 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page96 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 61       Aquila Shelby                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7841 S. Homan Ave                                          When was the debt incurred?
          Chicago, IL 60652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 62       Aranka Herringer                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 42                                                When was the debt incurred?
          Hartsel, CO 80449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 63       Arcelia Garcia and Guillermo Ceja                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10030 Floyd                                                When was the debt incurred?
          Carbondale, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 55 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page97 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 64       Archie & Jennifer Tinjum                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3524 Dove Valley Place                                     When was the debt incurred?
          Castle Rock, CO 80108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 65       ARI Holiday Network                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Two TransAm Plaza Dr. Ste. 300                             When was the debt incurred?
          Oakbrook Terrace, IL 60181
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 66       Ariadne Young                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9100 Little Stone Dr                                       When was the debt incurred?
          Ft. Washington, MD 20744
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 56 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page98 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 67       Ariane Moyes                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          525 west sycamore circle                                   When was the debt incurred?
          Louisville, CO 80027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 68       Ariel Mares                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18060 E Bellewood Dr                                       When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Arkansas Department of the
 69       Attorney Gene                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          323 Center St #200                                         When was the debt incurred?
          Little Rock, AR 72201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 57 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                                 Entered:10/01/21 17:29:59 Page99 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 70       Arlee Anderson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          840 Nettle Rd                                              When was the debt incurred?
          Greenbank, WA 98253
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 71       Arlena Harbourne                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2120 Stephens PL Apt 113                                   When was the debt incurred?
          New Braunfels, TX 78130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 72       Arlene Conkling                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 S. Ironton                                             When was the debt incurred?
          Apt 202
          Aurora, CO 80012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 58 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page100 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 73       Armen and Jameela Khadiwala                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1237 S St Paul St                                          When was the debt incurred?
          Denver, CO 80210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 74       Arnim Jacob                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2610 Philadelphia Pike                                     When was the debt incurred?
          Apt B9
          Claymont, DE 19703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 75       Arthur & Amy Navarro                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1705 W Commerce Ave                                        When was the debt incurred?
          Gilbert, AZ 85233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 59 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page101 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Arthur & Gwendolyn
 76       Lemmon/Banks                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          810 Kentucky Ave SE                                        When was the debt incurred?
          Washington DC, VA 20003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 77       Arthur & Peggy Taylor                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          137 Thankeray                                              When was the debt incurred?
          Bolingbrook, IL 60440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 78       Arthur & Yongnan Piche                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2076 N Prominent Pt                                        When was the debt incurred?
          Hernando Beach, FL 34442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 60 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page102 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 79       Arthur and Dyanne Sonka                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          551 South Otis Street                                      When was the debt incurred?
          Lakewood, CO 80226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 80       Arthur and Evelyn Lewison                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9302 East Menlo Street                                     When was the debt incurred?
          Mesa, AZ 85207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 81       Arthur And Heidi Formoso                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2878 E Portola Valley Court                                When was the debt incurred?
          Gilbert, AZ 85297
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 61 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page103 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 82       Arvin & Betty Crose                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          104 Briar Ridge                                            When was the debt incurred?
          Collonsville, IL 62234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 83       Ashae And Doug Amerine                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6014 S. Zante Way                                          When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 84       Ashley & Deckion Lewis                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          171 Cactus Rd.                                             When was the debt incurred?
          Latta, SC 29565
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 62 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page104 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 85       Ashley & Lindsey Tucker/Spires                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8209 Hobhouse Circle                                       When was the debt incurred?
          Raleigh, NC 27615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Ashley Shade and Shannon
 86       Hamilton                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9545 W. Coal Mine Ave, Unit K                              When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 87       Ashley Simone Powell                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3366 S Biscay Way                                          When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 63 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page105 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 88       Ashley, M Lowery                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          823 E 8th St                                               When was the debt incurred?
          Loveland, CO 80537
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 89       Asim & Sara Siddiqui                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18223 Dalyell Dr.                                          When was the debt incurred?
          Richmond, TX 77407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 90       ASNY - Las Vegas                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          801 S Rampart Blvd                                         When was the debt incurred?
          Las Vegas, NV 89145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 64 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page106 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 91       ASNY/ Sommerset/RCI                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          801 S Rampart Blvd                                         When was the debt incurred?
          Las Vegas, NV 89145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 92       Aspen at Streamside                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2244 A. Frontage Road W.                                   When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 93       Aspen Streamside at Vail                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2244 So. Frontage Road West                                When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 65 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page107 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 94       Atlantic Palace                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1507 Boardwalk                                             When was the debt incurred?
          Atlantic City, NJ 08401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 95       Atlas Vacation Homes                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3211 Vineland Rd #324                                      When was the debt incurred?
          Kissimmee, FL 34746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 96       Atrium at Virginia Beach                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          315 21st Street                                            When was the debt incurred?
          Virginia Beach, VA 23451
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 66 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page108 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 97       Attitash Mountain Village River Run                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 358                                               When was the debt incurred?
          Bartlett, New Hampshire
          03812-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Attorney General's Office California
 98       Dep                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 944255                                            When was the debt incurred?
          Sacramento, CA 94244
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Attorney General's Office State of
 99       Alaba                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          501 Washington Avenue                                      When was the debt incurred?
          Montgomery, AL 36104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 67 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page109 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Attorney General's Office State of
 00       Arizo                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          005 N Central Avenue                                       When was the debt incurred?
          Phoenix, AZ 85004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 01       Audrey And Gary Davis                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1309 Emerson Street                                        When was the debt incurred?
          Evanston, IL 60201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 02       Aurillya & Carol Rolfe/Greene                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1021 Southpark Avenue                                      When was the debt incurred?
          Apt 115
          Titusville, FL 32780
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 68 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page110 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 03       Aurora Sevilla                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          308 Fellowship Circle                                      When was the debt incurred?
          Gaithersburg, MD 20877
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 04       Austin & Karen Adams                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          695 Timber Bend                                            When was the debt incurred?
          Highland Village, TX 75077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 05       Autum Aranda                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9018 Dover Street                                          When was the debt incurred?
          Westminster, CO 80021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 69 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page111 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 06       Avalon Vacation Club                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av. Coba #82 Lote 10                                       When was the debt incurred?
          Cancun QROO, Mexico 77500-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 07       Avia Stewart/Keith Grant                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          357 B Union St                                             When was the debt incurred?
          Trenton, NJ 08611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 08       Aviawest Resort Club                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8545 Commodity Circle                                      When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 70 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page112 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 09       Avon And Emma Jones                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          299 Belvoir School Rd                                      When was the debt incurred?
          Clinton, NC 28328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 10       B Public Relations, LLC                                    Last 4 digits of account number       3146                                                   $0.00
          Nonpriority Creditor's Name
          3630 Navajo St                                             When was the debt incurred?
          Denver, CO 80211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $22,518.00


 4.2      Background Information Services
 11       Inc.                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1716 N Main St                                             When was the debt incurred?
          Longmont, CO 80501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $170.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 71 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page113 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 12       Bahia Principe                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Placa Mediterrania, 5 Palma                                When was the debt incurred?
          IIIes Balears, Spain 07014-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 13       Bahia Turquesa Residences                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Crta. Arena Gorda, Macao 999                               When was the debt incurred?
          Punta Cana La Altagracia,
          Dominican Repu
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 14       Bala & Babita Rajasekaran                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9705 High Falls Court                                      When was the debt incurred?
          Las Vegas, NV 89178
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 72 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page114 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 15       Balarie Johnson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15 Ellsworth Ave                                           When was the debt incurred?
          Trenton, NJ 08618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 16       Bali Hai Villas                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4970 Pepelani Loop                                         When was the debt incurred?
          Princeville, HI 96722
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Balvino & Julissa K.
 17       Ramirez/Villatoro-G                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          147 Chelsea St.                                            When was the debt incurred?
          Boston, MA 02150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 73 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page115 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 18       Bank of America                                            Last 4 digits of account number       3742                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 53132                                               When was the debt incurred?
          Phoenix, AZ 85027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.2
 19       Barb & Dave Ramsey                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2815 Broadway Ave                                          When was the debt incurred?
          Pittsburgh, PA 15216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 20       Barbara & Kathleen Huner/Crier                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4839 Barn Owl Dr                                           When was the debt incurred?
          Frederick, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 74 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page116 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 21       Barbara & Millard & Scott Dykes                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9355 Meadowbrook Drive                                     When was the debt incurred?
          Gainsville, GA 30506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 22       Barbara and Arthur Tabor                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 1372                                                When was the debt incurred?
          DeSoto, TX 75123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 23       Barbara and Earl Smith                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1511 Republic St.                                          When was the debt incurred?
          San Diego, CA 92114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 75 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page117 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 24       Barbara Bundick                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          28493 FM 1301 Road                                         When was the debt incurred?
          West Columbia, TX 77486
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 25       Barbara Davidson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1097 Juniper Court                                         When was the debt incurred?
          Tavares, FL 32778
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 26       Barbara Kelly                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15714 Barbarossa Drive                                     When was the debt incurred?
          Houston, TX 77083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 76 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page118 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 27       Barbara Krause                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          214 Fremont St E                                           When was the debt incurred?
          Northfield, MN 55057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 28       Barbara Kvam                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2809 Pontiac Circle                                        When was the debt incurred?
          Atlanta, GA 30360
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 29       Barbara Manning                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10572 East Autumn Sage Drive                               When was the debt incurred?
          Scottsdale, AZ 85255
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 77 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page119 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 30       Barbara McDonald                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3602 Hunting Creek Loop                                    When was the debt incurred?
          New Port Richey, FL 34655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 31       Barbara Miles (Mesa)                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1266 Lawson Ave                                            When was the debt incurred?
          Erie, CO 80516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 32       Barbara Reno                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1119 S Camino Santiago Dr                                  When was the debt incurred?
          Pueblo West, CO 81007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 78 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page120 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 33       Barbara Stogsdill                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3512 69th ave west                                         When was the debt incurred?
          University Place, WA 98466
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 34       Barbra and Fred Tapia                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1722 Truda Dr                                              When was the debt incurred?
          Northglenn, CO 80233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,111.00


 4.2
 35       Barefoot in the Keys                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2754 Florida Plaza                                         When was the debt incurred?
          Kissimmee, FL 34746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 79 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page121 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 36       Barefoot Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4980 Barefoot Resort Bridge Rd.                            When was the debt incurred?
          Norht Myrtle Beach, SC 29582
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 37       Barony Beach Club                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Grasslawn Ave,                                           When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 38       Barrie Graves                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4717 Dolphin Cay Lane South                                When was the debt incurred?
          Unit 402
          St Petersburg, FL 33711-4662
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 80 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page122 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 39       Barrier Island                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1245 Duck Road P.O. Box 8279                               When was the debt incurred?
          Duck, NC 27949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 40       Barry & Brenda Shilling                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 187                                                 When was the debt incurred?
          Saint Albans, WV 25177
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 41       Barry & Grace Beauprez                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          150 katsura circle                                         When was the debt incurred?
          Milliken, CO 80543
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 81 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page123 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 42       Bart & Julie Moore                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6310 W. Tonopah Dr.                                        When was the debt incurred?
          Glendale, AZ 85308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 43       Bart & Nancy Woodworth                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9515 E Glencove St                                         When was the debt incurred?
          Mesa, AZ 85207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 44       Bart & Nora Lund                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7830 W Portland Ave                                        When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 82 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page124 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 45       Barton & Gwendolyn Fields                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16740 Claggett Landing Road                                When was the debt incurred?
          Upper Marlboro, MD 20774
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 46       Bay Club Hawaii                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          69-450 Waikoloa Beach Dr.                                  When was the debt incurred?
          Waikoloa, HI 96738
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 47       Beachside Village                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Beachside Billage Resort                                   When was the debt incurred?
          Condominiums 45
          Falmouth, MA 02540
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 83 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page125 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 48       Beatrice and Willy Short                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1661 Monroe White Store Rd                                 When was the debt incurred?
          Peachland, NC 28133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 49       Beatrice Jefferson                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10611 Beckfield Drive                                      When was the debt incurred?
          Houston, TX 77099
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Beatrice, Jeff, Jeff Jr., Trezlyn and
 50       Tr                                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          404 Poplar Street                                          When was the debt incurred?
          Lamar, TX 77568
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 84 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page126 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 51       Beatriz Derisse                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          182 Aberdeen Ct                                            When was the debt incurred?
          Williamstown, NJ 08094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 52       Bel Air Vacations                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Vallarta PO Box 96058                                      When was the debt incurred?
          Las Vegas, NV 89193-6058
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 53       Belinda & Manuel Infante                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1312 Plymouth Street                                       When was the debt incurred?
          Pasadena, TX 77502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 85 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page127 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 54       Belinda Morales                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4155 Meyerwood Dr                                          When was the debt incurred?
          Houston, TX 77025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 55       Bella and Maurice Darmon                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1932 Westchester Dr.                                       When was the debt incurred?
          Silver Spring, MD 20902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 56       Bella Florida Condo Association                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1201 Hays Street                                           When was the debt incurred?
          Tallahassee, FL 32301-2525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 86 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page128 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 57       Bella Health + Wellness                                    Last 4 digits of account number                                                            $50.00
          Nonpriority Creditor's Name
          180 E Hampden Ave Suite 100                                When was the debt incurred?
          Englewood, CO 80113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Copay


 4.2
 58       Bella Vista Village                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          POA PO Box 6210                                            When was the debt incurred?
          Bella Vista, AR 72714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 59       Benita Russell                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4342 Whippoorwill Circle                                   When was the debt incurred?
          Missouri City, TX 77459
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 87 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page129 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 60       Benjamin Fetzer                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3327 S Elkhart St                                          When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 61       Bennie Hill                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2301 Foxtree Road                                          When was the debt incurred?
          Tavares, FL 32778
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 62       Berkley Vacation Resorts                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3015 N Ocean Blvd                                          When was the debt incurred?
          Fort Lauderdale, FL 33308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 88 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page130 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 63       Berkshire By The Sea                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          126 N. Ocean Boulevard                                     When was the debt incurred?
          Deiray Beach, FL 33483
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 64       Berkshire Mountain Lodge Resort                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8 Dan Fox Dr.                                              When was the debt incurred?
          Pittsfield, MA 01201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 65       Berkshire of Boston                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          One Beacon Street 24th floor                               When was the debt incurred?
          Boston, MA 02108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 89 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page131 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 66       Bernadette Fersch                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          333 E. Ontario St Apt 4208                                 When was the debt incurred?
          Chicago, IL 60611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 67       Bernard And Sheri Pacheco                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3491 Bear Canyon Cir                                       When was the debt incurred?
          Salida, CO 80135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 68       Bernard Doherty                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          166 Franklin St                                            When was the debt incurred?
          Arlington, MA 02474
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 90 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page132 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 69       Bernice & Anita Fleming                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          224 17th Street NE                                         When was the debt incurred?
          Washington, DC 20002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 70       Bert Somogyi                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7930 East Cammelback Road                                  When was the debt incurred?
          Unit 706
           AZ 85251
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 71       Bertha Richardson                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1445 Forest Green Court                                    When was the debt incurred?
          St. Louis, MO 63130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 91 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page133 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 72       Bespoke Technology                                         Last 4 digits of account number       2744                                                   $0.00
          Nonpriority Creditor's Name
          1700 Lincoln Street Suite 2700                             When was the debt incurred?
          Denver, CO 80203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $4,436.17


 4.2
 73       Best Buy Citi                                              Last 4 digits of account number       6198                                             $1,382.96
          Nonpriority Creditor's Name
          P.O. Box 9001007                                           When was the debt incurred?
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.2
 74       Beth & Lloyd Powell                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2220 W. St Joseph St                                       When was the debt incurred?
          Wilmington, DE 19808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 92 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page134 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 75       Betsy & Kathleen Dalton/Gibboney                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6010 Blueridge Drive                                       When was the debt incurred?
          Apt A
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 76       Betsy Bird                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          867 Canal Dr                                               When was the debt incurred?
          Mclean, Virginia 22102-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 77       Better Business Bureau                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12639 W Explorer Dr Ste 200                                When was the debt incurred?
          Boise, ID 83713
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 93 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page135 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 78       Betty & Jesse & Jesse Jr Hall                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 19237                                             When was the debt incurred?
          Philidelphia, PA 19143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 79       Betty & Summer Blue/Teel                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          250 Chelsea Ave                                            When was the debt incurred?
          Glenside, PA 19038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 80       Betty & Vernon Tubman                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          37323 East Lakeland Dr                                     When was the debt incurred?
          Mechanicsville, MD 20659
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 94 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page136 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 81       Betty And Robert Howland                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 Birchwood Drive                                          When was the debt incurred?
          Rye, NH 03870
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Betty Bozeman, Norbert Schwartz
 82       and Ben                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1313                                                When was the debt incurred?
          Buena Vista, CO 81211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 83       Betty Davis                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12658 West 1st Place                                       When was the debt incurred?
          Lakewood, CO 80228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 95 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page137 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 84       Betty Dorsey                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1113 Seminole Sky Drive                                    When was the debt incurred?
          Ruskin, FL 33570
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 85       Betty Newton                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3418 Cape Forest Drive                                     When was the debt incurred?
          Kingwood, TX 77345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 86       Betty Rogers And Crystal Baker                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4006 Gunston Drive                                         When was the debt incurred?
          Suffolk, VA 23434
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 96 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page138 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 87       Beverly And Anthony Keats                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Portmore Lane                                            When was the debt incurred?
          Franingham, MA 01720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 88       Beverly and Jock Fontaine                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9 Sturbridge Court                                         When was the debt incurred?
          Egg Harbor Township, NJ 08234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 89       Beverly and Roger Gealow                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17431 FM 1314                                              When was the debt incurred?
          Conroe, TX 77302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 97 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page139 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 90       Beverly Holmes                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3424 Saint Paul Ave                                        When was the debt incurred?
          Bellwood, IL 60104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 91       Beverly Hull                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2300 Monte Verde Drive                                     When was the debt incurred?
          Pinole, CA 09456
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 92       Beverly McCombs and Crystal Kidd                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1117 Leavitt Ave #310                                      When was the debt incurred?
          Flossmoor, IL 60422
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 98 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page140 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 93       Beverly O'Rourke                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18900 E Main St                                            When was the debt incurred?
          #205
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 94       Big Bear                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3590 Georgia Road                                          When was the debt incurred?
          Franklin, NC 28734
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 95       Big Fish Talent Agency                                     Last 4 digits of account number       6027                                                   $0.00
          Nonpriority Creditor's Name
          8400 E Crescent Parkway, 6th Floor                         When was the debt incurred?
          Greenwood Village, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $1,380.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 99 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page141 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 96       Big Footprint Digital                                      Last 4 digits of account number       9543                                                   $0.00
          Nonpriority Creditor's Name
          303 S Broadway Suite 200-385                               When was the debt incurred?
          Denver CO
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $17,920.00


 4.2
 97       Biljana & Michael Rasmuson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          91 Hollymead Dr                                            When was the debt incurred?
          The Woodlands, TX 77381
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 98       Bill & Dorothy Zimmerman                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10585 W. Palmeras                                          When was the debt incurred?
          Unit N
          Sun City, AZ 85273
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 100 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page142 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 99       Bill & Kellie Dees                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 21                                                  When was the debt incurred?
          Aztec, NM 87410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 00       Bill & Lucinda Webb/Rather                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12823 Burning Log Lane                                     When was the debt incurred?
          Dallas, TX 75243
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 01       Bill And Mary Tweed                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2220 Salem St                                              When was the debt incurred?
          Carollton, TX 75006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 101 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page143 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 02       Billie & Gary Glowe                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2172 S. Stonebridge Rd.                                    When was the debt incurred?
          Warsaw, IN 46580
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 03       Birkshires                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          66 Allen Street                                            When was the debt incurred?
          Pittsfield, MA 01201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 04       Bjorkman Talent                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 678                                                 When was the debt incurred?
          Grand Lake, CO 80447
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 102 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page144 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 05       Blake & Susan Gubeli                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 220237                                              When was the debt incurred?
          205 S Main Street
          Centerfield, UT 84622
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 06       Blue Beards Castle                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 7158                                                When was the debt incurred?
          St. Thomas, VI 00801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 07       Blue Mesa Recreational Ranch                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27601 West Highway 50                                      When was the debt incurred?
          Gunnison, CO 81230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 103 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page145 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 08       Bluebeard in St. Thomas                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Frenshmans Bay                                         When was the debt incurred?
          Saint Thomas Island, US Virgin
          Islands
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 09       Bluegreen Vacations Unlimited Inc.                         Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          4960 Conference Way N, Suite 100                           When was the debt incurred?
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Plaintiff in pending lawsuit against Debtors,
              Yes                                                       Other. Specify   Timeshare Termination Team and others.


 4.3
 10       Bluegreen Wilderness Club                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4960 Conference Way North, Suite                           When was the debt incurred?
          100
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 104 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page146 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 11       Bluetree                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12007 Cypress Run Rd                                       When was the debt incurred?
          Orlando, FL 32836
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Blugegreen Vacations Unlimited
 12       Inc.                                                       Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          4960 Conference Way North, Suite                           When was the debt incurred?
          100
          Boca Raton, FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Plaintiff in pending lawsuit.


 4.3
 13       Bob & Molly Tekel                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1275 E Waterview Place                                     When was the debt incurred?
          Chandler, AZ 85249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 105 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page147 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 14       Bob & Verna Pankan                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27594 Youngston Dr                                         When was the debt incurred?
          PO Box 40
           MN 55040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 15       Bob and Pat Ford                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          811 S Youngfield Ct                                        When was the debt incurred?
          Lakewood, CO 80228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 16       Bobbe & William Wasson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4088 Grayson DR                                            When was the debt incurred?
          Obetz, OH 43207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 106 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page148 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Bobbie Lee Arnold and Sylvester
 17       Arnold J                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2416 East 91st St                                          When was the debt incurred?
          Chicago, IL
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 18       Bobby Brown                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4403 11th Street                                           When was the debt incurred?
          Bacliff, TX 77518-2208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 19       Bonaventure Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          250 Racquet Club Rd.                                       When was the debt incurred?
          Weston, FL 33326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 107 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page149 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 20       Bonita (Bonnie) Maday                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          39 E Exposition Ave                                        When was the debt incurred?
          Denver, CO 80209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 21       Bonita Smith                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1036 Springfield Dr                                        When was the debt incurred?
          Chelea, AL 35043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 22       Bonnett Creek                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6560 Via Encinas                                           When was the debt incurred?
          Orlando, FL 32830
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 108 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page150 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 23       Bonneville Intl                                            Last 4 digits of account number       63A2                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 26245                                               When was the debt incurred?
          Salt Lake City, UT 84126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $14,887.04


 4.3      Bonnie & Michael (deceased)
 24       Pruett/Scarc                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4990 Jekyll RD                                             When was the debt incurred?
          Cumming, GA 30040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 25       Bonnie & Mike Knuckey                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          424 S. Blakeley St.                                        When was the debt incurred?
          Monroe, WA 98272
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 109 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page151 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 26       Boyce & Marietta Sefcik                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          633 Linsberry Court                                        When was the debt incurred?
          Avon Lake, OH 44012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 27       Brad and Diana Shaffer                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 87                                                  When was the debt incurred?
          Overbrooke, KS 66524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 28       Bradley & Mary Johnson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8299 Essex Road                                            When was the debt incurred?
          Chanhassen, MN 55317
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 110 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page152 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 29       Bradley & Subainah Forney                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4130 East 96th Place                                       When was the debt incurred?
          Thornton, CO 80229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 30       Brandon & Jenna Howard/Bachman                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23881 East Garden Drive                                    When was the debt incurred?
          Aurora, CO 80116
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 31       Brandon and Tempestt Adams                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          915 Rollingwood Dr                                         When was the debt incurred?
          Mt Holly, NC 28120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 111 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page153 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 32       Brandy Bruzgo                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3067 Dovecote Dr                                           When was the debt incurred?
          Quakertown, PA 18951
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 33       Branson Nantucket                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2837 State Highway 265                                     When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 34       Branson Woods                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1440 Missouri Highway                                      When was the debt incurred?
          MO-248 Q504, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 112 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page154 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 35       Branton & Lori Alderman                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          605 Highland Drive                                         When was the debt incurred?
          Bay Saint Louis, MS 39520
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 36       Breakers of Ft. Lauderdale                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          909 Breakers Avenue                                        When was the debt incurred?
          Fort Lauderdale, FL 33304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 37       Breana Bell and Jari Maddox                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2605 Craycrast Ave                                         When was the debt incurred?
          Louisville, KY 40218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 113 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page155 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 38       Breanne Rinkema                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4204 Sandberg Drive                                        When was the debt incurred?
          Colorado Springs, CO 80911
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 39       Breckenridge Grand Vacations                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 S. Main St., P.O. Box 6879                             When was the debt incurred?
          Breckenridge, CO 80424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Breckenridge Grand Vacations -
 40       Peak 7 an                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1627 Ski Hill Road                                         When was the debt incurred?
          Breckenridge CO, CO 80424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 114 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page156 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 41       Bree and Travis Boldt                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8820 Judson St                                             When was the debt incurred?
          Westminster, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 42       Breeze Private Residences Club                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Pacifico Retail Billage 18 Sardinal                        When was the debt incurred?
          Playa del Coco, Costa Rica
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 43       Breezy Point at Highpoint                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9252 Breezy Point Drive                                    When was the debt incurred?
          Breezy Pint, MN 56472
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 115 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page157 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 44       Breezy Point in Minnesota                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9252 Breezy Point Drive                                    When was the debt incurred?
          Breezy Pint, MN 56472
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 45       Breezy Shores Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1275 W. Lake Drive                                         When was the debt incurred?
          Detroit LAKES, MN 56501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 46       Brenda & Aaron Holmes                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1617 N Mobile Ave                                          When was the debt incurred?
          Chicago, IL 60639
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 116 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page158 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 47       Brenda & Ammie Jenkins/Nurse                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1257 Granton Terrace                                       When was the debt incurred?
          Chesapeake, VA 23332
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Brenda & Cortney
 48       Etheredge/Goodson/Griff                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Wallace Road                                             When was the debt incurred?
          Mount Holly, NJ 08060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 49       Brenda & Glenn Isaacson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5959 Idlewood Road                                         When was the debt incurred?
          Mound, MN 55364
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 117 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page159 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 50       Brenda & Paul Bob                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8506 Bandridge Road                                        When was the debt incurred?
          Laporte, TX 77571
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 51       Brenda & Toby Wibeto                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7515 E Florian Ave                                         When was the debt incurred?
          Mesa, AZ 85208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 52       Brenda Crow                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4578 TWIN PEAKS DRIVE                                      When was the debt incurred?
          LOVELAND, CO 80537
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 118 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page160 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 53       Brenda Hardwick                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8478 Jason Street                                          When was the debt incurred?
          Federal Heights, CO 80260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,495.00


 4.3
 54       Brenda Sisneros                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          845 Salem Street                                           When was the debt incurred?
          Aurora, Colorado 80010-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 55       Brenda Smith                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17715 Dusty Patty Ct.                                      When was the debt incurred?
          Richmond, TX 77407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 119 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page161 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 56       Brenda Soper                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6427 Newcombe St                                           When was the debt incurred?
          Apt #A
          Arvada, CO 80004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 57       Brett & Rebecca Sterrett                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          97 E Wildflower Court                                      When was the debt incurred?
          Saratoga Springs, UT 84045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 58       Brian & Barbara Cossey (Stewart)                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5450 Wickerdale Lane                                       When was the debt incurred?
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 120 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page162 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 59       Brian & Charlene Odaffer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6177 N Cedar Ave                                           When was the debt incurred?
          Medford, MN 55049
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 60       Brian & Cheryl Kellison                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1002 N 1138 Rd                                             When was the debt incurred?
          Lawrence, KS 66047
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 61       Brian & Ebony Gauthier                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4009 8th Street NW                                         When was the debt incurred?
          Lehigh Acres, FL 33976
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 121 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page163 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 62       Brian & Nanette Barbiche                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2523                                                When was the debt incurred?
          Granby, CO 80446
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 63       Brian and Angela Petersen                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4419 E. Indigo Bay Dr.                                     When was the debt incurred?
          Gilbert, AZ 85234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 64       Brian And Elinor Sullivan                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9732 S Seeley Ave                                          When was the debt incurred?
          Chicago, IL 60643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 122 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page164 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 65       Brian and Elisabeth Corcoran                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16029 Pikes Peak Dr                                        When was the debt incurred?
          Broomfield, CO 80023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 66       Brian and Eric Studdert                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26112 Queens Glen Drive                                    When was the debt incurred?
          Kingwood, TX 77339
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 67       Brian and Rosemarie Lockie                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10861 Golfview Dr North                                    When was the debt incurred?
          Penbroke Pines, FL 33026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 123 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page165 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 68       Brian Berg                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14 San Anselmo                                             When was the debt incurred?
          Rancho Santa Margarita, CA 92688
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 69       Brian Geer and Jacqueline Rivera                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 315                                                 When was the debt incurred?
          Walden, CO 80480
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 70       Brian Rathbun                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4997 S Espana Way                                          When was the debt incurred?
          Centennial, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 124 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page166 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 71       Brian W Jackson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2509 Testway Ave                                           When was the debt incurred?
          Fort Washingtion, MD 20744
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 72       Brice Bohrer Creative LLC                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3082 Willowrun Dr                                          When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Bridget & Alexandria
 73       Codrington/Mckenzie                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          534 Vandalia Ave                                           When was the debt incurred?
          Brooklyn, NY 11239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 125 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page167 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Bridgette & Melody
 74       Craddock/Johnson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          936 Wynfield Ter                                           When was the debt incurred?
          Richmond, Va 23223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Brookshire resort - Vacation Village
 75       Res                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2626 Oakland Park Boulevard                                When was the debt incurred?
          Fort Lauderdale, FL 33306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 76       Bruce & Beverly Nelsen                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          108 Park Rd.                                               When was the debt incurred?
          Staples, MN 56479
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 126 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page168 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 77       Bruce & Donna Davis                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O Box 771                                                When was the debt incurred?
          West Liberty, Kentucky 41772-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 78       Bruce and Kathleen Anderson                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14949 Sandpiper Drive                                      When was the debt incurred?
          Little Falls, MN 56345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 79       Bruce and Kathleen Anderson                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5707 Wolf Village Drive                                    When was the debt incurred?
          Colorado Springs, CO 80924
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 127 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page169 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 80       Bruce Buell                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 27351                                               When was the debt incurred?
          Denver, CO 80227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Bruce Girgenrath & Margaret Jane
 81       Hough                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8 Round Table Drive                                        When was the debt incurred?
          Bell Vernon, PA 15012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 82       Bruce Goodman                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          176 Dayleview Ro                                           When was the debt incurred?
          Berwyn, PA 19312
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 128 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page170 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 83       Bryan & Tawnia West                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3736 Marathon Drive                                        When was the debt incurred?
          Billings, MT 59102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 84       Bryan and Marie Good                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10136 E Southern Ave #1102                                 When was the debt incurred?
          Mesa, AZ 85209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 85       Buffy & David L. Sacre                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4504 Exton Lane                                            When was the debt incurred?
          Chester, VA 23831
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 129 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page171 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 86       Buganvilias Resort Vacation Club                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          #D747 BlvdFrancisco Medina                                 When was the debt incurred?
          Ascenclo No.
          Jalisco, Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 87       Burn, Figa & Will, P.C.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6400 S. Fiddlers Green Circle Suite                        When was the debt incurred?
          1000
          Greenwood Village, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 88       Bushkill Group                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 447                                                 When was the debt incurred?
          Bushkill, PA 18324
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 130 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page172 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 89       Business Capital One Spark Visa                            Last 4 digits of account number                                                        $5,652.25
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt personally guaranteed by
              Yes                                                       Other. Specify   Holly


 4.3
 90       Byron And Sandra Wake                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1507 Haven Lock Drive                                      When was the debt incurred?
          Houston, TX 77077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 91       Byron And Theresa Fain                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          702 S Moore St                                             When was the debt incurred?
          Dallas, TX 75203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 131 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page173 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 92       C Thomas (Tom) & Sandra Young                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4404 Steeplechase trail                                    When was the debt incurred?
          Arlington, TX 76016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 93       C2C Resources, LLC                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          56 Perimeter Center East Suite 100                         When was the debt incurred?
          Atlanta, GA 30346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 94       C4 Sign & Design                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8072 S Grant Way                                           When was the debt incurred?
          Littleton, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 132 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page174 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 95       Cabo Villas                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Callejon del Pescador S/N Medano                           When was the debt incurred?
          Beach
          Cabo San Lucas 23453, Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      California Vacation Club in Napa
 96       Valley                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 lincoln Avenue                                         When was the debt incurred?
          Napa, CA 94558
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 97       CALL RAIL INC                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Peachtree St NW #2700                                  When was the debt incurred?
          Atlanta, GA 30303
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 133 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page175 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 98       Callena Sturdivant                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 33182                                               When was the debt incurred?
          Charlotte, NC 28233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 99       Calvin And Debra Snyder                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3538 Clater Powell                                         When was the debt incurred?
          Waco, TX 76705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 00       Calvin Bowles and Clarizelle Reyes                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 Pennsylvania Ave                                       When was the debt incurred?
          Apt 316
          Fairfield, CA 94533
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 134 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page176 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 01       Calypso Cay Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4951 Calpso Cay Way                                        When was the debt incurred?
          Kissimmee, FL 34746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 02       Canadian Lakes                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100th Ave.                                                 When was the debt incurred?
          Canadian Lakes, Michigan
          49346-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 03       Canvas Bank                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          PO Box 5238                                                When was the debt incurred?
          Englewood, CO 80155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Overdrawn Business Bank Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 135 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page177 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 04       Capathia Jenkins                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          262 Jefferson Avenue                                       When was the debt incurred?
          Canton, GA 30114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 05       Capistrano Surfside Inn                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          34680 Coast Highway                                        When was the debt incurred?
          Capistrano Beach, CA 92624
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 06       Capital One - Cabela's                                     Last 4 digits of account number       1134                                           $13,441.49
          Nonpriority Creditor's Name
          P.O. Box 30285                                             When was the debt incurred?
          Salt Lake City, UT 84130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 136 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page178 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 07       Capital Resorts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          150 2nd Ave N STE 450                                      When was the debt incurred?
          Saint Petersburg, FL 33701-3340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 08       Capital Vacations                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9654 N Kings Hwy. Suite 101                                When was the debt incurred?
          Myrtrle Beach, SC 29572-4040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 09       Capital Vacations                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9654 N Kings Hwy #101                                      When was the debt incurred?
          Myrtle Beach, SC 29572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 137 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page179 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 10       Captain Morgan's Retreat                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3.5 Miles North                                            When was the debt incurred?
          San Pedro 9999, Belize
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 11       Captain's Cove Resort                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Big Lake Road PO Box 49                                    When was the debt incurred?
          Gresham, WI 54128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 12       Caribbean Palm Village                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Noord 43-E Palm Beach Road                                 When was the debt incurred?
          Noord, Aruba
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 138 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page180 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 13       Carl & Barbara Kindermann                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          52York Hill Ct                                             When was the debt incurred?
          Wentzville, MO 63385
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 14       Carl, Alfred Swanson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3448 S Iris Ct                                             When was the debt incurred?
          Lakewood, CO 80227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 15       Carla and Brian Scheppler                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18725 E 100th PL                                           When was the debt incurred?
          Commerce City, CO 80022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 139 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page181 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 16       Carla and Greg Potts                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1260 County Road 6236 North                                When was the debt incurred?
          Granby, CO 80446
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 17       Carla Hastings                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1550 N Stapley Unite 33                                    When was the debt incurred?
          Mesa, AZ 85203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 18       Carlos & Paulette Davila                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8603 West Cove Circle                                      When was the debt incurred?
          Houston, TX 77064
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 140 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page182 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 19       Carlos & Valerie Hernandez                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13785 W 64th Pl.                                           When was the debt incurred?
          Arvada, TX 80004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 20       Carlos and Corazon Laygo                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8786 Don Hordon Ave.                                       When was the debt incurred?
          Las Vegas, NV 89178
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 21       Carlos And Mary DeJesus (SPO)                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          95 Weare Street 3rd Floor                                  When was the debt incurred?
          Lawrence, MA 01843
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 141 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page183 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 22       Carlos And Mioara Mercado Torres                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16 Golden Knight Terrace                                   When was the debt incurred?
          Cameron, NC 28326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 23       Carlos And Tamira Santiago                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          108 Pecanwood CT                                           When was the debt incurred?
          Georgetown, TX 78626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 24       Carlos Gonzalez                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2118 W Glen Rosa Ave                                       When was the debt incurred?
          Phoeniz, AZ 85015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 142 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page184 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 25       Carlton and Leslie Allderdice                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24042 E. Moraine Place                                     When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 26       Carlton Barber                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1020 Mockingbird Lane                                      When was the debt incurred?
          Richwood, TX 77531
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 27       Carmen Elam and Phyllis Reed                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          256 Diamond Drive                                          When was the debt incurred?
          Evergreen, CO 80439
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 143 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page185 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4      Carol Freeman-Richardson and
 28       James Rich                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4268 Magnolia Ln N                                         When was the debt incurred?
          Plymouth, MN 55441
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 29       Carol & Dennis Lanspery                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1681 Albany Court                                          When was the debt incurred?
          Hollister, CA 95023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 30       Carol & Humberto Udel-Rodriguez                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          501 Carleton Dr                                            When was the debt incurred?
          Richardson, TX 75081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 144 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page186 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 31       Carol & Lane Morris/Knox                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1934 Stonegate Dr                                          When was the debt incurred?
          Calument City, IL 60473
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 32       Carol & Marlin Amsberry                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          516 East Hinsdale Avenue                                   When was the debt incurred?
          Littleton, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 33       Carol & Michael Snapp                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          145 Leason Cove Drive                                      When was the debt incurred?
          Lusby, MD 20657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 145 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page187 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 34       Carol & Norman Hinrichs                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          690 Monn Ave                                               When was the debt incurred?
          ST. Paul, MN 55127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 35       Carol & Ralph Krieser                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13955 E Oxford Place                                       When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 36       Carol & Susan Wiegrefe                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          42443 120th Street                                         When was the debt incurred?
          Mabel, MN 55954
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 146 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page188 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 37       Carol A. Jones                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17751 Devon Drive                                          When was the debt incurred?
          Country Club Hills, IL 60478
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 38       Carol and Charles Walters                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16600 25th Ave NE Unit 140                                 When was the debt incurred?
          Marysville, DC 98271
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 39       Carol and Gary Thompson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8716 W Indore Dr                                           When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 147 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page189 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 40       Carol and Lewis Barnes                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2904 Veva Dr.                                              When was the debt incurred?
          Pearland, TX 77584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 41       Carol and Mark Tomlinson                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5629 Van Buren Street                                      When was the debt incurred?
          Groves, TX 77619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 42       Carol and Martin Frenkel                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1025 Autumn Dr.                                            When was the debt incurred?
          Antioch, IL 60002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 148 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page190 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 43       Carol and Marvin Morganti                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1950 Virgo Circle                                          When was the debt incurred?
          Loveland, CO 80537
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 44       Carol and Perry Brady                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 717                                                 When was the debt incurred?
          Lehi, UT 84043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 45       Carol Carmouche                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1706 Highland Glen Lane                                    When was the debt incurred?
          Pearland, TX 77581
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 149 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page191 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 46       Carol Council                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20 Mill Stone Rd Ext                                       When was the debt incurred?
          Moncure, NC 27559
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 47       Carol Johnson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1367 River Drive                                           When was the debt incurred?
          Apt 11
          Chicago, IL 60409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 48       Carol Magee                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8600 E Alameda Ave Unit 12-103                             When was the debt incurred?
          Denver, CO 80247
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 150 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page192 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 49       Carol Murray                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6476 S High St                                             When was the debt incurred?
          Centennial, CO 80121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,721.00


 4.4
 50       Carol Pelikan                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2142 West Grace Street                                     When was the debt incurred?
          Chicago, IL 60618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 51       Carol Thomas                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5744 North Lawrence Street                                 When was the debt incurred?
          Philadelphia, PA 19120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 151 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page193 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 52       Carol Zeller                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7478 Pebble Lake Dr                                        When was the debt incurred?
          Mechanicsville, VA 23231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 53       Carole Simpson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16665 North Boxcar Dr                                      When was the debt incurred?
          Fountain Hills, Arizona 86695-2512
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 54       Caroline & George Morris                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          65 Standiford Ct                                           When was the debt incurred?
          Wilmington, DE 19804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 152 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page194 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 55       Caroline & Lewis Efird                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2931 Grampain Drive                                        When was the debt incurred?
          Gastonia, NC 28054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 56       Caroline Czirr                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          607 Clayton                                                When was the debt incurred?
          Denver, CO 80206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 57       Carolyn & James (Rick) Vansant                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1420 Reed Street                                           When was the debt incurred?
          Coatesville, PA 19320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 153 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page195 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 58       Carolyn & Raymond Smith                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          245 Ridge Drive                                            When was the debt incurred?
          Bowie, TX 76230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 59       Carolyn Moore                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          409 Eastern Road                                           When was the debt incurred?
          Apt M3
          Willow Grove, PA 19090
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 60       Carolyn Pruitt                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7145 Oglesby Ave.                                          When was the debt incurred?
          Chicago, IL 60649
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 154 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page196 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 61       Carolyn Sutherland                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3445 Trenary Ln                                            When was the debt incurred?
          CO Springs, CO 80918
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 62       Caron And Ken Pierre                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40 North Lake Drive                                        When was the debt incurred?
          Newnan, GA 30263
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 63       Carriage House Resorts                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          250 S,E, 20th Ave A1A                                      When was the debt incurred?
          Deerfield Beach, FL 33441
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 155 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page197 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 64       Carribean Palm Village                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Noord 43-E Palm Beach Road                                 When was the debt incurred?
          Oranjestad, Aruba
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Carrie & Kim & Todd & Kurt
 65       Peck/Phillips                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          818 East Dartmoor                                          When was the debt incurred?
          Sevenhills, OH 44131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 66       Carrie And David Holmes                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          107 N Craig Rd (PO Box 118)                                When was the debt incurred?
          Prosper, TX 75078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 156 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page198 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 67       Carrie Lopes/Steve Ricciardi                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Daniel Lane                                              When was the debt incurred?
          North Truro, MA 02652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 68       Carrie Mullinix                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16149 E Geddes Ln                                          When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 69       Carrol & Lee Holmes                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4425 Melanie Lane                                          When was the debt incurred?
          College Park, GA 30349
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 157 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page199 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 70       Caryn Gover                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4319 Pebble Creek Dr. Apt. D                               When was the debt incurred?
          Bakersfield, CA 93312
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 71       Casa Dorado                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Avv. Pescador S/N Col. Medano                              When was the debt incurred?
          Cabo San Lucas 23453, BCS 23479
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 72       Casillas Law                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4704 Harlan ST Suite 685                                   When was the debt incurred?
          Denver, CO 80212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 158 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page200 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 73       Casimir & Otibhor Agbi                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          115-36 Mexico St                                           When was the debt incurred?
          Saint Albans, NY 11412
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Cassandra And David Munoz
 74       Cornejo                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1902 East Alta Vista Road                                  When was the debt incurred?
          Phoenix, AZ 85042
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 75       Cassandra And Gregory Reynolds                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5403 Pine Ridge Lane                                       When was the debt incurred?
          Rosharon, TX 77583
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 159 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page201 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 76       Catch Fire Marketing                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6888 S Clinton St suite 10                                 When was the debt incurred?
          Greenwood Village, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 77       Catherine & Dana Harris                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          913 School                                                 When was the debt incurred?
          Matteson, IL 60443
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 78       Catherine & Leonard M Gula                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          34 Greenlawn Street                                        When was the debt incurred?
          Fall River, MA 02720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 160 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page202 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 79       Catherine Foster                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4401 Tuskeegee Place                                       When was the debt incurred?
          Clinton, MD 20735
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 80       Cathy & Marion Eaton                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8025 Ohio Dr Apt 4106                                      When was the debt incurred?
          Plano, TX 75024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 81       Cathy and Ronald Dock                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6250 17th St S                                             When was the debt incurred?
          St Petersburg, FL 33712
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 161 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page203 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 82       Causeway on Gull                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8087 Lost Lake Road                                        When was the debt incurred?
          Nisswa, MN 56468
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 83       CBS                                                        Last 4 digits of account number       8179                                                   $0.00
          Nonpriority Creditor's Name
          530 W. 57th Street                                         When was the debt incurred?
          New York, NY 10019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,740.00


 4.4
 84       CBS 17                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1205 FRONT ST.                                             When was the debt incurred?
          Raleigh, NC 27609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 162 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page204 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4      CCR Communications Credit &
 85       Recovery Cor                                               Last 4 digits of account number       1594                                                   $0.00
          Nonpriority Creditor's Name
          20 Broad Hallow Rd Suite 1002                              When was the debt incurred?
          Melville, NY 11747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $254,024.67


 4.4
 86       Cecelia Wilson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7025 Rohn Dr                                               When was the debt incurred?
          St. Louis, MO 63121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 87       Cecil & Linda Champaign                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8012 Autumn Forest Drive                                   When was the debt incurred?
          Jonesboro, GA 30236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 163 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page205 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 88       Cecilia and Larry Podzimek                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10237 Millstone Drive #5105                                When was the debt incurred?
          Lenexa, KS 66220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 89       Cecilio & Christiane Santos                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21334 Campo Allegro Dr.                                    When was the debt incurred?
          Boca Raton, FL 33433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 90       Cedar at Streamside                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2244 S. Frontage Rd. W.                                    When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 164 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page206 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 91       Celeste Lewis                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5539 Marcella Rd                                           When was the debt incurred?
          Merrville, IN 46410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 92       Celeste Lewis                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5539 Marcella Rd                                           When was the debt incurred?
          Merrville, IN 46410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 93       Celia Lightfoot                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7402 Shady Vale Lane                                       When was the debt incurred?
          Houston, TX 77040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 165 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page207 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 94       Celina Polanco                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          641 10th Ave 2FS                                           When was the debt incurred?
          NY, NY 10036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 95       Century Link                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 91155                                             When was the debt incurred?
          Seattle, WA 98111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 96       Ceona and Jerry Jarrard                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9250 Morning Star Place                                    When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 166 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page208 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 97       Cesar Castneda Hernandez                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17929 E Cornell Dr                                         When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 98       Cesar Garza                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6807 Avenue F                                              When was the debt incurred?
          Houston, TX 77011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 99       CFOshare                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3001 Brighton Blvd Suite 643                               When was the debt incurred?
          Denver, CO 80216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 167 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page209 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 00       Chad & Heather Johnston                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3542 Island Dr                                             When was the debt incurred?
          North Topsail Beach, NC 28460
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 01       Chandra & Willie Jackson                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11614 Borderwood Dr.                                       When was the debt incurred?
          Huston, TX 77013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 02       Chantelle & Albert (Danny) Deitrich                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8939 Wald Road                                             When was the debt incurred?
          Houston, TX 77034
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 168 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page210 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 03       Chantelle Bermoy                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          91-1081 Iwikuamoo St, Unit #1412                           When was the debt incurred?
          Ewa Beach, HI 96706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5      Charla Rosenberry and Jamie
 04       Rennick                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23882 E Chanango                                           When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 05       Charlane Frazier                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2202 Jerome Prairie Rd                                     When was the debt incurred?
          Grants Pass, OR 97527
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 169 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page211 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 06       Charlene & Paula Smith                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1009 Indian Camp Road                                      When was the debt incurred?
          Smithfield, NC 27577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 07       Charlene and Jeffry Iskra                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11401 69th Ave North                                       When was the debt incurred?
          Seminole, FL 33772
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 08       Charlene Connelly                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4034 Buckeye Creek Road                                    When was the debt incurred?
          Kingwood, TX 77339
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 170 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page212 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 09       Charlene Sandoval                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2775 S Raleigh St                                          When was the debt incurred?
          Denver, CO 80236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 10       Charles & Catherine Thompson                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          787 Dennison Pond Road                                     When was the debt incurred?
          Francestown, NH 03043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 11       Charles & Denise Baston/McElroy                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          307 Deer Park Ave                                          When was the debt incurred?
          Temple Terrace, FL 33617
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 171 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page213 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 12       Charles & Jeannie Kemp                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2002 E Cypress                                             When was the debt incurred?
          East Bernard, TX 77435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5      Charles & Joann Schauber Sr /
 13       McCloskey                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          203 Gordy Place                                            When was the debt incurred?
          New Castle, DE 19720-4703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5      Charles & John & Denise
 14       Beckman/Emory                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9598 Brentwood Way                                         When was the debt incurred?
          Westminister, CO 80021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 172 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page214 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 15       Charles & Kim Radcliff Jr                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4044 Russet Way                                            When was the debt incurred?
          Country Club Hills, IL 60478
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 16       Charles & Shelley Blue                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          407 Hoffeckers Mill Dr                                     When was the debt incurred?
          Smyrna, DE 19977
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 17       Charles & Willie (Diane) Roberts                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4108 Nicklaus Drive                                        When was the debt incurred?
          Mansfield, TX 76063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 173 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page215 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5      Charles (Chuck) & Shirley
 18       McCoy/Ingle-Mc                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1720 Sheffield Place                                       When was the debt incurred?
          Fort Worth, TX 76112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 19       Charles (Chuck) Merrill                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6324 Spotted Fawn Run                                      When was the debt incurred?
          Littleton, CO 80125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 20       Charles and Barbara Vieser                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          186 Lakeview Dr                                            When was the debt incurred?
          Whispering Pines, NC 28327
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 174 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page216 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 21       Charles And Beverly Wilkinson                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          670 Bayshore Drive                                         When was the debt incurred?
          Hotsprings, AR 74901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 22       Charles And Carolyn McGehee                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          509 S. Dante Ave                                           When was the debt incurred?
          Glenwood, IL 60425
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 23       Charles and Donna Ask                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 509                                               When was the debt incurred?
          Sedalia, CO 80135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,495.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 175 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page217 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 24       Charles And Jan Robinson                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2001 83rd Ave. North, Lot #3159                            When was the debt incurred?
           FL 33702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 25       Charles And Judi Schwab                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2225 Mileville Drive                                       When was the debt incurred?
          San Marino, CA 91108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 26       Charles and Linda Myers                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10784 Ursula St                                            When was the debt incurred?
          Commerce City, CO 80022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 176 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page218 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 27       Charles And Marianne Robino Jr                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1194 Hampshire Place                                       When was the debt incurred?
          West Chester, PA 19382
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 28       Charles And Nancy Witchet                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9419 Bearden Creek Lane                                    When was the debt incurred?
          Humble, TX 77396
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 29       Charles And Sherry Carter                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2207 Clayton Dr                                            When was the debt incurred?
          Baytown, TX 77520
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 177 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page219 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 30       Charles And Suzanne Quackenbush                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16027 Jones Road                                           When was the debt incurred?
          Brooksville, FL 34601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 31       Charles And Thelma Banks                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15231 Bridge Oak Lane                                      When was the debt incurred?
          Sugar Land, TX 33498
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 32       Charles Anthony and Shelia Lujan                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4510 E 121st Ct                                            When was the debt incurred?
          Thornton, CO 80241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 178 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page220 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 33       Charles Dean & Susannah Gonzales                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6929 233 Rd                                                When was the debt incurred?
          Silt, CO 81652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 34       Charles Hanlon                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12 Peters Road                                             When was the debt incurred?
          Riverside, CT 06878
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 35       Charles Ho                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8100 E Union Ave #1212                                     When was the debt incurred?
          Denver, CO 80237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 179 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page221 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 36       Charles Scott Rittenhouse                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9416 West Ontario Drive                                    When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5      Charlette Howard And Traci M.
 37       Harris                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4707 Lakefront Terrace Ct                                  When was the debt incurred?
          Pearland, Texas 77584-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 38       Charlie & Rosetta Bordelon                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9275 Bella Vita Cir                                        When was the debt incurred?
          Land O' Lakes, FL 34637
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 180 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page222 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 39       Charlotte Bay Resort and Club                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23128 Bayshore Rd.                                         When was the debt incurred?
          Punta Gorda, FL 33980
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 40       Charlotte Viggiano                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9 Adler Circle                                             When was the debt incurred?
          Galveston, TX 77551
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 41       Chase Bank                                                 Last 4 digits of account number                                                           $286.00
          Nonpriority Creditor's Name
          PO Box 182051                                              When was the debt incurred?
          Columbus, OH 43218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Overdrawn Business Bank Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 181 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page223 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 42       Chateau New Orleans                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          240 Rue Burgundy                                           When was the debt incurred?
          New orleans, LA 70112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 43       Cher and Virgilio Gil Romero                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1262 Inca Dr.                                              When was the debt incurred?
          Oxnard, CA 93030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 44       Cheri & William Snider                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          57 Stinson Rd                                              When was the debt incurred?
          Douglas, WY 82633
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 182 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page224 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 45       Cherie Van Over                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          65230 94th St.                                             When was the debt incurred?
          Bend, OR 97703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 46       Cheryl & Charles Lewis                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          154 Emelia Street                                          When was the debt incurred?
          Chicago Heights, IL 60411
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 47       Cheryl & David Thomas/Hamilton                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          906 3rd Strret                                             When was the debt incurred?
          MCKees Rocks, PA 15136
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 183 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page225 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 48       Cheryl & Pat Christian                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7703 Hilltopper Ct                                         When was the debt incurred?
          Springfield, VA 22153
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 49       Cheryl And Jerry Strine                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22155 Swan St #623                                         When was the debt incurred?
          South Lyon, MI 48178
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 50       Cheryl Duzant                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          411 Brandywine Fails Ct                                    When was the debt incurred?
          Apollo Beach, FL 33572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 184 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page226 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 51       Cheryl Lamaak                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3214 Coral Ridge Court                                     When was the debt incurred?
          League City, TX 77573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 52       Cheryl Lombre                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          636 West 47th st unit 1                                    When was the debt incurred?
          Chicago, IL 60609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 53       Cheryl Nelson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 86                                                  When was the debt incurred?
          Guffey, CO 80820
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 185 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page227 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 54       Cheryl Poole                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          905 Applegate Pkwy                                         When was the debt incurred?
          Waxhaw, NC 28173
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 55       Chester And Chemarlyn Cassel                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11315 Corola Trail Dr                                      When was the debt incurred?
          Houston, TX 77066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 56       Chris & Holly Mitchell                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1719 Fox Ridge Road                                        When was the debt incurred?
          Eufaula, AL 36027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 186 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page228 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 57       Chris & Kristin Murray                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13514 W. Rovery Ct.                                        When was the debt incurred?
          Litchfield Park, AZ 85340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 58       Chris & Shirley Kohlmeier                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26722 Cuenca DR                                            When was the debt incurred?
          Mission Viejo, CA 92691
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 59       Chris And Helen Matthews                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1837 Balmoral Avenue                                       When was the debt incurred?
          Westchester, IL 60154
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 187 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page229 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 60       Chris and Lisa Sohigian                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18 Tracey Dr.                                              When was the debt incurred?
          Whitinsville, MA 01588
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 61       Chris And Mari Jo Royer                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          739 N Sumac St                                             When was the debt incurred?
          Olathe, KS 66061
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 62       Chris Roberts                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1468 S Garfield St                                         When was the debt incurred?
          Denver, CO 80210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 188 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page230 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 63       Chris Tidwell/Megan Tomlin                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          114 Whippoorwill Dr                                        When was the debt incurred?
          Waverly, TN 37185
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 64       Chris&Susan D'Avy                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1216 D Avy Road                                            When was the debt incurred?
          New Iberia, LA 70560
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 65       Christa and Paul Saenz                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2628 E. 132nd Ave.                                         When was the debt incurred?
          Thorton, CO 80241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 189 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page231 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 66       Christen & James Tomcheck                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1612 Heather Lane                                          When was the debt incurred?
          Southlake, TX 76092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 67       Christen Bryce                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4111 Albany Street                                         When was the debt incurred?
          Schenectady, NY 12304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 68       Christian & Carrie Miller                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5551 W. Christy Dr.                                        When was the debt incurred?
          Glendale, AZ 85304-3889
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 190 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page232 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 69       Christian Stout                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7575 E 29th Pl Apt 4054                                    When was the debt incurred?
          Denver, CO 80238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 70       Christie Lodge                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          47 E. Beaver Creek Blvd                                    When was the debt incurred?
          Avon, CO 81620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 71       Christina and John Medler                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8551 Raviller Dr.                                          When was the debt incurred?
          Downey, CA 90240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 191 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page233 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 72       Christina DeVera and Terry Jones                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11 A East Dunee Quarter                                    When was the debt incurred?
          Unit 308
          Palatine, IL 60074
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 73       Christine & Patrick Shepler                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4427 Hanover Park Drive                                    When was the debt incurred?
          Jacksonville, FL 32224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5      Christine & Theresa
 74       Howland/Backhaus                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4900 W 60th Ave                                            When was the debt incurred?
          Arvada, CO 80003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 192 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page234 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 75       Christine and Kent Harker                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1008 W 600 North                                           When was the debt incurred?
          West Bontiful, UT 84087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 76       Christine And Terry Pridemore                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2414 Moon Dance Lane                                       When was the debt incurred?
          Midlothian, TX 76065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 77       Christine Bowlby                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4960 N. Caseville Rd.                                      When was the debt incurred?
          Caseville, MI 48725
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 193 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page235 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 78       Christine Orris and Joe Badre                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          91 East 207 Street                                         When was the debt incurred?
          Euclid, OH 44123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 79       Christine Reisinger/Martin Zaffaroni                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7924 Deertrail Drive                                       When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 80       Christmas Mountain                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          S944 Christmas Mountain Road                               When was the debt incurred?
          Wisconsin Dells, WI 53965
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 194 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page236 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 81       Christopher & Alicia Miller                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          136 Cartier Court                                          When was the debt incurred?
          Dillon, CO 80435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 82       Christopher & Amy Tecmire                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1402 Hendricks Blvd                                        When was the debt incurred?
          Fort Smith, AR 72903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 83       Christopher & Ashley Graham                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3221 19th Ave South                                        When was the debt incurred?
          Great Falls, MT 82007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 195 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page237 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 84       Christopher & Emily Knackstedt                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1827 Golden Willow Court                                   When was the debt incurred?
          Fort Collins, CO 80528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 85       Christopher & Megan Kristan                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4992 W. Main Rd                                            When was the debt incurred?
          Fredonia, NY 14063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 86       Christopher & Sandi Garbiso                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29115 E 166th Ave                                          When was the debt incurred?
          Brighton, CO 80603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 196 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page238 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 87       Christopher & Tania Tesch                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          W244N6622 Westchester Drive                                When was the debt incurred?
          Sussex, WI 53089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 88       Christopher & Tracey Robertson                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5451 Pecan Creek Circle                                    When was the debt incurred?
          Fort Worth, TX 76244
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5      Christopher (Chris) and Jeorgina
 89       (Gina)                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          803 Sam Hunting Drive                                      When was the debt incurred?
          Williamsburg, VA 23188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 197 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page239 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 90       Christopher and Christena Hicks                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15210 E. Crest line Ave.                                   When was the debt incurred?
          Aurora, Colorado 80015-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 91       Christopher and Yolando Daniels                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19235 Pepper Grass Dr.                                     When was the debt incurred?
          Tampa, FL 33647
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 92       Christopher Clark                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23 Passaconaway Dr                                         When was the debt incurred?
          Billerica, MA 01821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 198 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page240 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 93       Christopher D. McNamara                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8726 Woods End Street                                      When was the debt incurred?
          San Antonio, TX 78240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 94       Christopher Kaijala & Janice Collis                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3242 Hall Road                                             When was the debt incurred?
          Muskegon, MI 49442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 95       Christy & Darryl Thomas                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7124 Main St                                               When was the debt incurred?
          Alvarado, TX 76009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 199 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page241 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 96       Chynell Johnson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4103 W 98th St, Unit #3C                                   When was the debt incurred?
          Oak Lawn, IL 60452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 97       Cibola Vista Resort and Spa                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27501 N. LAKE Pleasant Parkway                             When was the debt incurred?
          Peoria, AZ 85383
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.5
 98       Cindia Vasquez                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          124 S Valera Court                                         When was the debt incurred?
          Fort Worth, TX 76134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 200 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page242 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.5
 99       Cindy & Corkey Harmon                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 424                                               When was the debt incurred?
          Palo Cedro, CA 96073
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 00       Cindy & Dave Bieker                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2865 S Devinney Ct                                         When was the debt incurred?
          Lakewood, CO 80228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 01       Cindy & Ernest Partlow                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          468 Riding Trail Road                                      When was the debt incurred?
          York, SC 29745
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 201 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page243 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 02       Cindy & Kerry Dean                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7209 Olson Ln                                              When was the debt incurred?
          Pasadena, TX 77505
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 03       Cindy & Rodney Severson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2943 Lucena Lane                                           When was the debt incurred?
          Jacksonville, FL 32246
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 04       Cindy and Norman Petrovich                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          822 E Myrtle Ave                                           When was the debt incurred?
          Phoenix, AZ 85020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 202 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page244 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 05       Cindy and Paul Plasters                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          804 Mercury Circle                                         When was the debt incurred?
          Littleton, CO 80124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,795.00


 4.6
 06       Cindy and Robert Cote                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          58 Pembroke Rd                                             When was the debt incurred?
          Concord, NH 03301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 07       Cindy Bass                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          42 E Burgundy St                                           When was the debt incurred?
          Littleton, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 203 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page245 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 08       Cindy Cruz                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7023 Mobud Drive                                           When was the debt incurred?
          Houston, TX 77074
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 09       Cindy Horton and Jill Warnock                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9641 Montclair Dr                                          When was the debt incurred?
          Highlands Ranch, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 10       Cindy Moors and Evania Nichols                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          105 Allen Paul Dr.                                         When was the debt incurred?
          Henderson, NC 28791
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 204 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page246 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 11       Cindy Stroschein                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7300 Urban Drive                                           When was the debt incurred?
          Arvada, C.O. 80005-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,066.00


 4.6      Cindy Suggs and Stephen
 12       Massoletti                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          105 Misty CT                                               When was the debt incurred?
          Richwood, TX 77531
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 13       Circle By Melia                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          800 Brickell Ave. Suite 1000                               When was the debt incurred?
          Miami, FL 33131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 205 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page247 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 14       Citi Simplicity Master Card                                Last 4 digits of account number                                                        $8,005.24
          Nonpriority Creditor's Name
          P.O. BOX 9001037                                           When was the debt incurred?
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.6
 15       City Sprint of Colorado                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10568 Pierson Cir.                                         When was the debt incurred?
          Westminster, CO 80021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 16       Claire and Tom Cunningham                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7214 Alafia Ridge Loop                                     When was the debt incurred?
          Riverview, FL 33569
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 206 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page248 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 17       Claire Cassano                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2969 Denbeigh Drive                                        When was the debt incurred?
          Hatfield, PA 19440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 18       Clara And Janette Platt                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          819 Bobcat Creek                                           When was the debt incurred?
          San Antonio
           TX 78251
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 19       Clara Crockett                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20639 Silver Tea Ave.                                      When was the debt incurred?
          Hockley, TX 77447
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 207 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page249 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 20       Clara Hoffman                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3042 Mountain Shadows Dr                                   When was the debt incurred?
          Wheat Ridge, CO 80215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 21       Clare & Elizabeth Wichman/Ingram                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          871 Irving Park Blvd                                       When was the debt incurred?
          Sheffield Lake, OH 44054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 22       Clarence & Sherrie Ayers                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4545 Jonquil Ln                                            When was the debt incurred?
          Monee, IL 60449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 208 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page250 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 23       Clarisa Cooper and Marino Reyes                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          86 De La Camden Street Apt. 2                              When was the debt incurred?
          Boston, MA 02118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 24       Clarissa & Clara Bell                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          154 Girard Ave.                                            When was the debt incurred?
          Trenton, NJ 08638
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 25       Clark & Dotty Colton                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3126 E. Fremont Dr                                         When was the debt incurred?
          Centennial, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 209 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page251 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 26       Claudia and Damon Norton                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          80 Lansing St                                              When was the debt incurred?
          Aurora, CO 80010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 27       Claudia Bailey                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          122 S Fremont St                                           When was the debt incurred?
          Palatine, IL 60067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 28       Clayton Figg                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          920 Wagon Bend Road                                        When was the debt incurred?
          Berthoud, CO 80513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 210 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page252 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 29       Cleone and Cleone Solomon                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          155 E Meadowlark                                           When was the debt incurred?
          Snowflake, AZ 85937
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6      Cliffs at Peace Canon, El Dorado
 30       Resort                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4550 S. Canyon Drive                                       When was the debt incurred?
          Las Vegas, NV 89147
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 31       Cliffs at Peace Canyon                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P. O. Box 9610                                             When was the debt incurred?
          Coral Springs, FL 33075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 211 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page253 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 32       Clifts at Peace Canyon                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4550 S. Canyon Drive                                       When was the debt incurred?
          Las Vegas, NV 89147
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 33       Clint & Christina Miller                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1914 S Ridgemont                                           When was the debt incurred?
          Spokane Valley, WA 99037
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 34       Clint & Dianne Dorwart                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1910 Dorwart Dr.                                           When was the debt incurred?
          Sidney, NE 69162
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 212 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page254 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 35       Clint And Cindy Tyler                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8861 North West Falcon                                     When was the debt incurred?
          Sawyer, KS 67134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 36       Clint Clinton Allaman                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3390 Crow Lake Drive                                       When was the debt incurred?
          Bettendorf, IA 52722
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 37       Clint Whitfield                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4204 Towne Lake Court                                      When was the debt incurred?
          Irving, TX 75061
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 213 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page255 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 38       Clinton & Mary Moon                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1597 Jacaranda St                                          When was the debt incurred?
          Lemoore, CA 93245
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 39       Clinton & Teressa Courtney                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          45560 Turnham Green Court                                  When was the debt incurred?
          Sterling, VA 20166
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 40       Clinton Lyle Miner                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 394 Haliburton                                      When was the debt incurred?
          Haliburton, ON K0M - 1S0
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 214 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page256 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 41       Clodoaldo Perez-Ordenez                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9100 East Florida Ave                                      When was the debt incurred?
          Apt 19-307
          Denver, CO 80247
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 42       Clova Ebanks and Diane Mckenzie                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13211 South Morgan Street                                  When was the debt incurred?
          Calumet Park, IL 60827
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 43       Clovia and Bob Fushimi                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12023 Cole Creek Heights Drive                             When was the debt incurred?
          Golden, CO 80403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $1,995.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 215 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page257 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 44       Club Casa Dorado                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          AV. Pescador S/N Col. El Medano                            When was the debt incurred?
          Cabo San Lucas 23453, Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 45       Club De Soleil in Vegas                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5625 W Tropicana Ave.                                      When was the debt incurred?
          Las Vegas, NV 89103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 46       Club Del Sol                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          #12 Centro Comercial El Jardin                             When was the debt incurred?
          ;aua Kacp.Puntarenas, Costa Rica
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 216 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page258 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 47       Club Exploria Fairway                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2157 River Road East                                       When was the debt incurred?
          Stroudsburg, PA 18302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 48       Club Intrawest - Embarc Whistler                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4580 Chateau Boulevard                                     When was the debt incurred?
          Whistler, British Columbia
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 49       Club Lagoon Beach y Marina                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          677 N Washington Blvd                                      When was the debt incurred?
          Sarasota, FL 34236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 217 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page259 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 50       Club Melia                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Melia Puerto Vallaerta #7561                               When was the debt incurred?
          Puerto Vallarta Vallarta, Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 51       Club Navigo                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 East Granada Blvd                                      When was the debt incurred?
          Ormond Beach, Fl 32176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 52       Club QM Resorts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          515 Nichols Blvd                                           When was the debt incurred?
          Sparks, NV 89431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 218 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page260 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 53       Club Regina Los Cabos                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          #3531 San Jose del Cabo                                    When was the debt incurred?
          B aja Calfornia Sur, Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 54       Club Sunset in Cancun                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Bulevard Kukulcan Kilometro 5.8                            When was the debt incurred?
          MZ-37 Lt
          Zona Hotelera CP 77500, Cancun,
          Quintana
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 55       Club Tahoe                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          914 Northwood Blvd                                         When was the debt incurred?
          Incline Village, NV 89451
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 219 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page261 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 56       Club Trinidad                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1900 E Palm Canyon Dr.                                     When was the debt incurred?
          Palm Springs, CA 92264
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 57       Club Vacancy Saisons - RCI                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          355 Rue Dupont                                             When was the debt incurred?
          BEAUPRE, QC Canada
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 58       Clyde & Vivian Smith                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 476                                                 When was the debt incurred?
          Norlina, NC 27563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 220 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page262 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 59       CNA Insurance                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10375 Park Meadows Dr Ste #300                             When was the debt incurred?
          Littleton, CO 80124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 60       CO Comm Media                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          722 Washington Ave                                         When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 61       Cocoa Beach                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3550 N Atlantic Ave                                        When was the debt incurred?
          Cocoa Beach FL 32931
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 221 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page263 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 62       Coconut Bay                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          919 North Birch Road                                       When was the debt incurred?
          Fort Lauderdale, FL 33304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 63       Coconut Bay Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          919 North Birch Road                                       When was the debt incurred?
          Fort Lauderdale, FL 33304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 64       Coconut Mallory Resort                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1445 S Roosevelt Blvd                                      When was the debt incurred?
          Key West, FL 33040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 222 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page264 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 65       Coconut Malorie                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 60th St                                                When was the debt incurred?
          Ocean City, MD 21842
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 66       Coconut Maui                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          475 Front St                                               When was the debt incurred?
          Lahaina, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 67       Coconut Palms                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          611 S Atlantic Ave.                                        When was the debt incurred?
          New Smyrna Beach, FL 32169
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 223 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page265 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 68       Coconut Vacation Club                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 73rd St                                                When was the debt incurred?
          Homes Beach, FL 34217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 69       Cody & Kaylene West                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          332 63rd Ave                                               When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 70       Cody & Samantha Armel/Wigen                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          503 south Bermont Ave                                      When was the debt incurred?
          Lafayette, CO 80026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 224 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page266 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 71       Colleen & Craig Pernerewski                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          76 Green Lane                                              When was the debt incurred?
          Durham, CT 06422
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 72       Colleen and William Kok                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          903 Scotch Pine Dr                                         When was the debt incurred?
          Windsor, CO 80550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 73       Colonies at Williamsburg                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5380 Olde Towne Rd.                                        When was the debt incurred?
          Williamsburg, VA 23188-1922
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 225 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page267 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 74       Colorado Civil Rights Commission                           Last 4 digits of account number       0205                                                   $0.00
          Nonpriority Creditor's Name
          1560 Broadway, Suite 825                                   When was the debt incurred?
          Denver, CO 80202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 75       Colorado Dept of Labor                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          633 17th St #201                                           When was the debt incurred?
          Denver, CO 80202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 76       Colorado Grand Vacation                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1627 Sli Hill Road                                         When was the debt incurred?
          Breakenridge CO 80424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 226 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page268 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6      Colorado River Adventures (RV
 77       Timeshare)                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2581 N Highway 95                                          When was the debt incurred?
          Parker, AZ 85344
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 78       Comcast Business                                           Last 4 digits of account number       8                                                      $0.00
          Nonpriority Creditor's Name
          9602 S 300 W Stu B                                         When was the debt incurred?
          Sandy, UT 84070
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $800


 4.6
 79       Concetta Palmieri                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21521 E. Aberdeen Dr                                       When was the debt incurred?
          Centennial, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 227 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page269 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 80       Concord Servicing                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 29352                                               When was the debt incurred?
          Phoenix, AZ 85038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6      Connecticut Office of the Attorney
 81       Gener                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          165 Capitol Avenue                                         When was the debt incurred?
          Hartford, CT 06106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 82       Connie and James Bellot                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7810 W Byers Ave #201                                      When was the debt incurred?
          Lakewood, CO 80226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 228 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page270 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 83       Connie Belz                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1678 S Rosemary St                                         When was the debt incurred?
          Denver, CO 80231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 84       Connie Felton                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          215 Pinewood Drive                                         When was the debt incurred?
          Goldsboro, NC 27534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6      Consolidated Resorts - Tahiti
 85       Vacation C                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          515 South Kihel Road                                       When was the debt incurred?
          Kihei Maui, HI 96753
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 229 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page271 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 86       Constance & Aaron Matranga                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27 Sweetwater Court                                        When was the debt incurred?
          North Augusta, SC 29860
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 87       Convergence Solutions                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          707 17th Avenue                                            When was the debt incurred?
          Longmont, CO 80501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 88       Cooper Village                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          209 Ten Mile Cr.                                           When was the debt incurred?
          Copper Mountain, CO 80443
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 230 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page272 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 89       Coral Reef at Hilton Head                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12 Valencia Rd.                                            When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 90       Coral Springs                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          98 N 6680 W.                                               When was the debt incurred?
          Hurricane, UT 84737
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 91       Cori Napoli                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11575 Radiant CR, 1102                                     When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 231 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page273 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 92       Corinne & Gilbert Lamarque                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2214 E LaDeney Way                                         When was the debt incurred?
          Ontario, CA 90764
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 93       Corral Sands through RCI                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          66 Pope Ave.                                               When was the debt incurred?
          HiltonHead, SC 29928-4744
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 94       Cosby Smith                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6555 Lake Ester Drive                                      When was the debt incurred?
          Fairborn, GA 30213
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 232 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page274 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 95       Country Hideaway                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 3199 75 Enchanted Way                               When was the debt incurred?
          Cleveland, GA 30528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 96       Courtney and Stephen Wilson                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1004 Kimball Dr                                            When was the debt incurred?
          Phoenix City, AL 36869
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 97       Courtyard Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          125 North Street                                           When was the debt incurred?
          Hyannis, MA 02639
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 233 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page275 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.6
 98       Cove at Yarmouth                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          183 Main St                                                When was the debt incurred?
          West Yarmouth MA 02673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.6
 99       Cove II on Ormond Beach                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Atlantic Ave.                                              When was the debt incurred?
          Oormond Beach, FL 32176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 00       Cox Media Group                                            Last 4 digits of account number       2775                                                   $0.00
          Nonpriority Creditor's Name
          6205 Peachtree Dunwoody Road                               When was the debt incurred?
          Atlanta, GA 30328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $9,287.50




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 234 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page276 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 01       Cox Media Group Jennifer Piccirello                        Last 4 digits of account number       9621                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 530266                                              When was the debt incurred?
          Atlanta, GA 30353
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 02       Cox Media Group Jennifer Piccirello                        Last 4 digits of account number       8231                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 83143                                               When was the debt incurred?
          Chicago, IL 60691
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 03       Coy Richardson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9435 Southern Hills Cir.                                   When was the debt incurred?
          Lone Tree, CO 80124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 235 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page277 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 04       CPX Interactive - Digital Remedy                           Last 4 digits of account number       8548                                                   $0.00
          Nonpriority Creditor's Name
          1441 Broadway 18th Floor                                   When was the debt incurred?
          New York, NY 10018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $38,000.00


 4.7      CPX Interactive Digital Remedy -
 05       ABC-Ame                                                    Last 4 digits of account number       V485                                                   $0.00
          Nonpriority Creditor's Name
          500 Seneca St., Suite 400                                  When was the debt incurred?
          Buffalo, NY 14204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $40,240.78


 4.7
 06       Craig & Christine Powell                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1317 Yawl Point                                            When was the debt incurred?
          Virginia Beach, VA 23454
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $4,617.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 236 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page278 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 07       Craig & Darla Hahn/Mortensen                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 Old Firehouse Rd                                      When was the debt incurred?
          Arnold, CA 95223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 08       Craig & Debbi St. Clair                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5621 V V Jones Rd                                          When was the debt incurred?
          Venus, TX 76084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 09       Craig & Jan Lending/Miller                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23 Northfield Gate                                         When was the debt incurred?
          Pittsford, NY 14534-2921
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 237 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page279 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 10       Craig & Jeanne Rupert                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3900 Libra Lane                                            When was the debt incurred?
          El Paso, TX 79904
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 11       Craig & Tracy Meese                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1418 Nate Cir                                              When was the debt incurred?
          Bullard, TX 75757
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 12       Craig And Linda Ahlbom                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 Cedar Hill Lane/ P.O. Box 88 (mail)                      When was the debt incurred?
          High Rolls, NM 88325
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 238 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page280 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 13       Creed Henry                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6012 Lorenzo Dr                                            When was the debt incurred?
          Grand Prarie, TX 75052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 14       Creek Side Village                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          41 Resort Drive PO Box 438                                 When was the debt incurred?
          Basye, Virginia 22810-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 15       Cristian And Simona Gavaller                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          221 Bell Branch Lane                                       When was the debt incurred?
          Jacksonville, FL 32259
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 239 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page281 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 16       Crown Plaza                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          101 Olympic Drive                                          When was the debt incurred?
          Lake Placid, NY 12946
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 17       Crown Point                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1600 Ivory Ln.                                             When was the debt incurred?
          Horseshoe Bend, AR 72512
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 18       Crown Resorts                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2030 Barber Dr.                                            When was the debt incurred?
          Stoughton, WI 53589
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 240 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page282 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 19       CROWN RESORTS LIMITED                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Level 3, Crown Towers 8 Whiteman                           When was the debt incurred?
          Street
          Southbank, VIC 03006-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 20       Crown Ridge Condominiums                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          326 Crown Ridge Rd.                                        When was the debt incurred?
          North Conway, NH 03860
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 21       Crown Ridge Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          326 Crown Ridge Rd.                                        When was the debt incurred?
          North Conway, NH 03860
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 241 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page283 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7      Cruz & Ubelia, Kelly & Carlo
 22       Arteaga                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          608 Lexington Drive                                        When was the debt incurred?
          Ennis, TX 75115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 23       Crystal & Alex Robinson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2084 La Palma Ave                                          When was the debt incurred?
          Fort Charlotte, FL 33953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 24       Crystal & Felix Sital                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5511 Nero Lake Dr                                          When was the debt incurred?
          Katy, TX 77449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 242 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page284 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7      Crystal Robertson and Jeffrey
 25       Briggs                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2275 Rocky Mountain Ave                                    When was the debt incurred?
          # 104
          Loveland, CO 80538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 26       CSQUARED                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1873 S. Bellaire St. Suite 600                             When was the debt incurred?
          Denver, CO 80222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 27       Cumulus Media                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          455 N Cityfront Plaza Dr Ste 1700                          When was the debt incurred?
          Chicago, IL 60611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 243 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page285 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 28       Curtis & Dorene Becker                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5607 W Cinder Brook Way                                    When was the debt incurred?
          Flonence, AZ 85132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 29       Curtis & Paige Cunningham                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4367 S Garland Way                                         When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 30       Curtis (Pat) and Susan Harkins                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13932 W. Whitewood Dr                                      When was the debt incurred?
          Sun City West, AZ 85375
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 244 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page286 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 31       Curtis Marsh and Ernest Harris Jr.                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          303 Prairie Ave                                            When was the debt incurred?
          Calumet City, IL 60409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 32       Cynthia and James Rawles                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6904 groveton dr                                           When was the debt incurred?
          Clinton, md 20735
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 33       Cynthia and Michael Miller                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4101 Glenndale Rd                                          When was the debt incurred?
          Bowie, MD 20720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 245 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page287 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 34       Cynthia and Paul Edwards                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11993 South Allerton Circle                                When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 35       Cynthia and Warren Winns                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5006 NE Cache Road                                         When was the debt incurred?
          Lawton, OK 73507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 36       Cynthia Bolner                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3119 Chimney Swift                                         When was the debt incurred?
          Richmond, TX 77469
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 246 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page288 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 37       Cynthia Gundlach                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1253 Williamsburg Dr B1                                    When was the debt incurred?
          Schaumburg, IL 60193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 38       Cynthia Hildred                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 863                                                 When was the debt incurred?
          Platteville, CO 80651
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 39       Cynthia Little                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2831 Country Club Road                                     When was the debt incurred?
          Wadesboro, NC 28170
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 247 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page289 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 40       Cynthia Tybor                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7611 Bryonwood Dr                                          When was the debt incurred?
          Houston, TX 77055
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 41       Dagmar Branding Inc                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9222 Teddy Ln                                              When was the debt incurred?
          LoneTree, CO 80124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 42       Dale & Charlotte Klein                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          34 Rock Lake Road                                          When was the debt incurred?
          Wheatland, WY 82201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 248 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page290 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 43       Dale & Jeannie Weber                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          514 E 33rd St South                                        When was the debt incurred?
          Wellington, KS 67152
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 44       Dale & Nancy Swan                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1856 Parker RD                                             When was the debt incurred?
          St. Louis Park, MN 55426
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 45       Dale and Brenda Fisher                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3226 Shandon Road                                          When was the debt incurred?
          Rock Hill, SC 29730
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 249 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page291 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 46       Damian And Natasha Walker                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18103 Red Oak Manor Lane                                   When was the debt incurred?
          Cypress, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 47       Damone Andrew Beck                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1059 W Stone Creek Cir                                     When was the debt incurred?
          Crystal Lake, IL 60014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 48       Dan & Cheryl Rockwell                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          102 43rd Ave                                               When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 250 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page292 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 49       Dan & Mary Kay Berry                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29 Eastland Court                                          When was the debt incurred?
          Carlinville, IL 62626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 50       Dan & Sharon Moceri                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1100 Prairie Circle                                        When was the debt incurred?
          Prospect Heights, IL 60070-1093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 51       Dan and Lorielei Meza                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5363 E. 130th Way                                          When was the debt incurred?
          Thornton, CO 80241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 251 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page293 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 52       Dana Renta                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6514 Wilander St                                           When was the debt incurred?
          Leesburg, FL 34748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 53       Danelle & David Quesenberry                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18901 N. 259th Lane                                        When was the debt incurred?
          Buckeye, AZ 85396
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 54       Danette and Connie Davis                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1234 skye drive west                                       When was the debt incurred?
          Jacksonville, FL 32221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 252 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page294 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 55       Daniel Milam Jr.                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2730 Buckhorn Oaks Dr                                      When was the debt incurred?
          Valrico, FL 33594
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 56       Daniel & Andrea Purcell                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1S683 Greenbriar Dr.                                       When was the debt incurred?
          Elburn, IL 60119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 57       Daniel & Anita Cobarrubio                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3 1727 W Caraolina A                                       When was the debt incurred?
          Chicksha, OK 73018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 253 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page295 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 58       Daniel & Bouang Wilborn                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3834 S. Fraser St.                                         When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 59       Daniel & Diana Grajeda/Alva                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11505 Casa Marina Way                                      When was the debt incurred?
          Tampa, FL 33635
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 60       Daniel & Lattrice Dykes                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8402 Amber Bend Dr                                         When was the debt incurred?
          Baytown, TX 77521
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 254 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page296 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 61       Daniel & Migdalia Langan                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8751 Breing Run Circle                                     When was the debt incurred?
          Breiningsville, PA 18031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 62       Daniel & Patricia O'Neill                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          115 Cardinal Rd                                            When was the debt incurred?
          Manhasset, NY 11030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 63       Daniel & Robyn Reisetter                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29765 C Ave.                                               When was the debt incurred?
          Radcliffe, IA 50230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 255 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page297 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 64       Daniel & Tamara Leavitt                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13601 Manilla Rd                                           When was the debt incurred?
          Hudaon, CO 80642
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 65       Daniel & Tricia Tucker                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11345 SE Jeff Road                                         When was the debt incurred?
          Montpelier, IN 47359
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 66       Daniel and Connie Helus                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12907 Krameria St                                          When was the debt incurred?
          Thornton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 256 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page298 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 67       Daniel And Rose Schoenbeck                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1697 Bentwater Ln                                          When was the debt incurred?
          Frisco, TX 75036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 68       Daniel and Tyler Pierce                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4130 S. Mill Ave Apt L116                                  When was the debt incurred?
          Tempe, AZ 85282
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 69       Daniel Craft and Melissa Fazio Craft                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          505 Sylvania Ave                                           When was the debt incurred?
          Charlotte, NC 28206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 257 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page299 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 70       Daniel Diaz                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1401 Bay Road Apt. 407                                     When was the debt incurred?
          Miami Beach, FL 33139
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 71       Daniel Gannon                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          86 Tanglewood Drive                                        When was the debt incurred?
          Hamden, CT 06518
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 72       Daniel Harrison                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          712 Wickham Dr.                                            When was the debt incurred?
          Evans, GA 30809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 258 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page300 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 73       Daniel Marion                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3452 Gaylord Street                                        When was the debt incurred?
          Denver, CO 80205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 74       Daniel&Stacie Bugel                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3823 Chester St.                                           When was the debt incurred?
          Munhall, PA 15120-3027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 75       Danielle Gower                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          474 Westbank Rd                                            When was the debt incurred?
          Glenwood Springs, co 81601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 259 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page301 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 76       Danny and Kathy Fancher                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          902 S Walden St, Unit #107                                 When was the debt incurred?
          Aurora, CO 80017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 77       Danny Ferreira                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          860 Turquoise St.                                          When was the debt incurred?
          Unit 126
          San Diego, CA 92109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7      Dareck, Raphael,Lyncol and Rafael
 78       Tamari                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5700 W Lake St.                                            When was the debt incurred?
          St. Louis Park, MN 56301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 260 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page302 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 79       Darin and Bernadette Shepard                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9165 West Cornell Place                                    When was the debt incurred?
          Lakewood, CO 80227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,495.00


 4.7
 80       Darise Victory                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          441 Cranleigh Rdg SE                                       When was the debt incurred?
          Smyrna, GA 30080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 81       Darlene & Donald DeLong                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          44 County Rd 4281                                          When was the debt incurred?
          Dayton, TX 77535
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 261 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page303 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 82       Darlene & Perry Martin                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2429 Alexander Lake Dr                                     When was the debt incurred?
          Marietta, GA 30064
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 83       Darlene and Maurice Wyatt                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4676 Freeport Way                                          When was the debt incurred?
          Denver, co 80239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 84       Darlene Head and Alvin Goldman                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          360N 100 W                                                 When was the debt incurred?
          Malad, ID 83252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 262 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page304 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 85       Darlene Lucas                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2014 S. Acoma Dr                                           When was the debt incurred?
          Cottonwod, AZ 86326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 86       Darlene Marie Dailey                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25219 N Quail Haven                                        When was the debt incurred?
          Rio Verde, AZ 85263
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 87       Darnell & Valjean Taylor                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5714 Whichard Rd.                                          When was the debt incurred?
          Stokes, NC 27884
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 263 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page305 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 88       Darrell & Cindy Dinkel                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24590 E Park Crescent Pl                                   When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 89       Darrell And Andrea Chambliss                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18 Greyton Lane                                            When was the debt incurred?
          Houston, TX 77024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 90       Darrell and Jo Dominguez                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14275 S. Arapaho Dr.                                       When was the debt incurred?
          Olathe, KS 66062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 264 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page306 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 91       Darren & Sara Brand                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1805 Sagitarius Dr.                                        When was the debt incurred?
          Loveland, CO 80537
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 92       Darryl & Sharon Burns                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1140 Westpark Ave                                          When was the debt incurred?
          Victoria, TX 77905
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 93       Dashawn Smalls                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1114 E Nutmeg Pl                                           When was the debt incurred?
          Middletown, Delaware 19709-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 265 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page307 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 94       Dave & Karen Ehrhard                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22112 East Quarto Place                                    When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 95       Dave & Michele Thibodeau                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2734 Beut Leaf Dr                                          When was the debt incurred?
          Valrico, FL 33574
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 96       David & Alexia Gomez/Eubank                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11304 Jersey Circle                                        When was the debt incurred?
          Thornton, CO 80233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 266 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page308 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.7
 97       David & Barbara Ritchie                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7065 74th St Circle East                                   When was the debt incurred?
          Bradenton, FL 34203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 98       David & Carol Smith                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16633 Alden Ave                                            When was the debt incurred?
          Gaithersburg, MD 20877
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.7
 99       David & Carole Lanzone                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          746 Cedar Grove Road                                       When was the debt incurred?
          Clover, SC 29710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 267 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page309 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 00       David & Deane Daniels                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          314 West Mariposa St                                       When was the debt incurred?
          Phoenix, AZ 85013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 01       David & Diane Heath                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21718 Bevington Oaks                                       When was the debt incurred?
          Katy, TX 77450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 02       David & Gale Thomas                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9287 Tammy Lane                                            When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 268 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page310 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 03       David & Janet McCully                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1583 S Benton Street                                       When was the debt incurred?
          Lakewood, CO 80232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 04       David & Karen Crow/Kennedy                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          255 West Hill Ct                                           When was the debt incurred?
          P.O. Box 344
          Ft. Lupton, CO 80621
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 05       David & Karen Rousseau/Valvo                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          354 Reeds Mill Road                                        When was the debt incurred?
          Madrid, ME 04966
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 269 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page311 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 06       David & Linda Anderson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21495 E Briarwood Dr                                       When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 07       David & Linda Koster                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          211 Saint Elias Dr                                         When was the debt incurred?
          Livermore, CO 80536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 08       David & Lynn Jansen                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2017 Blue Heron Rd NE                                      When was the debt incurred?
          North Liberty, IA 52317
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 270 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page312 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 09       David & Mary Wilson                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5200 Buyserie Road NE                                      When was the debt incurred?
          Saint Paul, OR 97137-9707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 10       David & Pam Morris                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6858 Otis Ct                                               When was the debt incurred?
          Arvada, CO 80003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 11       David & Patricia Hamilton                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4250 Onondaga Blvd                                         When was the debt incurred?
          Syracuse, NY 13219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 271 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page313 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 12       David & Patricia Reick                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3007 Inkberry Circle                                       When was the debt incurred?
          North Wales, PA 19594
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 13       David & Phoebee Domercant                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1002 Ashton Park Drive                                     When was the debt incurred?
          Lawranceville, GA 30045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 14       David & Remegia Ford                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5065 Schwartz Lane                                         When was the debt incurred?
          Hermitage, PA 16148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 272 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page314 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 15       David & Rose Marie Bertauski                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40 Point Bluff ST                                          When was the debt incurred?
          Fredricksburg, VA 22406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 16       David & Rosemarie Keele                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8225 Lovelaceville Road                                    When was the debt incurred?
          Paducah, KY 42001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 17       David & Sharon Marie Harris                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          804 West Keller Street                                     When was the debt incurred?
          Mechanicsburg, PA 17055
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 273 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page315 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 18       David & Tammy Gilmore                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5267 South Bahama Circle                                   When was the debt incurred?
          Centennial, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 19       David & Teri Evangelista                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18738 N Desert Light Drive                                 When was the debt incurred?
          Surprise, AZ 85387
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 20       David and Ann Sanders                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2313 Brittany Avenue                                       When was the debt incurred?
          Melissa, TX 75454
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 274 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page316 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 21       David And Betty Jo Riggsbee                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4044 Hiddenbrook                                           When was the debt incurred?
          Charlotte, NC 28205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 22       David And Carol Zak                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          433 County Road `156                                       When was the debt incurred?
          Hallettsville, TX 77964
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 23       David And Debra Hamilton                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          274 Paintbrush Path                                        When was the debt incurred?
          New Braunfels, TX 78132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 275 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page317 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 24       David and Elizabeth Rosenthal                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2479 W Long Circle                                         When was the debt incurred?
          Littleton, Colorado 80120-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 25       David and Evelyn Lyon                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30239 Palomino Dr                                          When was the debt incurred?
          Evergreen, CO 80439
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 26       David and Jeri Herskovits                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3379 Mill Vista Road                                       When was the debt incurred?
          Unit 4115
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 276 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page318 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 27       David and Kathy Loader                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          305 E Zurich Dr.                                           When was the debt incurred?
          Payson, AZ 85541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 28       David and Kelli Schriner                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5559 S Greenwood St                                        When was the debt incurred?
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 29       David And Kimberly Molengraaf                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3243 FM 1446                                               When was the debt incurred?
          Waxahachie, TX 75167
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 277 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page319 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 30       David and Leah Puy                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4263 Cogswell Avenue                                       When was the debt incurred?
          Inidian Head, MD 20640
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 31       David and Leslie Weeks                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          621 Bay Haven Cove                                         When was the debt incurred?
          Biloxi, MS 39532
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 32       David and Linda Stahlhut                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2136 Hot Oak Ridge St                                      When was the debt incurred?
          Las Vegas, NV 89134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 278 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page320 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 33       David and Lucille Bond/Choboian                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15288 Surrey House Way                                     When was the debt incurred?
          Centerville, VA 20120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 34       David and Mary Grossklaus                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2635 Harbor Drive                                          When was the debt incurred?
          Joliet, IL 60431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 35       David and Patricia MacEwen                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1409 Rowantree Dr                                          When was the debt incurred?
          Dover, FL 33527
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 279 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page321 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 36       David And Shirley Daniels                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          229 Dorset Avenue                                          When was the debt incurred?
          Oswego, IL 60543-6057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 37       David Fitzgerald                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3384 Corona Village Way #1010101                           When was the debt incurred?
          Orlando, FL 32835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 38       David Gannaway                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1321 S Franklin St                                         When was the debt incurred?
          Denver, CO 80210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 280 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page322 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 39       David Gool                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5314 Sandy Shell Dr                                        When was the debt incurred?
          Apollo Beach, FL 33572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 40       David Harbushka                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          721 E Via Elena St                                         When was the debt incurred?
          Goodyear, AZ 85338
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 41       David Kirkus                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4216 W. Obispo St.                                         When was the debt incurred?
          Tampa Bay, FL 33629
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 281 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page323 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 42       David Lovelace                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6368 N Maximus Pl                                          When was the debt incurred?
          Meridan, ID 83646
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 43       David Mills                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 Stately Oaks Dr                                          When was the debt incurred?
          Cartersville, GA 30120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 44       David Montgomery                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          304 Silver Lake Road                                       When was the debt incurred?
          Hollis, NH 03049
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 282 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page324 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8      David R., Richard C. and Irene M.
 45       Lewand                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          181 Amherston Drive                                        When was the debt incurred?
          Williamsville, NY 14221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 46       David Rodriguez                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4274 NW 89th Ave #206                                      When was the debt incurred?
          Coral Springs, FL 33065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 47       David Sisnerouz and Celina Vigil                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7475 Raritan                                               When was the debt incurred?
          Denver, CO 80221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 283 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page325 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 48       David Walleys Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2001 Foothill Road                                         When was the debt incurred?
          Genoa, Nevada 89411-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 49       Davis Marketing                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          226 S Zetterower Ave                                       When was the debt incurred?
          Statesboro, GA 30458
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 50       Dawn & Percival Dawes/Bonnick                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          410 Gilland Ave Apt 11                                     When was the debt incurred?
          Kingstree, SC 29556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 284 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page326 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8      Dawn and Michael (Mike)
 51       Weber/Gomez                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1101 Acadia CIrcel                                         When was the debt incurred?
          Erie, CO 80516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 52       Dawne Lyday                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8840 Cole Dr                                               When was the debt incurred?
          Arvada, CO 80004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 53       Daya & Venkataraman Balu                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2513 Poinciana Dr                                          When was the debt incurred?
          Weston, FL 33327
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 285 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page327 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 54       Dayne (Jake) & Charle Jacobs                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10642 Baneberry Street                                     When was the debt incurred?
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 55       Daytona Beach Regency                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 N Atlantic Ave                                         When was the debt incurred?
          Daytona Beach, FL 32118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 56       Dean & Anne Roessner                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          326 Fieldcrest Lane                                        When was the debt incurred?
          Loveland, OH 45140
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 286 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page328 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 57       Dean & Patricia (Pat) Anthony                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 772333                                              When was the debt incurred?
          Steamboat Springs, CO 80477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 58       Deann Thomas                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20302 Horizon West RD.                                     When was the debt incurred?
          Eckert, Colorado 81418-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 59       Deanna & Pearl Brown/Thompson                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          642 W Englewood Avenue                                     When was the debt incurred?
          Chicago, IL 60621
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 287 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page329 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 60       Deanna Young                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11111 Brook Mill Court                                     When was the debt incurred?
          Houston, TX 77065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 61       Deb Thorson                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3664 South Jay Street                                      When was the debt incurred?
          Denver, CO 80235
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 62       Debbie and Carmelo Rodello                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2953 Ash Ave                                               When was the debt incurred?
          Greeley, CO 80631
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 288 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page330 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 63       Debbie Jewell and James Hodges                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14030 Duncannon Dr                                         When was the debt incurred?
          Houston, TX 77015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8      Debbie Nizborski and James Grey
 64       III                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          306 Hidden Bluffs Ct.                                      When was the debt incurred?
          Lake St Louis, MO 63367
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 65       Debby And Rick Zientarski                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1235 Cardinal Drive                                        When was the debt incurred?
          Pittsburgh, PA 15243
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 289 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page331 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 66       Debi And Michael Calimlin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1301 Snapping Turtle Rd                                    When was the debt incurred?
          Mims, FL 32754
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 67       Debi Ramert                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          41140 Round Hill Cir                                       When was the debt incurred?
          Parker, Co 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8      Deborah & Benjamin
 68       Warrick/Anderson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1116 Wilnor Drive                                          When was the debt incurred?
          West Chester, PA 19382
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 290 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page332 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 69       Deborah & Wayne Roberts                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          163 Montana Drive                                          When was the debt incurred?
          Lake Waynoka, OH 45171
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 70       Deborah (Debi) Kennedy                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          102 S 6th Ave                                              When was the debt incurred?
          Coatesville, PA 19320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8      Deborah (Fury) and Steven
 71       Templeton                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          780 Cedar Gate Lane                                        When was the debt incurred?
          La Marque, TX 77568
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 291 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page333 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 72       Deborah and Earl Richardson                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12128 Pelota Street                                        When was the debt incurred?
          St. Louis, MO 63138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 73       Deborah and Sean Reece                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9955 Nucla Street                                          When was the debt incurred?
          Commerce City, Colorado
          80022-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 74       Deborah Arnold                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 3                                                   When was the debt incurred?
          Carbondale, CO 81623
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 292 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page334 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 75       Deborah Buckmon                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15607 Burford Lane                                         When was the debt incurred?
          Upper Marlboro, MD 20774
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 76       Deborah Couture                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          116 Sandhill Road                                          When was the debt incurred?
          Essex Jct., VT 05452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,870.05


 4.8      Deborah DeRosa and Kenneth
 77       Fajen                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4076 Windota Ave                                           When was the debt incurred?
          Spring Hill, FL 34606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 293 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page335 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 78       Deborah Mayer                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          207 Rose Walk Lane                                         When was the debt incurred?
          Carrboro, NC 27510
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 79       Deborah McCabe                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4855 S Lisbon Way                                          When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 80       Deborah Patterson-Wesley                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16709 Cottage Grove Ave                                    When was the debt incurred?
          South Holland, IL 60473
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 294 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page336 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 81       Deborah Radek                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 Bristol Court                                            When was the debt incurred?
          Burridge, IL 60527
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 82       Deborah Thompson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9114 Rolling View Drive                                    When was the debt incurred?
          Lanham, MD 20706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 83       Deborah Tobin                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13 Buxton Rd                                               When was the debt incurred?
          Cherry Hill, NJ 08003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 295 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page337 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 84       Deborah Vallor and Cynthia Falls                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2496 Mullooly St                                           When was the debt incurred?
          Pittsburgh, PA 15227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 85       Debra & Gary Horne                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 King St PO 74                                            When was the debt incurred?
          Latchord, CAL POJIN0
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 86       Debra & William Thomas                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1085 Toll Gate Road                                        When was the debt incurred?
          West Alexander, PA 15376
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 296 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page338 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8      Debra (POA) & Leslie and Grace
 87       Rodrigue/                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          650 Westcross St Unit 93                                   When was the debt incurred?
          Houston, TX 77018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 88       Debra and John Peniston                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Wetmore Dr                                              When was the debt incurred?
          Denville, NJ 07834
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 89       Debra And Judith Currie                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1707 Su John Road                                          When was the debt incurred?
          Raleigh, NC 27607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 297 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page339 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 90       Debra and Steve Rousu                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2938 Pebble Lane                                           When was the debt incurred?
          Ripley, MN 56449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 91       Debra Bradley                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3930 Shaftsbury Court                                      When was the debt incurred?
          White Plains, MD 20695
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 92       Debra Jordan McCurdy                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2219 Caledonia Drive                                       When was the debt incurred?
          Lawrenceville, GA 30045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 298 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page340 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 93       Debra Lee Shoemaker                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8157 Vallejo St                                            When was the debt incurred?
          Denver, CO 80221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 94       Debra Moore German                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2635 West Seipp Street                                     When was the debt incurred?
          Chicago, IL 60652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 95       Debra Tablanza                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          430 Hillcrest Dr. NW                                       When was the debt incurred?
          Dallas, OR 97338
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 299 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page341 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 96       Dee And Bart Thomason                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11918 Westgate Street                                      When was the debt incurred?
          Overland Park, KS 66213
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 97       Deeanna & Carlray Smallwood/Lee                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7012 South 19th Street                                     When was the debt incurred?
          Phoenix, AZ 85042
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.8
 98       Deena & Marvin Payton                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7374 Yellow Rose CT                                        When was the debt incurred?
          Hughesville, MD 20637
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 300 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page342 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.8
 99       Deer Creek                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22300 State Park Road 20                                   When was the debt incurred?
          MT. Sterling, OH 43143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 00       Defender Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9654 N. King Hwy                                           When was the debt incurred?
          Myrtle Beach, SC 29572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9      Delarma Brazell and Angela
 01       Ogletree                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1839 Twisting Lane                                         When was the debt incurred?
          Wesley Chappal, FL 33543
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 301 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page343 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 02       Delaware Department of Justice                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Carvel State Building 820 N. French                        When was the debt incurred?
          St.
          Wilmington, DE 19801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 03       Delcina & Gil Rosado                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8356 S Kenwood Ave                                         When was the debt incurred?
          Chicago, IL 60619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 04       Delisa Turner-Mason                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2817 Red River St.                                         When was the debt incurred?
          Mesquite, TX 75150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 302 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page344 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 05       Delores & Iresenia Brown/Sheard                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O Box 2181                                               When was the debt incurred?
          Mango, FL 33550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 06       Delores & Johnny Range                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3831 W. 80th Pl                                            When was the debt incurred?
          Chicago, IL 60652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 07       Delores Carson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3316 Lancer Dr                                             When was the debt incurred?
          Hyattsville, MD 20782
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 303 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page345 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 08       Delores Houston                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21311 Park Downe Lane                                      When was the debt incurred?
          Katy, TX 77450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 09       Delores Wartenbee                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          546 S Abbey                                                When was the debt incurred?
          Mesa, AZ 85212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 10       Delphine Tchienga                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9122 bglenville Road                                       When was the debt incurred?
          Silver Spring, MD 20901
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 304 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page346 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 11       Demetria McNeil                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          32 Morro Bay Dr                                            When was the debt incurred?
          Manvel, TX 77578
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 12       Denise & Francis Robinson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18607 W. Kolina Lane                                       When was the debt incurred?
          Waddell, AZ 85355
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 13       Denise and Brett Wood                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          570 Sundisk Dr                                             When was the debt incurred?
          Loveland, CO 80538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,902.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 305 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page347 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 14       Denise Ervin                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4918 North 112th Street                                    When was the debt incurred?
          Omaha, NE 68164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 15       Dennis & Barbara Kellams/Stewart                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2886 S Stuart St                                           When was the debt incurred?
          Denver, CO 80236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 16       Dennis & Debra Solberg                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          764 Stage Run Rd                                           When was the debt incurred?
          Deadwood, SD 57732
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 306 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page348 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 17       Dennis & Lynn Frost                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12715 Beechwood Dr                                         When was the debt incurred?
          Sun City West, AZ 85375
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 18       Dennis & Michael Ann Lewis                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Rhodes Place                                           When was the debt incurred?
          New Castle, PA 16101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 19       Dennis & Shahnaz Bleam                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16803 N. 49th Way                                          When was the debt incurred?
          Scottsdale, AZ 85254
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 307 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page349 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 20       Dennis & Sherika Brown                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3398 NW 21st St                                            When was the debt incurred?
          Lauderdale Lakes, FL 33311
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 21       Dennis & Shirley McCormick                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8811 N. Sundance Lane                                      When was the debt incurred?
          Spokane, WA 99208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 22       Dennis & Vada Martinez                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9215 Tennyson Street                                       When was the debt incurred?
          Westminster, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 308 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page350 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 23       Dennis and Deb Wyckoff                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7936 SE Berryton                                           When was the debt incurred?
          Berryton, ks 66409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 24       Dennis And Kathy Morgan                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22050 Brook Ave                                            When was the debt incurred?
          Richton Park, IL 60471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 25       Dennis And Kathy Orel                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7118 Buena Vista St.                                       When was the debt incurred?
          Prairie Village, KS 66208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 309 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page351 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 26       Dennis O'Grady                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1917 Leisure World                                         When was the debt incurred?
          Mesa, AZ 85206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 27       Dennis Varner                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1340 Grande View Blvd apt 2318                             When was the debt incurred?
          Huntsville, AL 35215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 28       Dennisse Molina Caraveo                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18285 E Cottonwood Dr 108                                  When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 310 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page352 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 29       Denver & Alejandra Stack                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          34875 Pourroy Rd.                                          When was the debt incurred?
          #3508
          Winchester, CA 92596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 30       Denver KWGN/KDVR                                           Last 4 digits of account number       311A                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 59743                                             When was the debt incurred?
          Los Angeles, CA 90074
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 31       Denys Zuniga and Leslie Caceres                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2426 NE Four Terrace                                       When was the debt incurred?
          Cape Coral, FL 33909
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 311 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page353 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 32       Deonna Ortiz                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2311 Fairplay Dr                                           When was the debt incurred?
          Loveland, CO 80538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 33       Derek & Carly Bunce                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3760 Colby St                                              When was the debt incurred?
          Pittsburgh, PA 15214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 34       Derek Ford                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          62 Bowdoin Avenue                                          When was the debt incurred?
          Apt 2
          Dorchester, MA 02121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 312 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page354 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 35       Deron Lawrence                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          987 Treece St                                              When was the debt incurred?
          Louisville, CO 88027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 36       Derotha Rogers                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9244 S Burnside Ave                                        When was the debt incurred?
          Chicago, IL 60619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 37       Derrick And Evelin Warren                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          311 North Austin Blvd                                      When was the debt incurred?
          Apt 3W
          Chicago, IL 60644
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 313 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page355 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9      Desert club in Las Vegas - Orange
 38       lake                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3950 Koval Ln.                                             When was the debt incurred?
          Las Vegas, NV 89109-4702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 39       Desert Oasis                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          34567 Cathedral Canyon Dr.                                 When was the debt incurred?
          Cathedral City, CA 92234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 40       Desert Oasis, Villas @ Cave Creek                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17700 N. Hayden Rd.                                        When was the debt incurred?
          Scottsdale, AZ 85255
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 314 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page356 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 41       Desirae and Kevin Gonzalez                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11 S Donaldson Farm Rd                                     When was the debt incurred?
          Loving, NM 88256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 42       Desma Mabry                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8003 Cayzer Lane                                           When was the debt incurred?
          Gainsville, VA 20155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 43       DeSolei in Las Vegas                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5625 W. Tropicana                                          When was the debt incurred?
          Las Vegas, NV 89103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 315 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page357 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 44       Dessie and Gregory Alexander                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1486 Ranger Loop Apt 101                                   When was the debt incurred?
          Woodbridge, VA 22191
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 45       Dewania & Kenneth Farrington                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1365 Thornburg Road                                        When was the debt incurred?
          Babson Park, FL 33827
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 46       Dewey And Tatiana Houston                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          597 E 1600 N                                               When was the debt incurred?
          Mapleton, UT 84664
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 316 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page358 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 47       Dexter & Gay Reid                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1401 N. Metropolitan Ave.                                  When was the debt incurred?
          Waukegan, IL 60085
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9      Diamond Resorts Hawaii Collection
 48       Develo                                                     Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          10600 West Charleston Blvd.                                When was the debt incurred?
          LAS VEGAS, NV 89135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Plaintiff in pending lawsuit


 4.9      Diamond Resorts US Colletion
 49       Development                                                Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          10600 West Charleston Blvd.                                When was the debt incurred?
          LAS VEGAS, NV 89135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Plaintiff in pending lawsuit.




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 317 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page359 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 50       Diana & David Lunge                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5246 Winifred Drive                                        When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 51       Diana & Tina Keith                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          273 Stage Coach Road                                       When was the debt incurred?
          Oceanside, CA 92057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 52       Diana Grano/ Jesus Juarez                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          143 Buckingham Dr                                          When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 318 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page360 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 53       Diana Laso                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6950 Navajo Street                                         When was the debt incurred?
          Unit B
          Denver, CO 80221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 54       Diana Oliveros                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13424 Hickory Creek Dr                                     When was the debt incurred?
          Haslet, TX 76052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 55       Diane & Adam Cabrera                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6334 S. Lafayette Place                                    When was the debt incurred?
          Centennial, CO 80121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 319 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page361 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 56       Diane (Dee) Kennedy                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16210 W Bantt Ln                                           When was the debt incurred?
          Surprise, AZ 85379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 57       Diane and Brian Larson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 Elk Track                                              When was the debt incurred?
          Granby, CO 80446
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 58       Diane and Bruce Ostmeyer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4330 South Galapago Street                                 When was the debt incurred?
          Englewood, CO 80110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $1,995.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 320 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page362 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 59       Diane and Gordon Megson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          391 Seahorse Dr                                            When was the debt incurred?
          Windsor, CO 80550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 60       Diane Bruce                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7311 Keys Court                                            When was the debt incurred?
          Sewell, NJ 08080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 61       Diane Dorsey                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6512 Grand Estuary Trl #102                                When was the debt incurred?
          Bradenton, FL 34212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 321 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page363 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 62       Diane Herrmann                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          420 Sword Way                                              When was the debt incurred?
          Bollingbrook, IL 60440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 63       Diane Malcolm                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1323 Fawn Dr                                               When was the debt incurred?
          Williamstown, NJ 08094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 64       Diane Mccall                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3430 E. Coronado Rd.                                       When was the debt incurred?
          Phoenix, AZ 85008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 322 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page364 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 65       Diane Ward                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4768 Fesseneva Lane                                        When was the debt incurred?
          Naperville, IL 60564
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 66       Dianne & Norman Donahue                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1937 S. 10th Ave                                           When was the debt incurred?
          Maywood, IL 60153
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 67       Dianne Dudley                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          302 Morrow Road, Apt 562                                   When was the debt incurred?
          Forest Park, GA 30297
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 323 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page365 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 68       Dianne Gilbert                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          519 Idalia Court                                           When was the debt incurred?
          Fort Collins, CO 80525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 69       Diccie (Dicey) and Aaron Smith                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16306 Morning Quail Court                                  When was the debt incurred?
          Missouri City, TX 77489
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 70       Dick & Tammy Wheatley                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          702 Shorevista Court                                       When was the debt incurred?
          Raymore, MO 64083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 324 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page366 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 71       Dionne & Tiwanna Nelson/Famularo                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16302 Canova Hill Lane                                     When was the debt incurred?
          Houston, TX 77044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 72       direct2you, inc.                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14 Inverness Dr East, Ste E210                             When was the debt incurred?
          Englewood, CO Englewood
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $11,700.00


 4.9
 73       Dirk And Tracey White                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30312 N. 115th Dr.                                         When was the debt incurred?
          Peoria, AZ 85383
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 325 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page367 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 74       Discount Tire Synchrony                                    Last 4 digits of account number                                                        $2,035.60
          Nonpriority Creditor's Name
          P.O. Box 960061                                            When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit line


 4.9
 75       Discover                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 6103                                              When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.9
 76       Discover                                                   Last 4 digits of account number                                                      $11,763.08
          Nonpriority Creditor's Name
          P.O. Box 6103                                              When was the debt incurred?
          Carol Stream, IL 60197
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 326 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page368 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 77       Disney Vacation Club                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1960 Broadway                                              When was the debt incurred?
          LaKE Buena Vista, FL 32830
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9      District of Columbia Attorney
 78       General                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 6th Street NW                                          When was the debt incurred?
          Washington, DC 20001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9      Divi Vacation Club/Interval
 79       Internationa                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Divi Hotels Marketing Inc. 6320                            When was the debt incurred?
          Quadrang
          Chaple Hills, NC 27517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 327 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page369 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 80       Docketbird                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7202 NE Highway 99 Ste 106-225                             When was the debt incurred?
          Vancouver, WA 98665
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 81       Docusign                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          221 Main Street Suite 1000                                 When was the debt incurred?
          San Francisco, CO 94105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 82       Dolores McClimans                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7646 E Nogales Rd                                          When was the debt incurred?
          Scottsdale, AZ 85258
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 328 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page370 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9      Dolores, Marianne, David and Karin
 83       Sanke                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1963 Berkwood Drive                                        When was the debt incurred?
          Pittsburgh, PA 15243
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 84       Domenico & Angie Germano                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6053 Ashley Ct                                             When was the debt incurred?
          Cincinnati, OH 45242
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 85       Domes and Darlene Little                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2472 Forest Drive                                          When was the debt incurred?
          Woodridge, IL 60517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 329 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page371 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 86       Domingo Soto Lopez                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Los Clabeles 14 Barrio Las Flores                          When was the debt incurred?
          Colina
          Santiago
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 87       Dominick & Cheryl Marzziotti                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Fitzpatrick Road                                         When was the debt incurred?
          Grafton, MA 01519
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 88       Don & Irene Reeb                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1600 Wapiti Circle                                         When was the debt incurred?
          Unit 19
          Estes Park, CO 80517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 330 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page372 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 89       Don & Jolene Lampton                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5503 Merrywing Cir                                         When was the debt incurred?
          Austin, TX 78730
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 90       Don and Evageline Krippner                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          519 13th st N                                              When was the debt incurred?
          Sartell, MN 56377
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 91       Don And Lisa Nissen                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4365 S Nepal St                                            When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 331 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page373 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 92       Don and Marjorie Deboer                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7900 E Dartmouth ave unit 74                               When was the debt incurred?
          Denver, co 80231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 93       Don And Sharon Spencer                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          217 Landen Drive                                           When was the debt incurred?
          PO Box 983
          Southfork, CO 81154
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 94       Don Grewe                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3354 W Arlington Ave                                       When was the debt incurred?
          Littleton, co 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 332 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page374 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 95       Dona Vukson                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          85B Empress Plaza                                          When was the debt incurred?
          Monroe Township, NJ 08831
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 96       Donald & Phyllis Roth                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7625 Weaver Ave.                                           When was the debt incurred?
          Saint Louis, MO 63143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 97       Donald & Shirley Krenek                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1897 Johnston Rd                                           When was the debt incurred?
          Wallis, TX 77485
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 333 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page375 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.9
 98       Donald & Volrie Fusina                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9608 Conservation Drive                                    When was the debt incurred?
          New Port Richie, FL 34655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.9
 99       Donald (Don) & Susan Flaten                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12752 Vintage Cir                                          When was the debt incurred?
          Staples, MN 56479
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 000      Donald Ahlborn                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1200 Mira Mar Avenue                                       When was the debt incurred?
          Apt 1023
          Medford, OR 97504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 334 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page376 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Donald and Carolita Richards
 001      (Dawn Adams                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          274 Shea Dr                                                When was the debt incurred?
          Flossmoor, IL 60422
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 002      Donald And Gwendolyn Nash                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6019 Irving St                                             When was the debt incurred?
          Philadelphia, PA 19139
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 003      Donald And Margaret Walker                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          702 Ostrich Fern Lane                                      When was the debt incurred?
          Deland, FL 32720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 335 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page377 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 004      Donald Livengood                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6035 The Twelfth Fairway                                   When was the debt incurred?
          Suwanee, GA 30024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 005      Donald Lovelace                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1227 Troy Street                                           When was the debt incurred?
          Aurora, CO 80011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 006      Donald Monte/Nathalie Koivogui                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1234 Green Street                                          When was the debt incurred?
          New Lenox, IL 60451
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 336 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page378 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 007      Donald Patterson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8305 S Yarrow St                                           When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 008      Donald Sylvia                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19 Sandy Circle                                            When was the debt incurred?
          Lakeville, MA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 009      Donjae & Joseph Watson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8158 S Sawyer                                              When was the debt incurred?
          Chicago, IL 60652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 337 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page379 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 010      Donna & Ralph Gorton                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20545 E Caley Dr                                           When was the debt incurred?
          Centennial, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 011      Donna and Carl DiMarco                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29 Emilie Drive                                            When was the debt incurred?
          Center Moriches, NY 11934
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 012      Donna and Darrel Anderson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3829 Aubrell Rd                                            When was the debt incurred?
          Pearland, TX 77584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 338 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page380 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 013      Donna and Howard Bottenberg                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          800 Hawkstone Drive                                        When was the debt incurred?
          #23
          Eaton, CO 80615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 014      Donna and Michael Gentry                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11591 Brighton Rd                                          When was the debt incurred?
          Henderson, CO 80640
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt-


 4.1
 015      Donna Andrews                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O Box 29368                                              When was the debt incurred?
          Atlanta, GA 30359
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 339 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page381 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 016      Donna Boniface                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4016 Somersat Ct                                           When was the debt incurred?
          Cumming, GA 30040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 017      Donna Davis                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2233 E Behrend Dr #103                                     When was the debt incurred?
          Phoenix, AZ 85024-1855
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 018      Donna Gammon                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          250 Keytown rd                                             When was the debt incurred?
          Portland, TN 37148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 340 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page382 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 019      Donna Hill                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1731 Dale Drive                                            When was the debt incurred?
          Merrillville, IN 46410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 020      Donna Jean Heilig                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          111 South Scoville Ave                                     When was the debt incurred?
          Unit 3N
          Oak Park, IL 60302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 021      Donna Merkle                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12148 Leuscher                                             When was the debt incurred?
          Alhambra, MO 62001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 341 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page383 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 022      Donna Minton                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2608 Pinebrook Ave Apt. E6                                 When was the debt incurred?
          Landover, MD 20785
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 023      Donna Thurlow                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4326 Beautiful Cir                                         When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 024      Donna Whitfield                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2335 North Lancaster Lane                                  When was the debt incurred?
          Round Lake Beach, IL 60073
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 342 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page384 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 025      Donnie & Deborah Gray                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3089 Whispering Oaks Dr                                    When was the debt incurred?
          Highland Village, TX 75077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 026      Donnie Tegeler                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 193                                                 When was the debt incurred?
          Ganado, TX 77962
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 027      Dora and Guy Shay                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4001 Morgan County Road A                                  When was the debt incurred?
          Wiggins, CO 80654
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 343 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page385 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 028      Doris and Charles Carbins                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          340 Johnson Street                                         When was the debt incurred?
          Gary, IL 46402
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 029      Doris And Wayne Erickson                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2500 Valley Dr                                             When was the debt incurred?
          Northfield, MN 55057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 030      Doris Evelyn McDowell                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          41 Douglasview S>E>                                        When was the debt incurred?
          Calgary, Alberta T2Z 2R9
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 344 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page386 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 031      Doris Quinene                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          304 Anns Way                                               When was the debt incurred?
          Vista, CA 92083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 032      Doris Spencer Riordan                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          899 S Plymouth Ct Unit 208                                 When was the debt incurred?
          Chicago, IL 60605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 033      Dorothy & Daniel Buffington                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          955 Talbart St                                             When was the debt incurred?
          Marinez, CA 94553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 345 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page387 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Dorothy (Eileen) and Walter
 034      Brinkman                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17597 W. Cedarwood Ln                                      When was the debt incurred?
          Goodyear, AZ 85338
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 035      Dorothy Boyle                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12400 Park Bl.                                             When was the debt incurred?
          Apt 619
          Seminole, FL 33772
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 036      Dorothy Fite and Penny Stermer                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15780 Penrith Road                                         When was the debt incurred?
          Keenesburg, CO 80643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 346 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page388 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 037      Dorothy Hooper                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6122 Auburn Woods Drive                                    When was the debt incurred?
          Houston, TX 77084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 038      Dorothy Keach                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          78 Dun Bluff                                               When was the debt incurred?
          Edisto Island, SC 29438
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 039      Dorothy Mintle                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14081 W. C. R. 18 1/2                                      When was the debt incurred?
          Fort Lupton, CO 80621
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 347 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page389 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 040      Dorothy Pitts                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Swinford Court                                           When was the debt incurred?
          Bolingbrook, IL 60440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 041      Doug & Dawn Meyer                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          380 Woodmere Dr                                            When was the debt incurred?
          St. Charles, Missouri 63303-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 042      Doug & James Taylor/Thomas                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          905 North Allerton Rd                                      When was the debt incurred?
          Belleville, IL 62221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 348 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page390 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 043      Doug & Joyce Gagne                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7591 E. Hoff Road                                          When was the debt incurred?
          Sunman, IN 47041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 044      Douglas & Jeananne Boxell                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4509 Wildness Path                                         When was the debt incurred?
          Roanoke, TX 76262
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 045      Douglas (Doug) & Irma Patterson                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17706 Country Meadow Lane                                  When was the debt incurred?
          Magnolia, TX 77355
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 349 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page391 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 046      Douglas and Tyria Adams                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6928 Foxcroft Lane                                         When was the debt incurred?
          Humble, TX 77338
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Douglas Caldwell and Melody
 047      Hoffschneide                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8032 E Briarwood Blvd.                                     When was the debt incurred?
          Centennial, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 048      Douglas Haberkamp                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1225 Deerfield Rd.                                         When was the debt incurred?
          Deerfield, IL 60015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 350 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page392 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 049      Dr. Ole and Marty Jensen                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13 Cherry Hills Farm Dr.                                   When was the debt incurred?
          Englewood, Colorado 80113-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 050      Dr. Robert and Myrna Stadheim                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24526 S Berry Brook Dr                                     When was the debt incurred?
          Sun Lakes, AZ 85248
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 051      Dragon and Stephanie Comstock                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25089 E 3rd Place                                          When was the debt incurred?
          Aurora, CO 80018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 351 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page393 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 052      Drake and Virgina Fink                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14122 Sun Blaze Loop Unit D                                When was the debt incurred?
          Broomfield, CO 80023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 053      Drew and Kristna Avra                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3148 Sharps St                                             When was the debt incurred?
          Fort Collins, CO 80526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 054      Driftwood Worldgate                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3011 Maingate Lane                                         When was the debt incurred?
          Kissimmee, FL 34747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 352 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page394 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 055      Drop Box                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          333 Brannan Street                                         When was the debt incurred?
          San Francisco, CA 94107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 056      Duane & Laura Jacobs                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4909 Marlin Dr                                             When was the debt incurred?
          New Port Richey, FL 34652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 057      Dulce Maria & Juan Banda                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1919 W Corinat Ave # 19                                    When was the debt incurred?
          Anaheim, CA 92801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 353 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page395 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 058      Duncan and Terence Brown                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10313 Point Lobos Trail                                    When was the debt incurred?
          Ft Worth, TX 76177
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 059      Dupree & Roslyn Johnson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2316 2nd Street NE                                         When was the debt incurred?
          Washington DC, VA 20002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 060      Dustin & Amy Higginbotham                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3801 Westridge Dr.                                         When was the debt incurred?
          Bartlett, TN 38135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 354 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page396 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 061      Dusty and Melina Sexton                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          798 County Rd. 4238                                        When was the debt incurred?
          Simms, TX 75574
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 062      DVC - Shell Vacation Club                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          390 Straight Creek Drive                                   When was the debt incurred?
          Dillon, CO 80435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 063      Dwayne Hofstetter/Julie Brammer                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7625 Larkspur Street                                       When was the debt incurred?
          Navarre, FL 32566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 355 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page397 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Dwayne Washington and Dorcas
 064      Wilson                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11813 Bexley Drive                                         When was the debt incurred?
          Burleson, TX 76028
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 065      Dwight & Janice Alex                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18500 Pencil Cactus Dr                                     When was the debt incurred?
          Pflugerville, TX 78660
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 066      Dwight And Marilyn Watkins                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8013 Isle of Skye                                          When was the debt incurred?
          The Colony, TX 75056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 356 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page398 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Dwight Royster, Joyce Williams,
 067      Latoya R                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6120 Les Dorson Lane                                       When was the debt incurred?
          Alexandria, VA 22315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 068      DX Media Direct                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3514 Elm Bottom Circle                                     When was the debt incurred?
          Aubrey, TX 76227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 069      Dyann Maryman Acton                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9827 Sovereign Way                                         When was the debt incurred?
          Wake Forest, NC 27587
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 357 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page399 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 070      Dynadmic Corp.                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          185 Alewife Brook PKWY STE 210                             When was the debt incurred?
          Cambridge, MA 02138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 071      E-470 Public Highway Authority                             Last 4 digits of account number                                                           $120.37
          Nonpriority Creditor's Name
          PO Box 5470                                                When was the debt incurred?
          Denver, CO 80217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal toll charge


 4.1
 072      E-470 Public Highway Authority                             Last 4 digits of account number       6458                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 5470                                                When was the debt incurred?
          Denver, CO 80217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $95.65 - toll




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 358 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page400 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 073      E.R. Lake                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10355 Paradise Blvd. #1010                                 When was the debt incurred?
          Treasure Island, FL 33706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,750.00


 4.1
 074      Ea-Jan and Jennifer Shee                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4 Martin Ct.                                               When was the debt incurred?
          East Brunswick, NJ 08816
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 075      Eagle Crest Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1522 Cline Falls Rd.                                       When was the debt incurred?
          Redmond, OR 97756
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 359 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page401 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 076      Eagle Point                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1500 Matterhorn Cir.                                       When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 077      Eagle Rock Community Association                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Country Club Drive                                       When was the debt incurred?
          Hazle Township, PA 18202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 078      Eagle Trace Owner's Association                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1296 Resort Dr. MC.                                        When was the debt incurred?
          Gaheysville, Virginia 22840-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 360 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page402 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 079      Eagle Village Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          113 Bald Eagle Ct.                                         When was the debt incurred?
          Tamiment, PA 18371
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 080      Earl And Leidy Roberts                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6000 Johnston Street Apt 1510                              When was the debt incurred?
          Lafayette, LA 70508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Earnest (Martin) & Heather
 081      Chamberlain                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          230 E. Burton Ln                                           When was the debt incurred?
          Kaysville, UT 84037
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 361 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page403 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 082      Earnest And Ana Washington                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17934 Fountain Circle                                      When was the debt incurred?
          Orland Park, IL 60467
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 083      Earnest Watkins                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          109 Atlanta Circle                                         When was the debt incurred?
          Madison, AL 35758
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 084      East Ocean Development                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          909 Breakers Avewnue                                       When was the debt incurred?
          Fort Lauderdale, FL 33304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 362 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page404 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 085      Eastern Slope Inn                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2760 White Mountian Hwy, North                             When was the debt incurred?
          Conway, NH 03860
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Ebonique Alexander and Shamecca
 086      Davis                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3751 S Richfield St                                        When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 087      Ebony and Brian Speakman                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3394 Deerwood Lane                                         When was the debt incurred?
          Rex, GA 30273
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 363 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page405 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 088      Ed & Marijo Parkin                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4057 Christy Ridge                                         When was the debt incurred?
          Sedalia, CO 80135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 089      Eddie & Stephanie Morgan                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1941 Squires Way Ct.                                       When was the debt incurred?
          Chesterfield, MO 63017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 090      Eddie & Teresa Whitaker                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29 South Independence Blvd                                 When was the debt incurred?
          New Castle, DE 19720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 364 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page406 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 091      Eddie And Andrea (Angie) Barnett                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          167 Wheaten Drive                                          When was the debt incurred?
          Woodstock, GA 30188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 092      Eddie Love                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2910 S. 9th St                                             When was the debt incurred?
          Kansas City, KS 66103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 093      Eddie Yemane                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14952 Crossfield Way                                       When was the debt incurred?
          Woodridge, VA 22191
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 365 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page407 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 094      Edgar Nevarez                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10098 Salida                                               When was the debt incurred?
          Commerce City, CO 80022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 095      Edith D'Amico                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9 Barbara Place                                            When was the debt incurred?
          Wilmington, PA 19808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 096      Edmund Tagoe and Joyce Addai                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5746 North Rockwell Street                                 When was the debt incurred?
          Floor 1
          Chicago, IL 60659
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 366 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page408 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 097      Edward & Diana Cordova                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4009 Clinton Blvd.                                         When was the debt incurred?
          Albuquerque, NM 87105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 098      Edward & Elizabeth Jean Stealy                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5715 w woodlawn ct                                         When was the debt incurred?
          Peoria, IL 61614
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 099      Edward & Haesoon Swartz                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 Ocean Shores Blvd SW                                   When was the debt incurred?
          Ocean Shores, WA 98569
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 367 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page409 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 100      Edward & Janet Krauss                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8666 140th Way                                             When was the debt incurred?
          Seminole, FL 33776
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 101      Edward And Barbara Triem                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2770 Jasmine St                                            When was the debt incurred?
          Brenham, TX 77833
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 102      Edward and Bobbie Anderson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13406 Quiet Summer Court                                   When was the debt incurred?
          Houston, TX 77044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 368 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page410 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 103      Edward and Carol Byorick                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3347 W 114th Cir Unit D                                    When was the debt incurred?
          Westeminster, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,770.00


 4.1
 104      Edward And Polina Champagne                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8464 Grayling Dr South                                     When was the debt incurred?
          Jacksonville, FL 32256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 105      Edward and Sharon Lindeman                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6519 W 73rd Ave                                            When was the debt incurred?
          Westminster, CO 80003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 369 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page411 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 106      Edward Arrieta                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2047 N Fork Dr                                             When was the debt incurred?
          Lafayette, CO 80026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 107      Edward Kulasik                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          724 Galaxy Dr.                                             When was the debt incurred?
          Grand Junction, CO 81506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 108      Edward McVey                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2343                                                When was the debt incurred?
          Snohomish, WA 98291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 370 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page412 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 109      Edwin & Keiwana Lewis                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13163 Fountain Park Dr Apt B315                            When was the debt incurred?
          Playa Vista, CA 90094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 110      Edwin And Denise Browning                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1619 Spaniel Court SW                                      When was the debt incurred?
          Conyers, GA 30094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 111      Edwina Batty                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8811 Brazil St                                             When was the debt incurred?
          Zephyrhills, FL 33540
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 371 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page413 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 112      Efrain & Juana Corral/Contreras                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4857 Halifax Street                                        When was the debt incurred?
          Denver, CO 80249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 113      Eileen & Henry Huetteman                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4106 72nd st SE                                            When was the debt incurred?
          Delano, MN 55328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 114      Eileen And Raymond Kirchdorfer                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24 Doty Dr.                                                When was the debt incurred?
          Stoughton, MA 02072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 372 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page414 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 115      Eileen Lara                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16725 Joshua                                               When was the debt incurred?
          Victorville, CA 92395
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Eileen Woltemath & George Snyder
 116      Jr.                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8165 State Road B                                          When was the debt incurred?
          Cedar Hill, MO 63016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 117      El Cid Resort                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          AV Camaron Sabalo S?N                                      When was the debt incurred?
          Zona Dorada 82110, Mazatlan
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 373 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page415 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 118      El Dorado Natural Spring Water                             Last 4 digits of account number       5851                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 445                                                 When was the debt incurred?
          El Dorado Springs, CO 80025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 119      Elaine & Frank Styra                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2375 FM 2656                                               When was the debt incurred?
          Yorktown, TX 78164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 120      Elaine and Robert Esparsen                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          920 Flower Street                                          When was the debt incurred?
          Lakewood, CO 80215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 374 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page416 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 121      Elaine Andrews                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10718 Allenby Way                                          When was the debt incurred?
          Truckee, CA 96161
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 122      Elaine Green                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5714 Glen Pines Drive                                      When was the debt incurred?
          Houston, TX 77069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Elaine Hunt and Barbara and
 123      Bradley Bald                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4026 Canvas Ave                                            When was the debt incurred?
          Rock Hill, SC 29732
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 375 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page417 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 124      Elaine Jones                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10559 S Hale Ave Apt 3W                                    When was the debt incurred?
          Chicago, IL 60643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 125      Eldon & April A Rife                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1782 Stitley RD                                            When was the debt incurred?
          Chambersburg, PA 17202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 126      Eldon and Emma Lou Lynch                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          648 N Mariposa Dr                                          When was the debt incurred?
          Wickenburg, AZ 85390
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 376 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page418 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 127      Eldorado Artesian Springs, Inc.                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 172526                                              When was the debt incurred?
          Denver, CO 80217-2526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 128      Eldorado Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3015 N Ocean Blvd                                          When was the debt incurred?
          Fort Lauderdale, FL 33308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 129      Eldred And Lauren McClean                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1405 Westglen Drive                                        When was the debt incurred?
          Sachse, TX 75048
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 377 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page419 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 130      Elena And Geovanny Adames                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9815 SW 152 Terrace                                        When was the debt incurred?
          Miami, FL 33157
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 131      Elena McTighe                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          401 E Linton Blvd Apt 669                                  When was the debt incurred?
          Delray Beack, FL 33483
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 132      Elevare Inc.                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Attn: Joanna Brown 1475 Delgany                            When was the debt incurred?
          ST #601
          Denver, CO 80202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 378 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page420 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 133      Elie & Vicki Lawi Fouerti                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2215 East 5th Street                                       When was the debt incurred?
          Brooklyn, NY 11223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 134      Elisa & Dawn Kaplan/Newcomer                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6711 Falling Water Drive                                   When was the debt incurred?
          Spring, TX 77379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 135      Elisa and Thomas Weber                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Pinewood Rd                                              When was the debt incurred?
          Poughkeepsie, NY 12603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 379 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page421 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 136      Elise Robertson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3007 E Lane Park Road                                      When was the debt incurred?
          Mead, WA 99021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 137      Elite Resort Group                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          852 William Hilton Pkwy Ste 1A                             When was the debt incurred?
          Hilton Head Island, SC 29928-3423
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Elizabeth & Gemma
 138      Pilgrim/Patterson                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2903 Rimrock Dr                                            When was the debt incurred?
          Missouri City, TX 77459
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 380 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page422 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 139      Elizabeth (Liz) Turner                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9971 W Athens Lane                                         When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 140      Elizabeth And Alan Ailles                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          415 Oakhaven St                                            When was the debt incurred?
          Baytown, TX 77520
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 141      Elizabeth Caveny                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14583 Haley Ave                                            When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 381 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page423 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 142      Elizabeth Ciborowski-Subasa                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9404 Leticia Dr                                            When was the debt incurred?
          Santee, CA 92071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 143      Elizabeth Conrad                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 Brook Farm Court                                         When was the debt incurred?
          Unit C
          Perry Hall, MD 21128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 144      Elizabeth Dalton                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6010 Blue Ridge Dr                                         When was the debt incurred?
          Apt A
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 382 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page424 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 145      Elizabeth Glover                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11633 County Rd 446                                        When was the debt incurred?
          Navasota, TX 77868
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 146      Ellen & Timothy Vest                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8701 Toler Pointe                                          When was the debt incurred?
          La Rue, TX 75700
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 147      Ellen And David Sloan                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7294 W. Walden Dr                                          When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 383 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page425 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 148      Ellen Keller                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9831 Dell Webb Parkway Apt 1104                            When was the debt incurred?
          Jacksonville, FL 32256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 149      Ellington at Wadesaw                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          911 Riverwood Dr                                           When was the debt incurred?
          Murrells Inlet, SC 29576
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 150      Ellis Tyrance And Jasmine Nichols                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          66 Neponset Ave                                            When was the debt incurred?
          Apt 2
          High Park, MA 02136
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 384 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page426 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 151      Elmarie (Yvonne) Brown                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1711 Powder Horn Lane                                      When was the debt incurred?
          Arlington, TX 76018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 152      Eloy & Mary Montoya/Vigil                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2213 S Meade St                                            When was the debt incurred?
          Denver, CO 80219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 153      Elvia and Arturo Cortez                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4273 Woodglen Blvd                                         When was the debt incurred?
          Thorton, CO 80233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 385 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page427 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 154      Elvira (Vera) Lucero                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4815 W 116th CT                                            When was the debt incurred?
          Westminster, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 155      Embark                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          The Landin, #326-375 Water Street                          When was the debt incurred?
          Vancouver, BC Canada V6B5C6
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 156      Embassy Vacation Resorts                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8317 Lake Bryan Beach Blvd.                                When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 386 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page428 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 157      Emelie Nevius/Shawn Ortloff                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7411 East Drummer Ave.                                     When was the debt incurred?
          Mesa, AZ 85208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 158      Emily Merritt                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7915 Kerith Lane                                           When was the debt incurred?
          Trussville, AL 35173
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 159      Enid & Werner Chandler/Keidel                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2500 Houma Blvd, Unit #317                                 When was the debt incurred?
          Metairie, LA 70001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 387 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page429 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 160      Enoc & Corina Escalona                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5956 Lost Valley Drive                                     When was the debt incurred?
          The Colony, TX 75056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 161      Enrique & Elena Ramos                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12719 Parkbury Drive                                       When was the debt incurred?
          Orlando, FL 32828
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 162      Enrique & Gilda Gomez                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11821 SW 4th Terrace                                       When was the debt incurred?
          Miami, FL 33184
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 388 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page430 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 163      Enriqueta Steele                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6231 Shawnee Rd                                            When was the debt incurred?
          Westminster, CA 92683
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 164      Entercom Communications Corp.                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 74079                                               When was the debt incurred?
          Cleveland, OH 44194
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 165      Eriberto & Karina Baltadano                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16 Forest Glen Circle, Apt# 3                              When was the debt incurred?
          Middletown, CT 06457
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 389 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page431 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 166      Eric & Kim Edwards                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          515 Saddlerock Circle                                      When was the debt incurred?
          Sedona, AZ 86336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 167      Eric Bartoszek                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7550 S. Blackhawk St, 13-202                               When was the debt incurred?
          Englewood, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 168      Eric Santos                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2329 Taggart Ct                                            When was the debt incurred?
          Wilmington, PA 19810
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 390 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page432 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 169      Erica and Anthony Di Tirro                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6685 w evans ave                                           When was the debt incurred?
          Lakewood, CO 80227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 170      Ericka and Roderick James                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          33 South Lindon Ave                                        When was the debt incurred?
          Council Bluffs, Iowa 51503-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 171      Erika & Charles Gaines                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          113 Stockland Rd.                                          When was the debt incurred?
          Irmo, SC 29063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 391 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page433 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 172      Erika Guidry and John Sadler                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4106 Tidewater Drive                                       When was the debt incurred?
          Houston, TX 77045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 173      Erin Higgins                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2954 West Irving Park Road Apt 3F                          When was the debt incurred?
          Chicago, IL 60618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 174      Erin Watzel                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9287 W 98th Place                                          When was the debt incurred?
          Westminster, CO 80021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 392 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page434 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 175      Erma Tatum and Elton Moore                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15727 Sweetwater Creek Drive                               When was the debt incurred?
          Houston, TX 77095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 176      Ernest And Carol Gray                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12215 Moorceek Drive                                       When was the debt incurred?
          Houston, TX 77070
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 177      Ernest and Glenda Komarek                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          818 Coulter St                                             When was the debt incurred?
          Ft. Collins, CO 80524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 393 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page435 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 178      Ernest And Joyclyn Johnson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7418 Oriole                                                When was the debt incurred?
          Texas City, Tx 77591
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 179      Ernest And Julia Mudd                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12214 Chessington Drive                                    When was the debt incurred?
          Houston, TX 77031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Ernesto Acea-Green and Beatriz
 180      Cordero-A                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4900 77th Pl.                                              When was the debt incurred?
          Hyattsville, MD 20912
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 394 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page436 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 181      Ervin & Catherine Dorsett                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3200 Kim Dr.                                               When was the debt incurred?
          Richmond, VA 23224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 182      Ervin and Marion Cogdell                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5136 Primland Lane                                         When was the debt incurred?
          Raleigh, NC 27610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 183      Erwin & Jackie Montgomery                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7220 Hunters Point Dr                                      When was the debt incurred?
          Fayetteville, North Carolina
          28311-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 395 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page437 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 184      Escape Travel Choices                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          903 N 47th St.                                             When was the debt incurred?
          Rogers, AR 72756
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 185      Esmond and Frances Waldron                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2748 East Chester Road                                     When was the debt incurred?
          Bronx, NY 10465
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 186      Esta Burleson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          117 Pate Branch Rd                                         When was the debt incurred?
          Freeport, FL 32439
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 396 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page438 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 187      Esther & David Rouse                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1321 Iola St                                               When was the debt incurred?
          Aurora, CO 80010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 188      Ethel (Eddi) Loredo                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          44465Chamberlain Terrace                                   When was the debt incurred?
          Ashburn, VA 20147
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 189      Eugene & Adelaine Steinhaus                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2374 Pinewood Dr                                           When was the debt incurred?
          Shakopee, MN 55379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 397 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page439 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 190      Eugene & Elease Strickland                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7536 Sherwood Rd.                                          When was the debt incurred?
          Philadelphia, PA 19151
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 191      Eugene And Ester Johnson                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18327 West Caribbean Lane                                  When was the debt incurred?
          Surprise, AZ 85388
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 192      Eugene and Kimberlyn Yazzie                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1054                                                When was the debt incurred?
          Keams Canyon, AZ 86034
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 398 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page440 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 193      Eugene Chun                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          981710 Kaahumanu Street                                    When was the debt incurred?
          Unit 10A
          Pearl City, HI 96782
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 194      Eugene Martin                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4401 Telfair Blvd apt 4323                                 When was the debt incurred?
          Camp Springs, MD 20746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 195      Eusebio & Christine Quinones                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5300 Augusta Trail                                         When was the debt incurred?
          Fort Collins, CO 80528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 399 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page441 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 196      Eva Patterson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20522 Serringdon Drive                                     When was the debt incurred?
          Katy, TX 77449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 197      Evard & Samantha James                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          110 Ball Park Lane                                         When was the debt incurred?
          Apt 7003
          Lawrenceville, GA 30043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 198      Evee & Gunter Burgard                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1700 Stanford Ave                                          When was the debt incurred?
          Redondo Beach, CA 90278
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 400 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page442 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 199      Evelyn & John Lopez                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5001 Parish Drive                                          When was the debt incurred?
          Roeland Park, KS 66205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 200      Evelyn and Daniel Ortiz-Sanchez                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2822 Shelburne Way                                         When was the debt incurred?
          St. Cloud, FL 34772
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 201      Evelyn Barnes                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3715 Yorktown Road                                         When was the debt incurred?
          Hope Mills, NC 28348
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 401 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page443 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 202      Evelyn Wenke                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3314 190th St                                              When was the debt incurred?
          Fort Madison, IA 52627
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Evelyn, Alfonso and Tracy Lewis
 203      and Carl                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          170 Arbor Springs Parkway                                  When was the debt incurred?
          Newnan, GA 30265
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 204      Exclusive Travel                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          700 W. Hillsboro Blvd.                                     When was the debt incurred?
          Deerfield Beach, FL 33441-1612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 402 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page444 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 205      Executive Business Centers                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7887 East Belleview Avenue, Suite                          When was the debt incurred?
          1100
          Denver, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Executive Business Centers -
 206      Prentice                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8400 East Prentice Ave Suite 1500                          When was the debt incurred?
          Greenwood Village, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 207      Executive Business Services LLC                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1166 W Princeton Pl                                        When was the debt incurred?
          Englewood, CO 80110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 403 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page445 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 208      Explore Communications                                     Last 4 digits of account number       8157                                                   $0.00
          Nonpriority Creditor's Name
          3213 Zuni St                                               When was the debt incurred?
          Denver, CO 80211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $414,817.50


 4.1
 209      Explore Communications                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3213 Zuni St                                               When was the debt incurred?
          Denver, CO 80211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $414,817.50


 4.1
 210      Exploria Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25 Town Center Blvd. Suite C                               When was the debt incurred?
          Clermont, FL 34714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 404 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page446 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 211      Exploria Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25 Town Center Blvd.                                       When was the debt incurred?
          Clermont, FL 34714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 212      Exploria Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 150                                                 When was the debt incurred?
          Scottsdale, AZ 85252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 213      Ezra(Elizabeth)&LindaM Orti/Cruz                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26944 East Archer Avenue                                   When was the debt incurred?
          Aurora, CO 80018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 405 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page447 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 214      Fairfield Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          538 West 58th Street                                       When was the debt incurred?
          New York, NY 10019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 215      Fairway at Pocono Mountain Villas                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2157 Triver Road East                                      When was the debt incurred?
          Stroudsburg, PA 18302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Fairway Forest via Diamond
 216      Resorts                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3077 US Hwy 64 E Suite A                                   When was the debt incurred?
          Sapphire, NC 28774
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 406 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page448 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 217      Falcon Point Resort                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          175 Lake St                                                When was the debt incurred?
          Avon, CO 81620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 218      Falls of Ogunquit                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          639 Main Street                                            When was the debt incurred?
          Ogunquit, ME 03907
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 219      FantaSea Resort                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 N. Maine Avenue                                         When was the debt incurred?
          Atlantic City, NJ 08401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 407 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page449 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 220      FantaSea Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 North Maine Avenue                                      When was the debt incurred?
          Atlantic City, NJ 08401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 221      Fantasea/Capital                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 N. Maine Avenue                                         When was the debt incurred?
          Atlantic City, NJ 08401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 222      Fantasy Resorts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 N. Maine Avenue                                         When was the debt incurred?
          Atlantic City, NJ 08401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 408 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page450 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 223      Fantasy World in Florida                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5005 Kyng's Heath Rd.                                      When was the debt incurred?
          Kissimmee, FL 34746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 224      Farah Jean Pierre                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1396 Newton St.                                            When was the debt incurred?
          Denver, CO 80204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 225      Farley Frydman                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          230 Stanbery Ave                                           When was the debt incurred?
          Beckley, OH 43209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 409 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page451 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 226      Faye Autrey/Len Copperwheat                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2909 Frick Road                                            When was the debt incurred?
          Houston, TX 77038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 227      FedEx US Collections Dept                                  Last 4 digits of account number       3433                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 94515                                               When was the debt incurred?
          Palatine, IL 60094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $246.79


 4.1
 228      Felicia Brazil                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9019 Canton Park Lane                                      When was the debt incurred?
          Houston, TX 77095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 410 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page452 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 229      Felipe & Bonnie Flores                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6236 Bryce Canyon Avenue                                   When was the debt incurred?
          Las Vegas, NV 89156
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 230      Felipe & Claudia Martinez/Carlin                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1109 Fall River Cir                                        When was the debt incurred?
          Longmont, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 231      Felipe & Karen Garcia/ Rivera                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1814 S. Wolff St.                                          When was the debt incurred?
          Denver, CO 80219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 411 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page453 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 232      Fenton Miller                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8335 Lowell Ave Unit # 1                                   When was the debt incurred?
          Overland Park, KS 66212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 233      Ferdinand & Veronica Suarez                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          901 Abernathy Road                                         When was the debt incurred?
          Unit 6290
          Sandy Springs, GA 30328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 234      Ferguson & Renee Reed/Adams                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1328 W 75th Ave                                            When was the debt incurred?
          Merrillville, IN 46410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 412 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page454 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 235      Festiva                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Vance Gap Road                                           When was the debt incurred?
          Asheville, NC 28805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 236      Festiva                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          One Vance Gap Road                                         When was the debt incurred?
          Ashville, NC 28805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 237      Festiva Resorts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Vance Gap Road                                           When was the debt incurred?
          Asheville, NC 28805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 413 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page455 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 238      FHRC                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          80 East Harmon Ave                                         When was the debt incurred?
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 239      Fides & Henry Albano                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12862 Suffolk Chase Lane                                   When was the debt incurred?
          Houston, TX 77077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 240      Fiesta Americana                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1551 Avenida de las Americas                               When was the debt incurred?
          Proivencia 44630, Guadalajara
          Jalisco, M
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 414 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page456 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 241      Fiestiva                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Vance Gap Road                                           When was the debt incurred?
          Asheville, NC 28805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 242      Finus Douglas                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3112 Twilight Ave                                          When was the debt incurred?
          Naperville, IL 60564
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 243      Fiserv Merchant Services                                   Last 4 digits of account number                                                     $157,348.06
          Nonpriority Creditor's Name
          5775 DTC Blvd                                              When was the debt incurred?
          Suite 100N
          Greenwood Village, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Credit Card Processor
                                                                                         Business Debt - Personally Guaranteed by
              Yes                                                       Other. Specify   Brian




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 415 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page457 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 244      Flagship Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 N. Maine Avenue                                         When was the debt incurred?
          Atlantic City, NJ 08401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 245      Flex Vacations                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8800 Vistana Centre Drive                                  When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 246      Flora Leach                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7547 S Wentworth Ave                                       When was the debt incurred?
          Chicago, IL 60620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 416 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page458 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 247      Florence (F.M. Or Flo) Littljohann                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          808 Lane Steet                                             When was the debt incurred?
          Ft Morgan, CO 80701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 248      Floy and Mike Sherman                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3940 S Washington St                                       When was the debt incurred?
          Englewood, CO 80113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 249      Fontana Village Resort and Marina                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Woods Rd                                               When was the debt incurred?
          Fontana Dam, NC 28733
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 417 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page459 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 250      Forrest And Deborah Breakey                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          32 Gladwood Way                                            When was the debt incurred?
          Garner, NC 27529
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 251      Fort Brown                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          401 Ringgold Rd                                            When was the debt incurred?
          Brownsville, TX 78520
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 252      Four Sails                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3301 Atlantic Ave.                                         When was the debt incurred?
          Virginia Beach, VA 23451
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 418 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page460 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 253      Four Seasons                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5005 Veterans Memorial Hwy                                 When was the debt incurred?
          Holberook, NY 11741
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 254      Fox Hill                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          244 S. Main Street                                         When was the debt incurred?
          Miahicot, WI 54228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 255      Fox News Network LLC                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1211 Avenue of the Americas                                When was the debt incurred?
          New York, NY 10036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 419 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page461 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 256      Frances & Andrew Garcia/Santiago                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7152 Cedarcrest Blvd                                       When was the debt incurred?
          Lakeland, FL 35554-5888
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 257      Frances & John Trainor                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9 Carr Rd                                                  When was the debt incurred?
          Saugus, MA 01906
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 258      Frances & Samaria Epps                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4107 Oak Arbor Drive                                       When was the debt incurred?
          Dallas, TX 75233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 420 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page462 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 259      Frances Doherty                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 Chester St                                               When was the debt incurred?
          Arlington, MA 20476
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 260      Frances Mays                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1644 Akron                                                 When was the debt incurred?
          Aurora, CO 80010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 261      Francis and Joan Lee                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          990 Harlan St                                              When was the debt incurred?
          Lakewood, CO 80214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 421 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page463 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 262      Francis B & Carmen Beadle                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6405 Citrushill Dr                                         When was the debt incurred?
          Bakerville, CA 93306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 263      Francis L Dean & Assiciates                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9362 Teddy Ln                                              When was the debt incurred?
          LoneTree, CO 80124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 264      Francis Mchugh                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8 Steven Ave                                               When was the debt incurred?
          Derry, NH 03038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 422 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page464 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 265      Francis Wallace/Monique Gomillion                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3100 Walters Lane Apt. 3                                   When was the debt incurred?
          District Heights, MD 20747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 266      Frank & Jane Capasso                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          415 South Manor Drive                                      When was the debt incurred?
          Media, PA 19063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 267      Frank & Linda Romero                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16236 East 105th Circle                                    When was the debt incurred?
          Commerce City, CO 80022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 423 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page465 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 268      Frank & Sheila Dott                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15246 W. Calavar Rd                                        When was the debt incurred?
          Surprise, AZ 85379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 269      Frank and Edrie Garcia                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22715 Coriander Dr                                         When was the debt incurred?
          Magnolia, TX 77355
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 270      Frank and Jacqueline Espinoza                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13090 W. Warren Ave.                                       When was the debt incurred?
          Lakewood, CO 80228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 424 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page466 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 271      Frank and Linda Harris                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2065 Mountain Sage Dr                                      When was the debt incurred?
          Highlands Ranch, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 272      Frank and Susan Wadlington                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2311 Wicklow Dr.                                           When was the debt incurred?
          Pearland, TX 77581
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 273      Frank Behra                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          795 Summerlake Circle                                      When was the debt incurred?
          Apt 302
          Ridgeland, SC 29936
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 425 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page467 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 274      Frank Marco                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13026 Oak Grove Drive                                      When was the debt incurred?
          Huntley, IL 60142
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 275      Frank Pulver                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5362 South Saullsbury Way                                  When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 276      Frank Silva                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12161 Mercado Drive #301                                   When was the debt incurred?
          Venice, FL 34293
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 426 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page468 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 277      Franka and Manning Correia                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35 East Green Pastures Circle                              When was the debt incurred?
          Spring, TX 77382
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 278      Frankie McMurrey                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1301 Airport Freeway Apt 1045                              When was the debt incurred?
          Bedford, TX 76021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 279      Fred & Carole Harris                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7512 Ashby Lane                                            When was the debt incurred?
          Unit E
          Alexandria, VA 22315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 427 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page469 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 280      Fred & Maryann Young                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          716 Archer Lane                                            When was the debt incurred?
          Georgetown, TX 78633
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 281      Fred & Patricia Nolan                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1989 County Rd RCR 928 B                                   When was the debt incurred?
          Alvin, TX 77511
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 282      Fred and Shirley Bryon                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9257 Prairieview Trl N                                     When was the debt incurred?
          Champlin, MN 55316
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 428 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page470 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 283      Fred And Yvonne Rojas                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2022 Wilbur St                                             When was the debt incurred?
          Dallas, TX 75224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 284      Fred Vaughn and Latrelle Dacaosta                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          356 Lincoln St SW                                          When was the debt incurred?
          Atlanta, GA 30315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 285      Freeda & Shelly Delo/Beas                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          97 Trap Run Road                                           When was the debt incurred?
          Walker, WV 26180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 429 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page471 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      FREEDOM CONSUMER SERVICES,
 286      LLC, d/b/a Ti                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1503 S Coast Dr Ste 315                                    When was the debt incurred?
          Costa Mesa, CA 92626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 287      French Lick Springs Villa                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8718 W State road 56                                       When was the debt incurred?
          French Lick, IN 47432
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 288      French Lick Villas                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8718 W State road 56                                       When was the debt incurred?
          French Lick, IN 47432
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 430 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page472 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 289      French Ridge Condominiums                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          416 South Ridge Street                                     When was the debt incurred?
          Breckenridge, Colorado 80424-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 290      Ft Lauderdale Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4221 N. Ocean Boulevard                                    When was the debt incurred?
          Fort Lauderdale, FL 33308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 291      Furniture Row                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 960061                                            When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit line




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 431 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page473 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 292      Furniture Row Synchrony                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 960061                                            When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit line


 4.1
 293      Gabino And Yolanda Tarango                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19922 Crested Peak Ln                                      When was the debt incurred?
          Cypress, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 294      Gabriel & JoAnne Frumkin                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6385 Pegasus Ct.                                           When was the debt incurred?
          Eastvale, CA 91752
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 432 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page474 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 295      Gail Beddingfield                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          726 W St Johns Way                                         When was the debt incurred?
          Hendersonville, NC 28791
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 296      Gail Johnson                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3740 West Gaslight Square                                  When was the debt incurred?
          Apt 103
          Alsip, IL 60803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 297      Gail Senter and Hollie Foster                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4514 S Valdai Circle                                       When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 433 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page475 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 298      Gail Wall                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3982 Brockenhurst Drive                                    When was the debt incurred?
          Buford, GA 30519
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 299      Gail&Shelita Clark/Jonson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Cameron Grove Blvd Apt 21                                When was the debt incurred?
          Upper Marlboro, MD 20774
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 300      Galina & Sergey Grechkin                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13035 SE 169th Ave, Apt #227                               When was the debt incurred?
          Happy Valley, OR 97086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 434 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page476 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 301      Gardens at West Maui Resort                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5500 Lower Honoapiilani Highway                            When was the debt incurred?
          Lahaina, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 302      Garland & Charmaine Lewis                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2797 S. Jebel Way                                          When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 303      Garry & Katharina Hatfield                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1476 Indian Ridge Trail                                    When was the debt incurred?
          New Richmond, Ohio 45157-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 435 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page477 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 304      Gary & Adele Harrison                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11314 Dundee Dr                                            When was the debt incurred?
          Mitchellville, MD 20721
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 305      Gary & Judith Grange                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18400 Homestead Cir                                        When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 306      Gary & Lori Higman                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1921 N. 99th Way                                           When was the debt incurred?
          Mesa, AZ 85207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 436 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page478 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 307      Gary & Mercedes Kay                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2913 Autumn Creek Dr                                       When was the debt incurred?
          Friendswood, TX 77546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 308      Gary And Jennifer Tolleson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18 Sylvan Rd                                               When was the debt incurred?
          Billerica, MA 01821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 309      Gary and Judith Richards                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1100 Eastern Ave                                           When was the debt incurred?
          Schenectady, NY 12308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 437 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page479 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 310      Gary And LaSandra Pitts                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3822 Benton Blvd                                           When was the debt incurred?
          Kansas City, MO 64128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 311      Gary and Laura Kantor                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2224 Andrea Dr                                             When was the debt incurred?
          Bensalem, PA 19020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 312      Gary and Lynda Sievers                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          44750 County Rd 89                                         When was the debt incurred?
          Briggsdale, CO 80611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 438 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page480 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 313      Gary and Maria Netherland                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8117 Westside St                                           When was the debt incurred?
          Littleton, CO 80125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 314      Gary and Wendy Norgaard                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10802 West Elm Ln                                          When was the debt incurred?
          Avondale, AZ 85323
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 315      Gary Brenholtz                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12524 East Cornell Avenue                                  When was the debt incurred?
          #204
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 439 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page481 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 316      Gary McHenry and Paulette Kalich                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7222 Hanging Rock Court                                    When was the debt incurred?
          Denver, NC 28037
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 317      Gary Szczepanowski                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4639 Eaves Ln                                              When was the debt incurred?
          Charlotte, NC 28215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 318      Garza Blanca Resident Club                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Carretera a Barra de Navidad KM                            When was the debt incurred?
          7.5
          Puerto Vallarta, Jalisco Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 440 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page482 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 319      Gas Lamp                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          614 5th avenue suite e                                     When was the debt incurred?
          san diego, ca 92101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 320      Gatlinburg Timesquare                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          414 Historic Nature Trl                                    When was the debt incurred?
          Gatlinburg, TN 37738
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 321      GBS International                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9450 SW 72nd St.                                           When was the debt incurred?
          Miami, FL 33173
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 441 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page483 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 322      Gemma & Marcos Veloso                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9115 Cabanna Way                                           When was the debt incurred?
          Montgomery, TX 77316
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 323      Gena Washburn                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10068 Idalia St                                            When was the debt incurred?
          Commerce, CO 80022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 324      Genaro and Diana Frausto                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5207 Ivory Pearl Ct                                        When was the debt incurred?
          Katy, TX 77493
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 442 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page484 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 325      Gene Smith                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1614 Nauvoo Road                                           When was the debt incurred?
          Blanchester, OH 45107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Genette Foray and Chuenarun
 326      Dischner                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4809 Pasadena Way                                          When was the debt incurred?
          Broomfield, CO 80023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 327      Geoffery & Shyla Ornelas                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          601 E Ash Lane, Apt 12108                                  When was the debt incurred?
          Euless, TX 76039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 443 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page485 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 328      Geoffery & Shyla Ornelas                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          601 E Ash Lane, Apt 12108                                  When was the debt incurred?
          Euless, TX 76039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 329      Geoffry Sheridan                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6165 E Iliff Ave #A218                                     When was the debt incurred?
          Denver, CO 80222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 330      GeoHoliday Vacation Club                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 231586                                              When was the debt incurred?
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 444 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page486 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      George "Keven" and Selena
 331      "Dawn" Faulkne                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          281 Phillips Peak                                          When was the debt incurred?
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 332      George & Ellen Duke                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17567 Gypsum Ct                                            When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 333      George & Karen Carucci                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3114 Marsh Island Dr.                                      When was the debt incurred?
          Myrtle Beach, SC 29575
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 445 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page487 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 334      George & Roma Lee Michel                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2531 Ranch Reserve Ridge                                   When was the debt incurred?
          Westminster, CO 80234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 335      George & Rosemarie Cramp                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          492 Wagon Trail                                            When was the debt incurred?
          Orange, CT 06477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 336      George and Anita Robinson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          0240 Deer Run                                              When was the debt incurred?
          Carbondale, CO 81623
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 446 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page488 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 337      George and Anna Nieves                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          694 Tidal Flats st.                                        When was the debt incurred?
          Henderson, NV 89002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 338      George and Edeltrud Siler                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          469 Tamarach Dr                                            When was the debt incurred?
          Edwardsville, IL 62025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 339      George and Michele LeDoux                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1629 175th Place SE                                        When was the debt incurred?
          Bothell, WA 98012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 447 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page489 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      George Gomez and Ashley
 340      Gomez-Saulnier                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          302 Steepleph Lane                                         When was the debt incurred?
          Raeford, NC 28376
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 341      George Siemiatkowski                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3017 Sydney Way                                            When was the debt incurred?
          Castro Valley, CA 94546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 342      Georgia And Edward Lovell                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2205 Briarstone Bluff Crossing                             When was the debt incurred?
          Pearland, TX 77089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 448 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page490 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 343      Georgia Attorney General                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40 Capitol Square, SW                                      When was the debt incurred?
          Atlanta, GA 30334
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 344      Georgia Mitchell and Windy Smith                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5801 Reading Road                                          When was the debt incurred?
          Apt 615
          Rosenberg, TX 77471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 345      Georgian Inn Beach Club                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          759 South Atlantic Avenue.                                 When was the debt incurred?
          Ormond Beach, FL 32176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 449 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page491 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 346      Georgiana Rito                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1952 Wellington Place                                      When was the debt incurred?
          Downers Grove, IL 60516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 347      Georgianna and Joseph Kiss                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1457 S Oneida St                                           When was the debt incurred?
          Denver, CO 80224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 348      Gerald & Carolyn Nealy                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2626 Euclid Avenue                                         When was the debt incurred?
          Berwyn, IL 60402
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 450 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page492 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 349      Gerald & Connie Howell                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4588 Prunty Avenue                                         When was the debt incurred?
          Jacksonville, FL 32205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 350      Gerald & Linda Clark                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10211 Hartley Drive                                        When was the debt incurred?
          Louisville, KY 40223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Gerald (Mike) and Rebecca
 351      Fischbeck                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1145 Regina Lane                                           When was the debt incurred?
          Northglenn, CO 80233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $1,995.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 451 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page493 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 352      Gerald and Donna Varland                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Shore Rd                                               When was the debt incurred?
          Mt. Sinai, NY 11766
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 353      Gerald and JoAnn Vold                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40762 E Louisiana Dr                                       When was the debt incurred?
          Bennett, CO 80102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 354      Gerald And Patricia Peterson                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5151 Isla Key Blvd South, Unit #224                        When was the debt incurred?
          St. Petersburg, FL 00075-8180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 452 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page494 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 355      Gerald Sojka                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          812 Blue Ridge Dr                                          When was the debt incurred?
          Streamwood, IL 60107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 356      Geraldine Cain                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1061 E. 41st PL Apt 503                                    When was the debt incurred?
          Chicago, IL 60653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 357      Gerard (Gerry) Zutant                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 Hickok Ave                                             When was the debt incurred?
          Syiacuse, NY 13306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 453 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page495 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 358      Geri & Gayle Gurule/Garcia                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1156 S Johnson Street                                      When was the debt incurred?
          Lakewood, CO 80232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 359      Geri And Clyde Hobel                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1130 Carr St                                               When was the debt incurred?
          New Castle, PA 16101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 360      Get Found Fast                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6456 S Quebec St Unit 25                                   When was the debt incurred?
          Centennial, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 454 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page496 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 361      Getaways Resort Management                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1006 Hwy. 98                                               When was the debt incurred?
          East Destin, FL 32541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 362      GEVC-RCI                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22900 Shoreline Highway 1. PO Box                          When was the debt incurred?
          154.
          Point rena, CA 95468
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Geve Global Exchange Vacation
 363      Club                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27405 Puerta Real Ste 100                                  When was the debt incurred?
          Mission Viejo, CA 92691
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 455 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page497 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 364      Ghost Mountain                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5560 Badger Hill Rd                                        When was the debt incurred?
          Pollock Pines, CA 95726
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 365      Gilbert & Concepcion Torres                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17710 Glen Hagen Ct                                        When was the debt incurred?
          Houston, TX 77084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 366      Gilberto Olivo                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          629 Pinnix Rd                                              When was the debt incurred?
          Burlington, NC 27217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 456 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page498 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 367      Gina & Charlie Sackett                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          314 N Vine St                                              When was the debt incurred?
          Roberts, WI 54023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 368      Gina Marcell                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9582 US Highway 285                                        When was the debt incurred?
          Salida, CO 81201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 369      Girdie & Mitchell Kelly                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2813 Citrus Lane                                           When was the debt incurred?
          Springdale, MD 20774
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 457 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page499 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 370      Gladys and Gregory Brouwer                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          415 Golls Dr                                               When was the debt incurred?
          Garner, IA 50438
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 371      Gladys and Vivian Rivera                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          38904 8th Ave                                              When was the debt incurred?
          Zephyrhills, FL 33542
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 372      Gladys Maryol                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 8995                                                When was the debt incurred?
          Huntsville, TX 77340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 458 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page500 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 373      Glen & Donna Cook                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          514 B Village Green Drive                                  When was the debt incurred?
          Morehead, NC 28557
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 374      Glen Ivy Resorts Inc.                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          405 2nd Ave S Mpls                                         When was the debt incurred?
          Minneapolis, MN 55401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 375      Glenda Mitchell                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5857 S Zante Cir                                           When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 459 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page501 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 376      Glendale and Roxanne Baker                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6150 N Broad St.                                           When was the debt incurred?
          PO Box 26555
          Philadelphia, PA 19141
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 377      Glenn & Joan Petty                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          317 Jones Franklin Rd                                      When was the debt incurred?
          Raleigh, NC 27606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 378      Glenn (POA) & Shirley Currie/Dunn                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1753 Swadley Street                                        When was the debt incurred?
          Lakewood, CO 80215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 460 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page502 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 379      Glenn and Lisa Roberts                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          145 West Sunset Drive                                      When was the debt incurred?
          Ephrata, PA 17522
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 380      Global Connections Inc                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5360 College Blvd Ste 200                                  When was the debt incurred?
          Overland Park, KS 66211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 381      Global Discovery Vacations                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5360 College Blvd Unit 200                                 When was the debt incurred?
          Overland Park, KS 66211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 461 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page503 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 382      Global Exchange Vacation Club                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27405 Puerta Real Ste 100                                  When was the debt incurred?
          Mission Viejo, CA 92691-6314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 383      Global Quest                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9450 Sunset Dr.                                            When was the debt incurred?
          Miami, FL 33173
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Gloria & Geneva Aikens
 384      (Andrews)/Wilson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9219 S Loomis St                                           When was the debt incurred?
          Chicago, IL 60620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 462 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page504 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 385      Gloria And James Martin                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5201 Via Pauma                                             When was the debt incurred?
          Oceanside, CA 92057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 386      Gloria And Randolph Valdez                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 44                                                  When was the debt incurred?
          La Jara, CO 81140
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 387      Gloria Brown and Michael Kelby                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          260 Carina Cir, Unit 105                                   When was the debt incurred?
          Loveland, co 80537
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 463 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page505 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 388      Gloria Jean Johnson-Ester                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8339 S Green Street                                        When was the debt incurred?
          Chicago, IL 60620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 389      Gloria Lenzy                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1325 Perry St.                                             When was the debt incurred?
          Des Plaines, IL 60016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 390      Gloria Martinez                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 41443                                               When was the debt incurred?
          Phoenix, AZ 85080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 464 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page506 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 391      Gloria Phillips                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13711 Lakeshore Way Cove                                   When was the debt incurred?
          Houston, TX 77077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 392      Gloria Sue Standish                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1187 Coast Village Road 1-798                              When was the debt incurred?
          Santa Barbara, CA 93108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Glorieuse -Gloria - Lamour and
 393      Wilkens J                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          635 Clear Lake Ave                                         When was the debt incurred?
          West Palm Beach, FL 33401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 465 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page507 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 394      Go Daddy                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14455 N. Hayden Rd #219                                    When was the debt incurred?
          Scottsdale, AZ 85260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 395      Gold Canyon Resort Vacation Villas                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6100 S Kings Ranch Rd                                      When was the debt incurred?
          Gold Canyon, AZ 85118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 396      Gold Point & Falcon Point                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          53 View Lane                                               When was the debt incurred?
          Breckenridge, CO 80424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 466 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page508 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 397      Gold Point - BGV                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          53 View Lane                                               When was the debt incurred?
          Breckenridge, CO 80424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 398      Gold Point Condominiums                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          53 View Lane                                               When was the debt incurred?
          Breckenridge, CO 80424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 399      Gold Point in Breckenridge                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          53 View Lane                                               When was the debt incurred?
          Breckenridge, CO 80424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 467 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page509 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 400      Gonzalo Arroyave (SPO)                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          957 Orchard St.                                            When was the debt incurred?
          Peekskill, NY 10566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 401      Grace FM                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18900 E Hampten Ave                                        When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 402      Grace Nolen                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          444 Cemetery Rd                                            When was the debt incurred?
          Dickinson, TX 77539
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 468 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page510 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 403      Graciano and Isabel Ramirez                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          118 Tenderfoot Trail                                       When was the debt incurred?
          Del Rio, TX 78840
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 404      Graham Media Group                                         Last 4 digits of account number       5852                                                   $0.00
          Nonpriority Creditor's Name
          161 N Clark St Suite 2900                                  When was the debt incurred?
          Chicago, IL 60601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 405      graham media KPRC & KSAT                                   Last 4 digits of account number       7B15                                                   $0.00
          Nonpriority Creditor's Name
          P O Box 934721                                             When was the debt incurred?
          Atlanta, GA 31193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 469 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page511 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 406      Grand Beach                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8317 Lake Bryan Beach Boulevard                            When was the debt incurred?
          Orlando, Florida 32821-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 407      Grand Bliss - Mayan Resorts                                Last 4 digits of account number       Mexico                                                 $0.00
          Nonpriority Creditor's Name
          Carretera Federal Cancun-Playa del                         When was the debt incurred?
          Carme
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 408      Grand Cascades Nuevo Vallarta                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Jos Rover Motta, 27                                        When was the debt incurred?
          07006 Palma de Mallorca Balearic
          Islands
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 470 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page512 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 409      Grand Cayman                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
          Grand Cayman KY1-9000 Cayman
          Islands
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 410      Grand Crown Resorts                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Golfview dr.                                           When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Grand Entertainment Collections -
 411      Nuevo                                                      Last 4 digits of account number       Mexico                                                 $0.00
          Nonpriority Creditor's Name
          Km 1.2 Carr. Punta de Mita La Cruz                         When was the debt incurred?
          de Hu
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 471 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page513 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 412      Grand Getaways                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7555 Commerce Court                                        When was the debt incurred?
          Sarasota, FL 34243
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 413      Grand Hilton Vacations                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6355 Metrowest Blvd.                                       When was the debt incurred?
          Orlando, FL 32835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 414      Grand Lake in Kissimmee FL-RCI                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4901 Vineland Rd Ste 250                                   When was the debt incurred?
          Orlando, FL 32811
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 472 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page514 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 415      Grand Lake Resorts Florida                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4040 Central Florida Parkway                               When was the debt incurred?
          Orlando, FL 32837
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 416      Grand Leos                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          110 grand palms dr                                         When was the debt incurred?
          pembroke pines, fl 33027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 417      Grand Pacific                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5900 Pasteur Ct Ste 200. Carlsbad                          When was the debt incurred?
          Carlsbad, CA 92008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 473 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page515 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 418      Grand Pacific Exchange                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5900 Pasteur Court Suite 100.                              When was the debt incurred?
          Carlsbad, CA 92008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 419      Grand Pacific Marbrisa                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5900 Pasteur Court Suite 100.                              When was the debt incurred?
          Carlsbad, CA 92008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Grand Pacific Marrisa through
 420      Hilton Gra                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6355 Metrowest Blvd.                                       When was the debt incurred?
          Orlando, FL 32835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 474 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page516 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 421      Grand Pacific Palisades                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5805 Armada Drive.                                         When was the debt incurred?
          Carlsbad, CA 92008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 422      Grand Pacific Resorts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5900 Pasteur Ct #200                                       When was the debt incurred?
          Carlsbad, CA 92008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 423      Grand Pacific Resorts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5900 Pasteur Ct Ste 200                                    When was the debt incurred?
          Carlsbad, CA 92008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 475 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page517 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 424      Grand Pacifica Marbrisa                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5900 Pasteur Ct Ste 200                                    When was the debt incurred?
          Carlsbad, CA 92008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 425      Grand Residences                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Blvd. El Cid, Unidad 28 Lote 1-01                          When was the debt incurred?
          77580 Puerto Morelos, Quintana
          Roo Mexic
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 426      Grand Seas Resort                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2424 N Atlantic Ave.                                       When was the debt incurred?
          Daytona Beach, FL 32118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 476 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page518 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 427      Grand Sol Mar                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av. Solmar #1A Col. Centro                                 When was the debt incurred?
          Cabo San Lucas, BCS C.P. Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 428      Grand View Resorts in Las Vegas                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9940 Las Vegas Boulevard South                             When was the debt incurred?
          Las Vegas, NV 89183
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 429      Grande Crowne Resorts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Golfview Drive                                         When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 477 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page519 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 430      Grandvista Painted Mountain                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2025 N. 3rd Street Ste. 230                                When was the debt incurred?
          Phoenix, AZ 85004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 431      Grasshopper                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1st Avenue Suite 200                                       When was the debt incurred?
          Needham, MA 02494
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 432      Great Eastern Resorts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6302 E Mckellips Rd                                        When was the debt incurred?
          Mesa, AZ 85004 85200-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 478 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page520 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 433      Great Escapes                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Resort President 1172 State Route 9                        When was the debt incurred?
          Queensbury, NY 12804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 434      Great Rock at Branson                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          175 Golf View Drive                                        When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 435      Greenspoon Marder LLP                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          590 Madison Avenue, Suite 1800                             When was the debt incurred?
          New York, NY 10022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 479 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page521 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 436      Greg & Carmela Stepp                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2638 Coach House Loop                                      When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 437      Greg & Cathy Spangler                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2031 Vineyard dr                                           When was the debt incurred?
          Windsor, CO 80500
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 438      Greg & Debbie Cothran                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8616 Woodridge Dr                                          When was the debt incurred?
          Sherwood, AR 72120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 480 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page522 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 439      Greg & Lori Heath                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4153 Harris St                                             When was the debt incurred?
          Toldeo, OH 43613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 440      Greg & Shawna Grey                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          505 S State Street                                         When was the debt incurred?
          Bloomington, IL 61701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 441      Greg & Shelley Hook                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          602 Joyce Ann Dr.                                          When was the debt incurred?
          Manchester, MO 63021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 481 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page523 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 442      Greg & Toni McClanahan                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2893 E. Derringer Way                                      When was the debt incurred?
          Gilbert, AZ 85297
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 443      Greg And Carolyn Young                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7605 South Monaco Way                                      When was the debt incurred?
          Centennial, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 444      Greg And Janice Gettes/Minch                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          204 W Stimmel                                              When was the debt incurred?
          Unit #2
          West Chicago, IL 60185
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 482 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page524 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 445      Greg and Jodi Kevern                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6753 S. Rachael Way                                        When was the debt incurred?
          Gilbert, AZ 85298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 446      Gregory & Dixie Green                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5445 Hoyt Drive                                            When was the debt incurred?
          Arvada, CO 80002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 447      Gregory & Lanetia Valcin                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13238 Westmont Heights Lane                                When was the debt incurred?
          Houston, TX 77044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 483 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page525 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 448      Gregory & Sadalia Irving                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19 Wire Road Loop                                          When was the debt incurred?
          Huntsville, Tx 77320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Gregory Alexander and Laurie
 449      Nelson                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4155 Maizeland Road                                        When was the debt incurred?
          Colorado Springs, CO 80909
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 450      Gregory And Laura Pinter                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Lincoln Avenue                                          When was the debt incurred?
          Glenhead, NY 11545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 484 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page526 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 451      Gregory And Tina Harris                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13411 Piney View Lane                                      When was the debt incurred?
          Houston, TX 77044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 452      Gregory Knox                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1414 Ohio Ave                                              When was the debt incurred?
          White Oak, PA 15131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 453      Gregory Raymer                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14011 Blue River Trail                                     When was the debt incurred?
          Broomfield, Co 80023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 485 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page527 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 454      Gretchen and Tom Schorege                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13182 E 148th Ave                                          When was the debt incurred?
          Brighton, CO 80601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 455      Grupo Clb Playa Del Sol                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 11528.                                            When was the debt incurred?
          Santa Rosa, CA 95406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 456      Grupo Velas                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3400 N MCCOLL RD STE 20A                                   When was the debt incurred?
          MCALLEN, TX 78501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 486 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page528 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 457      Guadalupe and Apolinar Salas                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3162 Scott Drive                                           When was the debt incurred?
          Bolling AFB, DC 20032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 458      Guadalupe and David Garcia                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20057 E 58th Place                                         When was the debt incurred?
          Aurora, CO 80019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 459      Guadalupe Hartshorn                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          149 Baytree Dr                                             When was the debt incurred?
          Spring Creek, NV 89815
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 487 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page529 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 460      Guisella and Geroge Rodriguez                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          253 Collfield Ave                                          When was the debt incurred?
          Staten Island, NY 10314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 461      Gurjant and Rupinder Badiesha                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9516 North Arlington Ave                                   When was the debt incurred?
          Kansas City, MO 64157
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 462      Gustavo and Carolyn Nicolalde                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7305 Tipperary Ct                                          When was the debt incurred?
          North Richland Hills, TX 76182
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 488 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page530 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 463      Gusto                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1201 16th St Mall Ste 350                                  When was the debt incurred?
          Denver, CO 80202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 464      Gwen Hearn and David Floyd                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          207 English Ivy Dr.                                        When was the debt incurred?
          Griffin, GA 30223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 465      Gwendolyn Jeffery                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6126 Mason Way                                             When was the debt incurred?
          Rosenberg, TX 77471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 489 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page531 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Gwendolyn(Gwen)&Jonathan
 466      Reavis                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2109 NC Hwy 67                                             When was the debt incurred?
          Jonesville, NC 28642
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 467      H. Dennis Smith                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4555 Rocky Mountain Dr.                                    When was the debt incurred?
          Medina, OH 44256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 468      Hacienda Del Mar                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Corredor Tur stico SJC-CSL KM. 10.                         When was the debt incurred?
          Lote
          Cabo del Sol, Cabo San Lucas BCS
          M xico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 490 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page532 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 469      Hacienda Encantada                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Carretera Transpeninsular km 7.3                           When was the debt incurred?
          A-4
          23410, Cabo San Lucas BCS Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 470      Halina Ghaowi                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6020 Lincoln Ave                                           When was the debt incurred?
          Unit 306
          Morton Grove, IL 60053
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 471      Hanalei Bay Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5380 Honoiki Road Princeville                              When was the debt incurred?
          Kauai, HI 96722
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 491 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page533 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 472      Hank & Dolores Collison                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          679 Arbor Lane                                             When was the debt incurred?
          Warminster, PA 18974
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 473      Hannah And Noel Manalo                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2140 Saber Court                                           When was the debt incurred?
          Naperville, IL 60565
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 474      Hannah Smith                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5701 E 8th Ave, Apt. 302                                   When was the debt incurred?
          Denver, CO 80220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 492 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page534 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 475      Hans & Margaret Fischer                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10100 E Pinewood Dr                                        When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 476      Harbor Side Resort at Atlantis                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          One Casino Drive                                           When was the debt incurred?
          P.O.Box N-4777, Nassau Bahamas
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 477      Harbor Side/ Bahamas                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          One Casino Drive                                           When was the debt incurred?
          P.O.Box N-4777, Nassau Bahamas
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 493 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page535 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 478      Harbor Walk Resorts                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26 Robbins Road                                            When was the debt incurred?
          Falmouth, MA 02540
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 479      Harborside Resort                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20 Patriots Point Road                                     When was the debt incurred?
          Mount Pleasant, SC 29464
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 480      Harbortown Point                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1651 Anchors Way                                           When was the debt incurred?
          Ventura, CA 93001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 494 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page536 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 481      Harold & Evelyn Netter                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17618 Tower Bluff Lane                                     When was the debt incurred?
          Cypress, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 482      Harold & Joyce Shambley                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          906 Cypress Point Circle                                   When was the debt incurred?
          Mitchellville, MD 20721
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 483      Harold & Mae Martin                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9042 S. Cornell Ave                                        When was the debt incurred?
          Chicago, IL 60617
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 495 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page537 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 484      Harold & Shirley Dembo                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          32 Bunker Hill Drive                                       When was the debt incurred?
          Middletown, NJ 07748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 485      Harold And Evelyn Wilburn                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2713 Westchester Lane                                      When was the debt incurred?
          Modesto, CA 95350
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 486      Harold Copp                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          94 Ball Pond Road                                          When was the debt incurred?
          New Fairfield, CT 06812
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 496 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page538 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 487      Harold Jr and Patricia Hilker                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1508                                                When was the debt incurred?
          Morro Bay, CA 93443
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 488      Harold Moquet                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          47 South Sturbridge Road 1 Front                           When was the debt incurred?
          Charlton, MA 01507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 489      Harold O. Miller Esq                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5531 Cannes Cr Ste 201                                     When was the debt incurred?
          Sarasota, FL 34231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 497 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page539 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      HAROLD O.MILLER and Todd
 490      Hoepker P.A.                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 3311                                                When was the debt incurred?
          Orlando, FL 32802
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 491      Harold Purdy                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6607 Elsworth Ave.                                         When was the debt incurred?
          Dallas, TX 75214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 492      Harriet Smith                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7910 SW Matheny Dr                                         When was the debt incurred?
          Beaverton, OR 97008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 498 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page540 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 493      Harris & Beth Friedberg                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23 William Penn Cir                                        When was the debt incurred?
          Medford, NJ 08055
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 494      Harry & Cynthia Wimer                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4440 Lenni Circle                                          When was the debt incurred?
          Emmaus, PA 18049
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 495      Harry & Robin Johnson                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1113 Sleighill Court                                       When was the debt incurred?
          Mount Ariy, MD 21771
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 499 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page541 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 496      Harry And Dorothea Kenney                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2654 Veteran Street                                        When was the debt incurred?
          Pittsburgh, PA 15414
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 497      Harry Dawson and Anjelita Ordonez                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5417 West Sunnyside Ave                                    When was the debt incurred?
          Chicago, IL 60630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 498      Harry&Imogene(Genie) Bickle                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          404 Cody Street                                            When was the debt incurred?
           TX 75501-5834
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 500 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page542 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 499      Hart Ranch                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23645 Clubhouse Drive                                      When was the debt incurred?
          Rapid City, SD 57702
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 500      Hartley Beverage Jr                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35 Evergreen Dr                                            When was the debt incurred?
          South China, ME 04358
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Hawaii Department of the Attorney
 501      Genera                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          425 Queen Street                                           When was the debt incurred?
          Honolulu, HI 96813
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 501 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page543 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 502      Hawaiian Princes                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          84-1021 Lahilahi Street                                    When was the debt incurred?
          Waianae, HI 96792
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 503      Hazel And James Grant                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2240 Shady Maple Lane                                      When was the debt incurred?
          Loganville, GA 30052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 504      Hearst Communications, Inc.                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 West 57th Street                                       When was the debt incurred?
          New York, NY 10019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 502 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page544 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 505      Heather Borrego                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1881 w ridge road                                          When was the debt incurred?
          littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 506      Heather Dellapenta                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5286 Pierson Court                                         When was the debt incurred?
          Wheatridge, CO 80033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 507      Heather Leavesley and Nad Weyer                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5198 E Weaver Pl                                           When was the debt incurred?
          Centennial, CO 80121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 503 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page545 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 508      Heather Rehmeier                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          259 County Road 405B                                       When was the debt incurred?
          Valley Spring, TX 76885
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 509      Hector & Alana Favela                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3930 West Rose Garden Lane                                 When was the debt incurred?
          Glendale, AZ 85308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 510      Hector & Blanca Moreno                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          209 Fawn Trail                                             When was the debt incurred?
          Lake Jackson, TX 77566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 504 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page546 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 511      Hector & Sally Gutierrez                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Po Box 604                                                 When was the debt incurred?
          Rosenberg, TX 77471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 512      Hector and Angelica Melgar                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6818 Rowan Lane                                            When was the debt incurred?
          Houston, TX 77074
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 513      Hector And Beatriz Pajares (SPO)                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          301 Fernbank Ct.                                           When was the debt incurred?
          Alpharetta, GA 30004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 505 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page547 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 514      Heidi & David Renfro                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 789                                               When was the debt incurred?
          Collinsville, TX 76233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 515      Heidi Lankford                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          150 Autumn Woods Dr                                        When was the debt incurred?
          Kings Mountain, NC 28086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 516      Heidi Wagner                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3377 W 114th Cir Unit D                                    When was the debt incurred?
          Westminister, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 506 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page548 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 517      Helen & Clyde White                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1162 Woodmere Dr.                                          When was the debt incurred?
          Lithonia, GA 30058
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Helen & Donnya & Rayford
 518      Cooper/Stephens                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14806 Ashland Pines Lane                                   When was the debt incurred?
          Humble, TX 77396
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 519      Helen & Verle Guthrie                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9258 Rockhurst Street                                      When was the debt incurred?
          Unit 306
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 507 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page549 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 520      Helen (JoAnne) & Richard Jordan                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          423 Ridgecrest Dr                                          When was the debt incurred?
          Punta Gorda, FL 33982
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 521      Helen and Robert Salamone                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          103 Roweland Ave                                           When was the debt incurred?
          Delmar, NY 12054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 522      Helen Ayala                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4505 Blue Lake Court                                       When was the debt incurred?
          Fort Worth, TX 76103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 508 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page550 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 523      Helena And Stan Slodyczka                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          38 Bewntwood                                               When was the debt incurred?
          PO Box 4062
           CO 81637
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 524      Helena And Wayman (Richard) Gray                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18434 West Western Star Blvd                               When was the debt incurred?
          Goodyear, AZ 85338
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 525      Helena Slanina                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          523 Winding Way                                            When was the debt incurred?
          Warminster, PA 18974
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 509 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page551 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 526      Heli & Charles Powell                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11350 Hero Way West, Apt #3403                             When was the debt incurred?
          Leander, TX 78641
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 527      Henrita Wagner and Phillip Dallas                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          315 North St. Nicholas Circle Unit                         When was the debt incurred?
          23
          Flagstaff, AZ 86004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 528      Henry & Barbara Everett/Parry                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          41 Muddy Cross Rd                                          When was the debt incurred?
          Hobbsville, NC 27946
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 510 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page552 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 529      Henry & Cheryl Domen                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29737 Millrace Lane                                        When was the debt incurred?
          Millsboro, DE 19966
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 530      Henry & Nancy Mullin                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11426 Newport St                                           When was the debt incurred?
          Thornton, CO 80233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 531      Herbert & Ana Rodriguez                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          114 Lancaster Way                                          When was the debt incurred?
          Royal Palm Beach, FL 33414
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 511 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page553 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 532      Herbert and Elaine Hoffman                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          31 Marcus Lane                                             When was the debt incurred?
          Castle Pines, CO 80108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 533      Hercules Mack                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 6488                                                When was the debt incurred?
          Spring Hill, FL 34611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 534      Heriberto And Lillian Santos                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2633 N Oak Park                                            When was the debt incurred?
          Chicago, IL 60707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 512 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page554 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Hermanie (Mimi) & Shannon
 535      Smerker                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6053 S Adams Dr                                            When was the debt incurred?
          Centennial, CO 80121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 536      High Point World Resorts                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2951 High Point Blvd                                       When was the debt incurred?
          Kissimmee, FL 34747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      High Sierra Condos, Alderwood
 537      Resorts                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40710 Village Drive Suite 304                              When was the debt incurred?
          Big Bear Lake, CA 92315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 513 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page555 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 538      Highland Resort at Verde Ridge                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          434 Gleneagles Dr,                                         When was the debt incurred?
          Davenport, FL 33897
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 539      Highlands Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          625 S. Verde Santa Fe Parkway                              When was the debt incurred?
          Cornville, AZ 86325
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 540      Hilary & Cynthia Davis                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3930 North 6th Street                                      When was the debt incurred?
          Philadelphia, PA 19140
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 514 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page556 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 541      Hilda (Jean) Strain                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13649 Stoneybrook Lane                                     When was the debt incurred?
          EL cAJON, CA 92021-8834
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 542      Hill Country Orange Lake                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          819 Water Street Suite 300                                 When was the debt incurred?
          Kerrville, TX 78501 78028-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 543      Hilton Grand Vacations                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6355 Metrowest Blvd., Suite 180                            When was the debt incurred?
          Orlando, FL 32835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 515 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page557 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 544      Hilton Head Resorts                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22 Harbourside Ln                                          When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 545      Hilton Vacation Club                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6355 Metrowest Blvd.                                       When was the debt incurred?
          Orlando, FL 32835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 546      Hilton Vacation Village                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6355 Metrowest Blvd.                                       When was the debt incurred?
          Orlando, FL 32835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 516 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page558 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 547      Hiscox Inc                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Concourse Parkway Suite 2150                             When was the debt incurred?
          Atlanta, GA 30328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 548      Hogan Lovells US LLP                                       Last 4 digits of account number       1860                                          $424,424.46
          Nonpriority Creditor's Name
          Two North Cascade Avenue Suite                             When was the debt incurred?
          1300
          Colorado Springs, CO 80903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Legal Representation of Debtors and
                                                                                         Timeshare Termination Team LLC in
                                                                                         pending Bluegreen and Diamond Resorts
              Yes                                                       Other. Specify   lawsuits


 4.1
 549      Holiday Beach Resorts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19 Via De Luna                                             When was the debt incurred?
          Pensacola Beach, FL 32561
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 517 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page559 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 550      Holiday Beach Resorts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P. O. Box 10977                                            When was the debt incurred?
          Pensacola, FL 32524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated

              Debtor 1 and Debtor 2 only                                Disputed
                                                                     Type of NONPRIORITY unsecured claim:
              At least one of the debtors and another
                                                                        Student loans
              Check if this claim is for a community
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Holiday Concepts Group **There is
 551      an ad                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Dover St                                                When was the debt incurred?
          Cremorne, VIC 03121-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 552      Holiday Grand Vacation                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9271 S John Young Parkway                                  When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 518 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page560 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 553      Holiday Inn Club Vacations                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9395 South John Young Parkway                              When was the debt incurred?
          Orlando, Florida 32819-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Holiday Inn Club Vacations Inc. /
 554      Holida                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9395 S. John Young Pkwy.                                   When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Holiday Inn/Orange Lake/ Silver
 555      Leaf                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9395 S. John Young Pkwy.                                   When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 519 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page561 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 556      Holiday Lounge                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16701 Collins Ave                                          When was the debt incurred?
          Sunny Isles Beach, FL 33160
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 557      Holiday Park Resort LTD                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1-415 Commonwealth Road                                    When was the debt incurred?
          Kelowna BC V4V 1P4
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 558      Holiday Park Resorts                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1-415 Commonwealth Road                                    When was the debt incurred?
          Kelowna BC V4V 1P4
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 520 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page562 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 559      Holliday Palmer                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          707 Braeburn Terrace                                       When was the debt incurred?
          Lansdale, PA 19446
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 560      Holly & Carlos Gonzales-Pena                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4719 Cole Ave Apt 308                                      When was the debt incurred?
          Dallas, TX 75205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 561      Holly and Scott Marz                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1639 E Glendover Way                                       When was the debt incurred?
          Sandy, UT 84092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 521 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page563 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 562      Holly Tree Resorts                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          412 Main Street                                            When was the debt incurred?
          West Yarmouth, MA 02673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 563      Hollywood Beach Tower                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          301 Harrison St.                                           When was the debt incurred?
          Hollywood, FL 33019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 564      Hollywood Beach Towers                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          301 Harrison Street                                        When was the debt incurred?
          Hollywood, FL 33019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 522 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page564 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 565      Home Depot Citi Bank                                       Last 4 digits of account number                                                        $2,353.67
          Nonpriority Creditor's Name
          P.O. Box 9001010                                           When was the debt incurred?
          Louisville, KY 40290
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.1
 566      Hono Koa Vacation Club - Hawaii                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3801 Lower Honoapiilani Rd                                 When was the debt incurred?
          Lahaina, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 567      Hope and Danial Pace                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1629 Highway 63                                            When was the debt incurred?
          Pine Grove, LA 70453
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 523 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page565 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 568      Hotel NYX Cancun                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Boulevard Kukulcan Mz52 Km 11.5                            When was the debt incurred?
          Zona Hot
          , Canc n, Q.R Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 569      Howard and Debra Mirvis                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2318 Cavesdale Rd                                          When was the debt incurred?
          Owings Mills, MD 21117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 570      Howard And Rose Jane Wyant                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1112 Mary Frances Drive                                    When was the debt incurred?
          Kissimmee, FL 34741
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 524 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page566 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 571      Howard Jacquet                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          411 Tite St.                                               When was the debt incurred?
          Houston, TX 77029
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 572      Hurlel & Rita Elliott                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2658 Milburn Drive                                         When was the debt incurred?
          League City, TX 77573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 573      Hyatt                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          161 North Concord Exchange                                 When was the debt incurred?
          South St. Paul, MN 55075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 525 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page567 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Hyatt Residence Club / HV Global
 574      Managem                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Financial Services, 1200 Bartow                            When was the debt incurred?
          Road
          Lakeland, FL 33801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 575      Hyatt Vacation Club                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11800 Coconut Plantation Drive                             When was the debt incurred?
          Bonita Springs, Florida 34134-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 576      Ian & Gabrielle Seidenberg                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          973 Upper Meadows Pl                                       When was the debt incurred?
          Henderson, NV 89052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 526 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page568 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 577      Ida Yassin                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6103 Havendale Dr                                          When was the debt incurred?
          Houston, TX 77072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Idaho Department of the Attorney
 578      General                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          700 W. Jefferson Street P.O. Box                           When was the debt incurred?
          83720
          Boise, ID 83720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 579      iHeart                                                     Last 4 digits of account number       1945                                                   $0.00
          Nonpriority Creditor's Name
          14001 N. Dallas Parkway Suite 300                          When was the debt incurred?
          Dallas, TX 75240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 527 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page569 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 580      iHeart media                                               Last 4 digits of account number       0199                                                   $0.00
          Nonpriority Creditor's Name
          P.O. BOX 419499                                            When was the debt incurred?
          Boston, MA 02241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Illinois Department of the Attorney
 581      Gene                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 W Randolph St                                          When was the debt incurred?
          Chicago, IL 60601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 582      ILX Premiere Vacation Club                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2111 E. Highland Avenue                                    When was the debt incurred?
          #200, Phoenix AZ 85016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 528 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page570 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 583      Imperial Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          290-290/1 Surawong Rd.                                     When was the debt incurred?
          Siphaya, Bangrak Bangkok 10500
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Indian Palms Intervals in Palm
 584      Springs                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          70100 Highway 111                                          When was the debt incurred?
          Rancho Mirage, CA 92270
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 585      Indian Peaks                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          817 County Road 834                                        When was the debt incurred?
          Winter Park, CO 80442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 529 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page571 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Indiana Department of the Attorney
 586      Gener                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          302 W Washington St                                        When was the debt incurred?
          Indianapolis, IN 46204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 587      Infinity Concierge                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          101 Convention Center Dr STE                               When was the debt incurred?
          1225.
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 588      Inger Elisabeth Andersson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8588 Ostrom Way                                            When was the debt incurred?
          Weeki Wachee, FL 34613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 530 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page572 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 589      Ingrid Delgado Paredes                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5640 Enfield Way                                           When was the debt incurred?
          Suwanee, GA 30024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 590      Inn at Silver Creek                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          62927 US Highway 40.                                       When was the debt incurred?
          Silver Creek, Colorado 80446-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 591      Inn Season Resort                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          33 Brookline Road                                          When was the debt incurred?
          Lincoln, NH 03251
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 531 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page573 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 592      Interval International                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6262 Sunset Drive                                          When was the debt incurred?
          Miami, FL 33143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 593      Inverness at del Lago                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 La Costa Drive                                         When was the debt incurred?
          Montgomery, TX 77356
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 594      Irene and Richard Brown                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 659                                                 When was the debt incurred?
          Murraysville, PA 15668
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 532 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page574 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 595      Irene Brock and Allison Cade                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5258 Estes Cir                                             When was the debt incurred?
          Arvada, Co 80002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 596      Irene Delgado and Monique Miranda                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4683 N. 105th Ave.                                         When was the debt incurred?
          Phoenix, AZ 85037-5114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 597      Isabel Ruiz                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1039 w 9th st                                              When was the debt incurred?
          Tempe, AZ 85281
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 533 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page575 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 598      Island Gold Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Tarpon Blvd.                                           When was the debt incurred?
          Fripp Island, SC 29920
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 599      Island Golf                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          W399 U.S. 2 & 41                                           When was the debt incurred?
          Harris, MI 49845
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 600      Island Links                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Coggins Point Road                                       When was the debt incurred?
          Hilton Head Island, SC 29926
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 534 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page576 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 601      Island One Resorts                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2345 SAND LAKE RD STE 100                                  When was the debt incurred?
          Orlando, FL 32809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 602      Island Seas Bahama                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box F44735                                              When was the debt incurred?
          Freeport, Grand Bahama Bahamas
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 603      Isle of Bali II Diamond Resort                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17777 Bali Blvd.                                           When was the debt incurred?
          Winter Garden, FL 34787
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 535 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page577 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 604      Issei Nakamura                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1602 W Artesia Sq unit D                                   When was the debt incurred?
          Gardena, CA 90248
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 605      Ivan & Alison Thompson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6031 Ainsdale Court                                        When was the debt incurred?
          Dallas, TX 75252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 606      Ivan & Kimiko Garcia                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2522 Saratoga Dr.                                          When was the debt incurred?
          Barksdale Air Force Base, LA 71110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 536 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page578 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 607      Ivy and Rosemary Shavit                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15714 29th St East                                         When was the debt incurred?
          Parrish, FL 34219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 608      Izatys Resort                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40005 85th Ave                                             When was the debt incurred?
          Onamia, MN 56359
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 609      J & Laura Gutierrez/McCoy                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1303 W. 116th Ave, Unit #107                               When was the debt incurred?
          Westminster, CO 80234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 537 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page579 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 610      J Refugio Arredondo                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5906 Jim St                                                When was the debt incurred?
          Houston, TX 77092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 611      Jack & Betty Maywald                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27527 Golf Lane                                            When was the debt incurred?
          Huffman, TX 77336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 612      Jack & Darlene Gaskins                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5431 W Vassar Ave                                          When was the debt incurred?
          Visalia, CA 93277
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 538 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page580 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 613      Jack and Charlotte Beall                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          509 Anderson County Rd 471                                 When was the debt incurred?
          Montalba, TX 75853
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 614      Jack And Nadereh Roepers                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1342 Potomac School Rd                                     When was the debt incurred?
          McLean, VA 22101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 615      Jackilyn Munroe Earley                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1650 Sactahe Trail                                         When was the debt incurred?
          Elizabeth, CO 80107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 539 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page581 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 616      Jackson Hole Town Center                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          325 West Broadway                                          When was the debt incurred?
          Jackson, WY 83001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 617      Jacob Cormier                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          915 Front St.                                              When was the debt incurred?
          Richmond, TX 77469
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 618      Jacob Gonzalez                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7814 S Gaylord Way                                         When was the debt incurred?
          Centennial, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 540 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page582 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 619      Jacqueline & Terry Smith                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6028 Old South Drive                                       When was the debt incurred?
          Iron Station, NC 28080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 620      Jacqueline (Jacke) Eichenberger                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17209 Wilde Avenue                                         When was the debt incurred?
          Unit 108
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 621      Jacqueline and Scott Mullin                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8153 South Highway 26                                      When was the debt incurred?
          Valley Springs, CA 95252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 541 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page583 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 622      Jacqueline Cooper                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5217 D Street                                              When was the debt incurred?
          Philadelphia, PA 19120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 623      Jacqueline Salvato (Ludovici)                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Duke Dr.                                                 When was the debt incurred?
          Lake Worth, FL 33460
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 624      Jacquelyn & Ebere Igbokwe                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 450103                                              When was the debt incurred?
          Houston, TX 77245
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 542 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page584 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 625      Jacquie and Michael Kelley                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2718 E Teakwood Pl.                                        When was the debt incurred?
          Chandler, AZ 85249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 626      Jaliyla Fraser                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13 Boyden St.                                              When was the debt incurred?
          East Orange, NJ 07083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 627      James & Adrienne Santos                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11505 Carriage Crossing Dr                                 When was the debt incurred?
          Upper Marlboro, MD 20772
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 543 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page585 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 628      James & Anne Dorre                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          675 Country Club Dr                                        When was the debt incurred?
          Kingman, AZ 86401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 629      James & Carol Miersch                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          103 West Lillian Ave                                       When was the debt incurred?
          Arlington Heights, IL 60004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 630      James & Deborah Mika                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2132 E. Everglades Blvd.                                   When was the debt incurred?
          Ft. Mohave, AZ 86426
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 544 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page586 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 631      James & Elizabeth Chacon                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1133 E 12th Ave                                            When was the debt incurred?
          Broomfield, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 632      James & Gloria Nash                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1705 Augus T Lane                                          When was the debt incurred?
          Brighton, CO 80601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 633      James & Helen Ries                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26030 County Rd 18                                         When was the debt incurred?
          Keenesburg, CO 80643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 545 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page587 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 634      James & Jeonghe Lal                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          280 Overbrook Lane                                         When was the debt incurred?
          Front Royal, VA 22630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 635      James & Jodean Frederick                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10133 W Geddes Cir                                         When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 636      James & Judy Strommen                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8649 Buttercup Ct.                                         When was the debt incurred?
          Victoria, MN 55386
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 546 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page588 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 637      James & Karen Arrington                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          116 Como Trace Drive                                       When was the debt incurred?
          Senatobia, MS 38668
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 638      James & Leonette Lewis                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5802 Bridlington St                                        When was the debt incurred?
          Houston, TX 77085
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 639      James & Merrisa Stoll                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3953 Kenrick Drive                                         When was the debt incurred?
          Bethlehem, PA 18020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 547 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page589 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 640      James & Nancy Solano                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5730 W 8th Ave                                             When was the debt incurred?
          Lakewood, CO 80214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 641      James & Pamela Williams                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9298 Glen Meadow Ln                                        When was the debt incurred?
          Bristow, VA 20136
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 642      James & Pamela Yurchak                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17202 Winding Oak Court                                    When was the debt incurred?
          Cypress, TX 77429
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 548 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page590 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 643      James & Rebecca Buckley/Zumwalt                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2010 Lewis Trail                                           When was the debt incurred?
          Grand Prairie, TX 75052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 644      James & Rebecca Young                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27467 Camino Tower                                         When was the debt incurred?
          Boerne, TX 78015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 645      James & Sherry Murphy                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3816 Crystal Lane                                          When was the debt incurred?
          Temple Hills, MD 20748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 549 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page591 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 646      James & Shirley Brown                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          96 Northampton Blvd                                        When was the debt incurred?
          Stafford, VA 22554
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 647      James & Sumi Laroche                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3782 Richfield St                                          When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 648      James & Vanessa Hooker                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1319 Woodlark Dr.                                          When was the debt incurred?
          District Heights, MD 20747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 550 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page592 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 649      James (Jim) & Verna Fitzsimmons                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9071 E. Mississippi Ave #6A                                When was the debt incurred?
          Denver, Colorado 80247-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 650      James (Jim) Marvin                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2641 W. Upland Dr                                          When was the debt incurred?
          Chandler, AZ 85224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 651      James (Jimmy) & Ella Andrews                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3307 Golden Cypress Lane                                   When was the debt incurred?
          Pearland, TX 77584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 551 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page593 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 652      James Alderton                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          95 Paul Dr                                                 When was the debt incurred?
          Washingtion, PA 15301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 653      James and Benadette Gray                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24429 E Brandt Ave                                         When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 654      James and Bobbie Sibley                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11564 Grandview Dr                                         When was the debt incurred?
          Montgomery, TX 77356
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 552 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page594 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 655      James and Jeanette Carter                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1910 Circleview Dr                                         When was the debt incurred?
          Greensboro, NC 28269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 656      James And Jessica Clark                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          110 Drury Lane                                             When was the debt incurred?
          Mooresville, NC 28115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 657      James and Lori Palmer                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          997 Auburn Drive                                           When was the debt incurred?
          Erie, CO 80516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 553 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page595 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 658      James and Marilyn Straz                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2643 Riverside St                                          When was the debt incurred?
          Franklin Park, IL 60131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 659      James And Maxine Nicholas                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2532 Blarney Drive                                         When was the debt incurred?
          Harrisburg, PA 17112-8615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 660      James and Paula Gellenthin                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          416 E. Woodall                                             When was the debt incurred?
          Smithfield, NC 27577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 554 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page596 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 661      James And Suzanne Barrett                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5437 Royal Paddock Way                                     When was the debt incurred?
          Merritt Island, FL 32953
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 662      James and Teresa Peterson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4509 Iron Bridge Road                                      When was the debt incurred?
          4509 Iron Bridge Road, VA 23234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 663      James Baize                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5598 Cross Creek Dr.                                       When was the debt incurred?
          Colo. Springs, CO 80924
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 555 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page597 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 664      James Bell                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          733 Emerald Dr.                                            When was the debt incurred?
          Fayetteville, NC 28311
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 665      James Bush                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1403 Broadway                                              When was the debt incurred?
          Rensselar, NY 12144
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 666      James Callahan/Deborah Aquino                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20 Walter Drive                                            When was the debt incurred?
          Saratoga Springs, NY 12866
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 556 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page598 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 667      James Clark and Nancy Arellano                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          28-11 20012 St                                             When was the debt incurred?
          Bayside, NY 11360
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 668      James H. Williams                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8106 Prarie Park Pl                                        When was the debt incurred?
          Chicago, IL 60619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 669      James Heyward                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2510 Silver Bell Loop                                      When was the debt incurred?
          Fayettville, NC 28304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 557 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page599 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 670      James Hicks                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          340 Twain Circle                                           When was the debt incurred?
          Mabelton, GA 30126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 671      James Mark and Jacqie Braley                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5375 E Briarwood                                           When was the debt incurred?
          Centennial, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      James Mathews and Larry and Britt
 672      Hughes                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6325 W mansfield Ave #215                                  When was the debt incurred?
          Denver, CO 80235
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 558 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page600 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 673      James McGue                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          295 Gordon Ct                                              When was the debt incurred?
          Castle Rock, CO 80104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 674      James OConnor                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7325 S Nucla St                                            When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 675      James Pinkel                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6037 S Elizabeth Way                                       When was the debt incurred?
          Centennial, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 559 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page601 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 676      James R. Cocco                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7268 Frisco Lane                                           When was the debt incurred?
          Sarasota, FL 34241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 677      James Waters                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2451 Bond Ave                                              When was the debt incurred?
          Clearwater, FL 33759
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 678      Jamie & Robert Cessna                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3353 Yorkshire Dr.                                         When was the debt incurred?
          North Hutingdon, PA 15642
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 560 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page602 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 679      Jamie And Connie Gagne                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14017 Wolcott Drive                                        When was the debt incurred?
          Tampa, FL 33624
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 680      Jamie and Jim Dinkins                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1700 W Sunflower St                                        When was the debt incurred?
          Dunlap, IL 61525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 681      Jamie James-Campbell                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          637 County Rd 728B                                         When was the debt incurred?
          Sweeney, TX 77480
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 561 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page603 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 682      Jamie Patterson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5683 Many Springs Dr.                                      When was the debt incurred?
          CO Springs, CO 80923
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 683      Jan & David Carlyle                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1035 Yorkshire Drive                                       When was the debt incurred?
          Marion, OH 43302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 684      Jan & Mike Costas                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7478 W Nichols Pl                                          When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 562 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page604 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 685      Jan and Siv A.M. Verschuur                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Po box 3926                                                When was the debt incurred?
          Estes park, CO 80517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 686      Janae Sturgis                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7833 Citadel Drive                                         When was the debt incurred?
          Servern, MD 21144
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 687      Janath Gode                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6526 5th Ave South                                         When was the debt incurred?
          Richfield, MN 55423
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 563 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page605 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 688      Jane And Steve Collar                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          81 Davis Rd                                                When was the debt incurred?
          Westminister, MA 01473
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 689      Jane Bumgarner                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          303 Bolick Dr NE                                           When was the debt incurred?
          Conover, NC 28613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Janene Robinson and Christopher
 690      Biddy                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1221 Centaur Circle, Unit B                                When was the debt incurred?
          Lafayette, CO 80026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 564 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page606 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 691      Janet & Jim Rivas                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10297 Dowling Way                                          When was the debt incurred?
          Highlands Ranch, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 692      Janet & R. Kirk Gaus                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3202 Juniper Dr                                            When was the debt incurred?
          McKinney, TX 75070
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 693      Janet And Gary Currence                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2408 NE 77th Street                                        When was the debt incurred?
          Gladstone, MO 64118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 565 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page607 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 694      Janet Benedict                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16629 E Auburn Hills Dr                                    When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 695      Janet Duncan                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2736 Spring Glen Road                                      When was the debt incurred?
          Jacksonville, FL 32207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 696      Janet Eon                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3661 Kings Road                                            When was the debt incurred?
          Building #2 Unit #106
          Palm Harbour, Florida 34685-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 566 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page608 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 697      Janet Lake                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1049 Willow Bay                                            When was the debt incurred?
          Elgin, IL 60123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 698      Janet Maus                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7408 Berkshire Drive                                       When was the debt incurred?
          Clinton, MD 20735
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 699      Janet Parhams                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2543 Meridian Parkway Apt. #2116                           When was the debt incurred?
          Durham, NC 27713
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 567 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page609 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 700      Janice & James McLaughlin/Rukas                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7132 Akron St.                                             When was the debt incurred?
          Philadelphia, PA 19149
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 701      Janice & Keith Christensen                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14210 N 20th Place                                         When was the debt incurred?
          Phoeniz, AZ 85022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 702      Janice and Charles Bigelow                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8232 Willow Street                                         When was the debt incurred?
          Leominster, MA 01453
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 568 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page610 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 703      Janice and Roger Wilson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          44603 Gerladine Lane, North                                When was the debt incurred?
          Davenport, WA 99122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 704      Janice Cotten                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2720 County Road 155                                       When was the debt incurred?
          Alvin, TX 77511
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Janice Hayes (John Hussell)
 705      Thomas Hayes                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Summers St                                             When was the debt incurred?
          Charleston, WV 25301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 569 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page611 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Janice, Richard, Roderick and
 706      Georganna                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2644 Sharpview Lane                                        When was the debt incurred?
          Dallas, TX 75228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 707      Janie Williamson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1456 E Girard Pl, Apt 123-A                                When was the debt incurred?
          Englewood, CO 80113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 708      Janiece Barraco                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          955 Hover Ridge Cir                                        When was the debt incurred?
          Longmont, CO 80501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 570 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page612 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 709      Janilyn M. Welsh Trust                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          840 Woodbine Ave                                           When was the debt incurred?
          Glendale, OH 45252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 710      Janine&Ernest Colson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 387                                                 When was the debt incurred?
          Colby, KS 67701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 711      Janis Estrada                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5028 Airline Road                                          When was the debt incurred?
          Dallas, TX 75205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 571 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page613 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 712      Jardin Azul Season                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10600 W. Charleston Blvd.                                  When was the debt incurred?
          Las Vegas, NV 89135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 713      Jared & Charrie Adamson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          906 Mclane St                                              When was the debt incurred?
          Victoria, TX 77904
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 714      Jared & Shannon Larson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9319 NE 133rd Ave                                          When was the debt incurred?
          Vancouver, WA 98682
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 572 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page614 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 715      Jarold and Mary Creech                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9252 W. Louisiana Ave                                      When was the debt incurred?
          Lakewood, CO 80232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Jasmin Cole and Ronald (Ron)
 716      Clark                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          529 Warnock Street                                         When was the debt incurred?
          Louisville, KY 40217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 717      Jason & Veronica Loud                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2793                                                When was the debt incurred?
          Florence, AZ 85132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 573 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page615 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 718      Jason Hellem                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13844 Pastel Lane                                          When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 719      Jason Wass                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1880 La Jolla                                              When was the debt incurred?
          Stockton, CA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 720      Jay & Thelma Strachan/Catio                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5448 Madison St.                                           When was the debt incurred?
          New Port Richie, FL 34652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 574 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page616 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 721      Jay Abrams and Janet Bubis                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6623 Hillbriar Dr                                          When was the debt incurred?
          Dallas, TX 75248
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 722      Jay and Alisha McMillin                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5765 Redbridge Drive                                       When was the debt incurred?
          Timnath, CO 80547
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 723      Jay And Nita Rao                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          49 Canal View Rd                                           When was the debt incurred?
          Lawrenceville, NJ 08648
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 575 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page617 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 724      Jay Keener                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          844 N Sandpiper Ct                                         When was the debt incurred?
          Wichita, KS 67230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 725      Jay Snyder                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9243 E. Nassau Ave                                         When was the debt incurred?
          Denver, Colorado 80237-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 726      Jay Womeldorf                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          601 W Fillmore St #328                                     When was the debt incurred?
          Phoenix, AZ 85003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 576 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page618 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 727      Jayne & Corey Ruttan                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3 Horizon View Lane                                        When was the debt incurred?
          Calgary, Canada T3Z 3M4
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 728      Jean and Robert Ahlfinger                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2677 Lawrenceville HWY Apt.# 428                           When was the debt incurred?
          Decatur, GA 30033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 729      Jean and Ted Dorsey                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6545 Childs Road                                           When was the debt incurred?
          Oswego, OR 97035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 577 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page619 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 730      Jean Brynoff                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4695 West 99th Place                                       When was the debt incurred?
          Westminster, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 731      Jean Haertel                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17946 S FM148                                              When was the debt incurred?
          Scurry, TX 75158
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 732      Jeanean Boyd                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2204 Franklin DR                                           When was the debt incurred?
          Arlington, TX 76011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 578 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page620 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 733      Jeanette & Lee Baker                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12542 Saint Charlotte Drive                                When was the debt incurred?
          Tampa, FL 33618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 734      Jeanie And Scott Krebs                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3333 Southfork Pkwy, Apt #127                              When was the debt incurred?
          Manvel, TX 77566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 735      Jeff & Joanne Tuma                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          155955 Bayview Drive NE                                    When was the debt incurred?
          Parkers Prairie, Mn 56361
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 579 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page621 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 736      Jeff & Lena Player                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4914 Old River Ave                                         When was the debt incurred?
          Firestone, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 737      Jeff and AnnMarie Stetzel                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4121 S Cathay Way                                          When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 738      Jeff and Cheryl Donnel                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6615 W 84th Way                                            When was the debt incurred?
          #104
          Arvada, CO 80003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 580 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page622 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 739      Jeff And Erlinda (Lin) Guerrero                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13175 Christine Marie Court                                When was the debt incurred?
          Jacksonville, FL 32225
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 740      Jeff Jarmes/Keith Collins                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          806 E Kilbourn AVE                                         When was the debt incurred?
          Milwaukee, MI 53202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 741      Jeff Pepple and Julie Danduran                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO box 65                                                  When was the debt incurred?
          Fessenden, ND 58438
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 581 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page623 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 742      Jeff Smith                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 773                                                 When was the debt incurred?
          Georgetown, CO 80444
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 743      Jeffrey & Angela Kruggel                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1544 Conant Court                                          When was the debt incurred?
          Mishawaka, IN 46544
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 744      Jeffrey & Cynthia Cardiel                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1701 Fortworth Hwy Space 51                                When was the debt incurred?
          Weatherford, TX 76086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 582 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page624 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 745      Jeffrey & Debra Benson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21303 Follin Road                                          When was the debt incurred?
          Fredericktown, OH 43019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 746      Jeffrey & Joyce Lambert                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13374 165th Ave                                            When was the debt incurred?
          Becker, MN 55308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 747      Jeffrey & Marilyn Ackermann                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2966 Akron ct.                                             When was the debt incurred?
          Denver, CO 80238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 583 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page625 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 748      Jeffrey & Susan Thomas                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2357 Shrewsbury Run E.                                     When was the debt incurred?
          Colliervile, TN 38017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 749      Jeffrey (Jeff) & Ninfa Byrd                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          834 Xavier St                                              When was the debt incurred?
          Denver, CO 80204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 750      Jeffrey and Jennifer Wauthier                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5123 S Fraser Way                                          When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 584 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page626 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 751      Jeffrey and Robin Johnson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8846 Vrain St                                              When was the debt incurred?
          Westminster, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 752      Jeffrey Colerick                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3383 S Grape St                                            When was the debt incurred?
          Denver, CO 80222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Jenell and Miguel
 753      Alexander-Moctezuma                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Fairview Lane                                            When was the debt incurred?
          Palmcoast, FL 32137
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 585 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page627 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 754      Jennie Samuels                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16935 Page Avenue                                          When was the debt incurred?
          Hazelcrest, IL 60429
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 755      Jennifer & Ismael Leon/Ruiz                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13845 W 9th St.                                            When was the debt incurred?
          Zion, IL 60099
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 756      Jennifer & Richard Lewis                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3408 Palmisano Blvd                                        When was the debt incurred?
          Chalmette, LA 70043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 586 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page628 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 757      Jennifer & Victoria Sims/St.Laurent                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          114 Crockett Court                                         When was the debt incurred?
          Smyrna, TN 37167
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 758      Jennifer and Eric Bauer                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1430 S Ward CT                                             When was the debt incurred?
          Lakewood, CO 80228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 759      Jennifer and James Jim Owens                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5404 Cedardale Ln                                          When was the debt incurred?
          Baxter, MN 56425
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 587 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page629 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 760      Jennifer Hill                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1215 Tiny Tree Dr.                                         When was the debt incurred?
          Missouri City, TX 77489
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 761      Jennifer Howard/Daniel Gomez                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1620 Venice Blvd Apt 208                                   When was the debt incurred?
          Venice, CA 90291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 762      Jennifer Johler                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4408 Marriott Dr APT 254                                   When was the debt incurred?
          Raleigh, NC 27612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 588 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page630 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 763      Jennifer Lang                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          167 N Sycamore Ave                                         When was the debt incurred?
          Los Angeles, CA 90036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 764      Jennifer Ross                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19695 Clubhouse Dr Apt 134                                 When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 765      Jenny and Alfred Perez/Salazar                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          611 Alcorn St                                              When was the debt incurred?
          Sugar Land, TX 77478
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 589 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page631 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 766      Jenny and Steve Berggren                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1574 Spring Water Place                                    When was the debt incurred?
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 767      Jenny Judd and John Brady                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          41942 Tilton Drive                                         When was the debt incurred?
          Palmdale, CA 93551
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 768      Jeremy & Amy Guddat                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11357 West Ford Place                                      When was the debt incurred?
          Lakewood, Co 80226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 590 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page632 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 769      Jerod Slivka                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          864 Diamond Rim Dr                                         When was the debt incurred?
          Colorado Springs, CO 80921
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 770      Jerome and Patrica Hammitt                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          92407 Spells Rd                                            When was the debt incurred?
          Sturgeon Lake, MN 55783
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 771      Jerri & Johnny Floyd                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 3757 W 91st                                              When was the debt incurred?
          Merrillville, IN 46410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 591 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page633 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 772      Jerry & Avice Legg                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22745 S Highway 2                                          When was the debt incurred?
          Vinita, OK 74301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 773      Jerry & JoAnn Phillips                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          936 Meade St.                                              When was the debt incurred?
          Denver, CO 80204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 774      Jerry and Caroline Sue Richards                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4664 Allende Ave.                                          When was the debt incurred?
          Oceanside, CA 92057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 592 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page634 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 775      Jerry And Elizabeth Hopkins                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1509 Hale Ave                                              When was the debt incurred?
          Platte City, MO 64079
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 776      Jerry And Glenda Fleming                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1470 E Humble Rd                                           When was the debt incurred?
          Overton, TX 75684
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 777      Jerry And Lacy Curry                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          434 Bickett Lane                                           When was the debt incurred?
          Spring, Tx 77373
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 593 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page635 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 778      Jesse & Brittany Hitchcock/Poyner                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27106 US 138                                               When was the debt incurred?
          Iliff, CO 80736
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 779      Jesse & Janice McNeal                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9000 Huntmeadow Lane                                       When was the debt incurred?
          Upper Marlboro, MD 20772
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 780      Jesse and Dulce Edgar                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9767 Chocolate Summit Drive                                When was the debt incurred?
          Elcajon, CA 92021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 594 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page636 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 781      Jesse and Lori Garcia                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2827 S Lamar                                               When was the debt incurred?
          Denver, CO 80227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 782      Jessica and Jose Santos                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4501 Country Hills Blvd                                    When was the debt incurred?
          Pant City, FL 33563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 783      Jessica Battista                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6327 Morningside Dr                                        When was the debt incurred?
          Hubbard, OH 44425
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 595 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page637 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Jessica Hardcastle and Benino
 784      Pruneda jr                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1106 LIllie st                                             When was the debt incurred?
          Deer Park, TX 77536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 785      Jessica Lewis                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15080 Iola St                                              When was the debt incurred?
          Brighton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 786      Jessica Oxley                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          136 Sycamore Lane Unit C                                   When was the debt incurred?
          Oldsmar, FL 34677
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 596 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page638 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 787      Jessie Elie & Arturo Contreras                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          202 Nashua St                                              When was the debt incurred?
          Park Forest, IL 60466
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 788      Jessy & Jerel Kratt                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          606 Famoso Hills Dr                                        When was the debt incurred?
          Bakersfiels, CA 93308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 789      Jesus & Maura Gurrola                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4811 West Dunbar Dr                                        When was the debt incurred?
          Laveen, AZ 85339
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 597 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page639 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 790      Jesus and Angela Belloc                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          632 East Mohave Circle #90                                 When was the debt incurred?
          Eloy, AZ 85131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 791      JF Best Consulting                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1048 Marlin Lakes Cir #20211                               When was the debt incurred?
          Sarasota, FL 34232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 792      Jill & Michael Campos                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1116 N Stanley Place                                       When was the debt incurred?
          Chandler, AZ 85226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 598 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page640 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 793      Jillian Queripel                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Finley Rd                                                When was the debt incurred?
          Bridgeton, NJ 08302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 794      Jim & Brenda Walter                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2335 Woodbend Circle                                       When was the debt incurred?
          New Port Richey, FL 34655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 795      Jim & Carol Roberts                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1890 Golden Eagle Court                                    When was the debt incurred?
          Broomfield, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 599 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page641 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 796      Jim & Cheryl Johnson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 812                                                 When was the debt incurred?
          Fort Benton, MT 59442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 797      Jim & Cindy Hamilton                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1852 E 142nd Ave                                           When was the debt incurred?
          Brighton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 798      Jim & Judy Ware                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1075 Carib Loop East                                       When was the debt incurred?
          Cordova, TN 38018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 600 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page642 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 799      Jim & Sue Hall                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1920 Kona Drive                                            When was the debt incurred?
          Fort Collins, CO 80528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 800      Jim and Antoinette Augliera                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2193 S Ouray St                                            When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 801      Jim And Joan Swanson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12771 East Crystal Forest                                  When was the debt incurred?
          Gold Canyon, AZ 85118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 601 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page643 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 802      Jim and Martha Huffman                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10209 Colville St                                          When was the debt incurred?
          PO BOX: 770883
          Eagle River, AK 99577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 803      Jim Degenhardt                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 279                                                 When was the debt incurred?
          Safety Harbor, FL 33761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 804      Jimmy & Dianne Green                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          208 Lee St                                                 When was the debt incurred?
          Knightdale, NC 27545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 602 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page644 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 805      Jimmy & Yelysoco Ortega                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1102 Nikki Lane                                            When was the debt incurred?
          Stafford, TX 77477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 806      Jimmy Seto                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12942 Elgin Place                                          When was the debt incurred?
          Denver, CO 80239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      JLL Jones Lang LaSalle Americas
 807      Inc                                                        Last 4 digits of account number       8714                                                   $0.00
          Nonpriority Creditor's Name
          8100 E Maplewood Ave Suite 240                             When was the debt incurred?
          Greenwood Village, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,522,088.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 603 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page645 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 808      Jo Ann Newsome                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7443 Towerview Lane                                        When was the debt incurred?
          Missouri City, TX 77489
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 809      Jo Ann Peschel                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1015 Tri Oaks Lane, Unit #32                               When was the debt incurred?
          Houston, TX 77043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 810      Jo Anne And Bernard (Gene) Barr                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11244 Lowell Avenue                                        When was the debt incurred?
          Overland Park, KS 66210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 604 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page646 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 811      Joan & Jerome (Jerry) Gittlein                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          320 South Road                                             When was the debt incurred?
          PO Box 286
          Rye Beach, NH 03871
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 812      Joan and John Wayne Clark                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7105 N. Spur Rd                                            When was the debt incurred?
          Prescott, AZ 86305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 813      Joan Lanier and Sherry Batchelor                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          103 Dearing Dr                                             When was the debt incurred?
          Knightdale, NC 27545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 605 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page647 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 814      Joan Mancuso                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6500 E Shadow Ln                                           When was the debt incurred?
          Inverness, FL 34452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 815      JoAnn Ellis                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1585 Nathaniel Street                                      When was the debt incurred?
          Newton, NC 28658
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 816      Joann Spencer                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          800 Pebble Drive                                           When was the debt incurred?
          Greensboro, NC 27410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 606 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page648 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 817      Joanna Brown                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          909 Bannock ST, Apt 1201                                   When was the debt incurred?
          Denver, CO 80204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 818      Joanne & Brian Angle                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1284 Saginaw Crescent                                      When was the debt incurred?
          Mississauga, Ontario L5H4B8
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 819      Joanne And Cory Mulinare                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2461 Deloraine Trail                                       When was the debt incurred?
          Maitland, FL 32751
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 607 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page649 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      JoAnne and Richard
 820      Jordan-Extended File                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11644 SW Egret Circle Apt. 906                             When was the debt incurred?
          Arcadia, FL 34269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 821      Joanne Briggs                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          326 Catherine St                                           When was the debt incurred?
          Mckees Rock, PA 15136
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 822      Joanne Hallock                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29 Pioneer Place                                           When was the debt incurred?
          Eaton, CO 80615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 608 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page650 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 823      Joanvieve Jackson                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          839 Silverthorne Drive                                     When was the debt incurred?
          Burleson, TX 76028
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 824      Joaquin and Sylvia Rocha                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23003 Birnamwood Blvd                                      When was the debt incurred?
          Spring, TX 77373
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 825      Jockey Club                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3700 Las Vegas Boulevard South                             When was the debt incurred?
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 609 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page651 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 826      Jodie & Michael McQuay                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 Indiana St.                                            When was the debt incurred?
          Haines City, FL 33844
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 827      Jodie and Jonathan Rye                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          229 Green Acres Dr                                         When was the debt incurred?
          Murphy, TX 75094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Jodie Jenkins Oliphant & Ashley
 828      Oliphant                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14003 Quention Drive                                       When was the debt incurred?
          Houston, TX 77045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 610 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page652 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 829      Jody and Mari Dobson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1405 Diana Ln                                              When was the debt incurred?
          Colorado Springs, CO 80909
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 830      Jody Tyriver                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1011 Inverness Main St Unit 313                            When was the debt incurred?
          Englewood, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 831      Joe & Debra Richards                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7009 W Morning Dove Dr.                                    When was the debt incurred?
          Glendale, AZ 85308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 611 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page653 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 832      Joe & Diane Wantz                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8776 Booth Rd                                              When was the debt incurred?
          Mentor, OH 44060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 833      Joe & Georgia Eyler                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1848 Houston Lake RD                                       When was the debt incurred?
          Kathleen, GA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 834      Joe & Merilyn Carrell                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 236                                                 When was the debt incurred?
          Fulton, Texas 78358-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 612 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page654 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 835      Joe & Sheila Rinaldis                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          113 Caleb Dr                                               When was the debt incurred?
          Danville, NH 03819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 836      Joe & Virginia Romero                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5205 W. Caryl Ave                                          When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 837      Joe And Gail Mahoney                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PMB 1520 PO BOX 439060                                     When was the debt incurred?
          San Ysidro, CA 92143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 613 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page655 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 838      Joeand Penelope Nicholl                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10164 W Lake Dr                                            When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 839      Joey & June Pope                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1104 Tulsa Street                                          When was the debt incurred?
          Cathage, TX 75633
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 840      Johan Alpenland Resort (Austria)                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          A-5600 St Johann im Pongau                                 When was the debt incurred?
          Austria
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 614 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page656 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 841      Johanna Hall                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6033 Castlegate Dr w, Apt 2715                             When was the debt incurred?
          Castle Rock, CO 80108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 842      John & Ann Brown                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3604 Potomac Ave                                           When was the debt incurred?
          Dallas, TX 75205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 843      John & Barbara Calderon                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5060 Stone Harbour Circle                                  When was the debt incurred?
          Wimauma, FL 33598
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 615 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page657 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 844      John & Becky Duvall/Villanueva                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4145 Country Club Drive                                    When was the debt incurred?
          Dickinson, TX 77539
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 845      John & Beverly Webb/Jenkins                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1129 Glen Avon Rd                                          When was the debt incurred?
          Darby, PA 19023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 846      John & Christine Tolley                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2323 W 112th Street                                        When was the debt incurred?
          Chicago, IL 60643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 616 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page658 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 847      John & Connie Klein                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3410 Bagatelle Lane                                        When was the debt incurred?
          Mundelein, IL 60060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 848      John & Erica Vincent                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1650 Wichita Dr                                            When was the debt incurred?
          Prosper, TX 75078
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 849      John & Kelly Gabriel                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22011 Beachgrove Ln                                        When was the debt incurred?
          Katy, TX 77494
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 617 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page659 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 850      John & Kerry Taylor                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4922 Almond Crest Dr                                       When was the debt incurred?
          Pueblo, CO 81005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 851      John & Louise Ashley                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O Box 132                                                When was the debt incurred?
          London, MN 56273
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 852      John & Martha Hiles                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1153 Bounnyton Pl                                          When was the debt incurred?
          Castle Rock, co 80104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 618 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page660 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 853      John & Nancy Termine/James                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          225 S Heights Blvd, Unit# 3406                             When was the debt incurred?
          Houston, TX 77077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 854      John & Patricia Baker                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6013 Woodcliffe Drive                                      When was the debt incurred?
          Windsor, CO 80550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 855      John & Patricia Markell                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7466 Heather Walk Dr                                       When was the debt incurred?
          Weeki Wachee, FL 34613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 619 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page661 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 856      John & Renee (Robin) Spencer                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          123 Dahlia Road                                            When was the debt incurred?
          Huntsville, TX 77320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 857      John & Renee Cazer                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7394 Pyrite Ct.                                            When was the debt incurred?
          Castle Rock, CO 80108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 858      John & Susan Debee                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          775 Allison St                                             When was the debt incurred?
          Lakewood, CO 80214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 620 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page662 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 859      John & Susan McCarthy                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7280 Route 81                                              When was the debt incurred?
          East Durham, NY 12423
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 860      John & Susan Thompson                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1327 W 135th Ave                                           When was the debt incurred?
          Westminister, Co 80234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 861      John & Teresa Grabowski                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2065 Huber Dr.                                             When was the debt incurred?
          Quakertown, PA 18951
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 621 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page663 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 862      John & Teresa Stober                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          101 Trail Bend Court                                       When was the debt incurred?
          Cary, NC 27513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 863      John & Tina Young                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4404 East 500 North                                        When was the debt incurred?
          Columbia City, IN 46725
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 864      John & Virginia (Lila) Hope                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14802 East Temple Drive                                    When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 622 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page664 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 865      John & Wanda Riviere                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9340 Rock Lynn Circle                                      When was the debt incurred?
          Waldorf, MD 20603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 866      John and Ada Horn                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          804 Garden Ave                                             When was the debt incurred?
          Lebanon, PA 17046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 867      John and Carol Unwin                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12731 Forest Canyon Drive                                  When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,995.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 623 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page665 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 868      John and Charlene Ingham                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          182 Pinehurst Dr                                           When was the debt incurred?
          CranberryTownship, PA 16066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 869      John and Cheryl Kirby                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24 Avery Nicole Dr                                         When was the debt incurred?
          Wearverville, VA 28787
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 870      John and Ethel Sodia                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6692 E LaSalle Pl                                          When was the debt incurred?
          Denver, CO 80224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 624 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page666 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 871      John and Karin Shaffer                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12 North 14th St                                           When was the debt incurred?
          Millville, NJ 08332
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 872      John and Karri McLaughlin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          709 Turkey Run Dr.                                         When was the debt incurred?
          Round Lake Heights, IL 60073
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 873      John And Kathryn Curtis                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          530 Winterside Drive                                       When was the debt incurred?
          Apollo Beach, FL 33572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 625 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page667 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 874      John And Linda Kreiger                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          165 Dogwood Dr                                             When was the debt incurred?
          Warren, IN 46792
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 875      John And Marsha Woodard                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1714 Benjamin Drive                                        When was the debt incurred?
          Salisbury, NC 28146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 876      John And Nancy Riley                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7408 Fontana Street                                        When was the debt incurred?
          Praire Village, KS 66208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 626 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page668 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 877      John and Renate Sopcich                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          114 North Summerfield Drive                                When was the debt incurred?
          Valparaiso, IN 46385
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 878      John And Rosanne Post                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10557 Ridgecrest Cir.                                      When was the debt incurred?
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 879      John And Sharlyn Guthrie                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1806 Watermark Lane                                        When was the debt incurred?
          Wylie, TX 75098
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 627 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page669 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 880      John and Stacie Nowak                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4570 Meade St                                              When was the debt incurred?
          Denver, CO 80211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 881      John E. Mortimer                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          52645 Paui Road                                            When was the debt incurred?
          Aguanga, CA 92536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 882      John George & Marjorie Maturi                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24054 Butterfly Lane                                       When was the debt incurred?
          Porter, TX 77365
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 628 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page670 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      John Gerdes and Helen Coates
 883      Gerdes                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11 club lane                                               When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 884      John Halsted                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3905 Centenary Dr                                          When was the debt incurred?
          Denton, TX 76210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 885      John Harvey                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3904 Los Robles Dr.                                        When was the debt incurred?
          Plano, TX 75074
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 629 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page671 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 886      John Monette                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 82271                                               When was the debt incurred?
          Pheonix, AZ 85071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 887      John Nabritt                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          841 Brickleridge Lane SE                                   When was the debt incurred?
          Mableton, GA 30126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 888      John Nicholson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          303 W Alva Street                                          When was the debt incurred?
          Tampa, FL 33603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 630 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page672 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 889      John Slicker And Amanda Leigh                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 1210                                              When was the debt incurred?
          Agoura Hills, CA 91376
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 890      John Sr and Judy Rothwell                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          77 Lakeside Terrace                                        When was the debt incurred?
          Henson, MA 02341
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 891      John Sullivan and Karla Desrosiers                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23 Ritter St                                               When was the debt incurred?
          Unit B
          Nashua, NH 03060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 631 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page673 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 892      John Vandegrift                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          166 Branch Valley Way                                      When was the debt incurred?
          Dallas, GA 30132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 893      John&Laurel Foege                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8851 Providence Knoll Mews                                 When was the debt incurred?
          North Chesterfield, VA 23236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 894      Johneen & Christian Mayercheck                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          222 Roxbury Drive                                          When was the debt incurred?
          Greensburg, PA 15601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 632 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page674 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 895      JohnJr&Linda Woloshun                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          710 Arlington Avenue                                       When was the debt incurred?
          Jeannette, PA 15644
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 896      Johnnie & Valerie Mickle                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4031 Claiborne Plantation Way                              When was the debt incurred?
          Fredericksburg, VA 22408
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 897      Johnny and Shhetona Jenkins                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14663 E Purdue Pl                                          When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 633 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page675 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 898      Joilzo (Joe) & Telma De Souza                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          95 Mount Pleasant Street                                   When was the debt incurred?
          Marlboro, MA 01752
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 899      Jolanda and Phil Thomas                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14107 Aster Estates Lane                                   When was the debt incurred?
          Cypress, TX 77429
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 900      Jolene and James Tittsworth                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          245 Sattler Road                                           When was the debt incurred?
          Spring Branch, TX 78070
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 634 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page676 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 901      Jolie Ferrier                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          ,11222 Bethel Church Road                                  When was the debt incurred?
          Midland, NC 28107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 902      Jon Bartley                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2277 Winding Dr                                            When was the debt incurred?
          Longmont, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 903      Jon Dollar                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5661 Dayton St                                             When was the debt incurred?
          Denver, CO 80238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 635 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page677 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 904      Jon Whitsitt                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1114 Burke Dr                                              When was the debt incurred?
          Gallup, NM 87301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 905      Jonathan & Karrie Thompson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1988 Mount Joy Place                                       When was the debt incurred?
          Lexington, KY 40503
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 906      Jonathan & Natalie Saucedo                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6708 Coral Bells Lane                                      When was the debt incurred?
          Dickinson, TX 77539
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 636 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page678 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Jonathan Locklear and Adam
 907      Bryant                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4813 Cedar Pass Dr                                         When was the debt incurred?
          Hope Mills, NC 28348
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 908      Joni Debaldo                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 308                                                 When was the debt incurred?
          Fulton, MD 20759
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 909      JORDAN SALKIN                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1503 S. Coast Drive Suite 202                              When was the debt incurred?
          Costa Mesa, CA 92626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 637 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page679 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 910      Jorge & Maria Esparza                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2314 Bivensbrook Drive                                     When was the debt incurred?
          Houston, TX 77607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 911      Jorge & Maria Nassar                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8846 Chelsworth Dr                                         When was the debt incurred?
          Houston, TX 77083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 912      Jorge & Raquel Castro                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12914 Shady Knoll Lane                                     When was the debt incurred?
          Cypress, TX 77429
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 638 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page680 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 913      Jorge & Sheyla Acurero/Torres                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14559 S. Juniper Shade Drive                               When was the debt incurred?
          Herriman, UT 84096
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 914      Jorge And Damaris Juarez                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          110 Otter Trail                                            When was the debt incurred?
          Lake Jackson, TX 77566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 915      Jose & Amparo Guzman/Gonzalez                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          725 Dakota River Ave                                       When was the debt incurred?
          El Paso, TX 79932
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 639 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page681 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 916      Jose & Dorothy Segundo                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4721 W Montebello Ave                                      When was the debt incurred?
          Glendale, AZ 85301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 917      Jose & Kristina Cervantes                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2272 Plainfield Pl.                                        When was the debt incurred?
          Oxnard, CA 93036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 918      Jose And Barbara Castillo                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7322 Collins Manor Drive                                   When was the debt incurred?
          Spring, TX 77389-1495
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 640 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page682 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 919      Jose And Paulina Canizales                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20819 Foxwood Glen lane                                    When was the debt incurred?
          Humble, TX 77338
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 920      Jose L. & Marivel Igartua                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4629 North Delphia                                         When was the debt incurred?
          Chicago, IL 60656
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Jose Luis Contreras-Torres and
 921      Claudia M                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5250 West 53rd Avenue #2                                   When was the debt incurred?
          Arvada, CO 80002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 641 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page683 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Jose Santos-Barron Andrade and
 922      Luz Jaazi                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          660 Meade St.                                              When was the debt incurred?
          Denver, CO 80219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 923      Joseph & Connie Cameron                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9465 Southwest 90th St                                     When was the debt incurred?
          Ocala, FL 34481
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 924      Joseph & Judy Alston                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3921 Heritage Trail                                        When was the debt incurred?
          Wake Forest, NC 27587
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 642 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page684 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 925      Joseph & Julie Petagno                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          535 Stirrup Drive                                          When was the debt incurred?
          Greensburg, PA 15601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 926      Joseph & Lauren Vincent                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1506 Horseshoe Drive                                       When was the debt incurred?
          Raymore, MO 64083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 927      Joseph & Lois Presti                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2503 Brooke Road                                           When was the debt incurred?
          Pennsburg, PA 18073
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 643 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page685 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 928      Joseph & Melody Vansuch                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12642 Willis Lane                                          When was the debt incurred?
          Santa Ana, CA 92705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 929      Joseph & Sheryl Miller                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6818 Hills Drive                                           When was the debt incurred?
          New Port Richey, FL 34653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 930      Joseph & Virginia Baranski                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          648 Washington Crossing RD                                 When was the debt incurred?
          New Town, PA 18940
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 644 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page686 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 931      Joseph (Jody) and Jennifer Pierce                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          309 Tapia Lane                                             When was the debt incurred?
          Prattville, AL 36067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 932      Joseph Adducci                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12795 W. 19th Pl.                                          When was the debt incurred?
          Lakewood, CO 80215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 933      Joseph Ahearn                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O box 840                                                When was the debt incurred?
          Dover Plains, NY 12522
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 645 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page687 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 934      Joseph and Anna Oh                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          363 Slocum Way                                             When was the debt incurred?
          Fort Lee, NJ 07024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 935      Joseph and Marilyn Zuccarelli                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          114 Lakeview Drive                                         When was the debt incurred?
          McKees Rocks, PA 15136
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 936      Joseph Costabile                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26 Brook Lane                                              When was the debt incurred?
          Berlin, MA 01503
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 646 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page688 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 937      Joseph Keogh and Ilene Warner                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1276 Cressida Ct.                                          When was the debt incurred?
          LaFayette, CO 80026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 938      Joseph N and Joan M Cooper                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Debbie Court                                             When was the debt incurred?
          Poughkeepsie, NY 12601-5829
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 939      Joseph Taylor and Nola Feltner                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2342 Montgomery Rd.                                        When was the debt incurred?
          Auburn, KY 42206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 647 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page689 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 940      Joseph Terrazzano                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26 Grove St                                                When was the debt incurred?
          Merrimac, MA 01860
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 941      Joseph&Toni Glasper                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5990 Bennett Lawson Rd.                                    When was the debt incurred?
          Mansfield, TX 76063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 942      Josephine Adeh                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6815 Shelby Oaks Drive                                     When was the debt incurred?
          Richmond, TX 77407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 648 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page690 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Josephine Tsao and Wolfgang
 943      Prestenbach                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          673 South Flamingo Court                                   When was the debt incurred?
          Denver, CO 80246
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 944      Josh and Stacy Gomez                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          82 Teaverry Place                                          When was the debt incurred?
          Manchester, NH 03102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 945      Joshua & Krista Rodriguez/Byrd                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4131 Maple Grove                                           When was the debt incurred?
          Morningside, MD 20746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 649 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page691 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 946      Joshua & Terri Wingfield/Carlson                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          190 Kaha Street                                            When was the debt incurred?
          Kailua, Hawaii 96734-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 947      Joshua and Christina Trevino                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          802 Orin Circle - Apt C                                    When was the debt incurred?
          Bryan, TX 77801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 948      Joshua and Dorcas Anne Durbin                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6283 S Miller St                                           When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 650 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page692 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 949      Joshua And Rachel Hartline                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2525 Rhoads Road                                           When was the debt incurred?
          Gilbertsville, PA 19525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 950      Joshua Friesner                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1602 Linden St                                             When was the debt incurred?
          Longmont, CO 80501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 951      Joshua Imlay                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          150 Dayton St. Apt. C201                                   When was the debt incurred?
          Aurora, CO 80010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 651 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page693 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 952      Jovonn & Rolanda Jefferson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1263 Pentcross Court SW                                    When was the debt incurred?
          Marrietta, GA 30064
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 953      Joy & Ralph Wierwille                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5920 highland grove drive                                  When was the debt incurred?
          Summerfields, NC 27358
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 954      Joy And Kingston Yong                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13105 Meandering Way                                       When was the debt incurred?
          Dallas, TX 75240
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 652 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page694 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 955      Joyce & Karl Homberg                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          617 Franklin Ave                                           When was the debt incurred?
          Baltimore, MD 21221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 956      Joyce and H. Grant Rollins                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          272 Knickerbocker Drive                                    When was the debt incurred?
          Pittsburgh, PA 15235
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 957      Joyce and Lawrence Behl                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3812 S. Fraser St.                                         When was the debt incurred?
          Aurora, CO 80011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 653 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page695 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 958      Joyce McMahon                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10736 Union Dr                                             When was the debt incurred?
          Port Richey, FL 34668
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 959      Joyce Rankin                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          112 Laurel Valley Drive                                    When was the debt incurred?
          West Columbia, TX 77486
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 960      Joyce Woodward                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2200 Casement Rd                                           When was the debt incurred?
          Manhatten, KS 66502
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 654 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page696 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 961      Jozefa And Zenon Aleszczyk                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15419 Pinto St                                             When was the debt incurred?
          Homer Glen, IL 60491
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 962      Juan & Diane Alvarado                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23433 West Link Way                                        When was the debt incurred?
          Plainfield, IL 60586
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 963      Juan & Gail Luna                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 47808                                             When was the debt incurred?
          Tampa, FL 47808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 655 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page697 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 964      Juan & Sandra Quinonez                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7859 Pecan Ct.                                             When was the debt incurred?
          El Paso, TX 79915
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 965      Juan Alvarenga                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          735 S Harlan ST                                            When was the debt incurred?
          Lakewood, CO 80226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 966      Juan and Cynthia De La Rosa                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4235 54th St Rd                                            When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 656 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page698 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 967      Juan and Frine Aparicio                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8934 San Laberto Street                                    When was the debt incurred?
          Houston, TX 77017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 968      Juan And Olga Limon                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          54 N. Forrest Ave                                          When was the debt incurred?
          La Porte, TX 77571
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 969      Juan Carlos and Teresa Ramirez                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          160 Muscovey Ln                                            When was the debt incurred?
          Johnstown, CO 80534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 657 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page699 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1      Juan Carlos Lopez Ballen and
 970      Sandra Mile                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Carrera 70 D 120-21                                        When was the debt incurred?
          Bogota, Colombia 00011-1121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 971      Juanita Brock                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4043 W 127th street                                        When was the debt incurred?
          Apt 3
          Aslip, IL 60803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 972      Judith & Vernon Pahnke                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24336 Greenburg Ct                                         When was the debt incurred?
          Naperville, IL 60564
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 658 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page700 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 973      Judith and Marvin Schroeder                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O Box 22                                                 When was the debt incurred?
          New Haven, MO 63068-1162
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 974      Judith and Paul Buckwalter                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1735 Walnut Ct.                                            When was the debt incurred?
          Carson City, NV 89703
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 975      Judith Garcia                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7007 Brementown NE Rd                                      When was the debt incurred?
          Tinley Park, IL 60477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 659 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page701 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 976      Judith Koutsos                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8446 Cessna Dr                                             When was the debt incurred?
          New Port Richy, FL 34654
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 977      Judith Ray                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26160 Summer Greens Drive                                  When was the debt incurred?
          Bonita Springs, FL 34135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 978      Judy & Larry Lawyer                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          545 FM 1488                                                When was the debt incurred?
          Apt 3308
          Conroe, TX 77401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 660 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page702 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 979      Judy and Geroge Marlin                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7428 North West 104th St.                                  When was the debt incurred?
          Oklahoma City, OK 73162
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 980      Judy Butler                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          47651 Wheeler Dr.                                          When was the debt incurred?
          Lexington, MD 20653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 981      Judy Egli                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          405 3rd Ave                                                When was the debt incurred?
          Keremeos, BC, Canada V0X1N2
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 661 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page703 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 982      Judy Helms                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2797 Wellsly Court NW                                      When was the debt incurred?
          Kennesaw, GA 30144
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 983      Julia Greenhalgh (Gilbert)                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O Box 631                                                When was the debt incurred?
          Bedford, MA 01730
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 984      Julia McLain                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          215 Commonwealth Rd                                        When was the debt incurred?
          Wayland, MA 01778
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 662 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page704 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 985      Julia Ruddock and Simon Elliott                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          281 Hudson Street Suite 1                                  When was the debt incurred?
          Cornwall-on-Hudson, NY 12520
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 986      Julia Spagnuolo and M. Tchernuhin                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          225 S Harrison St #402                                     When was the debt incurred?
          Denver, CO 80209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 987      Julian & Therese Gonzales                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Po Box 5 119 washington ave                                When was the debt incurred?
          Merino, CO 80741
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 663 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page705 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 988      Julian and Rebecca Mangum                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3809 Bahama Rd                                             When was the debt incurred?
          Rougemont, NC 27572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 989      Juliann & Sam Manna                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12038 N 46TH Ave                                           When was the debt incurred?
          Glendale, AZ 85304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 990      Julie & Jean Mosher/Montwicki                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          465 W. Dominion Dr.                                        When was the debt incurred?
          Unit 1208
          West Dale, IL 60191
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 664 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page706 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 991      Julie Deliberto                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1235 Hailshaw CT                                           When was the debt incurred?
          Wheatton, IL 60189
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 992      Julie Glass                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          615 3rd Ave. SW                                            When was the debt incurred?
          Great Falls, MT 59404
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1      Julie Mika Trustee of Byron Scott Jr
 993      Tru                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2544 Forest Bluff Drive SE                                 When was the debt incurred?
          Grand Rapids, MI 49546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 665 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page707 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 994      Julius Jr & Jennifer Clebourn                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5238 Kylie Springs Lane                                    When was the debt incurred?
          Houston, TX 77066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 995      Jun Group Productions, LLC                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 744843                                            When was the debt incurred?
          Atlanta, GA 30374
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 996      June & David Wood                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          242 Aston Ln                                               When was the debt incurred?
          Lexington, SC 29072
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 666 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page708 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.1
 997      June and Walter Upham                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9101 North Ambassador Drive                                When was the debt incurred?
          Apt 3103
          Kansas City, MO 64154
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 998      June Hochberg/Pat La Rosa                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          75 East Broadway                                           When was the debt incurred?
          3B
          Long Beach, NY 11561
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.1
 999      Justin & Elisabeth Ryan                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          412 Sally Strret                                           When was the debt incurred?
          Wiggins, CO 80654
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 667 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page709 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 000      Justin & Rana Schmidt                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12827 E. Ash Road                                          When was the debt incurred?
          Adams, NE 68301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 001      Justin and Stephanie Sayre                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10094 Eagle Valley Way                                     When was the debt incurred?
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 002      Justin Williams                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7573 E Technology Way, #301                                When was the debt incurred?
          Denver, CO 80237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 668 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page710 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 003      Kaanipali Beach Vacation Resort                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          104 Ka'anapali Shores Place                                When was the debt incurred?
          Lahaina Maui, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 004      KABB                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4335 NW Loop 410                                           When was the debt incurred?
          San Antonio, TX 75320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 005      Kahan Villa Vacation Club                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4242 Lower Honoapiilani Highway                            When was the debt incurred?
          Lahaina
          Maui, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 669 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page711 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 006      Kahana Beach in Maui                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4221 Lower Honoapiilani Highway                            When was the debt incurred?
          Lahaina
          Maui, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 007      Kahana Villa Vacation Club                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4242 Lower Honoapiilani Highway                            When was the debt incurred?
          Lahaina
          Maui, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 008      Kainan Jeffers                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3533 W Alamo Dr                                            When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 670 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page712 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 009      Kamala and Colin Parker                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4953 W. 4950 S.                                            When was the debt incurred?
          Hooper, UT 84315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 010      Kandria James & Matthew Dierolf                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          670 Dori Lane                                              When was the debt incurred?
          Stowe, PA 19464
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Kansas Attorney General Derek
 011      Schmidt                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          120 SW 10th Ave, 2nd Floor                                 When was the debt incurred?
          Topeka, KS 66612
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 671 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page713 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 012      Kara Baretich                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3902 Smoke Tree Dr.                                        When was the debt incurred?
          Colorado Springs, CO 80920
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 013      Kara Shreffler Martin                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 Deer Run Way                                           When was the debt incurred?
          Elizabethtown, KY 42701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 014      Karen & Larry Mosel                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          198 Road West A South                                      When was the debt incurred?
          Ogallala, NE 69153
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 672 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page714 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Karen & Monica Naranjo /
 015      Mora-Wilson                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          599 W 190 St Apt 47                                        When was the debt incurred?
          New York, NY 10040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 016      Karen and Donnie Cox                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6786 Salvia Ct                                             When was the debt incurred?
          Arvada, CO 80007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 017      Karen And Richard Criner                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3352 Berzin Court                                          When was the debt incurred?
          Katy, TX 77493
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 673 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page715 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 018      Karen And Robert Akins                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          106 Birch Ave                                              When was the debt incurred?
          Castle Rock, CO 80104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 019      Karen and Robert Cheek                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40 Sweet Hill Road                                         When was the debt incurred?
          Plaistow, NH 03865
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 020      Karen and Stephen Kelly                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21811 Wildwood Park Rd                                     When was the debt incurred?
          Richmond, TX 77469
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 674 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page716 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 021      Karen Belcher                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4002 East Decatur Street                                   When was the debt incurred?
          Mesa, AZ 85205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 022      Karen Eaton-Noel                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 Ranchero Drive Space 186                               When was the debt incurred?
          San Marcos, CA 92069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 023      Karen Goodar                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7415 S. Harvard Ave                                        When was the debt incurred?
          Chicago, IL 60621
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 675 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page717 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 024      Karen Goodwin                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21 Chadwick Circle                                         When was the debt incurred?
          Norristown, PA 19403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 025      Karen Hall                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1234 W/ Lafayette Ave.                                     When was the debt incurred?
          Baltimore, MD 21217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 026      Karen Jackson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          264 Flat Rock Dr.                                          When was the debt incurred?
          Denver, NC 28037
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 676 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page718 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 027      Karen Kassian                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 395                                               When was the debt incurred?
          Keenesburg, CO 80643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 028      Karen Rothenbuhler                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1337 Mark Drive                                            When was the debt incurred?
          West Chester, PA 19380
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 029      Karen Williams                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8737 Dogleg Road                                           When was the debt incurred?
          Sherrills Ford, NC 28673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 677 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page719 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 030      Kari Elizalde                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8437 E. 148th Way                                          When was the debt incurred?
          Thornton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 031      Karin and John Davidson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          41942 London Dr                                            When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 032      Karina Y. Gil/Sonny J. Poehls                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          610 N. Locust Drive                                        When was the debt incurred?
          Fresno, TX 77545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 678 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page720 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 033      Karl & Amy Locke                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2347 Daisy Lane                                            When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 034      Karl & Kayla Zummallen                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18315 Amalfi Coast Dr                                      When was the debt incurred?
          Cypruss, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 035      Karl & Leslie Bunker                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          153 Twin Oaks Circle                                       When was the debt incurred?
          Chula Vista, CA 91910
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 679 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page721 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 036      Karl and Maria Belza                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7424 Birchshire                                            When was the debt incurred?
          Raleigh, NC 27616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 037      Karla & Francisco Saavedra (SPO)                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5505 Tuxbury Pond Drive                                    When was the debt incurred?
          Fort Worth, TX 76179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 038      Kasey Mikolajczyk and Ryan Garcia                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          116 Hickory St.                                            When was the debt incurred?
          Lake Jackson, TX 77566
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 680 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page722 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 039      Kassi and Nick Bertogli                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          832 Clyde Circle                                           When was the debt incurred?
          Cheyenne, WY 82001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 040      Katawna & Andrew Holmes/Lincoln                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1364 Zanna Grace Way                                       When was the debt incurred?
          Haslet, TX 76052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 041      Katharine Mahoney                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4145 Pecos St                                              When was the debt incurred?
          Denver, CO 80211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 681 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page723 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 042      Katherine & Juan Lozada                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          405 E Crest Ave                                            When was the debt incurred?
          Bensenville, IL 60106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 043      Katherine & Thomas Henson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          825 Lanewood Pl                                            When was the debt incurred?
          Escondido, CA 92026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 044      Katherine (Ann) Toppin                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          148 Silver Mine Trail                                      When was the debt incurred?
          Auftell, GA 30168
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 682 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page724 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Katherine Algimer & Julius
 045      Gallishaw                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          743 Sparrow Lane                                           When was the debt incurred?
          Langhorne, PA 19407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Katherine Bell Conway/Jennifer
 046      Applewhit                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          599 West edgewater terrace                                 When was the debt incurred?
          New Braunfels, TX 78130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 047      Katherine Craig                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4774 S Duquesne St                                         When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 683 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page725 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 048      Katherine Moser                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          991 TIMBERVALE Trail                                       When was the debt incurred?
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 049      Katherine Wickens                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2025 North Gibson Point                                    When was the debt incurred?
          Hernando, FL 34442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 050      Kathleen & Christine Carroll                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          170 Louise Drive                                           When was the debt incurred?
          Mooresville, NC 28115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 684 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page726 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 051      Kathleen & Frank Gormley/Cofolelli                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2806 North Mondrian Lane                                   When was the debt incurred?
          Middletown, DE 19709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 052      Kathleen & Larry Bice                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1809 Highway 130 West                                      When was the debt incurred?
          Shelbyville, TN 37160
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 053      Kathleen And Alan Smith                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          382 Long Pond Drive                                        When was the debt incurred?
          PO Box 844
          Harwich, MA 02645
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 685 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page727 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 054      Kathleen and Karl Weinberg                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3007 Covered Ridge Way                                     When was the debt incurred?
          Joliet, IL 60435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 055      Kathleen and Robert Humiston                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          438 Creston Ave                                            When was the debt incurred?
          Kalamazoo, MI 49001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 056      Kathleen Dzon                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          659 Woodcrest Drive                                        When was the debt incurred?
          Pittsburgh, PA 15205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 686 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page728 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 057      Kathleen Gibboney                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13 Evergreen Circle                                        When was the debt incurred?
          Cincinatti, OH 45215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Kathleen Jones, Stephanie Ali and
 058      Brittn                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8470 Limekiln Pike Apt 1123-2                              When was the debt incurred?
          Wyncote, PA 19095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 059      Kathleen McKeever                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          322 White Oaks Rd.                                         When was the debt incurred?
          Fontana, WI 53125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 687 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page729 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 060      Kathleen Odermatt                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3410 Winding Lake Way                                      When was the debt incurred?
          Kady, TX 77450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 061      Kathleen Rodolph                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19215 W. Thomas Rd.                                        When was the debt incurred?
          Utchfield Park, AZ 85340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 062      Kathleen Timme                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4158 Forever Circle                                        When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 688 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page730 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 063      Kathrine Allen                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          515 S 200 E                                                When was the debt incurred?
          Kaysville, UT 84037
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 064      Kathryn and Forbes Adams                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          648 Newport Drive                                          When was the debt incurred?
          Pittsburgh, PA 15235
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 065      Kathryn Parrett                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7768 S Waverly Mountain                                    When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 689 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page731 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 066      Kathy & Leslie Fuller                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          220 Bohland Ave                                            When was the debt incurred?
          Bellwood, IL 60104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 067      Kathy and Darell Strait                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          202 NE Leann                                               When was the debt incurred?
          Blue Springs, Mo 64014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 068      Kathy Cargile POA for Anna Ward                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11700 Benwick Dr                                           When was the debt incurred?
          Frisco, TX 75035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 690 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page732 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 069      Kathy Moore                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3553 Baxter Street                                         When was the debt incurred?
          Jacksonville, FL 32222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 070      Kathy Prather                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6032 Yeary Street                                          When was the debt incurred?
          Fort Worth, TX 76135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 071      Kathy Pullara                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          490 Corte Amino                                            When was the debt incurred?
          Fountain, CO 80817
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 691 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page733 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 072      Kathy Schulteti                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2735 Chamberlin Drive                                      When was the debt incurred?
          Indianapolis, IN 46227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 073      Kaven And Elizabeth DeShane                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Tempe Drive                                            When was the debt incurred?
          Granite Shoals, TX 78654
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 074      Kavita & Rupal Patel                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2502 Sara Ridge Lane                                       When was the debt incurred?
          Katy, TX 77450
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 692 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page734 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Kayatana (Kay) & Norbert (Bert) Jr.
 075      Thom                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2802 Delmar Blvd.                                          When was the debt incurred?
          St. Louis, MO 63103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 076      Kaye Coddington                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10035 133rd St North                                       When was the debt incurred?
          Seminole, FL 33776
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 077      Kayla Phillips                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2450 6th St. South                                         When was the debt incurred?
          Wisconsin Rapids, WI 54494
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 693 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page735 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 078      KBJD - AM                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3131 S Vaughn Way #601                                     When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 079      KCNC                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1044 Lincoln                                               When was the debt incurred?
          Denver, CO 80203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 080      KCTV5                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21241 Network Place                                        When was the debt incurred?
          Chicago, IL 60673-1212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 694 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page736 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 081      KDKA-TV / WPCW PITTSBURGH                                  Last 4 digits of account number       1168                                                   $0.00
          Nonpriority Creditor's Name
          420 Fort Duquesne Blvd Suite 100                           When was the debt incurred?
          Pittsburgh, PA 15222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 082      Keap - Infusionsoft                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1260 S Spectrum Blvd                                       When was the debt incurred?
          Chandler, AZ 85286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 083      Kecia Sherman                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2115 Oak Hill DR.                                          When was the debt incurred?
          Valrico, FL 33594
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 695 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page737 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 084      Keela And Lawann McDonald                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19422 Climbing Oaks Dr                                     When was the debt incurred?
          Kingwood, Tx 77346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 085      Keith & Tracy Hunter                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1850 Red Cloud Road                                        When was the debt incurred?
          Longmont, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 086      Keith and Marylee Liptock                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          349 Kaercher St                                            When was the debt incurred?
          Pittsburgh, PA 15207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 696 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page738 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 087      Keith And Tondalaya McMillan                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          293 Balmoral St.                                           When was the debt incurred?
          Clayton, NC 27520
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 088      Keith Olivetti and Regina Truelove                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6825 S Langdale st                                         When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 089      Keith Pritchett                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6307 Caminito Del Pastel                                   When was the debt incurred?
          San Diego, CA 92111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 697 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page739 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 090      Kelley & Michael Woodard                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19374 South Hwy 95                                         When was the debt incurred?
          Coeur d'alene, ID 83814
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 091      Kelley Beavers-Davis                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          629 Sinclair Ridge                                         When was the debt incurred?
          Rowlesburg, WV 26425
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 092      Kelli Lanphere                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11382 West Hampden Place                                   When was the debt incurred?
          Lakewood, CO 80227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 698 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page740 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 093      Kelly And Bradley Thompson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7003 Smithfield Road                                       When was the debt incurred?
          North Richland Hills, TX 76182
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 094      Kelly Angevine and Sheila Falco                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15 Iris Lane                                               When was the debt incurred?
          Londonderry, NH 03053
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 095      Kelly Thornton                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          796 Loma Linda Dr                                          When was the debt incurred?
          Brighton, CO 80601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 699 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page741 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 096      Kelvin Goon/Judith Voss                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13718 Matanzas Pl                                          When was the debt incurred?
          Lakewood Ranch, FL 34202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 097      Ken & Connie Hall                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11060 W Parker Range Road                                  When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 098      Ken & Louise Kirkland                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13302 W. Paintbrush Dr.                                    When was the debt incurred?
          Sun City West, AZ 85375
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 700 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page742 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 099      Ken and Barbara Nichols                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          503 Rywood Ct                                              When was the debt incurred?
          Cranberry 'Twp, PA 16066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 100      Ken And Camille Bonanno                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 Taft Road                                                When was the debt incurred?
          Wilmington, MA 01887
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 101      Ken and Helen Shiflet                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2110 62nd Ave Ct.                                          When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 701 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page743 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 102      Kendra and Garrett Haag                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2830 W 26th Ave #112                                       When was the debt incurred?
          Denver, CI 80211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 103      Kenneth & Carolyn Curry                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1045 Alkire Street                                         When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 104      Kenneth & Kathleen Marino                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          430 Sand Hill Street                                       When was the debt incurred?
          Marco Island, FL 34145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 702 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page744 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 105      Kenneth & Lynn Dander                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13976 Derby Line Road                                      When was the debt incurred?
          Genoa, IL 60135-7905
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 106      Kenneth & Marilyn McClay                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5019 West Hidden Valley Drive                              When was the debt incurred?
          Savage, MN 55378-2010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 107      Kenneth & Patty Butts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 600                                                 When was the debt incurred?
          Anderson, TX 77830
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 703 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page745 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 108      Kenneth & Yalonda Robinson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1208 E. 36th Place                                         When was the debt incurred?
          Gary, IN 46409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 109      Kenneth and Carol Rogers                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 329                                               When was the debt incurred?
          Sabinal, TX 78881
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 110      Kenneth And Charlene Green                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19817 N. 90th Ave.                                         When was the debt incurred?
          Peoria, AZ 85382
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 704 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page746 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 111      Kenneth and Tammy LeBlanc                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10952 W 104th Pl                                           When was the debt incurred?
          Broomfield, CO 80021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 112      Kenneth Barnett                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3780 E 72nd Ave                                            When was the debt incurred?
          Anchorage, AK 99507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Kenneth Coppola and Constance
 113      Cole                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35109 Highway 79 SPC 201                                   When was the debt incurred?
          Warner Spgs, CA 92086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 705 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page747 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 114      Kenny & Ernest Godina                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4551 Upham St                                              When was the debt incurred?
          Wheat Ridge, CO 80033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 115      Kenny & Katelyn Ponitz/Combs                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3033 Ryan Place Dr                                         When was the debt incurred?
          Fort Worth, TX 76110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 116      Kent and Linda Peterson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21644 Swale Ave                                            When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 706 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page748 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 117      Kent Burns                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          821 17th Street, Suite 500                                 When was the debt incurred?
          Denver, CO 80202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 118      Kenton And Nicole Stobbe                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1118 North Redbud Drive                                    When was the debt incurred?
          Loveland, CO 80538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 119      Kentucky Attorney General                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          700 Capital Avenue, Suite 118                              When was the debt incurred?
          Frankfort, KY 40601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 707 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page749 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Kenya Johnson and Arkeem
 120      Matthews                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7173 Marbury Court                                         When was the debt incurred?
          District Heights, MD 20747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 121      Kevin & Cheryl Dooley                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5945 S Fairfax Ct                                          When was the debt incurred?
          Centennial, CO 80121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 122      Kevin & Ines Johnson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          529 Skyline Dr                                             When was the debt incurred?
          Rostraver Township, PA 15012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 708 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page750 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 123      Kevin & Nancy O'Brien                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10225 W Mission Lane                                       When was the debt incurred?
          Sun City, AZ 85351
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 124      Kevin & Peggy Sierzputowski                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          426 Joe Martin Rd.                                         When was the debt incurred?
          Lowell, IN 46356
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 125      Kevin & Ruth Miller                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2413 Wilford Dr.                                           When was the debt incurred?
          Nashville, TN 37214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 709 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page751 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 126      Kevin A. Koestner                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. BOX 56                                                When was the debt incurred?
          ELIZABETH, CO 80107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 127      Kevin And Carol Zenk                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10262 Lavonne Drive                                        When was the debt incurred?
          North Huntington, PA 15642
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 128      Kevin and Susan Walker                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          295 E 1050 N                                               When was the debt incurred?
          Chesterton, IN 46304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 710 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page752 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 129      Kevin and Terri Hart                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1201 109th Lane NW                                         When was the debt incurred?
          Coon Rapids, MN 55449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 130      Kevin Arnold                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          525 Lakeview Estates Drive                                 When was the debt incurred?
          Hueytown, AL 35023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 131      Kevin Pettiette                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15420 N 67th Ave                                           When was the debt incurred?
          Glendale, AZ 85306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 711 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page753 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 132      Kevin Ramp                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          172 Brandon Ct                                             When was the debt incurred?
          Bolingbrook, IL 60440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 133      KFMB                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7677 Engineer Rd                                           When was the debt incurred?
          San Diego, CA 92111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 134      KGTV                                                       Last 4 digits of account number       3816                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 844521                                            When was the debt incurred?
          Los Angeles, CA 90084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 712 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page754 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 135      Khang Xiong                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11750 Sherman St                                           When was the debt incurred?
          Northglenn, CO 80233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 136      KHOU                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11 News 5718 Westheimer Rd                                 When was the debt incurred?
          Houston, TX 77057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 137      KHOW/KOA                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4695 S Monaco St                                           When was the debt incurred?
          Denver, CO 80237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 713 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page755 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 138      Kile & Ashley Dillard/Alleman                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8819 W 3rd Ave                                             When was the debt incurred?
          Kennewick, WA 99336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 139      Kim and Kimberly Hackbardt                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9311 104th Street                                          When was the debt incurred?
          Howard City, MI 49329
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 140      Kim And Robert Christoph                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5342 Sagamore Ct                                           When was the debt incurred?
          New Port Richey, FL 34655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 714 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page756 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 141      Kim Palomino                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          222 W Northcastle Circle                                   When was the debt incurred?
          The Woodlands, TX 77384
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 142      Kimarka Young- Scott                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3017 Oak Green Circle Apt F                                When was the debt incurred?
          Ellicott City, MA 21043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 143      Kimbereleye and Gerald Wells                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6703 Morning Glory Trace                                   When was the debt incurred?
          Richmond, TX 77407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 715 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page757 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 144      Kimberlee & Jeff Tiba/ Richardson                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2700 Haven Ct                                              When was the debt incurred?
          Evans, CO 80620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Kimberley, Robert, Garrett &
 145      Jennifer Ta                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          84 Riverside Drive                                         When was the debt incurred?
          Bay City, TX 77414
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 146      Kimberly & Jason Dobson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          781 Deverson Drive                                         When was the debt incurred?
          Rockwall, TX 75087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 716 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page758 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 147      Kimberly Allen                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6726 Catarina Cir                                          When was the debt incurred?
          Houston, TX 77084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 148      Kimberly and Santino Salyards                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4220 Forbes Dr                                             When was the debt incurred?
          Plano, TX 75093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 149      Kimberly and Scott Nadeau                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12 1/2 Daniels Street Apt 2                                When was the debt incurred?
          Salem, MA 01970
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 717 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page759 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 150      Kimberly and Scott Nadeau                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12 1/2 Daniels Street Apt 2                                When was the debt incurred?
          Salem, MA 01970
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 151      Kimberly and Steven Vann                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2363 South Sedalia Circle                                  When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Kimberly And Virginia
 152      Glaize/Findlay                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4714 Country Club View                                     When was the debt incurred?
          Baytown, TX 77521
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 718 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page760 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 153      Kimberly and William Russell                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          409 Mason Creek Dr.                                        When was the debt incurred?
          Lake Saint Louis, MO 63367
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 154      Kimberly Frans                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6503 E. Rosebay St.                                        When was the debt incurred?
          Long Beach, CA 90808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 155      Kimberlyn And Toni Rivers                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          817 Springfield Road                                       When was the debt incurred?
          Clifton Heights, PA 19018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 719 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page761 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 156      King's Creek Plantation                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          191 Cottage Cove Lane                                      When was the debt incurred?
          Williamsburg, VA 23185
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 157      Kings Gate                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          619 Georgetown Crescent                                    When was the debt incurred?
          Williamsburg, VA 23185
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 158      Kingsbury Crossing                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          133 Deer Run Court                                         When was the debt incurred?
          Stateline, NV 89449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 720 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page762 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 159      Kirk And Sandra Long                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1504 Corinth Circle                                        When was the debt incurred?
          Lafeyette, Colorado 80026-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 160      Kirk Iverson                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9014 Pinewood Drive                                        When was the debt incurred?
          Dallas, Texas 75243-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 161      Kirt & Connie Barker                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2515 Indian Hills Drive                                    When was the debt incurred?
          Loveland, CO 80538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 721 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page763 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 162      KMOV Digital                                               Last 4 digits of account number       7331                                                   $0.00
          Nonpriority Creditor's Name
          27410 Network Place                                        When was the debt incurred?
          Chicago, IL 60673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 163      KMOV-TV                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 S Memorial Dr                                            When was the debt incurred?
          Saint Louis, MO 63102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      KNXV-TV and KASW-TV Lisa
 164      Feldman                                                    Last 4 digits of account number       7803                                                   $0.00
          Nonpriority Creditor's Name
          515 N 44th St                                              When was the debt incurred?
          Phoenix, AZ 85008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 722 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page764 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 165      Kohls                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 1456                                              When was the debt incurred?
          Charlotte, NC 28201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.2
 166      Koi & Kimberly Woods                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          557 Small Cedar Drive                                      When was the debt incurred?
          League City, TX 77573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 167      Kona Islander                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          75-5776 Kuakini Highway Kailua                             When was the debt incurred?
          Kailua, HI 96740
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 723 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page765 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 168      Kona Resort                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          75-5852 Alii Drive                                         When was the debt incurred?
          Kailua-Kona, Island of Hawaii HI
          96740
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 169      KPRC and KSAT                                              Last 4 digits of account number       9126                                                   $0.00
          Nonpriority Creditor's Name
          P O Box 934721                                             When was the debt incurred?
          Atlanta, GA KPRC TTT 576585-2 KP
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 170      KPRC Local 2                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8181 Southwest Fwy                                         When was the debt incurred?
          Houston, TX 77074
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 724 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page766 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 171      Krista And Michael Ondish                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          707 Meadow Lane                                            When was the debt incurred?
          PO Box 346
          Madison, PA 15663
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 172      Kristi & Bruce Benningsdorf                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1466 Folsum Drive                                          When was the debt incurred?
          Windsor, CO 80550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 173      Kristi & Thomas Payne                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1326 Elkins Hollow Lane                                    When was the debt incurred?
          League City, TX 77573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 725 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page767 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 174      Kristin & Scott Schaefer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          203 Somerset Ct                                            When was the debt incurred?
          New Lenox, IL 60451
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 175      Kristina and Shawn Martin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2254 West Fair Avenue                                      When was the debt incurred?
          Lancaster, OH 43130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 176      Kristopher & Cami Dickson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1107 North Cynthia Court                                   When was the debt incurred?
          Ridgecrest, CA 92555
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 726 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page768 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 177      krystal international vacation club                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          #2456) Avenida de Las Garzas                               When was the debt incurred?
          Puerto Vall
          Jalisco 48300 Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 178      Krystal Notter                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          103 Hickory Street                                         When was the debt incurred?
          Roswell, GA 30075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 179      KSE Radio                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          720 S. Colorado Blvd. Suite 1200 N                         When was the debt incurred?
          Denver, CO 80246
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 727 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page769 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 180      KSHB-TV                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 204224                                              When was the debt incurred?
          Dallas, TX 75320-4224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 181      KTAR                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16th Street, Suite 200                                     When was the debt incurred?
          Phoenix, AZ 85020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 182      KTRK                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3310 Bissonnet St.                                         When was the debt incurred?
          Houston, TX 77005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 728 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page770 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 183      KTVK                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5555 N 7th Ave                                             When was the debt incurred?
          Phoenix, AZ 85013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 184      KTVT                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5233 Bridge St                                             When was the debt incurred?
          Fort Wort, TX 76103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 185      KUSA-TV/KTVD                                               Last 4 digits of account number       635A                                                   $0.00
          Nonpriority Creditor's Name
          PO BOX: 637386                                             When was the debt incurred?
          Cincinnati, OH 45263
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 729 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page771 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 186      KUSI News 9 San Diego                                      Last 4 digits of account number       6481                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 719051                                              When was the debt incurred?
          San Diego, CA 92171
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $1,875.00


 4.2
 187      KUSI San Diego                                             Last 4 digits of account number       6481                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 719051                                            When was the debt incurred?
          San Diego, CA 92171
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 188      KWGN-TV                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 59743                                               When was the debt incurred?
          Los Angeles, CA 90074
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 730 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page772 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 189      Kya Sanders                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          908 Thornbriar Ct                                          When was the debt incurred?
          Hampton, VA 23661
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 190      Kyle & Kathryn Coulthart                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6814 Regents Village Way                                   When was the debt incurred?
          Apollo Beach, FL 33572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 191      Kyle & Katie Paukert                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6700 E. 134th Cir                                          When was the debt incurred?
          Thornton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 731 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page773 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 192      Kyle & Lisa Segar                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3063 Riley Ridge Rd.                                       When was the debt incurred?
          Holland, MI 49424
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 193      Kyle And Adina Biddinger                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18035 Dog Leg Road                                         When was the debt incurred?
          Marysville, OH 43040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 194      La Casta Beach Club                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1504 N Ocean Blvd                                          When was the debt incurred?
          Pompano Beach, FL 33062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 732 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page774 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 195      La Quinta                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          49-499 Eisenhower Drive                                    When was the debt incurred?
          La Quinta, California 92253-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 196      La Semana Adventures                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1400 West Brigantine Avenue.                               When was the debt incurred?
          Brigantine, NJ 08203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 197      Lacey And Corey Newman                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9388 Warbler Ave                                           When was the debt incurred?
          Fountain Valley, CA 92708
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 733 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page775 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 198      LaCosta Beach Club Contract                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1504 North Ocean Boulevard                                 When was the debt incurred?
          Pompano Beach, FL 33062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      LaCrisha And Christopher
 199      Lorenzoni                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          106 Porter Street                                          When was the debt incurred?
          Newcumberland, WV 26047
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 200      LaJoyce & Daniel Clark                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          445 Berkshire Ave                                          When was the debt incurred?
          Romeoville, IL 60446
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 734 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page776 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 201      Lake Tahoe                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3368 Lake Tahoe Boulevard                                  When was the debt incurred?
          Ste 103 South Lake Tahoe,
          California 961
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 202      Lake View - Texas                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5128 FM 66                                                 When was the debt incurred?
          Waxahachie, TX 75167
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 203      LaKesha & Melissa Russ                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10253 South 1st Ave                                        When was the debt incurred?
          Inglewood, CA 90303
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 735 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page777 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Lakeside Terrace Avon CO
 204      (Vistana)                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          173 Lake Street                                            When was the debt incurred?
          Avon, CO 81620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 205      Lakeview                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          One Lakeview Drive                                         When was the debt incurred?
          Morgantown, WV 26508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 206      Lamar & Aletha Davis                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1826 S Indiana Ave unit E                                  When was the debt incurred?
          Chicago, IL 60616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 736 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page778 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 207      Lamberto and Ana Laura Perez                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8226 Poplar Way Apt #R203                                  When was the debt incurred?
          Englewood, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 208      Land O' Lakes                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4001 Lexington Ave N                                       When was the debt incurred?
          Arden Hills, MN 55126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 209      Landing at 7 Coves                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7031 Kingston Cove Ln.                                     When was the debt incurred?
          Willis, Texas 77318-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 737 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page779 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 210      Landmark Holiday Beach Resort                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17501 Front Beach Road                                     When was the debt incurred?
          Florida, FL 32413
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 211      Lando Resorts Corporation                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3015 N Ocean Boulevard # 121                               When was the debt incurred?
          Fort Lauderdale, FL 33308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 212      Lane & Lori McKinney                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17043 El Camino Real Blvd                                  When was the debt incurred?
          Suite 101
          Houson, TX 77058
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 738 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page780 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 213      Lanphier Accounting                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          621 17th St UNIT 2400                                      When was the debt incurred?
          Denver, CO 80202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 214      Larry & Audrey Powell                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16507 Smooth Pine Lane                                     When was the debt incurred?
          Sugar Land, TX 77498
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 215      Larry & Catherine Glovka                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Kirk Place                                             When was the debt incurred?
          Owatonna, MN 55060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 739 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page781 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 216      Larry & Debbie Campbell                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14 Rambling Wood Court                                     When was the debt incurred?
          The Woodlands, TX 77380
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 217      Larry & Glenda Keeney                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4844 Danielle Ct                                           When was the debt incurred?
          Granite City, IL 62040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 218      Larry & Joyce Pasquale                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          103 Cypress Grove Lane                                     When was the debt incurred?
          Ormond Beach, FL 32174
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 740 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page782 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 219      Larry & Joyce Russell                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1010 Oakdale Drive                                         When was the debt incurred?
          Anderson, IN 46011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 220      Larry & Kim Enomoto                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1717 Timber Pass                                           When was the debt incurred?
          Knoxville, TN 37909
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 221      Larry & Patricia Morgan                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2913 corriente way                                         When was the debt incurred?
          Lincoln, CA 95648
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 741 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page783 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 222      Larry & Patricia Rexrode                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16954 Elsinore Road                                        When was the debt incurred?
          Jacksonville, FL 32226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 223      Larry & Ronda Meuren                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1815 7th St                                                When was the debt incurred?
          Greeley, CO 80631
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 224      Larry & Vicky Hand                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4784 South Cathay Court                                    When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 742 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page784 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 225      Larry and Deanna Southwick                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9573 N Avenida Obregon                                     When was the debt incurred?
          Kingman, AZ 86409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 226      Larry and Mary Brown                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23805 E Grand Place                                        When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 227      Larry and Ofelia Morales                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13341 Briarwood Drive                                      When was the debt incurred?
          Broomfield, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 743 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page785 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 228      Larry And Virginia Hoffman                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1339 Sandstone Drive                                       When was the debt incurred?
          McDonald, PA 15057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 229      Larry Feierstein                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9019 E Panorama Cir                                        When was the debt incurred?
          Englewood, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 230      Larry Hipkins                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4651 Nottoway Dr                                           When was the debt incurred?
          Leesburg, FL 34748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 744 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page786 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 231      Larry Richardson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7930 25th Ave North                                        When was the debt incurred?
          St. Petersburg, FL 33710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 232      LAS vegas - GrandView                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9940 Las Vegas Boulevard South                             When was the debt incurred?
          Las Vegas, NV 89183
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 233      Lasamana                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 4077                                                When was the debt incurred?
          97064 St Martin, CEDEX French
          West Indie
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 745 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page787 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      LaShanda Elaine and Robert
 234      Henderson                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          623 Kisner Dr                                              When was the debt incurred?
          Independence, MI 64056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 235      LaShawn and Christopher Johnson                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3518 Swordfern Place                                       When was the debt incurred?
          Katy, TX 77449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 236      Latasha and Cedrick McClellan                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4671 Sherman Hills Parkway                                 When was the debt incurred?
          Jacksonville, FL 32210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 746 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page788 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 237      LaTour Resort                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          One Vance Gap Road                                         When was the debt incurred?
          Asheville, NC 28805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 238      Latoya (Alfreda) & Curtis Jones                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1678 Rifle Way SW                                          When was the debt incurred?
          Marietta, GA 30064
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 239      Laura and Joseph Tardiff                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6319 Hamman St                                             When was the debt incurred?
          Houston, TX 77007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 747 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page789 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 240      Laura Davoli                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10380 West 107 Circle                                      When was the debt incurred?
          Westminster, CO 80021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 241      Laura Lowe                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7116 cox pike                                              When was the debt incurred?
          Fairview, TN 37062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 242      Laura McKnight                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10140 Jill Avenue                                          When was the debt incurred?
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 748 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page790 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 243      Laura Oja                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1909 16th Lane NE                                          When was the debt incurred?
          Issaquah, WA 98029-7330
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 244      Laura Thompson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16130 Pipers View Dr                                       When was the debt incurred?
          Webster, TX 77598
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 245      Laura Whitmore                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1701 19th Ave.                                             When was the debt incurred?
          Greeley, CO 80631
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 749 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page791 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 246      Laurel                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          81 Treetops Circle                                         When was the debt incurred?
          White Haven, PA 18661
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 247      Lauren & Michael Campbell/Wade                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4817 Heritage Heights Circle                               When was the debt incurred?
          Hazelwood, MO 63042
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 248      Lauren & Slava Landwehr/Stampher                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1271 North Stratton Avenue                                 When was the debt incurred?
          Castle Rock, CO 80104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 750 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page792 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 249      Laurie Arnold                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6421 S Dallas Ct                                           When was the debt incurred?
          Englewood, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 250      Lavelle Kirby and Sharon Carison                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10200 Melody Dr                                            When was the debt incurred?
          Northglenn, CO 80260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Laverne & Gwendolyn
 251      Conaway/Jones                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4601 Brookfield Drive                                      When was the debt incurred?
          Suitland, MD 20746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 751 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page793 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 252      Laverne & Peggy Gehman                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1411 Oceania Ave South                                     When was the debt incurred?
          Naples, FL 34113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 253      Lavette and Kevin Fargo                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3543 Willow Street                                         When was the debt incurred?
          Flossmoor, IL 60422
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 254      Lavonne Mahoney                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5465 W. Princeton Drive                                    When was the debt incurred?
          Denver, CO 80235
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 752 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page794 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 255      Law Offices of Julia Knearl                                Last 4 digits of account number       3174                                                   $0.00
          Nonpriority Creditor's Name
          945 Front St.                                              When was the debt incurred?
          Louisville, CO 80027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $70.00


 4.2
 256      Lawrence & Charlotte A. Morse                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          105 Old Farm Road                                          When was the debt incurred?
          Whitehouse Station, NJ 08889
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 257      Lawrence & Judith Heckmann                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4205 Oceanwood Street                                      When was the debt incurred?
          Bakersfield, CA 93309
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 753 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page795 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 258      Lawrence & Martha Torline                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9525 W 66th Ave                                            When was the debt incurred?
          Arvada, CO 80004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Lawrence (Larry) and Kathleen
 259      (Kathy) K                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          113 19th Ave                                               When was the debt incurred?
          Munhall, PA 15120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 260      Lawrence and Gaetane Bergman                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24619 S. Golfview DR.                                      When was the debt incurred?
          Sun Lakes, AZ 85248
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 754 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page796 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 261      Lawrence and Margretta Perry                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4748 Raven Run                                             When was the debt incurred?
          Broomfield, CO 80023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 262      Lawrence and Patricia Spitler                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1103 J Street                                              When was the debt incurred?
          Barling, AR 72923
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 263      Lawrence Anthony Macro                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10685 W. Sundance Mountain                                 When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 755 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page797 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 264      Lawrence Welk Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8860 Lawrence Welk Drive                                   When was the debt incurred?
          Escondido, CA 92026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 265      Lazy Boy Synchrony                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 960061                                              When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit line


 4.2
 266      Leah Vanarsdall                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4672 West 20th Street Road                                 When was the debt incurred?
          Unit 523
          Greeley, Co 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 756 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page798 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 267      Leana And Gregory Flowers/Wilson                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4006 S. King Dr.                                           When was the debt incurred?
          Chicago, IL 60653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 268      Leanne Walker                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3545 Di Leuca Street                                       When was the debt incurred?
          Punta Gorda, FL 33950
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 269      Lee & Marsha Wallace                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5840 N 46th Pl                                             When was the debt incurred?
          Phoenix, AZ 85018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 757 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page799 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 270      Lee & Molly Jean Walker                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          509 Love Circle                                            When was the debt incurred?
          Corsicana, TX 75110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 271      Lee & Nancy Hemink                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          104 Fairview Court                                         When was the debt incurred?
          Chocowinity, NC 27817
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 272      Legacy Vacations                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          98 Palm Coast Resort Blvd                                  When was the debt incurred?
          Palm Coast, Florida 32137-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 758 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page800 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 273      Lehigh Resort Club                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          231 Joel Boulevard                                         When was the debt incurred?
          Lehigh Acres, FL 33936
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 274      Leighland Gutierrez                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          78 Sun Up Circle                                           When was the debt incurred?
          Erie, CO 80516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 275      Lenora & Vincent Catchings                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1135 W. 87th St                                            When was the debt incurred?
          Chicago, IL 60620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 759 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page801 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 276      Lenore Waters                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3442 N Kolmar Ave                                          When was the debt incurred?
          Chicago, IL 60641
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 277      Leo And Janet Johnson                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1718 Marys Lake Rd                                         When was the debt incurred?
          Estes Park, CO 80517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 278      Leo and Karen Collins                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6130 Wakulla Springs Rd                                    When was the debt incurred?
          Jacksonville, FL 32258
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 760 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page802 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 279      Leon & Tracey Spearman                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          322 Webster Street                                         When was the debt incurred?
          Cary, PA 27511
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 280      Leon McKendrick                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14728 S. Nestled Cove                                      When was the debt incurred?
          Draper, UT 84020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 281      Leona Parsons                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2059 East Brown Road                                       When was the debt incurred?
          Mesa, AZ 85213
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 761 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page803 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 282      Leonard & Elizabeth Ryer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11 Bigelow Way                                             When was the debt incurred?
          South Grafton, MA 01560
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 283      Leonard & Patricia James/Wooten                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6901 Bullock Dr.                                           When was the debt incurred?
          San Diego, CA 92114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 284      Leota Blevins                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          410 South 1st St                                           When was the debt incurred?
          Unit E
          Jacksonville Beach, FL 32250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 762 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page804 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 285      Leotha and Frank Thibodeaux-Hail                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3319 Chriesman Lane                                        When was the debt incurred?
          Missouri City, TX 77459
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 286      LeRoy and Minnie Harris                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8058 Solitaire Court                                       When was the debt incurred?
          Orlando, FL 32836
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 287      Leslie & Patricia Stewart                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21435 Royal Troon Dr                                       When was the debt incurred?
          Leesburg, FL 34748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 763 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page805 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 288      Lester and Linda Kuebler                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 280                                                 When was the debt incurred?
          Parkston, SD 57366
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Leticia & Derek & Ashley
 289      Johnson/Houston                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          734 Ashland Avenue                                         When was the debt incurred?
          Eddystone, PA 19022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 290      Levi & Loretta Davis                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7025 Aspen Creek Lane                                      When was the debt incurred?
          Dallas, TX 75252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 764 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page806 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 291      Libertas Funding                                           Last 4 digits of account number       2021                                          $600,000.00
          Nonpriority Creditor's Name
          411 W Putnam Ave.                                          When was the debt incurred?           2/6/21
          Suite 220
          Greenwich, CT 06830
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Agreement of Sale of Future Receivables


 4.2
 292      Lifetime of Vacation Resort                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7770 West US Highway 192                                   When was the debt incurred?
          Kissimmee, FL 34747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 293      Lila Roberts                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 480                                                 When was the debt incurred?
          McMinnville, OR 97128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 765 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page807 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 294      Lillian and Jack Beasley                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2634 W 39th Ave                                            When was the debt incurred?
          Denver, CO 80211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 295      Lina and Ghassan Asmar                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5327 Yarwell Dr                                            When was the debt incurred?
          Houston, TX 77096
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 296      Linda & Bob Clausen                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2459 Rosenberry Road                                       When was the debt incurred?
          Gilbertsville, PA 19525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 766 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page808 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 297      Linda & George Cazares                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17503 Memorial Crest Drive                                 When was the debt incurred?
          Spring, TX 77379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 298      Linda & James Jenkins                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2831 Corral Estates Drive                                  When was the debt incurred?
          Arnold, MO 63010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 299      Linda & Laura Gregerson/Brovold                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15364 Jeffers Pass North West                              When was the debt incurred?
          Prior Lake, MN 55372
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 767 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page809 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 300      Linda & Mark Engel                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          235 Alexander Ave                                          When was the debt incurred?
          Strabane, PA 15363
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 301      Linda & Sharon Smith/Sanner                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1004 Barnsley Dr.                                          When was the debt incurred?
          South Park, PA 15129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 302      Linda & Stanley Kurowski                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1970 Park Ave                                              When was the debt incurred?
          Hanover Park, IL 60133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 768 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page810 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 303      Linda & Victor McNatt / Clements                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1804 North West 7th Court                                  When was the debt incurred?
          Battleground, WA 98604
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 304      Linda & William Reynolds                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          130 White Eagle Drive                                      When was the debt incurred?
          Waleska, GA 30183
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 305      Linda and Edward High                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17480 Glennville Dr                                        When was the debt incurred?
          Dumfries, VA 22026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 769 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page811 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 306      Linda Bechtol and Mark Herrmann                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4042 W Greenwood Pl                                        When was the debt incurred?
          Denver, CO 80236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 307      Linda Greene                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1503 Dellano Way                                           When was the debt incurred?
          The Villages, FL 32159
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 308      Linda Jarnagin                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8222 Forest Ridge Road                                     When was the debt incurred?
          Spring, TX 77379-3910
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 770 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page812 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 309      Linda Jordan                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1015 N. Jamestown Rd                                       When was the debt incurred?
          Decatur, GA 30033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 310      Linda Murillo                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2525 South Dayton Way                                      When was the debt incurred?
          #2107
          Denver, CO 80231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 311      Linda Spychalska                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2265 Portofino Place, Unit #2114                           When was the debt incurred?
          Palm Harbor, FL 34683
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 771 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page813 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 312      Linda Sutton                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3101 School Rd                                             When was the debt incurred?
          Murrysville, PA 15668
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 313      Linda Sutton-Jones                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10905 Henlopen Court                                       When was the debt incurred?
          Silver Spring, MD 20902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 314      Linda Tetzlaff                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 East Grant Street Apt 703                              When was the debt incurred?
          Minneapolis, MN 55404
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 772 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page814 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 315      Links Golf and Racquet Club                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          917 Thomas Ave.                                            When was the debt incurred?
          Myrtle Beach, SC 29582
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 316      Linn & John Echoff                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1811 FM 646 North                                          When was the debt incurred?
          Santa Fe, TX 77510
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 317      Lionel & Abby Daniels                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          113 Gilroy Ave                                             When was the debt incurred?
          Uniondale, NY 11553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 773 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page815 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 318      Lionel & Hazel Finley                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          629 Grand Prince Ln                                        When was the debt incurred?
          Raleigh, NC 67603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 319      Lions Gate Condominiums                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          603 Forest Walk Ln                                         When was the debt incurred?
          Odenton, MD 21113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 320      Lisa & Jerry Collins                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          260 South Ridge                                            When was the debt incurred?
          Senoia, GA 30276
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 774 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page816 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 321      Lisa & John Simonds                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          311 Setucket Road                                          When was the debt incurred?
          Dennis, MA 02638
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 322      Lisa & LuEllen Whitney/Curran                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3300 Kyle Avenue North                                     When was the debt incurred?
          Golden Valley, MN 55422
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 323      Lisa & Michael Swanson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27906 Castle Park Lane                                     When was the debt incurred?
          Fulshear, TX 77441
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 775 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page817 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 324      Lisa & Robert Smull                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          F 213 Cambridge R                                          When was the debt incurred?
          King of Prussia, PA 19406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 325      Lisa & Sidney Bailey/Toombs                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          117 Lincoln Avenue                                         When was the debt incurred?
          Yeadon, PA 19050-2932
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 326      Lisa & Timothy Phelps                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          43 Meadow Lane                                             When was the debt incurred?
          Wheatland, WY 82201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 776 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page818 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 327      Lisa and Donald Swaim                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          540 Dudley St                                              When was the debt incurred?
          Lakewood, CO 80226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 328      Lisa and Donna Lopiccolo/Pierce                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1004 Nirth Harvey Street                                   When was the debt incurred?
          Griffith, IN 46319
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 329      Lisa Brown                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5446 S. Indiana Unit 1S                                    When was the debt incurred?
          Chicago, IL 60615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 777 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page819 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 330      Lisa Foster                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4880 White Rock Dr                                         When was the debt incurred?
          Broomfield, CO 80023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 331      Lisa Handy                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3826 Glover Meadows Lane                                   When was the debt incurred?
          Houston, TX 77047
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 332      Lisa Leyva                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2645 Via Sonoma                                            When was the debt incurred?
          Carrollton, TX 75006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 778 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page820 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 333      Lisa Lovett-Thompson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11 Christy Lane                                            When was the debt incurred?
          Randolph, MA 02368
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 334      Lisa Riley-Dyrssen                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          78840 350th St                                             When was the debt incurred?
          Olivia, MN 56277
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 335      Lisa Savoy                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6850 Arbor Lane                                            When was the debt incurred?
          Bryans Road, MD 20616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 779 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page821 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 336      Lisa Simmons                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8501 Bantry Court                                          When was the debt incurred?
          Plano, TX 75025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 337      Littler Mendelson, PC                                      Last 4 digits of account number       5360                                                   $0.00
          Nonpriority Creditor's Name
          1900 Sixteenth Street, Suite 800                           When was the debt incurred?
          Denver, CO 80202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,016.50


 4.2
 338      Lizbeth and Elvis Padilla-Mendez                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5275 Deephaven Ct                                          When was the debt incurred?
          Denver, CO 80239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 780 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page822 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 339      Lois and James Whelan                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2337 S Kenton Way                                          When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 340      Lois Fitzgerald                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          180 Main St, Apt 115B                                      When was the debt incurred?
          Walpole, MA 02081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 341      Lois Jobe                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          604 College                                                When was the debt incurred?
          Apt 25
          Pilot Grove, MO 65276
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 781 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page823 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 342      Lois Ventura                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          54 Willow Bay Drive                                        When was the debt incurred?
          Missouri City, TX 77459
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 343      Lolete & Marvin Nunn Jr                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7707 Sisterdale Drive                                      When was the debt incurred?
          Cypress, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 344      London Bridge Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1477 Queens Bay.                                           When was the debt incurred?
          Lake Havasu City, AZ 86403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 782 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page824 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 345      Loralie Deautremont                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7667 S Locust St                                           When was the debt incurred?
          Centennial, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Lorenza (Joseph) Collins and
 346      Collins Fam                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          801 S. Financial Pl                                        When was the debt incurred?
          Apt 1106
          Chicago, IL 60605
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 347      Loretta and Brandon Day                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6800 Falcon Bridge Rd                                      When was the debt incurred?
          Chapel Hill, NC 27517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 783 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page825 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 348      Loretta and Mark White                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1223 Huntington Greens Dr                                  When was the debt incurred?
          Sun City Center, FL 33573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 349      Loretta and Michelle Roach                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          168 W 4th St Apt 14                                        When was the debt incurred?
          New York, NY 10014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 350      Lori Lee                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3363 W Laurel Lane                                         When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 784 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page826 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 351      Lori Spilhaus                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1027                                                When was the debt incurred?
          Santa Fe, NM 87504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 352      Lorietta Nelson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7055 E. 5th Ave                                            When was the debt incurred?
          Denver, CO 80220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 353      Lorne and Rita Stills                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1910 SE Sagebrush Dr                                       When was the debt incurred?
          Madra, OR 97741
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 785 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page827 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 354      Lorraine & Kenneth Ostrowski                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24645 S. Volbrecht Rd                                      When was the debt incurred?
          Crete, IL 60417
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 355      Lorraine Gosnell and Elzina Gwinn                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27602 Bent Oak Lane                                        When was the debt incurred?
          Magnolia, TX 77354
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 356      Lorraine Kaplan                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2550 North Lakeview Ave                                    When was the debt incurred?
          Unit S3102
          Chicago, FL 60614
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 786 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page828 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 357      Lorraine Parker                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          401 N Brownleaf Rd                                         When was the debt incurred?
          Newark, DE 19713
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 358      Los Abrigabos                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          160 Portal Lane                                            When was the debt incurred?
          Sedona, AZ 86339
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 359      Los Almo                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 Central Ave.                                          When was the debt incurred?
          Los Alamos, NM 87544
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 787 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page829 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 360      Los Cabos Golf Resort                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Via de Carlos Lote #601 KM 3.7                             When was the debt incurred?
          Carret. T
          Cabo San Lucas, BCS 23410 Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 361      Loss Valley Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          49337 Lost Valley Road                                     When was the debt incurred?
          Vergas, MN 56587
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 362      Lost Valley Lake                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2334 Hwy ZZ                                                When was the debt incurred?
          Owensville, MO 65066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 788 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page830 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 363      Lottie & Ronnie Thomas                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5314 persimmon pass                                        When was the debt incurred?
          Richmond, TX 77407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 364      Lou And Sharon Ehmke                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          832 Pinehurst Lane                                         When was the debt incurred?
          Schaumberg, IL 60193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 365      Louanna and Thomas Burnett                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17588 Retrac Way                                           When was the debt incurred?
          Grass Valley, CA 95949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 789 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page831 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 366      Louis & Jodie Prange/Hanzlik                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5852 Watson Drive                                          When was the debt incurred?
          Fort Collins, CO 80528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 367      Louis and Marilyn Conde                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          611 Jackson Street                                         When was the debt incurred?
          Phildelphia, PA 19148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 368      Louise Brown                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10671 Pointe Mountain Top Circle                           When was the debt incurred?
          #87
          Spring Valley, CA 91978
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 790 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page832 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 369      Louisiana Attorney General                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1885 N 3rd St                                              When was the debt incurred?
          Baton Rouge, LA 70802
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 370      Lucayan Resort                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2941 Lucayan Harbour Cir                                   When was the debt incurred?
          Kissimmee, FL 34746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 371      Lucie Moore                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1100 Desiree Lane                                          When was the debt incurred?
          Highland Village, TX 75077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 791 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page833 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Lucille, King, Willie Kindred and
 372      Icyphi                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10234 S. Vernon                                            When was the debt incurred?
          Chicago, IL 60628
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 373      Lucinda Wake                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2818 Jasmine St                                            When was the debt incurred?
          Denver, CO 80207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 374      Lucy & Johnny & Andrea Gomez                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13011 Venice Lane                                          When was the debt incurred?
          Stafford, TX 77477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 792 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page834 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 375      Luellen and William Penton                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18 East Knightsbridge Drive                                When was the debt incurred?
          Conroe, TX 77385
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Luis & Karin Rodriguez/
 376      Ayala-Mendoza (S                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6262 Underhill Street                                      When was the debt incurred?
          Houston, TX 77092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 377      Luis & Maria Morales/Moreno                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4203 Scottsdale St                                         When was the debt incurred?
          Durham, NC 27712
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 793 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page835 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 378      Luis & Priscilla Soria/Diaz                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          37884 Amber Leaf Court                                     When was the debt incurred?
          Murrieta, CA 92562
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 379      Luis & Rosemarie Tormis                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2607 Golden Creek Lane                                     When was the debt incurred?
          Pearland, TX 77584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 380      Luis and Lucia Carrera                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3213 Risner St                                             When was the debt incurred?
          Las Cruces, NM 88011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 794 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page836 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 381      Luis And Walter Sanchez                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4528 W. 161st St                                           When was the debt incurred?
          Lawndale, CA 90260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 382      Lula & Gene Huskey                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18710 Aberdeen Hollow Lane                                 When was the debt incurred?
          Tomball, TX 77377
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 383      Lula Thomas                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4213 Diamond Square                                        When was the debt incurred?
          Vero Beach, FL 32967
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 795 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page837 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 384      Lumen & Ana Chan                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3426 mesquite drive                                        When was the debt incurred?
          Sugar land, TX 77479
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 385      Lupe and Richard Zaragoza                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1451 South Blueridge Drive                                 When was the debt incurred?
          Globe, AZ 85501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 386      Lurlene and Stanley Unruh                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6578 S Iris St                                             When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 796 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page838 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 387      LV Tower 52                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 CRESCENT COURT SUITE 1100                              When was the debt incurred?
          DALLAS, TX 75201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 388      Lydia and Richard Garner                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          46901 Seneca Ridge Dr.                                     When was the debt incurred?
          Sterling, VA 20164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 389      Lyle and Rebecca Fischer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          231 Little Blacktail Rd.                                   When was the debt incurred?
          Careywood, ID 83809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 797 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page839 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 390      Lyly & Travis Noble                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8279 S. Kellerman Cir                                      When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 391      Lynda and Christopher Granfield                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          556 16th Ave NE                                            When was the debt incurred?
          St. Petersburg, FL 33704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 392      Lynda and Doug Ricketts                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3840 Three Chimeys Lane                                    When was the debt incurred?
          Cumming, GA 30041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 798 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page840 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 393      Lynda and George Decker                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6943 Freeport Rd                                           When was the debt incurred?
          Riverview, FL 33578
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 394      Lyndon & Kristie Yates                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11211 Willow Field Dr                                      When was the debt incurred?
          Cypress, TX 77429
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 395      Lynn & Curt Wiedenroth                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          127 Lexington St                                           When was the debt incurred?
          Burlington, MA 01803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 799 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page841 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 396      Lynn & Marie Glass/Gill                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5160 Webster Rd                                            When was the debt incurred?
          Centerburg, OH 43011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 397      Lynn & Marilyn Reyelts                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6585 S. Sedalia Ct                                         When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 398      Lynn & Spices Gleason                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16107 Nassau Drive                                         When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 800 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page842 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 399      Lynnette Dingle                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          195 Jerome Ave                                             When was the debt incurred?
          Staten Island, NY 10305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Lynnette Smotherman and Denise
 400      Byrnes                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7585 Fenton St                                             When was the debt incurred?
          Westminister, CO 80003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 401      M.G. Dorothea and Percy Peaks                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          860 Junction Drive                                         When was the debt incurred?
          Apt 430
           TX 75013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 801 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page843 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 402      Mabel Joseph - Awuku                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3368 Seneca Farm Drive                                     When was the debt incurred?
          Buford, GA 30519
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 403      Macdonald Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17813 E. Hudson Bay Rd                                     When was the debt incurred?
          Bayview, ID 83803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 404      Macy's Holly                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 78008                                               When was the debt incurred?
          Phoenix, AZ 85062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 802 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page844 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 405      Madeline And Doel Burgos (SPO)                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3413 W 28th Street                                         When was the debt incurred?
          Lehigh Acres, FL 33971
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 406      Madeline McGhee                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          417 S 24th Avenue                                          When was the debt incurred?
          Bellwood, IL 60104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 407      Madhumita Das                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2760 Pemberly Ave                                          When was the debt incurred?
          Highlands Ranch, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 803 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page845 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 408      Magdalena & Jovan Perez                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          126 East Vantura St. Apt B                                 When was the debt incurred?
          Santa Paula, CA 93060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 409      Magdalena Bernhardt                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3345 Zephyer Court                                         When was the debt incurred?
          Wheatridge, CO 80033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 410      magreasa                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5858 La 44                                                 When was the debt incurred?
          Convent, LA 70723
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 804 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page846 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 411      Magtibay Zosimo                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1713 Jarboe St                                             When was the debt incurred?
          Kansas City, MO 64108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Maira & Javier Paez/Ruiz-Arredondo
 412      (SPO)                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1104 Helton Street                                         When was the debt incurred?
          Dalton, GA 30720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 413      Maire & Jason Alexander                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          308 Maddington Place                                       When was the debt incurred?
          Hillsborough, NC 27278
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 805 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page847 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Makai Club and Sedona/Villas of
 414      Sedona                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 2252                                                When was the debt incurred?
          Sedona, AZ 86339
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 415      Mandy & James Damico                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Po Box 3599                                                When was the debt incurred?
          Battle Creek, MI 49017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 416      Manhattan Club                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 W 56th St.                                             When was the debt incurred?
          New York, NY 10019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 806 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page848 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 417      Manny & Zoie Samson                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          103 Downing Place                                          When was the debt incurred?
          Sothern Pines, NC 28387
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 418      Manuel & Doris Dukes                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10701 N 99th Ave                                           When was the debt incurred?
          Peoria, AZ 85345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 419      Marc & Leslie Gaines                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6691 S Marion St                                           When was the debt incurred?
          Centennial, CO 80121
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 807 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page849 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 420      Marc and Jessica Collins                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6580 D Picatinny Lane                                      When was the debt incurred?
          Fort Carson, CO 80902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 421      March McGovern Edward Jones                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9360 Station Street Ste 475                                When was the debt incurred?
          Lone Tree, CO 80124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 422      Marcia & David Terry/Teal                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1573 Gentry Street                                         When was the debt incurred?
          Clear Water, FL 33755
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 808 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page850 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 423      Marcia and Charles Alexander                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2252 Newbury Drive                                         When was the debt incurred?
          East Cleveland, OH 44112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 424      Marcia Cunningham                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17701 S Avalon Blvd #219                                   When was the debt incurred?
          Carson, CA 90746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 425      Marco And Monica Duran                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22811 Red Leo Lane                                         When was the debt incurred?
          Springs, TX 77389
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 809 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page851 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 426      Marcus & Nizinga Troutman                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9807 S Charles St                                          When was the debt incurred?
          Chicago, IL 60643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 427      Marcus And Robbin Lyle                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          170 Isenhour Road                                          When was the debt incurred?
          Rockmart, GA 30153
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 428      Margaret & Scott Wittmer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18607 Burnt Candle                                         When was the debt incurred?
          Spring, TX 77388
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 810 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page852 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 429      Margaret Collignon                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7497 S Cherry Ct.                                          When was the debt incurred?
          Centennial, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 430      Margaret Ellis                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1479 Byberry Road                                          When was the debt incurred?
          Bensalem, PA 19020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 431      Margaret Johnston                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2002 Beazley                                               When was the debt incurred?
          Brenham, TX 77833
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 811 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page853 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 432      Maria (Sonia) & Ramiro Zavala                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          922 W 9th St.                                              When was the debt incurred?
          Freeport, TX 77541
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Maria and Francisco Ascencio/
 433      Duran                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Forestdale Park                                          When was the debt incurred?
          Calumet City, IL 60409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 434      Maria and Jorje Garza                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 512                                                 When was the debt incurred?
          Bayard, Nebraska 69334-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 812 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page854 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 435      Maria and Luis Moreno                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4203 Scottsdale St.                                        When was the debt incurred?
          Durham, NC 27712
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 436      Maria Colunga and Luis Lopez                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          280 N 4th Ave                                              When was the debt incurred?
          Brighton, CO 80601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 437      Maria Estrella                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          511 Neptune Bay Cir Unit 2                                 When was the debt incurred?
          St. Cloud, FL 34769
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 813 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page855 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 438      Maria Ferrer/Amado Chavez                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5545 Kittredge St.                                         When was the debt incurred?
          Denver, CO 80239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 439      Maria Geschwill                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4344 Reservoir Blvd.                                       When was the debt incurred?
          Columbia Heights, MN 55421
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 440      Maria Julia Zanella Munoz                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5731 North Christian Ave                                   When was the debt incurred?
          Chicago, IL 60659
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 814 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page856 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 441      Maria Martinez                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          28 W 5th St                                                When was the debt incurred?
          Watsonville, CA 95076
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Maria, Jairo, Diana, Janet
 442      Banuelos/Garc                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4703 East County Road 150 North                            When was the debt incurred?
          Logansfort, IN 46947
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 443      Mariah and Dwayne Comlan                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3931 Alcazar Drive                                         When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 815 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page857 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 444      Marianne & Frank Baker                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          422 Leppo                                                  When was the debt incurred?
          Westminister, MD 21158
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 445      Marianne and Ralph Markus                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29 chevy chase dr                                          When was the debt incurred?
          Buffalo grove, IL 60089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 446      Maribal Armony                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          CARRETERA A PUNTA DE MITA                                  When was the debt incurred?
          KM 8.3
          PLAYA DESTILADERAS, BAH A DE
          BANDERAS NA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 816 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page858 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 447      Marie & Gary Barraclough                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 8688 (all mail goes here)                           When was the debt incurred?
          Topeka, KS 66608
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Marie & Mitchel
 448      Garza-Powell/Gonzales                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30 Palm Desert Drive                                       When was the debt incurred?
          Manvel, TX 77578
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 449      Marie Baker                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27915 13th Ave South                                       When was the debt incurred?
          Des Moines, WA 98198
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 817 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page859 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 450      Marie Rustemeyer and Eric Wyatt                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4224 S. Altamont St.                                       When was the debt incurred?
          Spokane, WA 99223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 451      Marie Williams                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          905 N Indiana Ave                                          When was the debt incurred?
          Atlantic City, NJ 08401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 452      Mariela & Roger Richardson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1477 Bergen Rock St                                        When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 818 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page860 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 453      Marieli Bonilla                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1408 21st St SE                                            When was the debt incurred?
          Ruskin, FL 33570
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 454      Marilyn & Gregory Davis                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5275 Wilhelm Drive                                         When was the debt incurred?
          Colorado Springs, CO 80911
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 455      Marilyn (Skip) Boehm                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2051 Glenhill Road                                         When was the debt incurred?
          Colorado Springs, CO 80906
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 819 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page861 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 456      Marilyn and Armando Pompa                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1124 Carmelita Circle                                      When was the debt incurred?
          Monrovia, CA 91016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 457      Marilyn And David Faust                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          528 Prospect Ave                                           When was the debt incurred?
          Bethlehem, PA 18018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 458      Marilyn and Paul Brown                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          170 Glenview Drive                                         When was the debt incurred?
          Lake Quivira, KS 66217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 820 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page862 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 459      Marilyn Bradford                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2490 Manzana                                               When was the debt incurred?
          San Diago, CA 92139
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 460      Marilyn Carvalho                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          235 N Hedrick Ave                                          When was the debt incurred?
          Lecanto, FL 34461
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 461      Marilyn Jensen                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          36101 Delaire Landing RD                                   When was the debt incurred?
          Philadelphia, PA 19114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 821 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page863 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Marilyn Thomas and Joseph
 462      Meurkson                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4527 S King Dr. Unit 2                                     When was the debt incurred?
          Chicago, IL 60653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 463      Marina & Michael Yap                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24180 Calle Artino                                         When was the debt incurred?
          Murrieta, CA 92562
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 464      Marina El Cid - Mazitian                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1705 Avenida Camar n S balo                                When was the debt incurred?
          Mazatl n
          Sinaloa, Mazatl n Sinaloa
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 822 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page864 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 465      Mario And Aretha Velasco                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3503 Fallen Oak Drive                                      When was the debt incurred?
          Buford, GA 30519
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 466      Mario Valdez                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4500 Cook Street                                           When was the debt incurred?
          Apt B
          Denver, CO 80216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 467      Marion Calvino                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5241 North Laramie Avenue                                  When was the debt incurred?
          Chicago, IL 60630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 823 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page865 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 468      Marisa Resort                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          304 Moo 4                                                  When was the debt incurred?
          Chiang Dao, 50170 Ban Muang Ngai
          Thailan
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 469      Marival Vacation Club                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          53 Villa 8 11 Nuevo Vallarta                               When was the debt incurred?
          Nayarit, 63732 M xico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 470      Marjorie Bernard                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13474 W Utah Circle                                        When was the debt incurred?
          Lakewood, CO 80228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 824 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page866 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 471      Marjorie Green                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          610 Shady Dale Drive                                       When was the debt incurred?
          Stafford, TX 77477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 472      Mark & Alisa Osborne                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          706 Barossa Valley Dr                                      When was the debt incurred?
          Concord, NC 28027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 473      Mark & Candice Perez                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7787 West Camino De Oro                                    When was the debt incurred?
          Peoria, AZ 85383
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 825 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page867 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 474      Mark & Caren Stephenson/Circo                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7602 S. Emerson St.                                        When was the debt incurred?
          Centennial, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 475      Mark & Cheryl Chapman                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2908 La Estrella Circle                                    When was the debt incurred?
          Colorado Springs, CO 80917
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 476      Mark & Dawn Bozzo                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          607 McCabe Ave                                             When was the debt incurred?
          Bradley Beach, NJ 07720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 826 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page868 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 477      Mark & Donna Gallup                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5221 Ampthill Drive                                        When was the debt incurred?
          Alexandria, VA 22312
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 478      Mark & Jason Fox/Pierce                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          175 Rampart Way                                            When was the debt incurred?
          Suite 909
          Denver, CO 80230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 479      Mark & Julia Maliszewski                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1104 Division St                                           When was the debt incurred?
          Osage, IA 50461
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 827 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page869 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 480      Mark & Kathleen Wilden                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          313 Durango Dr                                             When was the debt incurred?
          Marion, IA 52302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 481      Mark & Lindzee Winterton                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2,711 S 10,000 W                                           When was the debt incurred?
          Roosevelt, UT 84066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 482      Mark & Suany Alvarez                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          183 Cannon Avenue                                          When was the debt incurred?
          Staten Island, NY 10314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 828 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page870 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 483      Mark & Tanya Hughes                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3871 Lunn DR                                               When was the debt incurred?
          Nashville, TN 37218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 484      Mark & Tracy Mosier                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          114 Peninsula Drive                                        When was the debt incurred?
          Kelso, WA 98626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 485      Mark & Valerie De Leon                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          763 County Road 18                                         When was the debt incurred?
          Ceresco, NE 68017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 829 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page871 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 486      Mark and Beth Stettler                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          75 Ronald Ave.                                             When was the debt incurred?
          Layton, UT 84041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 487      Mark and Grechen Mcgoffin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6297 S Killarney Court                                     When was the debt incurred?
          Centennial, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,495.00


 4.2
 488      Mark and Stephanie Simmons                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          841 E 200 N                                                When was the debt incurred?
          Spanish Fork, UT 84660
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 830 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page872 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 489      Mark Chisum                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          237 Genoa Ave                                              When was the debt incurred?
          Lubbock, TX
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 490      Mark Morawiec                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          674 Sundance Circle                                        When was the debt incurred?
          Erie, CO 80516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 491      Mark Pickering                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          32 Meadowbrook Ln                                          When was the debt incurred?
          Gardner, MA 01440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 831 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page873 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 492      Mark Richardson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6533 S Ouray st                                            When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 493      Mark Valerio                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7874 Armadillo Trail                                       When was the debt incurred?
          Evergreen, CO 80439
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 494      Mark White                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6818 Dusty Miller Way                                      When was the debt incurred?
          Colorado Springs, Colorado
          80908-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 832 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page874 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 495      Marla Wickens/Margie Welch                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8393 Eagle Nest Dr.                                        When was the debt incurred?
          Avon, IN 46123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 496      Marlena&John Roland                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8190 NW 12 Court                                           When was the debt incurred?
          Coral Springs, FL 83071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 497      Marq and Tamara Del Monte                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8155 E Fairmount Drive                                     When was the debt incurred?
          #1427
          Denver, CO 80230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 833 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page875 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 498      Marq Del Monte                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8155 E Fairmount Dr, Apt.1427                              When was the debt incurred?
          Denver, CO 80230
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 499      Marriott International                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10400 Fernwood Road                                        When was the debt incurred?
          Bethesda, MD 20817
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 500      Marriott International, Inc.                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10400 Fernwood Road                                        When was the debt incurred?
          Bethesda, MD 20817
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 834 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page876 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 501      Marriott Vacation Club                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9002 San Marco Court.                                      When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 502      Marriott Vacation Club                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6649 Westwood Blvd., Suite 300                             When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Marriott Vacation Club/ Grand Vista
 503      Cond                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P. O. Box 8038                                             When was the debt incurred?
          Lakeland, FL 33802
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 835 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page877 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Marsha Atencio and Arturo De La
 504      Rosa                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14242 East Hawaii Circle                                   When was the debt incurred?
          Unit D
          Aurora, CO 80012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 505      Marsha Kaufman                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8618 North Chatham Circle                                  When was the debt incurred?
          Kansas City, MO 64154
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 506      Marsha McGee                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          519 York Ave                                               When was the debt incurred?
          Ellwood City, PA 16117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 836 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page878 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 507      Marsha Stamps-White                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8915 South Dante Avenue                                    When was the debt incurred?
          Chicago, IL 60619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 508      Marshall Davis                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8525 South Green Street Apt. 1A                            When was the debt incurred?
          Chicago, IL 60620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 509      Marshan E. Hicks                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8447 Laurelon Place                                        When was the debt incurred?
          Temple Terrace, FL 33637
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 837 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page879 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 510      Martha & Justin Muniz                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          569 Topanga Ct                                             When was the debt incurred?
          Colton, CA 92324
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 511      Martha and Ronald Tucker                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8653 E Doane Pl                                            When was the debt incurred?
          Denver, Co 80231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 512      Martha Lovingood (Hollowell)                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          725 West Bear Swamp Rd.                                    When was the debt incurred?
          Hertford, NC 27944
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 838 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page880 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 513      Martha Novikoff                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6203 Alden Bridge Drive                                    When was the debt incurred?
          Apt 5205
          The Woodlands, TX 77382
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 514      Martha Ward                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 760                                                 When was the debt incurred?
          Mars, PA 16046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Martin (Marty) Kretz And Niara
 515      Valentine                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10701 N Pecos St                                           When was the debt incurred?
          Apt 1902
          North Glenn, CO 80234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 839 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page881 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 516      Martin and Edna Sloan                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9010 Greenpoint Ln                                         When was the debt incurred?
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 517      Martin Bertocchi/Judith Curtis                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1860 Great Lakes Drive                                     When was the debt incurred?
          Dyer, IN 46311
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 518      MARTIN MILES WERNER                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1739 Lake Marion Dr.                                       When was the debt incurred?
          Apopka, FL 32712
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 840 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page882 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Marvin Achterberg & Patricia
 519      Simone                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4540 Balsam St                                             When was the debt incurred?
          Wheat Ridge, CO 80033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 520      Marvin And Monica Davis                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2545 29th Ave                                              When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Marvin and Monique
 521      Gordon/Duguay                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2663 Crystal Circle                                        When was the debt incurred?
          Dunedin, FL 34698
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 841 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page883 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 522      Marvy Rico/Jorge Aguirre                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4825 E Violet St                                           When was the debt incurred?
          Gardendale, TX 79758
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 523      Mary & Dennis Jarnot                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 Oakridge Ave                                          When was the debt incurred?
          Shoreview, MN 55126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 524      Mary & Leo Samuelson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1625 Cedar Street                                          When was the debt incurred?
          Moscow, IA 52760
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 842 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page884 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 525      Mary & Robert Castagnera                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          600 Portsmouth Port                                        When was the debt incurred?
          Bel Air, MD 21014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 526      Mary & Robert Lively                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          46688 Glen Pointe Drive                                    When was the debt incurred?
          Shelby Township, MI 48315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Mary & Yoseph Mohd
 527      Abukhdeir/Kader                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9806 Palazzo Streets                                       When was the debt incurred?
          Sessner, FL 33584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 843 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page885 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 528      Mary and Carl Sward                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 731                                                 When was the debt incurred?
          Blanco, TX 78606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 529      Mary and Douglas Freeman                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6995 Hill Court                                            When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 530      Mary And Eugene Wilkins                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          509 Little John Lane                                       When was the debt incurred?
          Modesto, CA 95350-1507
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 844 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page886 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 531      Mary and Gary Norton                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13511 Wells River Drive                                    When was the debt incurred?
          Houston, TX 77041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 532      Mary And George Ridgnal                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8238 S Honore                                              When was the debt incurred?
          Chicago, IL 60620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 533      Mary and James Hartmann                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1212 South Eaton Street                                    When was the debt incurred?
          Lakewood, CO 80232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 845 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page887 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 534      Mary and Lorenzo Nieto                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5065 Bella Collina St                                      When was the debt incurred?
          Oceanside, CA 92056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 535      Mary and Nelson Miller                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2509 560th Street                                          When was the debt incurred?
          Klona, IA 52247
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 536      Mary and Paul Grant                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2440 Kensington Greens Dr                                  When was the debt incurred?
          Sun City, FL 33573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 846 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page888 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 537      Mary and Raymond Slimak                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9319 Torrance Ave                                          When was the debt incurred?
          Brooklyn, OH 44144
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 538      Mary And Robert Rainer                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          145 College Street                                         When was the debt incurred?
          Jonesboro, GA 30236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 539      Mary and Scott Jessen                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3305 Canyon Creek Dr                                       When was the debt incurred?
          Richardson, TX 75080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 847 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page889 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 540      Mary and Stephen Bowens                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25311 E Glasgow PL                                         When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 541      Mary Ann & Dan Elston                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          149 S. 225th Lane                                          When was the debt incurred?
          Buckeye, AZ 85326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 542      Mary Avent                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15101 Black Stone Ave                                      When was the debt incurred?
          Dolton, IL 60419
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 848 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page890 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 543      Mary Barnhart                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5166 39th St South                                         When was the debt incurred?
          St. Petersburg, FL 33711
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 544      Mary Beth & Morgan Allen                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2213 SW Walden Place                                       When was the debt incurred?
          Lee Summit, MO 64081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 545      Mary Beth and Jason Ballard                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          311 Westridge Drive                                        When was the debt incurred?
          Ofallon, MO 63366
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 849 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page891 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 546      Mary Beth and Timothy Bauer                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          405 Oxford St                                              When was the debt incurred?
          Northfield, MN 55057
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 547      Mary Coen                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          348 Cecil Henderson Rd                                     When was the debt incurred?
          Canonsburg, PA 15317
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 548      Mary Dennis                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1247 Citruswood Trail Lane                                 When was the debt incurred?
          Rosenberg, TX 77471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 850 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page892 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 549      Mary Fran Whitney                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6848 W Chatfield Pl                                        When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Mary Jane Herrmann and Karin
 550      Fertsch                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          84 Derstine Road                                           When was the debt incurred?
          Apt 2301
          Hatfield, PA 19440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 551      Mary Jane Rose                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Waltham Ct                                               When was the debt incurred?
          Trenton, NJ 08690
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 851 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page893 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 552      Mary Jo & Gene Leahy/Johnson                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4033 S. Carson St., Unit D                                 When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 553      Mary Kay & Darin Langolf                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4518 Coues Deer Lane                                       When was the debt incurred?
          Conroe, TX 77303
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 554      Mary Sue Epley                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1913 Big Cypress Drive                                     When was the debt incurred?
          St Cloud, FL 34771
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 852 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page894 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 555      Mary Tzintzun                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2015 W. Benjamin Holt Dr                                   When was the debt incurred?
          Stockton, CA 95207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 556      Maryann Greene                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12932 W. Figueroa Dr.                                      When was the debt incurred?
          Sun City West, AZ 85375
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 557      Maryanne Shea                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11307 Copley Ct                                            When was the debt incurred?
          Spring Hill, FL 34609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 853 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page895 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 558      MaryBeth and Charles DiPaolo                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          168 Dunnemann Ave                                          When was the debt incurred?
          Charleston, SC 29403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 559      Maryland Attorney General                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 St. Paul Place                                         When was the debt incurred?
          Baltimore, MD 21202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Massachusetts Attorney General s
 560      Office                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Ashburton Pl                                             When was the debt incurred?
          Boston, MA 02108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 854 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page896 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 561      Massanutten Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1822 Resort Drive Massanutten                              When was the debt incurred?
          , Virginia 22840-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 562      Massanutten Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 1227                                              When was the debt incurred?
          Harrisonburg, VA 22803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 563      Matt & Janae Reinhard                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6455 West 100th South                                      When was the debt incurred?
          Decatur, IN 46733
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 855 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page897 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 564      Matthew & Bonnie Richard                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          471 Main Stre                                              When was the debt incurred?
          Ringe, NH 03461
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 565      Matthew & Edwina Walters                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11610 Marathon Cir                                         When was the debt incurred?
          Venice, FL 34293
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 566      Matthew & Marie Payne                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11643 Newton Place                                         When was the debt incurred?
          Westminster, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 856 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page898 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 567      Matthew And Antonia Hayes                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          751 S Spruce St                                            When was the debt incurred?
          Escondido, CA 92025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 568      Matthew and Manuela Mulligan                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          353 Seahorse DR                                            When was the debt incurred?
          Windsor, CO 80550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 569      Matthew MacQueen                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2321 Bennett Ave, Unit B                                   When was the debt incurred?
          Glenwood Springs, CO 81601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 857 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page899 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 570      Matthew&Saundra Valek                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          218 May Loop                                               When was the debt incurred?
          Fort Huachuca, AZ 85613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 571      Maui Beach vacation Club                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          515 South Kihei Road Kihei                                 When was the debt incurred?
          Maui, HI 96753
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 572      Maureen & Fawzi Soliman                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7533 Jomel Dr                                              When was the debt incurred?
           FL 34607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 858 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page900 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 573      Maureen And Harvey Urbanski                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          780 Cedar Gate Lane                                        When was the debt incurred?
          Leechburg, PA 15656
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 574      Maurice & Dorothy Sullivan                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          495 Senon Dr.                                              When was the debt incurred?
          Lemont, IL 60439
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 575      Maurice & Rozanne DeShazer                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9239 Bighorn Dr                                            When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 859 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page901 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 576      Maurice Harvey                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1709 Boston Road                                           When was the debt incurred?
          Apt 1K
          Bronx, NY 10460
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 577      Maverick                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          485 S. Atlantic Ave.                                       When was the debt incurred?
          Ormond Beach, FL 32176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 578      Max & janet Grunzburger/Peterson                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4500 Montview Blvd                                         When was the debt incurred?
          Denver, CO 80207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 860 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page902 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 579      Max&Deloris Herron                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1822 College Street                                        When was the debt incurred?
          Sulphur Springs, TX 75482
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 580      Maxine Johnson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1717 NE 108 Ave                                            When was the debt incurred?
          Portland, OR 97220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 581      Mayan Palace Regency                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av. S balo Cerritos S/N Zona                               When was the debt incurred?
          Hotelera No
          Mazatl n, Mexico 81110-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 861 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page903 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 582      Mayan Palace Regency                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av. S balo Cerritos S/N Zona                               When was the debt incurred?
          Hotelera No
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 583      Mayan Resorts                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av Costera de las Palmas No. 1121                          When was the debt incurred?
          Fracc.
          Guerrero, 39900 Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 584      Maybelline & Jordan Carpenter                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17706 December Pine Lane                                   When was the debt incurred?
          Spring, TX 77379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 862 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page904 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 585      Mayfield And John Lake                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1555 Golf Link Drive                                       When was the debt incurred?
          Stone Mountain, GA 30088
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 586      McGoffin Marketing                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6297 S Killarney Ct                                        When was the debt incurred?
          Centennial, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $18,207.00


 4.2      McKinnon Broadcasting - NACM
 587      COMMERCIAL                                                 Last 4 digits of account number       8195                                                   $0.00
          Nonpriority Creditor's Name
          606 N Pines Rd., Suite 102                                 When was the debt incurred?
          Spokane Valley, WA 99206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $3,814.11




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 863 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page905 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 588      Medford & Joan Campbell Jr                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4800 Coyle Road Unit 403                                   When was the debt incurred?
          Owings Mills, MA 21117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 589      Megan Seftas                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1672 Dover St, 114                                         When was the debt incurred?
          Lakewood, CO 80215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 590      Meghan & Leticia Birdseye/Guevara                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          831 Hearthstone Drive                                      When was the debt incurred?
          Stone Mountain, GA 30083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 864 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page906 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 591      Mei Kamenik                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5182 silverbirch dr                                        When was the debt incurred?
          Castro valley, CA 94552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 592      Meilo & Kimberly Del Toro                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          238 Zenobia Street                                         When was the debt incurred?
          Denver, Co 80219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 593      Mel and Rose Reyes                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2807 Mossy Log Court                                       When was the debt incurred?
          Houston, TX 77084
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 865 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page907 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 594      Melanie And Louis Perri                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1284 Mystic Court                                          When was the debt incurred?
          Spring Hill, FL 34609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 595      Melanie And Robert Matej                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 363                                                 When was the debt incurred?
          Orchard, TX 77464
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 596      Melanie Schaar                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          44250 W. Caven Drive                                       When was the debt incurred?
          Maricopa, AZ 85138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 866 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page908 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 597      Melia Hotels International                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Gremio Toneleros                                           When was the debt incurred?
          24. Pol gono Industrial Son Castell .
          07
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 598      Melissa and Howard Fear                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12238 W. 70th Ave                                          When was the debt incurred?
          Arvada, CO 80004-2332
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 599      Melissa Cintron (Camacho)                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4932 N. Nagle Ave                                          When was the debt incurred?
          Chicago, IL 60630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 867 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page909 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 600      Melissa Johnson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3630 Josephine St                                          When was the debt incurred?
          Denver, CO 80205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 601      Melissa/Sharita Perez/Jones                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          110 Clearview Avenue #102                                  When was the debt incurred?
          Friendswood, TX 77546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 602      Melito and Ivy Garcia                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6305 W 6th Ave D29                                         When was the debt incurred?
          Lakewoord, CO 80214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 868 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page910 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 603      Melody & Terry Mcdonald                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13015 Terminal Way                                         When was the debt incurred?
          Woodbridge, VA 22193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 604      Melody Vroman                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          122 Fessler Drive                                          When was the debt incurred?
          Bloomingdale, IL 60108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 605      Melvin & Emma Bates                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9399 W Burgandy Ave                                        When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 869 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page911 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 606      Melvin & Gloria Graves                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1404 Lakewood Drive                                        When was the debt incurred?
          Joliet, IL 60431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 607      Melvin & Linda Drukman/Miller                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5338 Brooke Ridge Dr.                                      When was the debt incurred?
          Dunwoody, GA 30338
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      MENU Silverleaf Resorts
 608      Headquarters &                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6321 Boulevard 26                                          When was the debt incurred?
          North Richland Hills, TX 76180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 870 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page912 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 609      Merchant Services                                          Last 4 digits of account number                                                        Unknown
          Nonpriority Creditor's Name
          PO BOX 6010                                                When was the debt incurred?
          Hagerstown, MD 21741
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - Personally guaranteed


 4.2
 610      Meredith Corporation                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5700 Knob Road                                             When was the debt incurred?
          Nashville, TN 37209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 611      Meredith Myers                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19342 E Purdue Cir                                         When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 871 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page913 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Meredith Myers Consultant -
 612      Lighthouse B                                               Last 4 digits of account number       3253                                                   $0.00
          Nonpriority Creditor's Name
          19342 E Purdue Cir                                         When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,850.00


 4.2
 613      Meridian Financial Services                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1410                                                When was the debt incurred?
          Ashville, NC 28802
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 614      Merle & Vickie Lowe/Clark                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1815 Downing Ave                                           When was the debt incurred?
          Westchester, IL 60154
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 872 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page914 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 615      Merlene Castro                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          586 Parkside Dr                                            When was the debt incurred?
          Chula Vista, CA 91910
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 616      Merrill and Maxine Cazier                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          514 Americas Way #10803 Box                                When was the debt incurred?
          Elder, SD 57719
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 617      Mexico Grand Hotels                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          AV. 16 DE SEPTIEMBRE #82, COL.                             When was the debt incurred?
          CENTRO
          MEXICO CITY, Mexico CDMX 6000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 873 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page915 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 618      Mia Reef Isla Mujeres                                      Last 4 digits of account number       Q.R.                                                   $0.00
          Nonpriority Creditor's Name
          Islote El Yunque                                           When was the debt incurred?
          Zazil-ha s/n, Centro - Supmza. 001
          77400
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 619      Michael & Alice Dore                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          407 Bronson Street                                         When was the debt incurred?
          Medina, OH 44256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 620      Michael & Alice Moore                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25 Wesley Dr. Apt E                                        When was the debt incurred?
          Asheville, NC 28803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 874 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page916 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 621      Michael & Anastasia Martinez                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          112 Standish Lane                                          When was the debt incurred?
          Schaumburg, IL 60193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 622      Michael & Cecilia Hyland                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29635 Cottonwood Cove Dr                                   When was the debt incurred?
          Menifee, CA 92584
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 623      Michael & Diana Stephens                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4938 Rabbit Mountain Ct                                    When was the debt incurred?
          Colorado Springs, CO 80924
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 875 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page917 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 624      Michael & Dianna Silberhorn                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9026 Stargaze Ave                                          When was the debt incurred?
          San Diago, CA 92129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Michael & Felicia & Jeremy
 625      Woodruff/Wall                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          620 Camden Ridge                                           When was the debt incurred?
          Birmingham, AL 35226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 626      Michael & Jamie Mattei                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7890 Laurel Drive                                          When was the debt incurred?
          Nineveh, IN 46164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 876 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page918 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 627      Michael & Kim Anderson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1790 White Oaks Rd                                         When was the debt incurred?
          Campbell, CA 95008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 628      Michael & Lisa Green                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10638 E 112th Way                                          When was the debt incurred?
          Henderson, CO 80640
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 629      Michael & Margarita McGuire                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7868 Drake Road                                            When was the debt incurred?
          Woodbury, MN 55125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 877 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page919 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Michael & Mildred (Millie)
 630      Gardner/Cox                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3385 Ravinia Circle                                        When was the debt incurred?
          Aurora, IL 60504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 631      Michael & Patty Jo Johnson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          61 Golf House Rd                                           When was the debt incurred?
          Laguna Vista, TX 78578
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 632      Michael & Roberta Marvels                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3 Pointview Court                                          When was the debt incurred?
          Arden, NC 28704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 878 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page920 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 633      Michael & Sheila Geoghan                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          57 Coral Dr                                                When was the debt incurred?
          Hazlet, NJ 07730
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 634      Michael & Sonia Escobedo                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2411 Quail Valley East Drive                               When was the debt incurred?
          Missouri City, TX 77459
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 635      Michael & Stephanie Guise                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7719 Hillgate Way                                          When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 879 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page921 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 636      Michael & Valinda Goodman                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6037 Zinnia Court                                          When was the debt incurred?
          Arvada, CO 80004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 637      Michael & Wanda Klindt                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          103 Bridlewood Lane                                        When was the debt incurred?
          Bluffton, SC 29910
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 638      Michael (Mike) Aldrich                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1180 Graves Ave B                                          When was the debt incurred?
          Estes Park, CO 80517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $8,980.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 880 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page922 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Michael (Mike) and Mary Beth
 639      Berent                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          414 Sagebrush Road                                         When was the debt incurred?
          Naperville, IL 60565
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      MICHAEL A.MOLFETTA and Flordia
 640      Legal Con                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9000 NW 44th St Suite 220                                  When was the debt incurred?
          Sunrise, FL 33351
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 641      Michael and Amiana Judd                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          39820 US HWY, 19 N Lot #108                                When was the debt incurred?
          Tarpon Springs, FL 34689
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 881 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page923 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 642      Michael and Christie Galbos                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5728 South Caper Street                                    When was the debt incurred?
          Boise, ID 83716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 643      Michael And Debra Sampiller                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          309 Yolane Drive                                           When was the debt incurred?
          Sugar Grove, IL 60554
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 644      Michael And Geraldine Horn                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Boxwood Drive                                           When was the debt incurred?
          Morristown, NJ 07960
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 882 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page924 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 645      Michael And Joan Finnerty                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 Phylmor Dr.                                              When was the debt incurred?
          Westboro, MA 01581
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 646      Michael and Karleen Leger                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3401 Lee Pkwy STE 2105                                     When was the debt incurred?
          Dallas, TX 76065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 647      Michael and Kimberly Dennis                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8646 E Nance St                                            When was the debt incurred?
          Mesa, AZ 85207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 883 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page925 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 648      Michael And Lynne Driscoll                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5612 E Dayshore Walk                                       When was the debt incurred?
          Long Beach, CA 90803
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 649      Michael and Marcena Reed                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3156 Secretariat Lane                                      When was the debt incurred?
          Montgomery, IL 60538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 650      Michael and Mary Vetere                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          112 Longwell Dr                                            When was the debt incurred?
          Grove City, PA 16127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 884 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page926 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Michael and Ruth Turczyn
 651      III/Turczyn                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2218 Redwood Dr                                            When was the debt incurred?
          Slatington, PA 18080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 652      Michael and Sandra Edwards                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          197 Range Street                                           When was the debt incurred?
          Hartline, WA 99135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 653      Michael and Shannon Kofta                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4220 Blair Ridge Rd                                        When was the debt incurred?
          Cedar Falls, IA 50613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 885 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page927 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 654      Michael And Sharron Pizzuto                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 44                                                  When was the debt incurred?
          Golden, CO 80402
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 655      Michael and Terri Balzano                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2016 Naamans Rd, Unit #B1                                  When was the debt incurred?
          Wilmington, DE 19810
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 656      Michael and Terrilyn Renella                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17056 W. 63rd Drive                                        When was the debt incurred?
          Arvada, CO 80403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 886 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page928 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 657      Michael And Yolanda Richards                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3129 West 100th Place                                      When was the debt incurred?
          Evergreen Park, IL 60805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 658      Michael Beaton                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6505 N Windmont Ave                                        When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 659      Michael Carpenter                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16754 E Ave X Space 28                                     When was the debt incurred?
          Llano, CA 93544
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 887 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page929 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 660      Michael Corrigan                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1257 Briarhollow Ln                                        When was the debt incurred?
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 661      Michael Curry and Nora Villasenor                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2874 Everett Dr                                            When was the debt incurred?
          Friendswood, TX 77546
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 662      Michael Ferguson and Sandy Ho                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3770 Hickory Hill Dr.                                      When was the debt incurred?
          Colorado Springs, CO 80906
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 888 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page930 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 663      Michael Friday                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2772 El Camino Real N                                      When was the debt incurred?
          Salines, CA 93907
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 664      Michael Haas                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6900 W Grant Ranch Blvd. #23                               When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 665      Michael Hailey/Kathy Reese                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          563 27th Trail                                             When was the debt incurred?
          Cotopaxi, CO 81223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 889 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page931 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 666      Michael Healey                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          58 Mill Street                                             When was the debt incurred?
          Weymouth, MA 02188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 667      Michael J Early                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3150 S Tamarac Dr, Apt E306                                When was the debt incurred?
          Denver, CO 80231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 668      Michael Karaman                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          439 westwood center #15                                    When was the debt incurred?
          Fayetteville, NC 28314
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 890 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page932 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 669      Michael Madison                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22737 Meadow View Road                                     When was the debt incurred?
          Morrison, CO 80465
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 670      Michael Matveenko                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          176 Stage Coach Rd                                         When was the debt incurred?
          Sicklerville, NJ 08081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 671      Michael Mihane                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3892 South Mission Parkway                                 When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $2,900.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 891 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page933 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 672      Michael Psaras                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          90 Hickory Lane                                            When was the debt incurred?
          Bayville, NJ 08721
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 673      Michael Troedel                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1709 Mulberry Dr                                           When was the debt incurred?
          Lake Villa, IL 60046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 674      Michele & Percy Forward Jr                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4831 Sunset Park Lane                                      When was the debt incurred?
          Rosharon, TX 77583
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 892 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page934 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 675      Michele And Andre Powell                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8639 S Rockwell St                                         When was the debt incurred?
          Chicago, IL 60652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 676      Michell Martinez                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1648 N Magnolia Ave #106                                   When was the debt incurred?
          El Cajon, CA 92020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 677      Michelle & James Lansford                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2778 Vista View Drive                                      When was the debt incurred?
          Lewisville, TX 75067
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 893 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page935 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 678      Michelle & Robert Kerro                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          116 North Port Lane                                        When was the debt incurred?
          Huron, OH 44839
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 679      Michelle (Murphy) Dorcas                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          389 SW Upstage Glen                                        When was the debt incurred?
          Lake City, FL 32024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 680      Michelle and Donald Adams                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4810 Mimosa St                                             When was the debt incurred?
          Loveland, CO 80535
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 894 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page936 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 681      Michelle and Mark Macgregor                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1217 Raindrop Way                                          When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $5,700.00


 4.2
 682      Michelle and Robert Moyler                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8022 Parnell St                                            When was the debt incurred?
          Houston, TX 77051
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 683      Michelle Cole                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11560 Summer Trace                                         When was the debt incurred?
          Hampton, GA 30228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 895 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page937 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 684      Michelle Elko and Cliff Jodzuweit                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2324 S Elm Drive                                           When was the debt incurred?
          Denver, CO 80222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 685      Michelle Grinnage                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4996 Notting Glen Lane                                     When was the debt incurred?
          Snellville, GA 30039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 686      Michelle Jordan                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2811 Shadow Woods Court                                    When was the debt incurred?
          Houston, TX 77043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 896 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page938 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 687      Michelle Mathewson                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1635 E 7th Ave                                             When was the debt incurred?
          Denver, CO 80218
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Michelle Smith-Ausman and Robert
 688      Ausman                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          307 Birch Avenue                                           When was the debt incurred?
          Pittsburgh, PA 15228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 689      Michelle Stevenson                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40 Vendor Lane                                             When was the debt incurred?
          Mays Landing, NJ 08330
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 897 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page939 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 690      Michelle Valencia                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          483 Greenhorn Dr                                           When was the debt incurred?
          Canon City, CO 81212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 691      Michelle Valencia                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          483 Greenhorn Drive                                        When was the debt incurred?
          Canon City, CO 81212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Former Employee - Notice purposes only


 4.2      Michigan Department of Attorney
 692      General                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          525 W. Ottawa St.                                          When was the debt incurred?
          Lansing, MI 48906
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 898 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page940 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 693      Middle Earth                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          43980 Mahlon Vail Road, #806                               When was the debt incurred?
          Temecula, CA 92592
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 694      Midge Forson                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          209 Long Ridge Dr.                                         When was the debt incurred?
          Murrells Inlet, SC 29576
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 695      Miguel And Jessica Chaparro                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          108 Crest Drive                                            When was the debt incurred?
          Log Lane Village, CO 80705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 899 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page941 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 696      Miguel Lujan                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5820 S Windermere Street                                   When was the debt incurred?
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 697      Miguel Williams                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5806 Perrie Ln                                             When was the debt incurred?
          Camp Springs, MD 20746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 698      Mike & Laurine Tilley                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11009 Valley Lights Dr                                     When was the debt incurred?
          El Chion, CA 92020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 900 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page942 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 699      Mike And Bonnie O'Grady                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5799 W. Conservation Dr                                    When was the debt incurred?
          Frederick, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 700      Mike And Carol Waters                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          296 Anchors Way                                            When was the debt incurred?
          North Court, FL 34287
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 701      Mike and Erika Humbert                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          894 E County Down Dr                                       When was the debt incurred?
          Chandler, AZ 85249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 901 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page943 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 702      Mike Whittenburg                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          152 A. Ayer Rd                                             When was the debt incurred?
          Shirley, MA 01464
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Mildred Burnside, W. Fredrick
 703      Burnside a                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          520 North Halsted Street                                   When was the debt incurred?
          Apartment 412
          Chicago, IL 60642
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 704      MIle High Productions                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4215 Independence Dr                                       When was the debt incurred?
          Loveland, CO 80538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 902 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page944 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 705      Milinda (Mindy) Mcginnis (Holston)                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          36182 W. 287th St.                                         When was the debt incurred?
          Paola, KS 66071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 706      Milton & Debra Martin                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          522 Majestic Ridge Dr                                      When was the debt incurred?
          Houston, TX 77049
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 707      Milton & Yaritza Gonzalez                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20700 Leeward Ln.                                          When was the debt incurred?
          Cutler Bay, FL 33189
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 903 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page945 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 708      Mindy Kobusch                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2220 Applecross Road                                       When was the debt incurred?
          Inverness, IL 60010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 709      MINNESOTA ATTORNEY GENERAL                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          445 Minnesota Street , Suite 1400                          When was the debt incurred?
          St. Paul, MN 55101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Minnie and Jowana Williams and
 710      Dona Halt                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7705 Fanwood Court                                         When was the debt incurred?
          District Heights, MD 20747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 904 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page946 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 711      MIQ (National Display Online)                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1001 Bannock St.                                           When was the debt incurred?
          Denver, CO 80204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 712      MIQ (National Display Online)                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          261 5th Ave 26th floor                                     When was the debt incurred?
          New York, NY 10016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 713      Miramar Residents Club-Costa Rica                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          61101 Playa Herradura                                      When was the debt incurred?
          Garabito, Puntarenas Costa Rica
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 905 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page947 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 714      Miriam Broderick                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          840 Grove Street                                           When was the debt incurred?
          Haddonfield, NJ 08033-1030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Misleidys Lemus and Yerandys
 715      Avila                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8201 NW 68th Ave                                           When was the debt incurred?
          Tamarac, FL 33321
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 716      Mississippi Attorney General                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 220                                               When was the debt incurred?
          Jackson, MS 39205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 906 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page948 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 717      Missouri Attorney General's Office                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Supreme Court Building 207 W.                              When was the debt incurred?
          High St. P
          Jefferson City, MO 65102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 718      Mitch Jones                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6235 Split Creek Lane                                      When was the debt incurred?
          Alexandria, VA 22312
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Mitchell Reed Sussman &
 719      Associates                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1053 S Palm Canyon Dr                                      When was the debt incurred?
          Palm Springs, CA 92264
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 907 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page949 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 720      Mizner Place as Westin Tower                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1775 Bonaventure Blvd.                                     When was the debt incurred?
          Weston, FL 33326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 721      Modular Interiors, Inc.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 202                                                 When was the debt incurred?
          Broomfield, CO 80038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 722      MOLFETTA LAW                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15795 Rockfield Blvd suite a,                              When was the debt incurred?
          Irvine, CA 92618
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 908 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page950 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 723      Molly And John Todd                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4046 South Yampa Street                                    When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 724      Mona & Nicole Offer/Suggs                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          643 Picther Street                                         When was the debt incurred?
          Baltimore, MD 21217
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 725      Mona Mohsen                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8 Larkfield Dr                                             When was the debt incurred?
          Toronto, ON M3B2H1
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 909 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page951 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 726      Monarch Grand Vacations                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8335 Las Vegas Blvd S                                      When was the debt incurred?
          Las Vegas, NV 89123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Monica (Mikki) & Lawrence (Larry)
 727      Wagner                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          317 Alabama St SW                                          When was the debt incurred?
          Lonsdale, MN 55046
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 728      Monica Hegeman                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7989 Sioux Ln                                              When was the debt incurred?
          Lakeland, FL 33810
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 910 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page952 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 729      Monice Silas                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          411 E. 72nd St., Floor #1                                  When was the debt incurred?
          Chicago, IL 60619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 730      Monique and Phill Spinabella                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          At Life Stream                                             When was the debt incurred?
          13617 N 55th Ave Apt 101
          Glendale, AZ 85304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 731      Monique Davis                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18375 E Idaho Pl                                           When was the debt incurred?
          Aurora, CO 80017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,495.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 911 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page953 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 732      Monique Gadsby and Quentin Hall                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          97-30 57th Ave #15M                                        When was the debt incurred?
          Corona, NY 11368
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Montana Office of the Attorney
 733      General                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          215 N Sanders St.                                          When was the debt incurred?
          Helena, MT 59601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 734      Monte Cristo Estates                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Predio Para so Escondido 1 23450                           When was the debt incurred?
          Cabo Sa
          Baja California Sur Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 912 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page954 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 735      Montgomery & Robin Younce                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10072 E Superstition Range Rd                              When was the debt incurred?
          Gold Canyon, AZ 85118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Montriece & Raynell
 736      Robles/McBride                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          530 S Dovson Rd Apt 324                                    When was the debt incurred?
          Mesa, AZ 85202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 737      Morgan Lanae Gutierrez-Armijo                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10826 Rainribbon Rd                                        When was the debt incurred?
          Highlands Ranch, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 913 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page955 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 738      Mount Vista                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1301 S. Crismon Road Mesa                                  When was the debt incurred?
           AZ 85209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 739      Mountain Loft                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4960 Conference Way North Suite                            When was the debt incurred?
          100
          Boca Raton, FL FL 33431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 740      Mountain Side Lodge                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4417 Sundial Place Whistler                                When was the debt incurred?
          B.C. Canada V8E 0M8
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 914 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page956 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 741      Mountain Village                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          455 Mountain Village Blvd. Suite A                         When was the debt incurred?
          Mountain Village, CO 81435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Mountain Vista Condominium
 742      Association                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11002 Benton St                                            When was the debt incurred?
          Westminster, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 743      Mountainside Lodge                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4417 Sundial Place Whistler                                When was the debt incurred?
          B.C. Canada V8E 0M8
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 915 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page957 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 744      MROP - ORE                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1521 East 3900 South                                       When was the debt incurred?
          Salt Lake City, UT 84124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 745      Multi Resort Ownership                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1521 E 3900 S                                              When was the debt incurred?
          Salt Lake City, UT 84124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 746      Multi Resorts Ownership                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1521 E 3900 S.                                             When was the debt incurred?
          Salt Lake City, UT 84124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 916 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page958 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 747      MWG Administrators                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 14067                                               When was the debt incurred?
          Jackson, MS 39236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Mystic Dunes Resort & Golf Club
 748      (Diamond                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7600 Mystic Dunes Ln                                       When was the debt incurred?
          Celebration, FL 34747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 749      NACM Commercial Services                                   Last 4 digits of account number       8195                                                   $0.00
          Nonpriority Creditor's Name
          606 N Pines Rd Suite 102                                   When was the debt incurred?
          Spokane Valley, WA 99206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,821.51




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 917 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page959 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Nancy & Edward J.
 750      Galaydamock/Mock                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4009 Welchester Dr                                         When was the debt incurred?
          Chyenne, WY 82009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 751      Nancy and Robert Carter                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9608 Summit Ridge Ct.                                      When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 752      Nancy and Scott Candler                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7368 W. Fremont Dr.                                        When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 918 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page960 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 753      Nancy Cowee                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12464 E. Wesley Ave                                        When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 754      Nancy Hall                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5775 West 29th Street                                      When was the debt incurred?
          #312
           CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 755      Nancy Hassell-Haight                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5233 Bellaire Blvd                                         When was the debt incurred?
          B108
          Bellaire, TX 77401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 919 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page961 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 756      Nancy Seid                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          693 East Halpin Drive                                      When was the debt incurred?
          Meridian, ID 83646
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 757      Nannette And Tom Inocente                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4205 Old Timber Lane                                       When was the debt incurred?
          Crowley, TX 76036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 758      Nantucket Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3 Step Lane                                                When was the debt incurred?
          Nantucket, MA 02554
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 920 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page962 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 759      Naomi Foster                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          401 W. Spring St                                           When was the debt incurred?
          West Haven, CT 06516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Natalie & Abimelec
 760      Bodaghian/Burgos                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6108 W Ave. L12                                            When was the debt incurred?
          Lancaster, CA 93536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 761      Natalie Walker                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3485 Eagle Ridge Drive                                     When was the debt incurred?
          Woodbridge, VA 22191-6562
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 921 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page963 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 762      Nathan & Gloria Miller                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1505 Fort Duquesna Dr                                      When was the debt incurred?
          Sun City Center, FL 33573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 763      Nathan & Tanya Minor                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1810 Goulv Drive                                           When was the debt incurred?
          District Heights, MD 20747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 764      Nathan Witmyer                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5818 Cumbre Vista Way                                      When was the debt incurred?
          CO Springs, CO 80924
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 922 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page964 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 765      Nathaniel (Niel) & Brenda Foote                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          499 Alton Road                                             When was the debt incurred?
          Galloway, OH 43119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Natisha And Lawrence
 766      Reeves-Williams                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          537 Stephen Drive N                                        When was the debt incurred?
          Schererville, IN 46375
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 767      Nativo                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 N. Pacific Coast Highway, 10th                         When was the debt incurred?
          Floor
          El Segundo, CA 90245
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 923 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page965 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 768      NBC                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30 Rockefeller Plaza                                       When was the debt incurred?
          New York, NY 10112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 769      NBC4 WCMH-TV                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3165 Olentangy River Road                                  When was the debt incurred?
          Columbus, OH 43202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 770      Nebraska Attorney General                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2115 State Capitol                                         When was the debt incurred?
          Lincoln, NE 68509
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 924 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page966 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 771      Neil & Gloria Gonzalez                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11551 Erwin Street Apt. 2                                  When was the debt incurred?
          North Hollywood, CA 91606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 772      Neil and Beth Carlberg                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          916 49th Ave Ct                                            When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Nelly Perez-Mendez and Rogelio
 773      Mendez                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3759 W. 58th Pl                                            When was the debt incurred?
          Chicago, IL 60629
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 925 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page967 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 774      Nelson & Janice Eckrote                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1614 Harding Avenue                                        When was the debt incurred?
          Williamsport, PA 17701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 775      Nelson and Silvana Girot                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12310 SW 194th St                                          When was the debt incurred?
          Miami, FL 33177
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 776      Neva & Gail Stevenson/Parsons                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          393 Homewood Ave                                           When was the debt incurred?
          Orillia, Ontario CA L3V3K9
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 926 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page968 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 777      Nevada Attorney General                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5420 Kietzke Lane, Suite 202                               When was the debt incurred?
          Reno, NV 89511
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 778      Nevada Attorney General                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Grant Sawyer Building 555 E.                               When was the debt incurred?
          Washington
          Las Vegas, NV 89101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 779      Nevada Attorney General                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 North Carson Street                                    When was the debt incurred?
          Carson City, NV 89701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 927 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page969 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      New Hampshire Department of
 780      Justice                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          33 Capitol Street                                          When was the debt incurred?
          Concord, NH 03301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 781      New Jersey Attorney General                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Richard J. Hughes Justice                                  When was the debt incurred?
          Complex, 25 Ma
          Trenton, NJ 08611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 782      New Mexico Attorney General                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          201 3rd St NW #300                                         When was the debt incurred?
          Albuquerque, NM 87102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 928 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page970 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      New York Office of the Attorney
 783      General                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          The Capitol                                                When was the debt incurred?
          Albany, NY 12224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      News Channel 8 WFLA - Great 38
 784      WTTA                                                       Last 4 digits of account number       2733                                                   $0.00
          Nonpriority Creditor's Name
          200 South Parker Street,                                   When was the debt incurred?
          Tampa, FL 33606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 785      Newsmax Media                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          750 Park of Commerce Dr                                    When was the debt incurred?
          Boca Raton, FL 33487
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 929 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page971 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 786      Nexstar Broadcasting Media Group                           Last 4 digits of account number       2162                                                   $0.00
          Nonpriority Creditor's Name
          545 E John Carpenter Freeway                               When was the debt incurred?
          Suite 700
          Irving, TX 75062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $16,336.50


 4.2
 787      Nexstar Media collections WKRN                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 743299                                              When was the debt incurred?
          Atlanta, GA 30384
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $6,948.75


 4.2
 788      Nextiva                                                    Last 4 digits of account number       1548                                                   $0.00
          Nonpriority Creditor's Name
          8800 E Chaparral Road Suite 300                            When was the debt incurred?
          Scottsdale, AZ 85250
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $5,126.62




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 930 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page972 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 789      Nicholas & Candice Van Rooyen                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4796 Apache Trail                                          When was the debt incurred?
          Columbiaville, MI 48421
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 790      Nichole & Matthew Woodrum                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1933 Indian Woods Lane                                     When was the debt incurred?
          Okeana, OH 45053
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 791      Nichole Fisher                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          342 Ravinia Way                                            When was the debt incurred?
          Lawrenceville, GA 30044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 931 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page973 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 792      Nick & Cynthia Slattery                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          31070 463rd Ave                                            When was the debt incurred?
          Vermillion, SD 57069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 793      Nick & Paula Boyett                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          600 Chandler Drive                                         When was the debt incurred?
          Baytown, TX 77521
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 794      Nick (Harrison) & Linda Eiteljorg                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          142 Grays Lane                                             When was the debt incurred?
          Haverford, PA 10941
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 932 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page974 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 795      Nick and Maria Paparella                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1460 Mohawk Rd                                             When was the debt incurred?
          Mohegan Lake, NY 10547
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 796      Nicklaus and Stephanie Diede                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4360 Thompson Parkway                                      When was the debt incurred?
          Johnstown, CO 80534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Nicolas, Yahani, Kelly and Vicki
 797      Robinso                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9003 Anderson Bluff                                        When was the debt incurred?
          Converse, TX 78244
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 933 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page975 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 798      Nicole & Ralph Sheppard                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2810 Ireton Place                                          When was the debt incurred?
          Kannapolis, NC 28083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 799      NIcole (Nikki) and Mara Saltzburg                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7335 La Paz Court                                          When was the debt incurred?
          Apt 107
          Boca Raton, FL 33433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 800      Nicole and Daniel Folden                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7881B Buckeye Cir                                          When was the debt incurred?
          Shaw AFB, SC 29152
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 934 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page976 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 801      Nicole And Desarie Barclay                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9603 Vinca Circle                                          When was the debt incurred?
          Apt F
          Charlotte, NC 28213
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 802      Nicole Foster                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23 Oakland St Apt 23-6                                     When was the debt incurred?
          Aurora, CO 80012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 803      Nicole Rivera                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6000 S Fraser St 6-201                                     When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 935 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page977 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 804      Nicole Spinato                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6226 Red Canyon Drive Apt G                                When was the debt incurred?
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 805      Nicolle Hoffman and Mark Zemke                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6678 S. Arapahoe Drive                                     When was the debt incurred?
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 806      Nievia & Walter Chambers                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          303 Lakeglen Ct                                            When was the debt incurred?
          Sugar Land, TX 77478
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 936 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page978 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 807      Nina & Eduardo Cortez/Dehoyos                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2309 Trinity Park Court                                    When was the debt incurred?
          Deer Park, TX 77536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 808      Ninfa & Noelle Gancero                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          502 Redondo Dr                                             When was the debt incurred?
          Unit 110
          Downers Grove, IL 60516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 809      Noble Resorts                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          600 6th St South                                           When was the debt incurred?
          Kirkland, WA 98033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 937 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page979 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 810      Noelani & Daniel Derouin                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          305 Choker St SE                                           When was the debt incurred?
          Olympia, WA 98503
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 811      Noelise And Martin Cornelius                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7607 Las Flores Dr                                         When was the debt incurred?
          Houston, TX 77083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 812      Noella And Wesley Violet                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4919 Enchanted Springs Drive                               When was the debt incurred?
          Rosharon, TX 77583
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 938 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page980 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Noelle Schaffold-Noel and John
 813      Schaffold                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          213 North Rose Drive                                       When was the debt incurred?
          Glenshaw, PA 15116-3117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 814      Nona Lee                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1508 E San Miguel Ave                                      When was the debt incurred?
          Phoenix, AZ 85014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 815      Nora Ortiz                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14218 S Manistee St                                        When was the debt incurred?
          Burnham, IL 60633
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 939 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page981 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 816      Noreen And Paul Colley                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 Snyder Dr                                              When was the debt incurred?
          Moon Township, PA 15108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 817      Norm and Linda Bledsoe                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21803 E Heritage Pkwy                                      When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 818      Norma & Robert Pullen                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2802 Homecoming Lane                                       When was the debt incurred?
          Waldorf, Maryland 20603-4022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 940 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page982 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 819      Norma Alonzo and Lillian Bustos                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4901 E Sunrise Dr #604                                     When was the debt incurred?
          Tucson, AZ 85718
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 820      Norma and Doel Echevarria                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1129 Morris Court                                          When was the debt incurred?
          Beach Park, IL 60099
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 821      Norma and Thomas Cameron                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          39 Goshen Rd.                                              When was the debt incurred?
          Carthage, MS 39051
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 941 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page983 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 822      Norman & Beverly Walker/Nelson                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9539 N Canyon Heights Dr                                   When was the debt incurred?
          Cedar Hills, UT 84062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 823      Norman & Mercedes Fraga                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2644 O'donnell drive                                       When was the debt incurred?
          San pablo, CA 94806
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 824      Norman (Kevin) & Leora Whiting                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          992 E. Ashburn Mountain Drive                              When was the debt incurred?
          Sahuarita, AZ 85629
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 942 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page984 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 825      Norman And Barbara Atkins                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4006 Chesley Martin Drive                                  When was the debt incurred?
          Louisville, KY 40229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 826      Norman and June Brigandi                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14152E Linvale Place Unit 604                              When was the debt incurred?
          Aurora, co 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 827      Norris & Carol Overdahl                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          268 Del Sol Ave                                            When was the debt incurred?
          Davenport, FL 33837
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 943 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page985 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 828      Norris & Velma Dillard                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4922 Mayflower St                                          When was the debt incurred?
          Houston, TX 77033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 829      North Carolina Attorney General                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          114 West Edenton Street                                    When was the debt incurred?
          Raleigh, NC 27603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 830      North Dakota Attorney General                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          600 E. Boulevard Ave Dept. 125                             When was the debt incurred?
          Bismarck, ND 58505
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 944 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page986 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 831      North Pier Ocean Villas                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1800 Canal Dr                                              When was the debt incurred?
          Carolina Beach, NC 28428
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 832      Novlet Rose                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1661 Mariner Lane                                          When was the debt incurred?
          Port St. Lucie, FL 34983
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 833      Nunzio & Carol Bonaventura                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          105 Sunning Dale Court South                               When was the debt incurred?
          Lancaster, PA 17603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 945 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page987 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 834      O'Conner & Alita Anderson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4645 Hayes St. NE                                          When was the debt incurred?
          Washington DC, D.C 20019-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 835      Oak Plantation                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4090 Enchanted Oaks Cir                                    When was the debt incurred?
          Kissimmee, FL 34741
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Oaks at Resort World Condo
 836      Association                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8451 PALM PARKWAY LAKE                                     When was the debt incurred?
          BUENA VISTA, FL 32836
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 946 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page988 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 837      Occidental Vacation Club                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av. Sarasota 65                                            When was the debt incurred?
          Santo Domingo, Dominican
          Republic
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 838      Ocean Canyon Properties                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1001 Walnut St                                             When was the debt incurred?
          Texarkana, TX 75501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 839      Ocean Forest Colony                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5900 N Ocean Blvd                                          When was the debt incurred?
          Myrtle Beach, SC 29577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 947 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page989 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 840      Ocean Key Resort                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          0 Duval St                                                 When was the debt incurred?
          Key West, FL 33040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 841      Ocean Landing Coco Beach                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          900 N Atlantic Ave                                         When was the debt incurred?
          Cocoa Beach, FL 32931
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 842      Ocean Pines                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1445 Duck Rd                                               When was the debt incurred?
          Duck, NC 27949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 948 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page990 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 843      Ocean Reef Yacht Club                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          G83Q+Q5X                                                   When was the debt incurred?
          Freeport, The Bahamas
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 844      Ocean Sands Beach Club                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3301 Hill St                                               When was the debt incurred?
          New Smyrna Beach, FL 32169
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 845      Ocean Time                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 135th St                                                 When was the debt incurred?
          Ocean City, MD 21842
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 949 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page991 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 846      Octavia And Slade Hollinger                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          261 Mango Dr                                               When was the debt incurred?
          Palatka, FL 32177
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 847      Odis Richardson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          153 Jennifer Lane                                          When was the debt incurred?
          Calumet City, IL 60409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Office of the Attorney General
 848      Colorado                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1300 Broadway, 10th Floor                                  When was the debt incurred?
          Denver, CO 80203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 950 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page992 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Office of the Attorney General of
 849      Iowa                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Hoover State Office Building 1305                          When was the debt incurred?
          E. Wal
          Des Moines, IA 50319
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Office of the Attorney General State
 850      of                                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PL-01 The Capitol                                          When was the debt incurred?
          Tallahassee, FL 32399
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Office of the Maine Attorney
 851      General                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 State House Station                                      When was the debt incurred?
          Augusta, ME 04333
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 951 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page993 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Office of the Oklahoma Attorney
 852      General                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          313 NE 21st Street                                         When was the debt incurred?
          Oklahoma City, OK 73105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 853      Ohio Attorney General                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30 E. Broad St., 14th Floor                                When was the debt incurred?
          Columbus, OH 43215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 854      Ola & Aljahi Gardner                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2714 6th St                                                When was the debt incurred?
          Winthrop, IL 60096
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 952 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page994 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 855      Olainia Taylor and Walter Haynes                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 39013                                               When was the debt incurred?
          Denver, CO 80239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 856      Olalekan Daramola                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10524 Lavon Bend                                           When was the debt incurred?
          Austin, TX 78717
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 857      Old Bay Getaway                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 Fig Street                                               When was the debt incurred?
          Cape Charles, VA 23310
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 953 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page995 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 858      Ole (Gus) and Anne Ovstegard                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17 Beachwood Dr                                            When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 859      Olga And Larry Smith                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4340 Kansas st apt# 4                                      When was the debt incurred?
          San Diego, CA 92104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 860      Olive Holness                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5415 Trails Way                                            When was the debt incurred?
          Bakersfield, CA 93313
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 954 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page996 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 861      Oliver and Helen Yoon                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 State St unit 92233                                    When was the debt incurred?
          SouthLake, TX 76092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 862      Olivia Bailon                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1658 Lomita Blvd.                                          When was the debt incurred?
          APT D
          Harbor City, CA 90710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Oluyinka (Yinka) Oluwaseun
 863      Fesojaiye                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8201 Kona Ave                                              When was the debt incurred?
          Apt 290
          Jacksonville, FL 32211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 955 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page997 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 864      Olympic Village Inn                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1900 Squaw Valley Rd                                       When was the debt incurred?
          Olympic, CA 95730
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 865      Olympic Village Inn, Tahoe                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1909 Chamonix Pl,                                          When was the debt incurred?
          Olympic Valley, CA 96146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 866      Omar and Patricia Dena                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24963 Coral Canyon Rd                                      When was the debt incurred?
          Corona, CA 92883
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 956 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page998 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 867      Opal Gill/Sonya Jacobs                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4018 177th St                                              When was the debt incurred?
          Country Club Hills, IL 60478
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 868      Ora Washington                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8608 Paper Birch Lane, PO Box                              When was the debt incurred?
          16750
          Fort Worth, TX 76162
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 869      Orange Lake Resorts                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8505 W Irlo Bronson Memorial Hwy                           When was the debt incurred?
          Kissimmee, FL 34747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 957 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
       Case:21-15040-KHT Doc#:1 Filed:10/01/21                                               Entered:10/01/21 17:29:59 Page999 of 1444
                                                                                                                                                             10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 870      Oregon Department of Justice                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1162 Court St. NE                                          When was the debt incurred?
          Salem, OR 97301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Oritshemajemite Oma-Pedru Maj
 871      Pedru and                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10333 Clay Road Apt 4005                                   When was the debt incurred?
          Houston, TX 77041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 872      Orlando and Vernail Price                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          534 Georgia Circle                                         When was the debt incurred?
          Loganville, GA 30052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 958 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1000 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 873      Orlando Arredondo and Gloria Avila                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17156 East Dorado Drive                                    When was the debt incurred?
          Centennial, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 874      Orlando Resort Development Group                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          ONE VANCE GAP ROAD                                         When was the debt incurred?
          ASHEVILLE, NC 28805
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 875      Oscar Canizales                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3910 Woodlake Dr                                           When was the debt incurred?
          Hanover Park, IL 60133
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 959 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1001 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 876      Outdoor Promotions                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7100 North Broadway #7G                                    When was the debt incurred?
          Denver, CO 80221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 877      Outfront Media                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4647 Leyden St                                             When was the debt incurred?
          Denver, CO 80216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 878      Oyster Bay                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4357 S Island Hwy                                          When was the debt incurred?
          Campbell River, BC V9H 1N4,
          Canada
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 960 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1002 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 879      Pablo & Errika Cavero                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18741 E Water Dr                                           When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 880      Pablo (Pepi) Pepin                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5858 North Mulligan Ave                                    When was the debt incurred?
          Apt 1
          Chicago, IL 60646
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 881      PACER Service Center                                       Last 4 digits of account number       4807                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 5208                                                When was the debt incurred?
          Portland, OR 97208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 961 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1003 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 882      Pacific Office Automation                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14747 NW Greenbrier Pkwy                                   When was the debt incurred?
          Beaverton, OR 97006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 883      Pacifico Palmarini                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          94803 Hilspach ST                                          When was the debt incurred?
          Philadelphia, PA 19115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 884      PAHIO Resorts                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3970 Wyllie Rd                                             When was the debt incurred?
          Princeville, HI 96722
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 962 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1004 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 885      Palace Resorts                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          301 NW 18th Ave                                            When was the debt incurred?
          Miami, FL 33125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 886      Palace View South - Branson                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          700 Blue Meadows Rd                                        When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 887      Palm Beach Resort                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22984 Perdido Beach Blvd                                   When was the debt incurred?
          Orange Beach, AL 36561
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 963 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1005 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 888      Palm Beach Shores Resort                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          181 S Ocean Ave                                            When was the debt incurred?
          Palm Beach Shores, FL 33404
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 889      Palm Canyon                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2800 S Palm Canyon Dr                                      When was the debt incurred?
          Palm Springs, CA 92264
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 890      Palm Shore Beach                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          181 S Ocean Ave                                            When was the debt incurred?
          Palm Beach Shores, FL 33404
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 964 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1006 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 891      Palmera Resorts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          33 Office Park Road, Unit 219                              When was the debt incurred?
          Hilton Head Island, SC 29938
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 892      Palms Golf Club                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          57000 Palms Dr                                             When was the debt incurred?
          La Quinta, CA 92253
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 893      Paloma & Charles Hill                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4315 Stonebridge Drive                                     When was the debt incurred?
          Missouri City, TX 77459
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 965 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1007 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 894      Pam & Dave Falls                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1901 Falconhurst Drive                                     When was the debt incurred?
          Charlotte, SC 28216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 895      Pam and Melvin Ora                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1290 Milano Cir                                            When was the debt incurred?
          Dunedin, Florida 69380-4384
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 896      Pam Dunlap                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4017 17th St. North                                        When was the debt incurred?
          St. Petersburg, FL 33714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 966 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1008 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 897      Pamela & Duane Holmes                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4455 South Van Gordon way                                  When was the debt incurred?
          Morrison, CO 80465
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 898      Pamela & Randall Smith                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9125 Rockrose Drive                                        When was the debt incurred?
          Tampa, FL 33647
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 899      Pamela & William Boiler                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1919 Mount Blanco Rd.                                      When was the debt incurred?
          Chester, VA 23836
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 967 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1009 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 900      Pamela And Al Durel                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          108 Pintail Dr.                                            When was the debt incurred?
          Clute
           TX 77531
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 901      Pamela and Jeffrey Meyer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3045 Timberchase Trail                                     When was the debt incurred?
          Highlands Ranch, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 902      Pamela and Paul Highfill                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5502 Winding Way Dr                                        When was the debt incurred?
          Houston, TX 77091
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 968 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1010 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 903      Pamela and Sheldon Barthlama                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3536 Delta Court                                           When was the debt incurred?
          Loveland, CO 80538
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 904      Pamela Carter                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          700 N Leisure Point                                        When was the debt incurred?
          Inverness, FL 34453
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 905      Pamela Petties                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          950 W. 116th St.                                           When was the debt incurred?
          Chicago, IL 60643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 969 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1011 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 906      Pamela Shaw                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35 Jean Drive                                              When was the debt incurred?
          Florissant, MO 63031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 907      Pamela Wilson and Custer Trust                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11754 Encino Ave                                           When was the debt incurred?
          Granada Hills, CA 91344
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 908      Paniolo Resort                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          68-1745 Waikoloa Rd                                        When was the debt incurred?
          Waikoloa Village, HI 96738
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 970 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1012 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 909      Paradise Beach Resort and Spa                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av. Paseo de los Cocoteros 1                               When was the debt incurred?
          Nuevo Valla
          Nayarit Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Paradise Island Beach Club
 910      Bahamas                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          suite 1226, Garden View Drive,                             When was the debt incurred?
          Paradise Island Nassau, Paradise
          Island
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 911      Paradise Village                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av. Paseo de los Cocoteros 1                               When was the debt incurred?
          Nuevo Valla
          , Riviera Nayarit, Nay Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 971 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1013 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 912      Park Regency Resort                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1710 Prospector Ave                                        When was the debt incurred?
          Park City, UT 84060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 913      Parnell Jordan                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5325 Adams St.                                             When was the debt incurred?
          Merriville, IN 46410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 914      Parveen Ranjan                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14415 N 14th Dr                                            When was the debt incurred?
          Phoenix, AZ 85023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 972 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1014 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 915      Pat & Luke Morton                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          255 Mason Ct                                               When was the debt incurred?
          Sycamore, IL 60178
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 916      Pat and Charles Wertin                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          440 E Mineral Ct                                           When was the debt incurred?
          Littleton, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 917      Pat Devine and Kirwan MacMillan                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Po Box 295                                                 When was the debt incurred?
          Plaistow, NH 03865
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 973 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1015 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 918      Pat Espinoza                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8478 Mesa Heights Rd.                                      When was the debt incurred?
          Santee, CA 92071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 919      Patrice Andreozzi                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 Lake Dr                                                  When was the debt incurred?
          New Fairfield, CT 06812
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 920      Patrice Wall                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1114 W Williams Cir, Apt #5                                When was the debt incurred?
          Elizabeth City, NC 27909
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 974 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1016 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 921      Patricia & William Johnson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          720 Oak Terrace                                            When was the debt incurred?
          Orange City, FL 32763
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 922      Patricia Allison                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1333 Armsley Ct                                            When was the debt incurred?
          Fort Collins, CO 80525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 923      Patricia and Dale Polick                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3328 Stonebridge Trail                                     When was the debt incurred?
          Valrico, FL 33596
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 975 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1017 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 924      Patricia and Henry Jackson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23 Union Landing RD                                        When was the debt incurred?
          Cinnaminson, NJ 08077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 925      Patricia And Joseph Putila                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Center Street                                          When was the debt incurred?
          Carmichaels, PA 15320-1048
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 926      Patricia And Patrick Puranda                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5021 Lake Field Drive                                      When was the debt incurred?
          Douglasville, GA 30135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 976 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1018 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 927      Patricia And Peter Daniluk                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9424 W. Kentucky Ave.                                      When was the debt incurred?
          Lakewood, CO 80226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 928      Patricia and Stanley Frahm                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6757 S Gibraltar Ct                                        When was the debt incurred?
          Centennial, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 929      Patricia Avila and Pablo Olvera                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6002 S 43rd St                                             When was the debt incurred?
          Phoenix, AZ 85042
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 977 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1019 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 930      Patricia Bolanos                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12-04 robin lane                                           When was the debt incurred?
          Bayside, NY 11360
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 931      Patricia Dykes                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11540 Lemmond Acres Drive                                  When was the debt incurred?
          Mint Hills, NC 28227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 932      Patricia Fredrick                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16932 East Amherst Drive                                   When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 978 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1020 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 933      Patricia Gryder                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1220 Camelot Ct.                                           When was the debt incurred?
          Lenoir, NC 28645
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 934      Patricia Ressmeyer                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3095 Carson Street                                         When was the debt incurred?
          Aurora, CO 80011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 935      Patrick & Bonnie Robinson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7036 S. Shawnee                                            When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 979 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1021 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 936      Patrick & Christina Boling                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          75733 Rickelin Dr.                                         When was the debt incurred?
          Covington, LA 70435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 937      Patrick & Debra Neeley                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5009 Marburn Ct                                            When was the debt incurred?
          Sacramento, CA 95823
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 938      Patrick & Kendra Cole                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4877 Cinta Ct.                                             When was the debt incurred?
          San Diego, CA 92122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 980 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1022 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 939      Patrick Johnson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3410 S. Biscay Way                                         When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 940      Patrick Mogbo                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          367 W. Locust Street                                       When was the debt incurred?
          Unit 307
          Chicago, IL 60610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 941      Patrick Sylvester                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          915 N York St. Condo 202                                   When was the debt incurred?
          Elmhurst, IL 60126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 981 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1023 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 942      PATRIOT ADVOCATES, INC.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1065 W. MORSE BLVD., SUITE 103                             When was the debt incurred?
          Winter Park, FL 32789
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 943      Patti and Stosh Bippus                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15050 Harrison Street                                      When was the debt incurred?
          Brighton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 944      Paul & Carolyn Secor                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2934 Beachtree Lane                                        When was the debt incurred?
          Bedford, TX 76021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 982 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1024 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 945      Paul & Donnie Keys                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          24479 S. Independence Blvd.                                When was the debt incurred?
          Crete, IL 60417
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 946      Paul & Gay (GG) Marshall                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11414 Taos Lane                                            When was the debt incurred?
          Houtson, TX 77070
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 947      Paul & Jean Marietta                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8714 Oak Park Ave                                          When was the debt incurred?
          Oak Lawn, IL 60453
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 983 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1025 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 948      Paul & Linda Smith                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          502 Oldcastle St.                                          When was the debt incurred?
          Houston, TX 77013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 949      Paul & Lorraine Shoemaker                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          212 Sun Swept                                              When was the debt incurred?
          Troy, MO 63379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 950      Paul & Nancy Anderson                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8364 Sumpter Ct                                            When was the debt incurred?
          Elizabeth, CO 80107
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 984 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1026 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 951      Paul & Phyllis Forsythe                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1054 N. 88th St.                                           When was the debt incurred?
          Mesa, AZ 85207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 952      Paul & Sandra Thompson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23766 bouquet canyon pl                                    When was the debt incurred?
          Moreno Valley, CA 92557
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 953      Paul and Angela Grandacarpio                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2213 Cushman Drive                                         When was the debt incurred?
          Columbia, SC 29204
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 985 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1027 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 954      Paul And Karen Washington                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          902 W. Mierianne St                                        When was the debt incurred?
          Houston, TX 77088
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Paul Breidenbach and Deborah
 955      Duley                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2469 Bold Springs Road                                     When was the debt incurred?
          Dacula, GA 30019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 956      Paul Jaminet                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13175 Elizabeth St.                                        When was the debt incurred?
          Thornton, CO 80241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 986 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1028 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 957      Paul Mayo                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5502 W Buena Vista Ave                                     When was the debt incurred?
          Visalia, CA 93291
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 958      Paul Miller                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 24463                                               When was the debt incurred?
          Denver, CO 80224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 959      Paul Puskar                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          707 Cottonwood Dr                                          When was the debt incurred?
          Monroeville, PA 15146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 987 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1029 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 960      Paul Reed                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          0N801 Friendship Way                                       When was the debt incurred?
          Unit 1204
          Geneva, IL 60134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 961      Paula and Courtney Torrey                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14104 Reeves Road                                          When was the debt incurred?
          Robbins, IL 60472
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 962      Paula And Larry Kendrick                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          206 Ivy Hill Court                                         When was the debt incurred?
          Stephens City, VA 22655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 988 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1030 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Paula and Marilyn
 963      Schulze/Helpenstell                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7042 S. Valdai St                                          When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 964      Paula and Michael Kotchian                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Dooling Circle                                           When was the debt incurred?
          Peabody, MA 01960
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 965      Paula and Ronald Shaffer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          242 Frontier St.                                           When was the debt incurred?
          Grand Junction, CO 81503
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 989 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1031 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 966      Paula Clark-Martin                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29951 E 163 Place                                          When was the debt incurred?
          Brighton, CO 80603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 967      Paula Haddock, LLC                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          744 Glencoe St.                                            When was the debt incurred?
          Denver, CO 80220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 968      Paula Hopkins-Routten                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18413 Bent Pine Drive                                      When was the debt incurred?
          Hudson, FL 34667
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 990 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1032 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 969      Paula Potts and Patricia Colon                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2116 South Clinton                                         When was the debt incurred?
          Berwyn, IL 60402
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 970      Pauline & Moe Mercado                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          132 47th Ave Ct                                            When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Pauline Jessica Dario and Adel
 971      Abou Alch                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          774 Broadway, Apt A                                        When was the debt incurred?
          Bayonne, NJ 07002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 991 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1033 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 972      Payment Depot                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          238 W Chapman Ave UNIT 201                                 When was the debt incurred?
          Orange, CA 92866
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Merchant Services for Timeshare
                                                                                         Termination Team, LLC that Brian
              Yes                                                       Other. Specify   personally guaranteed.


 4.2
 973      Peggy & Glen Thompson                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1902 Concord St                                            When was the debt incurred?
          Deer Park, TX 77536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 974      Peggy & Melvin (Deceased) Walker                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          319 7th St Pl SW                                           When was the debt incurred?
          Conover, NC 28613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 992 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1034 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 975      Peggy & Ted Hockless                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14503 Round Mountain Dr.                                   When was the debt incurred?
          Houston, TX 77090
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 976      Peggy & Thomas Lundberg                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          44408 348th Lane                                           When was the debt incurred?
          Aitkin, MN 56431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Peggy Earnest, Stephanie and Traci
 977      Loud                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          270 Main St.                                               When was the debt incurred?
          Newport, NJ 08345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 993 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1035 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Pennsylvania Office of Attorney
 978      General                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Strawberry Square                                          When was the debt incurred?
          Harrisburg, PA 17120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 979      Peppertree Resorts Limited                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6277 SEA HARBOR DR                                         When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Peregrine Home Owners
 980      Association Inc.                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6015 Lehman Dr                                             When was the debt incurred?
          Colorado Springs,, CO 80918
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 994 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1036 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 981      Perennial Vacation Club                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1775 River Ranch Drive                                     When was the debt incurred?
          Bandera, TX 78003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 982      Perry and Ruby Moore                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16240 E Eldorado Pl                                        When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 983      Perry Miller and Caroline Marvets                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          N8405 510th St                                             When was the debt incurred?
          Spring Valley, WI 54767
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 995 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1037 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 984      Peter & Frances Reynolds                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1116 Fidelity Dr.                                          When was the debt incurred?
          Pittsburgh, PA 15236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 985      Peter & Maria Sciambia                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4820 Bridle Path Way                                       When was the debt incurred?
          Fort Worth, TX 76244
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 986      Peter & Patricia Vukas                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12006 Forestview Dr.                                       When was the debt incurred?
          Orland Park, IL 60467
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 996 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1038 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 987      Peter & Rose Marie Mast                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3923 Westib Dr                                             When was the debt incurred?
          Fulshear, TX 77441
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 988      Peter and Grace Wang                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13915 Rockingham Rd                                        When was the debt incurred?
          Germantown, MD 20874
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 989      Peter And Margaret Craney                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Lincoln Dr.                                                When was the debt incurred?
          Peshtigo, WI 54157
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 997 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1039 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2      Peter Battista and Citywide
 990      Building Mai                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1555 Industrial Dr.                                        When was the debt incurred?
          Itasca, IL 60143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 991      Peter Catalano                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          244 California St                                          When was the debt incurred?
          Apt B
          Newton, MA 02458
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 992      Peter Kuhns                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3495 Stockton Drive                                        When was the debt incurred?
          Mount Pleasant, SC 29466
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 998 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1040 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 993      Peter Ross                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          W305N7261 COUNTY RD E                                      When was the debt incurred?
          Heartland, WI 53029
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2      Petrease & Omar
 994      Jefferson/Broussard                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          107 W Austin St                                            When was the debt incurred?
          Dayton, TX 77535
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 995      Phil Abello                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6420 Gilmore Grove                                         When was the debt incurred?
          Colorado Springs, CO 80918
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 999 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1041 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 996      Phil and Chritine Egan                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8420 E 160th Pl                                            When was the debt incurred?
          Brighton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 997      Philip & Christina Desautels                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          801 W Lucerene                                             When was the debt incurred?
          Layfette, CO 80026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.2
 998      Philip & Eliza Villa                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23881 W Desert Bloom St.                                   When was the debt incurred?
          Buckeye, AZ 85326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1000 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1042 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.2
 999      Philip & Emily Brister                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3105 11th St. NE                                           When was the debt incurred?
          Watford City, ND 58854
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 000      Philip Earl                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          33 Pine Acres Road                                         When was the debt incurred?
          Foxborow, MA 00025-7908
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 001      Philip Feinstein                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1100 Russell Blvd                                          When was the debt incurred?
          Thornton, CO 80229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1001 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1043 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 002      Phillip & Alma Josey                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          117 North Dale Rd                                          When was the debt incurred?
          Glen Burnie, MD 21060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 003      Phillip & Heather Pollok                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          161 Cortez St                                              When was the debt incurred?
          Sterling, CO 80751
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 004      Phillip & Jennifer Wylie                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          265 Dumas City Rd                                          When was the debt incurred?
          El Dorado, AR 71730
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1002 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1044 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 005      Philomema and Funmilayo Olukemi                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1962 S. Oswego                                             When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 006      Phyllis and Tom Gildenblatt                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1208 Rothschild Blvd.                                      When was the debt incurred?
          Southlake, TX 76092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 007      Phyllis Shotkoski                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6324 S Elati St                                            When was the debt incurred?
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1003 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1045 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 008      Phyllis Wilson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          118 Madison St SW                                          When was the debt incurred?
          Washington DC, Washington DC
          20011-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 009      Pier 7 Condominium Trust                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          711 MA-28                                                  When was the debt incurred?
          South Yarmouth, MA 02664
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 010      Pine Meadows                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          120 Vischer Drive                                          When was the debt incurred?
          Mountain Village, CO 81435
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1004 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1046 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 011      Pines Meadow Ridge/RCI                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          83 Meadow Ln                                               When was the debt incurred?
          Fraser, CO 80442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 012      Pinney Shores                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8350 Piney Shores Dr                                       When was the debt incurred?
          Conroe, TX 77304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 013      Plantation Resort                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1101 Platt Blvd.                                           When was the debt incurred?
          Surfside Beach, SC 29575
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1005 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1047 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 014      Playa Del Sol                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          444 Florida St SE                                          When was the debt incurred?
          Albuquerque, NM 87108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 015      Playa Grande - Mexico                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av. Playa Grande 1, Centro, 23450                          When was the debt incurred?
          , Cabo San Lucas, B.C. Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 016      Players Club Owners Association                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35 Deallyon Ave                                            When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1006 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1048 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 017      Plaza Del Sol Club                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Los Igualados, 83010 Hermosillo                            When was the debt incurred?
          , Sonora Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Plaza Pelicanos Grand Beach
 018      Resort                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Ave. Jos Clemente Orozco 131,                              When was the debt incurred?
          Zona Hote
          Las Glorias, 48330, Puerto Vallarta,
          Jal
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 019      Plaza Resort Club                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          121 West St                                                When was the debt incurred?
          Reno, NV 89501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1007 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1049 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 020      Plaza Vacation Club                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Jos Clemente Orozco 131, Zona                              When was the debt incurred?
          Hotelera
          Puerto Vallarta, Jalisco Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 021      Plusthis                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2490 S Gilbert Rd #200-B                                   When was the debt incurred?
          Chandler, AZ 85286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 022      Poipu Point                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1613 Pe'e Rd                                               When was the debt incurred?
          Koloa, HI 96756
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1008 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1050 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 023      Polina Stolyarova                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          131 Delia Lane                                             When was the debt incurred?
          Phildelphia, PA 19115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 024      Pollard Brook Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          33 Brookline Rd                                            When was the debt incurred?
          Lincoln, NH 03251
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 025      Polo Towers International                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3745 S Las Vegas Blvd                                      When was the debt incurred?
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1009 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1051 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 026      Pono Kai                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4-1250 Kuhio Hwy                                           When was the debt incurred?
          Kapa?a, HI 96746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 027      Porsia and Terry Carter                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9340 E Girard Ave #6                                       When was the debt incurred?
          DEnver, co 80231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 028      Port O Call                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13 Barcelona Rd                                            When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1010 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1052 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 029      Portia Herron                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1603 Mallard Ct.                                           When was the debt incurred?
          Jonesboro, GA 30238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 030      Prashant & Nisha Desai                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3004 Highlands By The Lake Way                             When was the debt incurred?
          Lakeland, FL 33812
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 031      Preferred Villa group                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6850 Bermuda Rd                                            When was the debt incurred?
          Las Vegas, NV 89119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1011 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1053 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 032      Premier Vacation Club                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Paseo Herencia Mall G-101                                  When was the debt incurred?
          J.E. Yrausquin Blvd 382-A, Palm
          Beach Ar
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 033      Premiere Iheart                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15260 Ventura Blvd. Suite 400                              When was the debt incurred?
          Sherman Oaks, CA 91403
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Premkumarie Singh and Shahab
 034      Mohamed                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          721 Center Meadow Lane                                     When was the debt incurred?
          Danberry, CT 06810
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1012 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1054 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 035      Presidential Resorts                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9220 Plank Rd                                              When was the debt incurred?
          Spotsylvania Courthouse, VA 22553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 036      Principal Financial Group                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          711 High S                                                 When was the debt incurred?
          Des Moines, IA 50392
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 037      Priscilla and James Greene                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2950 E Old Settlers Blvd, Unit# 65                         When was the debt incurred?
          Round Rock, TX 78665
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1013 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1055 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 038      Priscilla Denetdeel-Yildir                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16825 North 14th Street                                    When was the debt incurred?
          Phoenix, AZ 85022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 039      Productive Electric, LLC                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2775 W Hampden Ave Suite 200                               When was the debt incurred?
          Englewood, CO 80110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 040      Professional Finance Company                               Last 4 digits of account number       6893                                                $331.05
          Nonpriority Creditor's Name
          5754 W. 11th Street                                        When was the debt incurred?           2/19/21
          #100
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.

              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal medical bill




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1014 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1056 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 041      Promotora sunset beach club                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PMB 477- 444 Brickell Ave.                                 When was the debt incurred?
          Miami, FL 33131-2492
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 042      Prosper Consulting, LLC                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2628 S Flower CT                                           When was the debt incurred?
          Lakewood, CO 80227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 043      Pueblo Bonito Resorts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2300 Boswell Court, Suite 225                              When was the debt incurred?
          Chula Vista, Cabo San Lucas, B.C.
          91914-
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1015 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1057 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 044      Puerto Rico Attorney General                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Apartado 9020192                                           When was the debt incurred?
          San Juan, PR 00902-0192
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Pura Vida Club Lifestyle via Sunset
 045      Worl                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Blvd. Kukulcan Km. 7                                       When was the debt incurred?
          Zona Hotelera, 77500, Canc n, Q.R.
          Mexic
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 046      Purely Makeup, LLC                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          929 Park View St.                                          When was the debt incurred?
          Castle Rock, CO 80104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1016 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1058 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 047      QM Resorts                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          515 Nichols Blvd                                           When was the debt incurred?
          Sparks, NV 89431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Quadna Mountain Vacation Owners
 048      Associat                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 Quadna Mtn                                             When was the debt incurred?
          Road Hill City, MN 55748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 049      Quail Hollows - Crown Resorts                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Edge Rock Drive                                          When was the debt incurred?
          Drums, PA 18222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1017 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1059 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 050      Quickbooks - Intuit                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2600 Marine Wa                                             When was the debt incurred?
          Mountain View, CA 94043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 051      Quindora Thurmon                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18221 Idlewild                                             When was the debt incurred?
          Country Club Hills, IL 60478
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 052      Rachelle Fertig                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6401 S. Boston Street # L203                               When was the debt incurred?
          Greenwood Village, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,495.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1018 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1060 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 053      Rachinda Smallwood                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9917 S. Union Ave.                                         When was the debt incurred?
          Chicago, IL 60628
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Racquel Queensborough, Robert
 054      Fearon and                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          63 Freshspring Drive                                       When was the debt incurred?
          Brampton, ON L6R 3H8
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 055      Radisson Hotel                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3814, 11340 Blondo St                                      When was the debt incurred?
          Omaha, NE 68164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1019 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1061 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 056      Rafael & Carmen Alvarez                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22058 W Solano Dr                                          When was the debt incurred?
          Buckeye, AZ 85326
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 057      Rafaela Reyes and Sarah Velasquez                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          701 Cyprus Hill Drive                                      When was the debt incurred?
          Little Elm, TX 75068
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Raiford and Leona
 058      Jenkins/Johnson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6500 Eastern Ave NE                                        When was the debt incurred?
          Washington, DC 20012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1020 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1062 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 059      Raintree North America Resorts                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10000 Memorial Drive Suite 480                             When was the debt incurred?
          Houston, TX 77024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 060      Raintree Resort                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 Memorial Drive Suite 480                              When was the debt incurred?
          Houston, TX 77024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 061      Ralph and Mary Luna                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19712 E. Villanova Place                                   When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1021 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1063 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 062      Ramada                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22 Sylvan Way,                                             When was the debt incurred?
          Parsippany, NJ 07054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 063      Ramon And Marie Esguerra                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          231B Franklin Ave                                          When was the debt incurred?
          Cliffside Park, NJ 07010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 064      Ramona & Timothy Jones                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1218                                                When was the debt incurred?
          Cooleemee, NC 27014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1022 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1064 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 065      Ramsey and Faten Dahab                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12000 N Bayshore Dr                                        When was the debt incurred?
          Apt 212
          North Miami, FL 33181
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 066      Rancho Banderas                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Carretera a, Playa Destiladeras km                         When was the debt incurred?
          8.3,
          63729, Punta Mita, Nay Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 067      Rancho San Lucas                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Carretera a Todos Santos KM 120                            When was the debt incurred?
          S/N Ranc
          San Lucas, 23473, IN Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1023 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1065 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 068      Randal Parkhurst                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3711 S Athol Rd                                            When was the debt incurred?
          Athol, MA 01331
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 069      Randall & Roberta Lawkin                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7650 Holiday Drive                                         When was the debt incurred?
          Spring Hill, FL 34606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 070      Randy & Jodie Hite                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5705 80th St North Apt 411                                 When was the debt incurred?
          St Petersburg, Fl 33709
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1024 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1066 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 071      Randy & Karen Greening                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12194 Adams St                                             When was the debt incurred?
          Thornton, CO 80241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 072      Randy & Tiffany Lunow                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2709 Goldenrod Road                                        When was the debt incurred?
          North Newton, KS 67117
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 073      Randy And Tonja Walker                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          98 S. Eaton St                                             When was the debt incurred?
          Lakewood, CO 80226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1025 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1067 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 074      Randy Austin                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          155 Riverview Drive                                        When was the debt incurred?
          Dawsonville, GA 30534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 075      Randy Hudson                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2604 Gideon Ave                                            When was the debt incurred?
          Zion, IL 60099
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 076      Randy Scott                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4401 W Jamison Pl                                          When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1026 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1068 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 077      Raquel Allen                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5620 Johnson Street                                        When was the debt incurred?
          Arvada, CO 80002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 078      Rashidah Burns                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7409 Kwantre Park Ave                                      When was the debt incurred?
          Richmond, VA 23237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 079      Rathel Walker                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1608 Meyers Rd                                             When was the debt incurred?
          Lombard, IL 60148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1027 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1069 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 080      Raul And Henrietta Thomas                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11103 Balata Court                                         When was the debt incurred?
          Charlotte, NC 28269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 081      Raushanah & Lutfee Muhsin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          806 Lower Ferry Road                                       When was the debt incurred?
          Unit 4N
           NJ 08628
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 082      Raven & Jacy Canada/Patt                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4903 Chardon Rd                                            When was the debt incurred?
          Richmond, VA 22231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1028 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1070 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 083      Rawa Rasheed                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7300 Pirates Cove                                          When was the debt incurred?
          #2093
          Las Vegas, NV 89145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 084      Ray & Patty Gettel                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4000 County Road 43                                        When was the debt incurred?
          Bailey, CO 80421
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 085      Ray & Yulia Vallejos                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7162 S. Newbern Ct                                         When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1029 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1071 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 086      Ray and Diane Buller                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7557 Fairway Lane Apt A                                    When was the debt incurred?
          Maineville, OH 45039
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 087      Rayburn Johnson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8515 Southmeadow Dr                                        When was the debt incurred?
          Houston, TX 77071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 088      Raymond & Mary Reed                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          490 Logansport Rd                                          When was the debt incurred?
          Ford City, PA 16226
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1030 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1072 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 089      Raymond and Belinda Alaniz                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          228 Santa Barbara Ave                                      When was the debt incurred?
          Sanger, CA 93657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 090      Raymond And Cora Kuykendall                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1193 County Road                                           When was the debt incurred?
          PO Box 656
          Blessing, TX 77419
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 091      Raymond And Debra Davis                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3501 West 85th Place                                       When was the debt incurred?
          Chicago, IL 60652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1031 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1073 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 092      Raymond and Mary J Carlson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          708 E Bluestem Lane                                        When was the debt incurred?
          North Platte, NE 69101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Raymond Caldwell and Harold
 093      Guidroz                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 12547                                               When was the debt incurred?
          Denver, CO 80212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 094      Raymond Cox                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3406 E 117th Place                                         When was the debt incurred?
          Thornton, CO 80233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1032 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1074 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 095      Raymond T & Lucy Higgs                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          217 Motor Ave                                              When was the debt incurred?
          Port Angeles, WA 98362
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 096      RCI                                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9998 N Michigan Rd                                         When was the debt incurred?
          Carmel, IN 46032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 097      Rebecca & Curt Kekuna                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          800 Kiaala Place                                           When was the debt incurred?
          Honolulu, HI 96825
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1033 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1075 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 098      Rebecca and Daniel Galindo                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4605 Grider Pass                                           When was the debt incurred?
          Austin, TX 78749
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 099      Rebecca And John Paul Perez                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12526 Astoria Blvd.                                        When was the debt incurred?
          Houston, TX 77089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 100      Rebecca And Richard Stoker                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          902 East 23rd Street                                       When was the debt incurred?
          Newton, NC 28658
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1034 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1076 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 101      Rebecca Bleau                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 32                                                  When was the debt incurred?
          New Bern, NC 28563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 102      Rebecca Musumeci                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          248 East Side Drive                                        When was the debt incurred?
          Concord, NH 03301
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 103      Rebekkah Fisher                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1835 S Bannock Street Apt 102                              When was the debt incurred?
          Denver, Co 80223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1035 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1077 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 104      Redwolf Lodge at Squaw Valley                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2000 Squaw, Loop Rd                                        When was the debt incurred?
          Olympic Valley, CA 96146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 105      Regal Palms                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2700 Sand Mine Rd                                          When was the debt incurred?
          Davenport, FL 33897
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 106      Regina and Virginia Jones                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8645 Provident St                                          When was the debt incurred?
          Philadelphia, PA 19150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1036 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1078 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 107      Reginald Walker                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          109 Wave Rd, Unit #11                                      When was the debt incurred?
          Kings Mountain, NC 28086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 108      Regus Management Group LLC                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 842456                                            When was the debt incurred?
          Dallas, TX 75284
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 109      Rejane & Demetrius Miller                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19506 Meadow Lakes Dr.                                     When was the debt incurred?
          Cypress, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1037 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1079 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 110      Rena Jackson                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          560 Dixon Road                                             When was the debt incurred?
          Jonesboro, GA 30238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 111      Rene & Ania Curbelo                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1307 Windleaf Dr. Unit A                                   When was the debt incurred?
          Reston, VA 20194
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 112      Rene Morse                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7602 Parker Road                                           When was the debt incurred?
          Houston, TX 77016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1038 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1080 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 113      Renee Bazinet and Todd Healy                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17167 E Hawksbead Drive                                    When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,499.00


 4.3
 114      Renee Enoch                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          183 E. 98th St. Apt. 3A                                    When was the debt incurred?
          New York, NY 10029
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 115      Renee Regnier                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5434 Rome St                                               When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1039 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1081 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 116      Reno and Randy and Ryan Engel                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4554 Marion Rd                                             When was the debt incurred?
          Marion, TX 76051
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 117      Resort at World Golf Village                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 World Golf Pl                                            When was the debt incurred?
          St. Augustine, FL 32092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 118      Resort Marketing Corp Hilton Head                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20 Executive Park Road                                     When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1040 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1082 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Reuben H. and Deborah C. Hubbart
 119      JR                                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          866 Promenade Ln                                           When was the debt incurred?
          Bluffton, SC 29909
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Reyes and Rosalia Rodriguez Jr /
 120      Domingu                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3020 Lavell                                                When was the debt incurred?
          Wichita Falls, TX 76308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 121      Reynold (Dean) & Laura Meisegeier                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 WoodCrest Drive                                        When was the debt incurred?
          Swartz Creek, MI 48473
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1041 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1083 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 122      Rhoda Harper-Smith                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12805 Richmond Ave                                         When was the debt incurred?
          Grandveiw, MO 64030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Rhode Island Office of the Attorney
 123      Gene                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          150 South Main Street                                      When was the debt incurred?
          Providence, RI 02903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 124      Rhonda and James Jim Armbrester                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4803 Jones Cove Road                                       When was the debt incurred?
          Cosby, TN 37722
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1042 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1084 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 125      Rhonda Gunnels                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          47722 CRC                                                  When was the debt incurred?
          Center, CO 81125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 126      Rhonda Newman and James Smith                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8644 Adrienne PL                                           When was the debt incurred?
          Manassas, VA 20110
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 127      Ricardo & Donna Canchola                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5778 Beadmell Eay                                          When was the debt incurred?
          Saramento, CA 95835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1043 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1085 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Ricardo & Izabella
 128      Acosta/Milasinovich                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6835 Huron St, Unit #207                                   When was the debt incurred?
          Broomfield, CO 80023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Ricardo Haro and Guadalupe De La
 129      Rosa                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3302 S. 61 Ave.                                            When was the debt incurred?
          Cicero, IL 60804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 130      Rich & Sheila Griffin                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10973 Glengate Circle                                      When was the debt incurred?
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1044 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1086 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 131      Richard & Anne Presley                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1019 Pecan Ridge Lane                                      When was the debt incurred?
          Sealy, TX 77474
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 132      Richard & Balbina Rosalez                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          175 Country Rd 228                                         When was the debt incurred?
          Ganado, TX 77962
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 133      Richard & Beverly Schultz                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 41705                                             When was the debt incurred?
          St. Petersburg, FL
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1045 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1087 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 134      Richard & Cynthia Dushuttle/Devine                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1511 Binney Dr                                             When was the debt incurred?
          Fort Pierce, FL 34949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 135      Richard & Heidi Zomnir                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          800 Chapel Hill Court                                      When was the debt incurred?
          Gibsonia, PA 15044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 136      Richard & Janelle Reding                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1937 W Carrizo Springs                                     When was the debt incurred?
          Pueblo, CO 81007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1046 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1088 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 137      Richard & Kathy Lucero/Rojas                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2895 S Vaughn Way                                          When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 138      Richard & Kristen Lorentzen                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19 Concord Rd                                              When was the debt incurred?
          Iselin, NJ 08830
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 139      Richard & Latriece Connolly                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2073 Graystone Hills Drive                                 When was the debt incurred?
          Conroe, TX 77304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1047 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1089 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 140      Richard & Laura Gervais                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5234 Carlingford                                           When was the debt incurred?
          Riverside, CA 92504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 141      Richard & Maggie Abbott-Wills                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          648 W Park Avenue                                          When was the debt incurred?
          Johnstown, CO 80534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 142      Richard & Teresa Galbraith                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          126487 N Bridge Road                                       When was the debt incurred?
          Aberdeen, SD 57401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1048 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1090 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 143      Richard & Wanda Harrison                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          431 NE Plantation Rd                                       When was the debt incurred?
          Stewart, FL 34996
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 144      Richard and Barbara Garti                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11764 Casa Lago Ln                                         When was the debt incurred?
          Tampa, FL 33626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 145      Richard and Cindy Thomas                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          353 RiverFront Dr                                          When was the debt incurred?
          Hertford, NC 27944
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1049 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1091 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 146      Richard and Emma Davis                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7635 Great Bear Lake Drive                                 When was the debt incurred?
          Micco, FL 32976
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 147      Richard and Holly Rogers                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          27801 East Long Place                                      When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 148      Richard and Mary Jane Keller                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1811 Educational DR                                        When was the debt incurred?
          White Oak, PA 15131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1050 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1092 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Richard Capovilla and Willene
 149      Patton                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          308 Tartan Dr                                              When was the debt incurred?
          Johnstown, CO 80534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 150      Richard Harvey                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2957 Osceola St                                            When was the debt incurred?
          Denver, CO 80212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 151      Richard Howarth                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          361 Rue Huron                                              When was the debt incurred?
          Pincourt, Quebec, Canada J7W 6G7
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1051 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1093 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 152      Richard Sandoval                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3847 View Street                                           When was the debt incurred?
          Bakersfield, CA 93306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 153      Richard Trivette                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1039 Castle Rock Court                                     When was the debt incurred?
          Concord, NC 28025
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 154      Rick & Janet Santana                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7791 18th Ave. North                                       When was the debt incurred?
          St. Petersburg, FL 33710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1052 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1094 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 155      Rick & Sandy Fell                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8587 Bluegrass Cir                                         When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 156      Rick And Barbara Cherry                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          377 Caprice                                                When was the debt incurred?
          Lincolnton, NC 28092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 157      Ridge at Tahoe                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 Ridge Club Dr                                          When was the debt incurred?
          Stateline, NV 89449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1053 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1095 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Ridge Crest Resort -
 158      Tahoe/Interval/Reso                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26125 US-27                                                When was the debt incurred?
          Leesburg, FL 34748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 159      Ridge Sierra Lake Tahoe                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          265 Quaking Aspen Ln                                       When was the debt incurred?
          Zephyr Cove, NV 89448
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Rigoberto & Kristie Rodriguez/
 160      Martinez                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          111 South Main Street                                      When was the debt incurred?
          Yerington, NV 89447
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1054 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1096 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 161      Rip Tide Beach Club                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2806 N Ocean Blvd                                          When was the debt incurred?
          Myrtle Beach, SC 29577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 162      Rita (Joy) & Bryan Hundley                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          565 Easy St                                                When was the debt incurred?
          North Vernon, IN 47265-6432
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 163      Rita Akanet                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19 Meadowbrook Ct Apt D                                    When was the debt incurred?
          Fayatteville, GA 30215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1055 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1097 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 164      Rita Bowles                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8275 Circle Dr                                             When was the debt incurred?
          Westeminster, CO 80031
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 165      Rita Eckhart                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1275 Mayfield Rd                                           When was the debt incurred?
          Alpharetta, GA 30009
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 166      Rita Jones                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1333 Clybourne Street                                      When was the debt incurred?
          Batavia, IL 60510
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1056 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1098 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 167      Rita Melson                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20 Lakemont Drive                                          When was the debt incurred?
          Newnen, GA 30263
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 168      Rita Perkin                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8 6527 113th Place SE                                      When was the debt incurred?
          Bellevue, WA 98006
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 169      Rita Sundermann                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          817 NE Sonora Valley Cir                                   When was the debt incurred?
          Blue Springs, MO 64014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1057 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1099 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 170      Ritz-Carlton Club                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10400 FERNWOOD ROAD                                        When was the debt incurred?
          BETHESDA, MARYLAND
          20817-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 171      Rob & Carolyn Sheppard                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          55 Spring Meadow Dr                                        When was the debt incurred?
          Weatherly, PA 18255
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 172      Robb and Tracy Hart                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5023 Fairfax E.                                            When was the debt incurred?
          Lakeland, FL 33813
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1058 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1100 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 173      Robbin & Timothy Reynolds                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4810 Bramble Way                                           When was the debt incurred?
          Shreveport, LA 71118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 174      Robert & Cynthia Pachello                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2117 S Idalia St                                           When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 175      Robert & Debra Shuman                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9210 Pine Cove Rd                                          When was the debt incurred?
          Englewood, FL 34224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1059 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1101 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 176      Robert & Dixie Sharp                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3298 Hickory Fork Road                                     When was the debt incurred?
          Gloucster, VA 23061
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 177      Robert & Donna Pembrooke                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          449 Tivoli Rd                                              When was the debt incurred?
          Pittsburgh, PA 15239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 178      Robert & Elizabeth Bedi                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1180 Chestershire Place                                    When was the debt incurred?
          Pottstown, PA 19465
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1060 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1102 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 179      Robert & Joan Merritt                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4222 CR 475                                                When was the debt incurred?
          Bushnell, FL 33513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 180      Robert & Kathleen Sembly                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          55 Southwell Court                                         When was the debt incurred?
          Dover, DE 19904
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 181      Robert & Kerry Vano                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6107 E. Calle De Pompas                                    When was the debt incurred?
          Cave Creek, AZ 85331
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1061 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1103 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 182      Robert & Laura Casias                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5126 La Randa Dr.                                          When was the debt incurred?
          Pueblo, CO 81005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 183      Robert & Linda Bolerjack                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4427 Shady River                                           When was the debt incurred?
          Missouri City, TX 77459
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 184      Robert & Linda Campbell                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3154 Ames Ave                                              When was the debt incurred?
          Kingman, AZ 86409
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1062 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1104 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 185      Robert & Marcy Zavacky                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          415 Elmore Ave.                                            When was the debt incurred?
          West Mifflin, PA 15122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 186      Robert & Nancy Mockenhaupt                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6749 W Fair Dr                                             When was the debt incurred?
          Littleton, Co 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 187      Robert & Sarita Darby                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          247 County Road 1073                                       When was the debt incurred?
          Mountain Home, AR 72653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1063 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1105 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 188      Robert & Saundra Glyer                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5420 Highway 554                                           When was the debt incurred?
          Calhoun, KY 42327
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 189      Robert & Susan Hollis                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7020 W. 64th Ave                                           When was the debt incurred?
          Arvada, CO 80003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 190      Robert & Susan Saide                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7051 W. Eugie Ave.                                         When was the debt incurred?
          Peoria, AZ 85381
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1064 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1106 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 191      Robert & Terrie Schleiter                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4018 Cattail Pond Circle W                                 When was the debt incurred?
          Jacksonville, FL 32224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 192      Robert & Vickie Gilmore                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          689 Cielo Vista Dr.                                        When was the debt incurred?
          Greenwood, IN 46143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 193      Robert and Ana Coronado                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          96 Camelot Ridge Dr.                                       When was the debt incurred?
          Brandon, FL 33511
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1065 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1107 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 194      Robert and Angelita Kopec                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2573 S Fundy Cir                                           When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 195      Robert and Ann Morehead                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4505 S Yosemite St #35                                     When was the debt incurred?
          Denver, CO 80237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 196      Robert and Celinda Miller                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9401 Central Park Ave                                      When was the debt incurred?
          Evanston, IL 60203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1066 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1108 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 197      Robert and Cynthia Primera                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14831 Hollydale Dr.                                        When was the debt incurred?
          Houston, TX 77062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 198      Robert and Jacqueline Komrek                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          964 Oakview Rd                                             When was the debt incurred?
          Tarpon Springs, FL 34689
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 199      Robert and Jamie McMichael                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1220 Suncrest Lane                                         When was the debt incurred?
          Pueblo, CO 81005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1067 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1109 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 200      Robert and Kathryn Aliano                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8067 S Newport Ct                                          When was the debt incurred?
          Centennial, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 201      Robert And Linda Savage                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23745 S. Jonathan Lane                                     When was the debt incurred?
          Crete, IL 60417
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 202      Robert And Lucia (Lucy) Castro                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14117 W 6th St                                             When was the debt incurred?
          Santa Fe, TX 77517
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1068 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1110 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 203      Robert and Lynn Bowman                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          130 36th Street                                            When was the debt incurred?
          Sea Isle City, NJ 08243
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 204      Robert And Mahaley Souza                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1674 Hwy 581                                               When was the debt incurred?
          Pikeville, NC 27863
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 205      Robert And Margaret Parker                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7762 Bloomfield Road                                       When was the debt incurred?
          Easton, MD 21601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1069 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1111 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 206      Robert and Marianne Dinges                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7406 West 19th Street                                      When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 207      Robert and Mary Andersen                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          61141 Colorado Road 35                                     When was the debt incurred?
          Genoc, CO 80818
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 208      Robert and Rachel Munoz                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3216 12th St                                               When was the debt incurred?
          Bay City, TX 77414
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1070 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1112 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 209      Robert and Sarann Nolen                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          426 Tall Oaks Ln                                           When was the debt incurred?
          Richardson, TX 75081
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 210      Robert and Shirley Ochsner                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7141 South Coolidge Ct.                                    When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 211      Robert Barrett                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7057 Talon Bay Drive                                       When was the debt incurred?
          North Port, FL 34287
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1071 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1113 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 212      Robert Barry Minor                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6003 Wolf Creek Rd                                         When was the debt incurred?
          Wasa, BC ZOB2KO
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 213      Robert Bryant                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          304 Foxridge Road                                          When was the debt incurred?
          Orange Park, FL 32065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 214      Robert Gundel                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5090 Richmond Ave #280                                     When was the debt incurred?
          Houston, TX 77056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1072 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1114 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 215      Robert Holloway                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11446 Jay St.                                              When was the debt incurred?
          Westminster, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 216      Robert Jackson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          980 E. Main St.                                            When was the debt incurred?
          Smyrna, SC 29743
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 217      Robert Lee                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          281 Ponderosa Driv                                         When was the debt incurred?
          Boulder, CO 80303
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1073 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1115 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 218      Robert Mace                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          891 Dorchester Dr                                          When was the debt incurred?
          Carol Stream, IL 60188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 219      Robert Moore/Teri McMichael                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6750 Falcon Springs Point                                  When was the debt incurred?
          Peyton, CO 80831-7994
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 220      Robert Morales                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1517 Lions Club Dr                                         When was the debt incurred?
          Brandon, FL 33511
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1074 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1116 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 221      Robert Nelson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5446 Ashbrook Place                                        When was the debt incurred?
          Downers Grove, IL 60515
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 222      Robert Pletcher                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1892                                                When was the debt incurred?
          Fraser, CO 80442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 223      Robert Sauzek                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          158 Inverness Dr W, D215                                   When was the debt incurred?
          Englewood, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1075 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1117 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 224      Robert Sayle                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7562 Ellis Ave., Apt G3                                    When was the debt incurred?
          Huntington Beach, CA 92648
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 225      Robert Seaman                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          333 Caruso Court                                           When was the debt incurred?
          Atlanta, GA 30350
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 226      Robert Steapp and Sheila Karsh                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3862 S. Xanthia St                                         When was the debt incurred?
          Denver, Co 80237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1076 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1118 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 227      Robert Sustak                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          745 Hunting View Pt NW                                     When was the debt incurred?
          Sandy Springs, GA 30328-2784
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 228      Robert Talotta/Kathy Furgarino                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          416 Highland Ave.                                          When was the debt incurred?
          Westville, NJ 08093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 229      Roberta (Bobbi) J Wilson                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2610 Park Hills Drive                                      When was the debt incurred?
          Sacramento, CA 95821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1077 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1119 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 230      Roberta and Charles Widiger                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          343 S Peoria Cr                                            When was the debt incurred?
          Aurora, CO 80012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 231      Roberta And Robert Brew                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8114 Ashley Cir Drive N                                    When was the debt incurred?
          Houston, TX 77071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 232      Roberta Haas                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Sophia Abe Apt # 204                                   When was the debt incurred?
          Pittsburgh, PA 15236
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1078 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1120 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 233      Roberta Rello and Al Casey                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          123 Gaslight Drive                                         When was the debt incurred?
          Apt 1
          South Weymouth, MA 02190
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 234      Robin Wabel                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          770 West On the Greens Blvd                                When was the debt incurred?
          Cottonwood, AZ 86326-4597
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Robin Willis and Richard and Janet
 235      Green                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6509 Meadows West Dr                                       When was the debt incurred?
          Fort Worth, TX 76132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1079 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1121 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Robin Wright and Lots of Love
 236      Preschool                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6052 Old Plank Blvd.                                       When was the debt incurred?
          Mattson, IL 60443
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 237      Robina Lee                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4331 Gorman Ter SE                                         When was the debt incurred?
          Washington, D.C. 20019-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 238      Rodney & Donnetta Norris                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          611 Walnut Bend Drive                                      When was the debt incurred?
          Mansfield, TX 76063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1080 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1122 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 239      Rodney & Lori Covington                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10402 N Mcclellan Drive                                    When was the debt incurred?
          Fredericksburg, VA 22408
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 240      Rodney and Janice McElvaine                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15713 W Almeria Rd                                         When was the debt incurred?
          Goodyear, AZ 85395
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 241      Roger & Carol Bolanda                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7555 Anvil Horn                                            When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1081 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1123 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 242      Roger & Donna Suro                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 Great Circle Road                                        When was the debt incurred?
          Newark, DE 19711
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 243      Roger & Rosalie Poole                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5034 Sand Rock Road                                        When was the debt incurred?
          Smithton, IL 62285
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 244      Roger And Mitzi Mayfield                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          115 Springfield Dr                                         When was the debt incurred?
          Cooper, TX 75432
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1082 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1124 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 245      Roger And Sharon Vincent                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7106 Prairie Village Drive                                 When was the debt incurred?
          Cypress, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 246      Romeo & Carol Lafond                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1435 Blue Sky Way                                          When was the debt incurred?
          Unit 8-107
          Erie, CO 80516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 247      Romona Kea                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          653 Morgans Trace                                          When was the debt incurred?
          Ellenwood, GA 30294
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1083 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1125 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 248      Ron & Donna Hutchins                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12002 Nova Dr                                              When was the debt incurred?
          Houston, TX 77077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 249      Ron & Jackie Newlander                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          854 Sam Tennant Dr                                         When was the debt incurred?
          Dundee, FL 33838
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 250      Ron & Kathryn Cline                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 197                                                 When was the debt incurred?
          Ouray, CO 81427
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1084 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1126 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 251      Ron and Donna Shaver                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          318 Cheyenne St                                            When was the debt incurred?
          Ft Morgan, CO 80701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 252      Ron and Elena Roberts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          130 Scenic Trail                                           When was the debt incurred?
          Warrior, AL 35830
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 253      Ron Griesenauer                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3853 Marcia Dr.                                            When was the debt incurred?
          St. Charles, MO 63304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1085 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1127 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 254      Ron Hyer                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          387 Jess-Mar Drive                                         When was the debt incurred?
          Shawaee, CO 80475
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $5,750.00


 4.3
 255      Ronald & Brenda Adams                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1229 Reedsport Place                                       When was the debt incurred?
          Desoto, TX 75115
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 256      Ronald & Carol Allen                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1320 SE Ridgecrest Road                                    When was the debt incurred?
          Happy Valley, OR 97086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1086 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1128 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 257      Ronald & Eloise White                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          208 Womble Ave                                             When was the debt incurred?
          Savannah, GA 31406
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 258      Ronald & June Burney                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5004 Sugar Farm Rd                                         When was the debt incurred?
          Hazlehurst, MS 39083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 259      Ronald & Mary Owen                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1011 Winding River Lane                                    When was the debt incurred?
          Phoenixville, PA 19460
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1087 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1129 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 260      Ronald & Vicki Scanlon                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3614 Philmar Drive                                         When was the debt incurred?
          Toledo, OH 43623
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 261      Ronald and Barbara Saville                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2449 Jessica Drive                                         When was the debt incurred?
          Gilbertsville, PA 19525
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 262      Ronald And Cara Reish                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          839 Crestline Pl                                           When was the debt incurred?
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1088 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1130 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 263      Ronald and Joyce Sampay                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14615 Lourdes Drive                                        When was the debt incurred?
          Houston, TX 77049
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 264      Ronald and Maryanne Fasula                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          425 E. Carol Ann Way                                       When was the debt incurred?
          Phoenix, AZ 85022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 265      Ronald And Sally Boys                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Rosehill Drive                                           When was the debt incurred?
          Sandys, Bermuda MA01
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1089 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1131 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 266      Ronald and Susan Glotzbach                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2733 Alstone Manor Dr.                                     When was the debt incurred?
          Fort Wayne, IN 46804
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 267      Ronald Ducroq                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2415 Marshall Parkway                                      When was the debt incurred?
          PO Box 8586
          Waukegan, IL 60079
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 268      Ronald Johnson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18981 100th Ave                                            When was the debt incurred?
          Tustin, MI 49688
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1090 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1132 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 269      Ronald Lang                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2819 Linden Street                                         When was the debt incurred?
          Bethlehem, PA 18017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 270      Ronald Mitchell                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4015 W 93rd St Unit 2B                                     When was the debt incurred?
          Oak Lawn, IL 60477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 271      Ronna and Rhett Buckley                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7269 South Garland Court                                   When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1091 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1133 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 272      Ronnie & Andrea Lynn Wyatt                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4655 Lake View Drive West                                  When was the debt incurred?
          Lakeland, FL 33813
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 273      Ronnie & Judi Vaughn                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1708 Camino Rio                                            When was the debt incurred?
          Farmington, NM 87401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 274      Rosa & Nichelle Bentley                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          130 E Juanita                                              When was the debt incurred?
          Gilbert, AZ 85234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1092 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1134 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 275      Rosa & Yamil Widy                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1424 Chatsworth TRCE                                       When was the debt incurred?
          Lawrenceville, GA 30044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 276      Rosa And Victor Rodriguez/Alvarez                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7829 41st Place                                            When was the debt incurred?
          Lyons, IL 60534
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 277      Rosalind & Andrew Dunmore                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          111 Raleigh St SE                                          When was the debt incurred?
          Washington, DC 20032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1093 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1135 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 278      Rosalind and Arthur Waller                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Elizabeth Drive                                        When was the debt incurred?
          Apt 1401
          Pittsburgh, PA 15220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 279      Rosalind and Robert Ciencin                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11440 W 78th Drive                                         When was the debt incurred?
          Aurora, CO 80005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 280      Rosalyne Cameron                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          247 S. Pickett St Unit #301                                When was the debt incurred?
          Alexandria, VA 45787-1872
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1094 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1136 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 281      Rosamari Isong                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6648 Youngstown                                            When was the debt incurred?
          Chino, CA 91710
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 282      Rosanne and Calvin Moten                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1605 Westchester Blvd.                                     When was the debt incurred?
          Westchester, IL 60154
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 283      Roscoe and Carol Dyal                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7395 East Ponderosa Circle                                 When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1095 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1137 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 284      Rose And Barry Roosevelt                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3262 Canyon Glen Way                                       When was the debt incurred?
          Dacua, GA 30019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 285      Rose Braswell                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1117 Crescent Court                                        When was the debt incurred?
          Round Lake Beach, IL 60073
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 286      Roseann Farrow (Masterson)                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 10065                                               When was the debt incurred?
          Newburgh, NY 12552
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1096 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1138 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 287      Rosemarie Read                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9201 E. Mississippi Ave.                                   When was the debt incurred?
          Denver, CO 80247
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Rosemary, Michael and Patrick
 288      Walsh                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1034 Fellsway                                              When was the debt incurred?
          Medford, MA 02155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 289      Rosendo and Teresa Treto                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          771 Glenarbor Circle                                       When was the debt incurred?
          Longmont, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1097 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1139 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 290      Rosetta & Lacey Harper                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          501 Center Hill Ave NW                                     When was the debt incurred?
          Atlanta, GA 30318
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 291      Rosie & Thomas Mitchell                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          920 South Lyman Ave                                        When was the debt incurred?
          Oakpark, IL 60304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 292      Rosita Redoux                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2420 Morningview Lane                                      When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1098 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1140 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 293      Ross & Jennifer Brady                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          208 Love Grass Court                                       When was the debt incurred?
          Wilmington, NC 28405
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 294      Ross & Judith Landers                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8702 49th Terrace E                                        When was the debt incurred?
          Bradenton, FL 34211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 295      Roundhouse Resort in Pinetop                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5829 Buck Springs Rd                                       When was the debt incurred?
          Pinetop, AZ 85935
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1099 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1141 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 296      Roxanne Askins                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5121 Mountain View Drive                                   When was the debt incurred?
          Krum, TX 76249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 297      Roxanne Carson and John Wiewel                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6715 Rock Bridge Lane                                      When was the debt incurred?
          Ellenton, FL 34222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 298      Roy & Belinda Hopkins                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19434 W. Whitton Ave.                                      When was the debt incurred?
          Litchfield Park, AZ 85340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1100 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1142 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 299      Roy & Yvonne Jackson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1037 South Adams Street                                    When was the debt incurred?
          Hugoton, KS 67951
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 300      Roy and Mary Perez                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          231 Apache Place                                           When was the debt incurred?
          Lochbuie, CO 80603
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 301      Roy and Sharon Johnson                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3178 139th Ave NW                                          When was the debt incurred?
          Andover, MN 55304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1101 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1143 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 302      Royal Aloha Vacation Club                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2224 Aloha Drive                                           When was the debt incurred?
          Honolulu, HI 96815
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 303      Royal Beach and Tennis Club                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 Padre Blvd                                             When was the debt incurred?
          South Padre Island, TX 78597
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 304      Royal Elite Vacation Club                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Carretera Puerto Juarez-Chetumal                           When was the debt incurred?
          Km. 295
          Calica, 77710, Playa del Carmen, Q.
          Mexi
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1102 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1144 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 305      Royal Hacienda                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Km. 289+10, Carr. Canc n - Tulum,                          When was the debt incurred?
          Centro
          , Playa del Carmen, Q. Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 306      Royal Holiday Vacation Club                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5727 NW 7th St - MMB # 281                                 When was the debt incurred?
          Miami, FL 33126-3105
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Rozita Sterling and Ernest
 307      Cusseaux                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          404 Concord Drive                                          When was the debt incurred?
          Hurst, TX 76054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1103 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1145 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 308      Rubin And Marie Mack                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          402 Fieldstone Drive                                       When was the debt incurred?
          Monroeville, PA 15146
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 309      Ruby & Leroy Gordon                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          601 S Edgelawn Dr                                          When was the debt incurred?
          Aurora, IL 60506
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 310      Ruby Armstrong-Bey                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3541 S Telluride Way                                       When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1104 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1146 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 311      Rubye Bailey and Katie Autry                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5952 W. Iowa St                                            When was the debt incurred?
          Chicago, IL 60651
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Rudolph Fuys & Annemarie
 312      Behrendt                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5038 E. Emelita Ave                                        When was the debt incurred?
          Mesa, AZ 85206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 313      Russell & Judith Rugani/Karbowski                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          154 Foxwood Rd                                             When was the debt incurred?
          Coraopolis, PA 15108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1105 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1147 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 314      Russell & Tiffany Lind                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          527 South Oak Dr.                                          When was the debt incurred?
          Vadnais, MN 55127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 315      Russell And Donna Sutherland                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          560 Buccaneer Drive                                        When was the debt incurred?
          Winnie, TX 77665
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 316      Ruth and Mark Stadtfeld                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8022 Tamayo Dr                                             When was the debt incurred?
          Houston, TX 77083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1106 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1148 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 317      Ruth Ann & David Hankins                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3140 West 50th Street                                      When was the debt incurred?
          Indianapolis, IN 46228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 318      Ruth Barron Berumen                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2951 Alder St                                              When was the debt incurred?
          Denver, CO 80260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 319      Ruth Schmieden                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9627 N Crystal Lake Drive                                  When was the debt incurred?
          Littleton, CO 80125
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1107 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1149 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 320      Ruthie And Adriane Brown                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          605. N 33rd St                                             When was the debt incurred?
          Philadelphia, PA 19104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 321      Ryan & Angela King                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5666 Waverley Rd.                                          When was the debt incurred?
          Firestone, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 322      Ryan & Carrie Taylor                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13852 Farm Road 69 North                                   When was the debt incurred?
          Sulphur Bluff, TX 75481
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1108 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1150 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 323      Ryan & Claudia Dacoscos/Ibarra                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1663 East G Street Apt 151                                 When was the debt incurred?
          Ontario, CA 91764
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 324      Ryan Brown                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1827 S Ventura St                                          When was the debt incurred?
          Aurora, CO 80017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 325      Saba Wolde and Dan Teferi                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20347 Center Brook Square                                  When was the debt incurred?
          Sterling, VA 20165
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1109 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1151 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Sabrina and Alexander
 326      Cherry/Barking                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2188 A Fulton Street                                       When was the debt incurred?
          Brooklyn, NY 11233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 327      Sabrina Woods/Susette Baines                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17927 Diamond Peak Court                                   When was the debt incurred?
          Humble, TX 77346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 328      Saeng Sayavong                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7171 Ruth Way                                              When was the debt incurred?
          Denver, CO 80221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1110 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1152 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 329      Sally and Richard Giller                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5300 Blue Heron Blvd                                       When was the debt incurred?
          West Richland, WA 99353
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 330      Sally Cowell                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17070 Gannon Way                                           When was the debt incurred?
          Rosemont, MN 55068
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 331      Sally Merlock (Hampton)                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2382 East Chestnut Ave                                     When was the debt incurred?
          Vineland, NJ 08361
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1111 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1153 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 332      Salvador & Isabel Rivera                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5299 S. Cody Street                                        When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 333      Salvador & Noregen Noble                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2710 Middleborough Circle                                  When was the debt incurred?
          San Jose, CA 95132
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Salvador and Dora and Lizeth
 334      Barrera                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10706 Indian Trail Drive                                   When was the debt incurred?
          Tomball, TX 77388
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1112 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1154 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 335      Salvatore Russo/Josesa Tapiador                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11014 Grass Finch Road                                     When was the debt incurred?
          Weeki Wachee, FL 34613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 336      Sam & Deborah Finney                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9900 Covered Bridge Rd                                     When was the debt incurred?
          Prospect, KY 40059
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 337      Sam & Helen Thielke                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8146 E Medina Ave                                          When was the debt incurred?
          Mesa, AZ 85209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1113 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1155 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 338      Sam & Sharon McCrickard                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1845 Quebec Court                                          When was the debt incurred?
          Middleburg, FL 32068
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 339      Sam and Karen Toney                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4461 Shadow Lane                                           When was the debt incurred?
          Spruce Creek, PA 16683
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 340      Sam McKenzie                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6562 E Asbury Ave                                          When was the debt incurred?
          Denver, CO 80224
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1114 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1156 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 341      Samantha Perez                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14214 Petrel Dr                                            When was the debt incurred?
          Colorado Springs, CO 80921
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 342      Samantha Simpson                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7553 Winchester Avenue                                     When was the debt incurred?
          Chicago, IL 60620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 343      Samuel & Patricia Van Houten                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          325 E Pierce St                                            When was the debt incurred?
          Tempe, AZ 85281
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1115 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1157 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 344      Samuel and Linda Pullum                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8555 S Rockwell St                                         When was the debt incurred?
          Chicago, IL 60652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 345      Samuel and Vanessa Lucero                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7506 Quay St                                               When was the debt incurred?
          Arvada, CO 80003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 346      Samuel E. & Valerie Dottin                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          55 Amark Rd                                                When was the debt incurred?
          Brockton, MA 02302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1116 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1158 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 347      Sand Beach Club                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9400 Shore Dr                                              When was the debt incurred?
          Myrtle Beach, SC 29572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 348      Sandcastle Cove                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1141 Broad Creek Rd                                        When was the debt incurred?
          New Bern, NC 28560
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 349      Sandi Mosser                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16370 W 10th Ave                                           When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1117 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1159 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 350      Sandra & Donald Lunnon-Jenkins                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8610 Josie St                                              When was the debt incurred?
          Houston, TX 77029
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 351      Sandra (Sandy) Bell                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          365 West Division Street                                   When was the debt incurred?
          Coal City, IL 60416
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 352      Sandra and Geoffrey Pitts                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4309 Mossy Top Court                                       When was the debt incurred?
          Tallahassee, FL 32303
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1118 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1160 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 353      Sandra and James Moore                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          26194 Trailwood Dr.                                        When was the debt incurred?
          Warrenton, MO 63383
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 354      Sandra and Paul Straube                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          156 West Drive                                             When was the debt incurred?
          Northlake, IL 60164
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 355      Sandra and Richard Fox                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          593 South Macon Court                                      When was the debt incurred?
          Aurora, CO 80012
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1119 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1161 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 356      Sandra and Victor Alaniz                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          755 Cameron Dr                                             When was the debt incurred?
          Antioch, IL 60002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 357      Sandra Goodrich                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9559 W Coal Mine Ave                                       When was the debt incurred?
          Apt G
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 358      Sandra Green                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7600 Stenton Avenue                                        When was the debt incurred?
          Apt 3 i
          Philadelphia, PA 19118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1120 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1162 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 359      Sandra Hume                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1655 S Hilock Terrace                                      When was the debt incurred?
          Inverness, FL 34452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 360      Sandra McFarland                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4601 Evenstar Way                                          When was the debt incurred?
          Plano, TX 75074
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 361      Sandra Messamishii                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18611 Clark Street Apt 7                                   When was the debt incurred?
          Tarzana, CA 91356
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1121 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1163 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 362      Sandra Runge                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2286 E. 1000 Ave                                           When was the debt incurred?
          Saint Peter, IL 62880
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 363      Sandra Wiltz                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18522 Knob Hill Lake Lane                                  When was the debt incurred?
          Humble, TX 77346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 364      Sands at Kahana                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4299 Lower Honoapiilani Rd                                 When was the debt incurred?
          Lahaina, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1122 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1164 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 365      Sands Ocean Club                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9550 Shore Dr                                              When was the debt incurred?
          Myrtle Beach,, SC 29572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 366      Sands of Kahana                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 30270                                             When was the debt incurred?
          Honolulu, HI 96820-0270
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 367      Sands of Kahana Resorts resort                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4299 Lower Honoapiilani Rd                                 When was the debt incurred?
          Lahaina, HI 96761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1123 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1165 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 368      Sandy Flynn                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9004 Excelsior Loop                                        When was the debt incurred?
          Venice, FL 34293
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 369      Sanstone Creek Club                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1020 Vail View Dr                                          When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 370      Sapphire Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3700 S Las Vegas Blvd                                      When was the debt incurred?
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1124 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1166 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Sapphire Resorts / Starpoint Resort
 371      Grou                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 93776                                             When was the debt incurred?
          Las Vegas, NV 89193
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sara And Tom Albright/Ann and
 372      Forrest Be                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8306 N Highland Ave                                        When was the debt incurred?
          Kansas city, MO 64118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 373      Sara McAtee                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          411 Walnut St #17775                                       When was the debt incurred?
          Green Cove Springs, FL 32043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1125 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1167 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 374      Sara Nuckols                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          912 Wilshire Drive                                         When was the debt incurred?
          Berhoud, CO 80513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 375      Sara O'Donnell and Judith Williams                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6943 Tulip St                                              When was the debt incurred?
          Philadelphia, PA 19135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 376      Sara Rapp                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Po Box 61023                                               When was the debt incurred?
          Phoenix, AZ 85082
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1126 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1168 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 377      Sarah & Alfred Ramos Kroeger                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15 County Rd 18                                            When was the debt incurred?
          Espanola, NM 87532
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 378      Sarah & Gabriel Ortega                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4434 Raymond Ave                                           When was the debt incurred?
          Brookfield, IL 60513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 379      Sarah Holtzclaw                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          181 King Street                                            When was the debt incurred?
          Clermont, GA 30527
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1127 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1169 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 380      Saundra Guyton                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6807 Coolridge Rd                                          When was the debt incurred?
          Temple Hills, MD 20748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 381      Scarlett And Carlos Romero                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          131 Evan Road                                              When was the debt incurred?
          Wrawick, NY 10990
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 382      Scenic Wolf Mountain Resort                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          578 Valley View Cir                                        When was the debt incurred?
          Mars Hill, NC 28754
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1128 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1170 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 383      Schooner II Beach & Racquet Club                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2108 N Ocean Blvd,                                         When was the debt incurred?
          Myrtle Beach,, SC 29577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 384      Scott & Camille Barnhart                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          860 Bramblewood Dr                                         When was the debt incurred?
          Castle Pines, CO 80108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 385      Scott & Christina Klemann                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          810 Red Tail Rd                                            When was the debt incurred?
          Yakima, WA 98908
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1129 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1171 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 386      Scott & Kimberly Williams/Popkey                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4929 W. Marcus Dr                                          When was the debt incurred?
          Phoenix, AZ 85083
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 387      Scott & Patricia (Tish) Kruzan                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16033 W 4th Street                                         When was the debt incurred?
          Hayward, WI 54843
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 388      Scott & Patricia Schneider                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1802 Pine Village Drive                                    When was the debt incurred?
          Houston, TX 77080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1130 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1172 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 389      Scott and Doreen Hendrix                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10556 Ura Lane                                             When was the debt incurred?
          Northglenn, CO 80234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 390      Scott And Kelly Evey                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6006 Allendale Ridge Trail                                 When was the debt incurred?
          Richmond, TX 77407
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 391      Scott And Rachelle Lehman                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3438 N. Valerie                                            When was the debt incurred?
          Witchita, KS 67205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1131 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1173 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 392      Scott and Sheree Held                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          553 Hoover Dr.                                             When was the debt incurred?
          Apollo, PA 15613
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Scott Anderson and Tammy
 393      Smallfoot                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          218 Spaulding Lane                                         When was the debt incurred?
          Fort Collins, CO 80524
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 394      Scott Burkhart                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6537 Trailhead Road                                        When was the debt incurred?
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1132 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1174 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 395      Scott Ohara & Laura Irwin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1651 W Canal Circle                                        When was the debt incurred?
          Unit 626
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 396      Scottsdale Pinnacle Owners Assoc                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17700 North Hayden Road, Unit:                             When was the debt incurred?
          2002
          Scottsdale, AZ 85255
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      scottsdale sonoran villas vacation
 397      owner                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          34305 N Scottsdale Rd,                                     When was the debt incurred?
          Scottsdale, AZ 85266
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1133 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1175 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 398      Scripps Media                                              Last 4 digits of account number       2443                                                   $0.00
          Nonpriority Creditor's Name
          312 Walnut St.                                             When was the debt incurred?
          Cincinnati, OH 45202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $4,057.49


 4.3      Scripps Media, Inc, KGTV,
 399      KMGH,KNXV, KS                                              Last 4 digits of account number       3816                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 204268                                            When was the debt incurred?
          Dallas, TX 75320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 400      Sea Crest Surf & Raquet Club                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3 Avocet Rd                                                When was the debt incurred?
          Hilton Head Island, SC 29938
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1134 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1176 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 401      Sea Mist Oceanfront Resort                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          305 13th Avenue                                            When was the debt incurred?
          South Myrtle Beach, SC 29577
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 402      Sea Palace                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          147 Voorstraat                                             When was the debt incurred?
          Philipsburg, Sint Maarten
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 403      Sea Scape Beach and Golf Club                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4724 N Croatan Hwy                                         When was the debt incurred?
          Kitty Hawk, NC 27949
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1135 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1177 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 404      Sea Watch Inn at The Landing                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          215 Atlantic Ave                                           When was the debt incurred?
          Murrells Inlet, SC 29576
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 405      Sean & April Yarger                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2856 E Sandy Ct                                            When was the debt incurred?
          Gilbert, AZ 85297
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 406      Sean Hawkins and Donna Stammen                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1740 N Avenue Apt G                                        When was the debt incurred?
          National City, CA 91950
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1136 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1178 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 407      Sean Kelly                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13703 Dexter Street                                        When was the debt incurred?
          Thornton, CO 80602
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Seasons at Greenwood
 408      Condominiums                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1405 Olde Rd                                               When was the debt incurred?
          Clymer, NY 14724
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 409      Seasons Holidays                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Wynchgate House, Woodlands                                 When was the debt incurred?
          Lane
          Bradley Stoke, Bristol BS32 4JT
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1137 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1179 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 410      Sedona Pines Resort                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6701 AZ-89A                                                When was the debt incurred?
          Sedona, AZ 86336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 411      Sedona Summit                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4055 Navoti Dr,                                            When was the debt incurred?
          Sedona, AZ 86336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sedona Vacation Club- Los
 412      Abrigados                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          160 Portal Lane                                            When was the debt incurred?
          Sedona, AZ 86336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1138 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1180 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 413      Seline Braswell                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6429 Cherokee St                                           When was the debt incurred?
          Philadelphia, PA 19119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 414      Serene Imlay                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          150 Dayton St, Apt. C201                                   When was the debt incurred?
          Aurora, CO 80010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 415      Sergio & Beatrice Olivas                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3105 Granite Rock Trail                                    When was the debt incurred?
          Forney, TX 75126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1139 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1181 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 416      Sergio & Luz Rios                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4413 Archmere Ave.                                         When was the debt incurred?
          Cleveland, OH 44109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 417      Sergio Rios and Luz Ruiz                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          38446 N. Creek CT                                          When was the debt incurred?
          Beach Park, IL 60087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 418      Seth & Inger Jackson                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2330 Krameria St.                                          When was the debt incurred?
          Denver, CO 80207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1140 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1182 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 419      Shaina Trimboli                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18089 E Dorado Ave                                         When was the debt incurred?
          Centennial, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Shamecca Davis and Ebonique
 420      Alexander                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3571 S Richfield ST                                        When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 421      Shannan & Michael Pahe/Howard                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4109 W Alicia Dr.                                          When was the debt incurred?
          Laveen, AZ 85339
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1141 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1183 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 422      Shannon and Ben Sandoval                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6355 Metrowest Blvd. Suite 180                             When was the debt incurred?
          Castle Rock, CO 80108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sharon & Anthony & Melessa
 423      Finley/Willia                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5249 West Shore Drive SW                                   When was the debt incurred?
          Conyers, GA 30094
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 424      Sharon & Chris Conway                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16 Allen Lane                                              When was the debt incurred?
          Lexington, TN 38351
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1142 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1184 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 425      Sharon & Ronald Corntassel                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9 Wellington Way SE                                        When was the debt incurred?
          Rome, GA 30161
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 426      Sharon & Timmy Smith                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          164 Chriswood Ln                                           When was the debt incurred?
          Stafford, VA 22556
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 427      Sharon (Sherry) and Ken Beaty                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6409 West Grovers Ave                                      When was the debt incurred?
          Glendale, AZ 85308
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1143 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1185 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 428      Sharon and Kevin Brown                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          36 Luscombe Lane                                           When was the debt incurred?
          Sandwich, MA 02563
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 429      Sharon And Neil Meldgin                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8215 Eynsford Dr                                           When was the debt incurred?
          Orland, IL 60462
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 430      Sharon And Tim Mcculloch                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8527 Ashford Green Lane                                    When was the debt incurred?
          Houston, TX 77072-5670
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1144 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1186 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 431      Sharon Archer                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5022 36th Pl.                                              When was the debt incurred?
          Hyattsville, MD 20782
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 432      Sharon Blackman                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6829 Camino Rio                                            When was the debt incurred?
          Irving, TX 75093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 433      Sharon Callahan                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19 Graystone Dr                                            When was the debt incurred?
          Troy, MO 63379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1145 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1187 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 434      Sharon Condon- Hagel                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12021 S Greenfield Lane                                    When was the debt incurred?
          Medical Lake, WA 99022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 435      Sharon Davis                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1219 Summer Lane                                           When was the debt incurred?
          Jackson, MS 39211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 436      Sharon Kernan and Rebecca Olson                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          382 Quinton Hancock Bridge Road                            When was the debt incurred?
          Salom, NJ 08079
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1146 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1188 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Sharon LaMacchia and Dawn
 437      Gutner                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1214 Ballantrea Place                                      When was the debt incurred?
          Unit A
          Mundelein, IL 60060
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 438      Sharon Peppers                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5451 W. Jackson                                            When was the debt incurred?
           IL 60644
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 439      Sharon Poisson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6711 W 11th Place                                          When was the debt incurred?
          Westminster, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1147 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1189 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 440      Sharon Ross                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2820 Smooth Stone Trail                                    When was the debt incurred?
          Raleigh, NC 27610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 441      Sharon Unkart                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6371 S Lakeview St                                         When was the debt incurred?
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 442      Sharon Wood                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1601 Millers Ferry Rd                                      When was the debt incurred?
          Trailer 208
          Wilmer, TX 75172
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1148 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1190 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 443      Sharon Zias                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5844 E Ithaca Pl                                           When was the debt incurred?
          Denver, CO 80237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 444      Sharron Newble-Majors                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2845 Paddle Wheel Drive                                    When was the debt incurred?
          Nashville, TN 37214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 445      Shaun & Eleanor O'Kinsella                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10709 Ninth Dr SE                                          When was the debt incurred?
          Everett, WA 98208
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1149 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1191 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 446      Shaun Barnes                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4371 W Bellewood Dr                                        When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 447      Shaun Griffin                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3927 Horseshoe Circle                                      When was the debt incurred?
          Loomis, CA 95650
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 448      Shavonne Young/Alif Bey                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          110 Aidone Lane                                            When was the debt incurred?
          New Castle, DE 19720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1150 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1192 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 449      Shawn & Audrey Davis                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25 Evangeline Street                                       When was the debt incurred?
          Rochester, NY 14619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 450      Shawn & Steven Ransom                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          472 Westtree Lane                                          When was the debt incurred?
          Plantation, FL 33023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 451      Shawn Dixon                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1716 Skyline Drive                                         When was the debt incurred?
          Norfolk, VA 23518
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1151 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1193 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 452      Shawne & Oda Gay                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3608 Silver Oak Court                                      When was the debt incurred?
          Lakewales, FL 33898
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      SHAYNA G. SCHROEDER and
 453      Zetrouer Pasifer                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3135 1st Ave N #15549                                      When was the debt incurred?
          St Petersburg, FL 33733
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 454      Sheila & Arthur Braley III                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 926                                                 When was the debt incurred?
          #5 Odyssis Drive
          Onset, MA 02558
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1152 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1194 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 455      Sheila & James Spane                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5552 Foxwoods Drive                                        When was the debt incurred?
          Oak Lawn, IL 60453
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 456      Sheila and Danny Laughlin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2487 S Evanston St                                         When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 457      Sheila and Lamont Pouncil                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          912 NW 112th Terrace                                       When was the debt incurred?
          Kansas City, KS 64155
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1153 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1195 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 458      Sheila Bourne and Denise Bridge                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1655 Coolridge                                             When was the debt incurred?
          Willow Grove, PA 19090
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 459      Sheila Crawford                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          960 Blue Heron Drive                                       When was the debt incurred?
          Rio Vista, CA 94571
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 460      Sheila Lidberg                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11611 S Spainhour Rd                                       When was the debt incurred?
          Lone Jack, MO 64070
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1154 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1196 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 461      Shelby Yaffe                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1255 19th St, Apt 609                                      When was the debt incurred?
          Denver, CO 80202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 462      Shell Vacation Club                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6277 Sea Harbor Drive                                      When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 463      Shenandoah Villas                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1822 Resort Drive                                          When was the debt incurred?
          Massanutten, VA 22840
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1155 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1197 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Sheraton Corporate Office
 464      Headquarters a                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 N Oxford Valley Rd                                     When was the debt incurred?
          Langhorne, PA 19047
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sheraton Flex Vacations,LLC and
 465      Vistana                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9002 San Marco Ct                                          When was the debt incurred?
          Orlando, FL 32819-8600
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 466      Sheraton Steamboat Resort Villas                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2200 Village Inn Ct                                        When was the debt incurred?
          Steamboat Springs, CO 80487
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1156 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1198 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 467      Sheree and Luis Amaya                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5028 Joplin Ct                                             When was the debt incurred?
          Denver, CO 80239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 468      Sheri and Gary Shipley                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5107 NW High Drive Terrace                                 When was the debt incurred?
          Riverside, MO 64150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 469      Sheri Luaders                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12 Fawnwood Dr.                                            When was the debt incurred?
          St. Louis, MO 63128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1157 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1199 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 470      Sheridan and Clarence Lewis                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5110 Creekview Drive                                       When was the debt incurred?
          Laporte, TX 77571
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 471      Sheridan Vista                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12401 International Dr                                     When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 472      Sherman's Travel                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          112 West 34th Street Suite 2110                            When was the debt incurred?
          New York, NY 10120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1158 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1200 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 473      Sherri Nitta                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6599 S. Walden St                                          When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 474      Sherrie Alvarado                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1998 S. Columbine St.                                      When was the debt incurred?
          Apt. 1
          Denver, CO 80210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 475      Sherry Meador                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6386 Grace Lane                                            When was the debt incurred?
          Arvada, CO 80004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1159 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1201 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 476      Sheryl Vanwey and Tom Baltzer                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1210 E 130th Ave Unit A                                    When was the debt incurred?
          Thorton, CO 80241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 477      Shirlene Ladd                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1621 E Villa Rita Dr                                       When was the debt incurred?
          Phoenix, AZ 85022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 478      Shirley & Harvey Jr Jackson                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3205 CR 289                                                When was the debt incurred?
          Somerville, TX 77879
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1160 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1202 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 479      Shirley & John Mitchell-Valrie                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9806 S Woodlawn Ave                                        When was the debt incurred?
          Chicago, IL 60628
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 480      Shirley & Kenneth Wood                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          231 Zara St                                                When was the debt incurred?
          Pittsburgh, PA 15210
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 481      Shirley and Brad Schmelzer                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          790 Appleby Pl                                             When was the debt incurred?
          Castle Rock, CO 80104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1161 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1203 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 482      Shirley and Eric Gilbert                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7639 South Indiana Ave                                     When was the debt incurred?
          Chicago, IL 60619
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 483      Shirley Lytle                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          864 I Street                                               When was the debt incurred?
          Burwell, NE 68823
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 484      Shirley Seay                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          575 Kenton                                                 When was the debt incurred?
          Aurora, CO 80010
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1162 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1204 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 485      Shirley Yost                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16385 W Rimrock St                                         When was the debt incurred?
          Surprise, AZ 85388
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 486      SHUTTS & BOWEN LLP                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 South Orange Avenue, Suite                             When was the debt incurred?
          1600
          Orlando, FL 32801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 487      Sid & Penny Revilla                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2380 E. Nichols Pl                                         When was the debt incurred?
          Centennial, CO 80122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1163 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1205 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 488      Sidney & Charlene Morris                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 58                                                  When was the debt incurred?
          Lingle, WY 82223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 489      Sidney, M Leon Munoz                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13444 W Saratoga Dr                                        When was the debt incurred?
          Morrison, CO 80465
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sieda Royal with Interval
 490      International                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 Padre Boulevard                                        When was the debt incurred?
          South Padre Island, TX 78597
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1164 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1206 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 491      Signarama DTC Signs, LLC                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7255 S Havana St STE 180                                   When was the debt incurred?
          Centennial, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Silvarado Resorts, Napa Valley
 492      Resorts                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1600 Atlas Peak Road                                       When was the debt incurred?
          Napa Valley, CA 94558
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 493      Silver Beach Club                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1025 S Atlantic Ave                                        When was the debt incurred?
          Daytona Beach, FL 32118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1165 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1207 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 494      Silver Lake Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          336 Crest Dr                                               When was the debt incurred?
          Idaho Springs, CO 80452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 495      Silver Seas Resort                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          101 N Fort Lauderdale Beach Blvd,                          When was the debt incurred?
          Fort Lauderdale, FL 33304
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 496      Silverado II                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          490 Kings Crossing Rd                                      When was the debt incurred?
          Winter Park, CO 80482
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1166 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1208 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 497      Silvia & Ramon Garcia/Ramirez                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          538 Julian St                                              When was the debt incurred?
          Waukegen, IL 60085
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 498      Silvia Pineda and Fidel Flores                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5289 Dearborn St                                           When was the debt incurred?
          Denver, CO 80239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 499      Sinclair Broadcast Group                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10706 Beaver Dam Road                                      When was the debt incurred?
          Hunt Valley, MD 21030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1167 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1209 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Sinclair Broadcast Group C/O
 500      (DSYX)                                                     Last 4 digits of account number       2692                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 206270                                            When was the debt incurred?
          Dallas, TX 75320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sinclair Broadcast Group c/o DSYX
 501      FOX 28                                                     Last 4 digits of account number       8497,2692                                              $0.00
          Nonpriority Creditor's Name
          PO Box 206270                                              When was the debt incurred?
          Dallas, TX 75320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sir Byron Jefferson and Kathleen
 502      Gaines                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11111 Saathoff Drive Apt 301                               When was the debt incurred?
          Syphers, TX 77429
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1168 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1210 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 503      Sirius XM                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 71170                                               When was the debt incurred?
          Philadelphia, PA 19176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 504      Smoke Tree Lodge                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11914 NC-105                                               When was the debt incurred?
          Banner Elk, NC 28604
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 505      Smugglers' Notch Resort                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4323 VT-108                                                When was the debt incurred?
          Jeffersonville, VT 05464
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1169 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1211 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 506      Solaz Mexican Timeshare                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          410 ... CSL-SJC Access B Cabo                              When was the debt incurred?
          Real
          San Jose del Cabo, 23405 Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Soledad (Solie) & Agustin (Antonio)
 507      Carr                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1621 North Ann                                             When was the debt incurred?
          Texarkana, TX 75501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Soleil Management and Globe
 508      Quest                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7200 S Las Vegas Blvd suite a                              When was the debt incurred?
          Las Vegas, NV 89119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1170 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1212 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 509      SolMar Resorts                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av Solmar #1, Centro,                                      When was the debt incurred?
          , Cabo San Lucas, B.C. Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Solvere HR Consulting Reagan
 510      Freed                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 508                                                 When was the debt incurred?
          Grand Lake, CO 80447
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,812.50


 4.3
 511      Sondra and Gerald VanDeVenter                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7041 E. 60th Ave                                           When was the debt incurred?
          Commerce City, CO 80022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1171 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1213 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 512      Sonya and Vance Stewart                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          822 Millspring Drive                                       When was the debt incurred?
          Durham, NC 27705
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 513      Sonya Caraway                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4511 7th St NE                                             When was the debt incurred?
          Washington DC, DC 20017
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 514      Sonya Smith and Rainey Willie                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2875 Dahlia St.                                            When was the debt incurred?
          Denver, CO 80207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1172 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1214 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 515      Sophia And Kenny Glover                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4480 70th Street                                           When was the debt incurred?
          La Mesa, CA 91942
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      South Cape Resort & Club
 516      Condominiums                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          950 Falmouth Rd,                                           When was the debt incurred?
          Mashpee, MA 02649
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      South Carolina Attorney General
 517      The Hono                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 11549                                             When was the debt incurred?
          Columbia, SC 29211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1173 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1215 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      South Dakota Office of the Attorney
 518      Gene                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1302 E Hwy 14, Suite 1                                     When was the debt incurred?
          Pierre, SD 57501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      South Peters Plaza Owner's
 519      Association                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          C/O KYNDEL MCCURLEY, 620 S.                                When was the debt incurred?
          PETERS
          NEW ORLEANS, LA 70130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 520      South Wind Management Corp                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35 Deallyon Ave                                            When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1174 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1216 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 521      Southern Journeys of Texas                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          115 N Loop 1604 E suite #1209                              When was the debt incurred?
          San Antonio, TX 78232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 522      Southwest Visa Chase                                       Last 4 digits of account number                                                      $17,377.08
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.3
 523      Spinnaker Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35 Deallyon Ave                                            When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1175 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1217 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 524      Spinnaker Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35 Deallyon Ave.                                           When was the debt incurred?
          Hilton Head, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 525      Spinnaker Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35 Deallyon Ave.                                           When was the debt incurred?
          Hilton Head, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 526      Splitrock Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          428 Moseywood Road                                         When was the debt incurred?
          Lake Harmony, PA 18624
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1176 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1218 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 527      SPM Resorts                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9654 N Kings Hwy STE 101                                   When was the debt incurred?
          Myrtle Beach, SC 29572-4041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      St. Augustine Beach & Tennis
 528      Resort                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3942 A1A South                                             When was the debt incurred?
          St. Augustine, FL 32080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      St. George Pennant and Marisil
 529      Wright                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3107 Craftsman Place                                       When was the debt incurred?
          Houston, TX 77080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1177 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1219 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 530      Stacie And Kelvin Hampton                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1631 Plumwood Drive                                        When was the debt incurred?
          Houston, TX 77014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 531      Stacie Pham and Bao Tran                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3072 Serpa Drive                                           When was the debt incurred?
          San Jose, CA 95148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 532      Stacy & Roy Gould                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12856 W. Calle De Baca                                     When was the debt incurred?
          Peoria, AZ 85383
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1178 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1220 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 533      Stacy and Edward Leroux                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13002 Steel Ct                                             When was the debt incurred?
          Thornton, CO 80241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 534      Stallion Springs                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          28681 Stallion Springs Drive                               When was the debt incurred?
          Tehachapi, CA 93561
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 535      Stan & Anne Ferguson/Walter                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2980 N. Syracuse St                                        When was the debt incurred?
          Apt 409
          Denver, CO 80238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1179 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1221 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 536      Standard Insurance Company RC                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 5676                                                When was the debt incurred?
          Portland, OR 97228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 537      Stanley Callies and Mariah Chastan                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          116 N D Avenue                                             When was the debt incurred?
          New Castle, CO 81647
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 538      Stanley Jackson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          52 Brandywine Street SW                                    When was the debt incurred?
          Washington, DC 20032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1180 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1222 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 539      Stanley Jeanie Jean Michaud                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          544 Greenwich St.                                          When was the debt incurred?
          Hempstead, NY 11550
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 540      Stanley Norris & Jo D. Sears                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13002 W Asbury Place                                       When was the debt incurred?
          Lakewood, CO 80228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 541      Stanton Roberts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          216 Thunder Gulch Rd                                       When was the debt incurred?
          Bakersfield, CA 93307
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1181 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1223 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 542      Star Dust Resorts                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          000 South Las Vegas Boulevard                              When was the debt incurred?
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 543      Star Island Resort & Club                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5000 Ave of the Stars                                      When was the debt incurred?
          Kissimmee, FL 34746
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 544      Star Point Resort Group                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3700 S Las Vegas Blvd #200                                 When was the debt incurred?
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1182 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1224 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 545      Starwood Vacation Club                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9002 San Marco Court                                       When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 546      StaySky Vacations                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7055 S. Kirkman Road, Suite 100                            When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 547      Steel hill in New Hampshire                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          516 Steele Hill Road                                       When was the debt incurred?
          Sanbornton, NH 03269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1183 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1225 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 548      Stefanie and Marc Bloemers                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2026 Wedgewood Lane                                        When was the debt incurred?
          Romeoville, IL 60446
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 549      Stephanie & Michael Griesinger                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          298 Sibley St                                              When was the debt incurred?
          Carver, MN 55315
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 550      Stephanie & Roberto Espinosa                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3009 Lexington LN                                          When was the debt incurred?
          Glenview, IL 60026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1184 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1226 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 551      Stephanie And Raymond Beckford                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5431 Harper Forest Drive                                   When was the debt incurred?
          Houston, TX 77088
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Stephanie Corrente and Evelyn and
 552      James                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          221 Spring Street                                          When was the debt incurred?
          East Greenwich, RI 02818
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 553      Stephanie Hancock                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7593 E Technology Way, Apt 103                             When was the debt incurred?
          Denver, CO 80237
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1185 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1227 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 554      Stephanie Lukas and Greg Rickens                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 Peter Cooper Rd Apt 7C                                   When was the debt incurred?
          New York, NY 10010-6720
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 555      Stephanie Pucci                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15787 E 107th Way                                          When was the debt incurred?
          Commerce City, CO 80022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 556      Stephen & Ann Breitigam                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8611 Royal Cape Ct                                         When was the debt incurred?
          Houston, TX 77095
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1186 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1228 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 557      Stephen & Diane Conlee                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15635 N 184th Lane                                         When was the debt incurred?
          Surprise, AZ 85388
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 558      Stephen & Jeanee Burns                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2153 W. Leland Ave.                                        When was the debt incurred?
          Chicago, IL 60625
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 559      Stephen & Josephine Wilkerson                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7845 Zinnia St                                             When was the debt incurred?
          Arvada, CO 80005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1187 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1229 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 560      Stephen & Kathryn Harryman                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15315 Icet Creek Ave                                       When was the debt incurred?
          Mont Belvieu, TX 77523
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 561      Stephen & Rhonda Gugenheim                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          507 Cedar Ave                                              When was the debt incurred?
          Napa, CA 94559
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 562      Stephen & Sandra Hurd                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 81                                                When was the debt incurred?
          Corinth, ME 04427
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1188 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1230 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 563      Stephen & Stella Bugay                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1969 S Vivian St                                           When was the debt incurred?
          Lakewood, CO 80228-4455
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 564      Stephen & Susan Dyer                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 399                                                 When was the debt incurred?
          Saratoga, WY 82331
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 565      Stephen & Tammarelle Baxter                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1553 Center Road                                           When was the debt incurred?
          Kendal, NY 14476
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1189 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1231 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 566      Stephen And Cheryl Dilts                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1481 Sawmill Road                                          When was the debt incurred?
          Downingtown, PA 19335
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 567      Stephen and Delia Perez                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4444 Alcott St.                                            When was the debt incurred?
          Denver, CO 80211
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 568      Stephen and Ines Mander                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7535 South West 164th St.                                  When was the debt incurred?
          Palmetto Bay, FL 33157
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1190 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1232 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 569      Stephen and Maren Powless                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6413 Biscayne Blvd                                         When was the debt incurred?
          Edina, MN 55436
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 570      Stephen And Peggy Crispin                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21518 E 38th Place                                         When was the debt incurred?
          Denver, CO 80249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 571      Stephen Dale Cooper/Mary Pat                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          751 Sherman Ave apt 1 N                                    When was the debt incurred?
          Evanston, IL 60202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1191 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1233 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 572      Stephen Joyce                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          605 North Emerson St                                       When was the debt incurred?
          Arlington, VA 22203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 573      Stephen Paquin                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          139 High St                                                When was the debt incurred?
          Medfield, MA 02052
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 574      Stephen Pramme & Tara Hudson                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          318 Elworthy Ranch Circle                                  When was the debt incurred?
          Danville, CA 94526
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1192 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1234 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 575      Stephen Yaniec/ Myli Nguyen                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7055 County Road 171                                       When was the debt incurred?
          Alvin, TX 77511
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 576      Steve & Carol Mattair                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3902 S. Dennis St.                                         When was the debt incurred?
          Kennewick, WA 99337
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 577      Steve & Carole Longhurst                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Hugo Gardens                                             When was the debt incurred?
          Rainham, Essex, England RM13
          7LA
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1193 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1235 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 578      Steve & Paula Dunsmore                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          HC 65 Box 61                                               When was the debt incurred?
          Bluebell, UT 84007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 579      Steve & Sandra Wood                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2765 Jed RD                                                When was the debt incurred?
          Escondido, CA 92027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 580      Steve and Kimberly Martinez                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2540 Saulsbury Street                                      When was the debt incurred?
          Lakewood, CO 80214
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $1,995.00




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1194 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1236 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 581      Steve Dichesare & Sherri Fox                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9108 49th Ave East                                         When was the debt incurred?
          PalMetto, FL 34221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 582      Steve L and Ann Schefus                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2925 Cobentry Lane                                         When was the debt incurred?
          Waukesha, WI 53188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 583      Steve Olszewski                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4368 S Kalispell Circle                                    When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1195 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1237 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 584      Steve Rector and Myletia Wilkerson                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7174 McHenry Ct.                                           When was the debt incurred?
          Remington, VA 22734
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 585      Steve Tingley                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          51 Pollard Rd                                              When was the debt incurred?
          Plaistow, NH
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 586      Steve/Glenda McFaddin                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4874 Mt. Shavano St.                                       When was the debt incurred?
          Brighton, CO 80601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1196 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1238 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 587      Steven & Debbie Waggoner                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22018 Cliff View Rd                                        When was the debt incurred?
          Delta, CO 81416
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 588      Steven & Peggy Howell                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1514                                                When was the debt incurred?
          St. Helens, OR 97051
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 589      Steven & Tania Young                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13865 W Blossom Way                                        When was the debt incurred?
          Litchfeild Park, AZ 85340
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1197 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1239 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 590      Steven and Brenda Blackwell                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11245 SE Cherry Creek Rd.                                  When was the debt incurred?
          Elbert, CO 80106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 591      Steven and Jill Loria                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          569 Blackthorn Dr                                          When was the debt incurred?
          Crystal Lake, IL 60014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 592      Steven and Linda Steele                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16118 1st north                                            When was the debt incurred?
          Lakeland, MN 55043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1198 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1240 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 593      Steven and Michelle Braden                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2930 Old Lynchburg Road                                    When was the debt incurred?
          Charlottesville, VA 22903
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 594      Steven and Sharon O'Connor                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          541 Kansas Ave                                             When was the debt incurred?
          Berthoud, CO 80513
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 595      Steven and Sharon Roseman                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9607 Bald Hill Road                                        When was the debt incurred?
          Bowie, MD 20721
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1199 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1241 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 596      Steven Cashell                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4314 Whippoorwill Place                                    When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 597      Steven Hill                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1408 Barrier Island Dr                                     When was the debt incurred?
          Aubrey, TX 76227
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 598      Steven Weaver                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1337 Bosque Street                                         When was the debt incurred?
          Broomfield, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1200 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1242 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Steven, Jennifer, Dalton, Koren
 599      Wright,                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12432 Leaflet Drive                                        When was the debt incurred?
          Fort Worth, TX 76244
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 600      Stitcher                                                   Last 4 digits of account number       1521                                                   $0.00
          Nonpriority Creditor's Name
          5 Bryant Park                                              When was the debt incurred?
          New York, NY 10018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $2,500.00


 4.3
 601      Stitcher Media LLC                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 22560                                             When was the debt incurred?
          New York, NY 10087
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1201 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1243 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 602      Stone Bridge Village                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Oak Lane                                                 When was the debt incurred?
          Reeds Springs, MO 65737
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 603      Stonebridge Resort - Branson, MO                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          50 Stonebridge Pkwy                                        When was the debt incurred?
          Branson West, MO 65737
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 604      Stormy Point Village                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3200 N. Gretna Rd., Ste 120                                When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1202 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1244 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Stormy Point Village Capital
 605      Investments                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          132 Cape Cod Dr Capital Vacations                          When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 606      Streamside at Aspen                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2244 S Frontage Rd W                                       When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 607      Streamside at Douglas                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2284 S Frontage Rd W                                       When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1203 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1245 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 608      Streamside at Vail                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2285 S Frontage Rd W                                       When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 609      Stuart & Anna Silberkraus                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6803 Garlinghouse Ln                                       When was the debt incurred?
          Dallas, TX 75252
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 610      Sue and Garold Carpenter                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8307 West Nantucket                                        When was the debt incurred?
          Wichita, KS 67212
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1204 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1246 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 611      Summer Bay Resort                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          126-200 Summer Bay Blvd                                    When was the debt incurred?
          Clermont, FL 34714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 612      Summer Winds Resort                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3179 Gretna Rd                                             When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 613      Summit at the Four Seasons                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          974 White Oaks Road                                        When was the debt incurred?
          Laconia, NH 03246
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1205 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1247 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 614      Summit Vacation Membership                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          177 Mentor Ave Laconia, NH                                 When was the debt incurred?
          Laconia, NH 03246
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sun Rise Bay Resort & Club
 615      Condominium A                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Tampa Pl                                                When was the debt incurred?
          Marco Island, FL 34145
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 616      Sunbeam Television Corp                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1401 79th Street Causeway                                  When was the debt incurred?
          North Bay Village, FL 33141
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1206 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1248 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 617      Sundance Meadows Campground                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          43425 Sage Rd                                              When was the debt incurred?
          Aguanga, CA 92536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 618      Sunmin Jung                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12409 Pretoria Dr                                          When was the debt incurred?
          Silver Spring, MD 20904
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 619      Sunny & Jacob Erznoznik                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14784 S. Chimney Pass Dr                                   When was the debt incurred?
          Bluffdale, UT 84065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1207 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1249 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 620      Sunrise Cove at Village West                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20785 170th Street                                         When was the debt incurred?
          Spirit Lake, IA 51360
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 621      Sunset Lagoon in Cancun                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Boulevard Kukulc n KM 5.8 Zona                             When was the debt incurred?
          Hotelera
          , Canc n, Quintana Ro Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 622      Sunset Royale                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Kukulcan Km 10 Zona Hotelera,;                             When was the debt incurred?
          C.P. 7750
          , Cancun,; Q. ROO Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1208 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1250 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 623      Sunset World                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          lote 13-B, Blvd. Kukulcan Km. 10,                          When was the debt incurred?
          Zona Hotelera,, 77500 Canc n, Q.R.
          Mexic
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Sunset World Resorts & Vacations
 624      Experie                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          lote 13-B, Blvd. Kukulcan Km. 10,                          When was the debt incurred?
          Hotel
          Canc n, Quintana Roo, Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 625      Sunterra Resorts nka Diamond                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10600 W Charleston Blvd                                    When was the debt incurred?
          Las Vegas, NV 89135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1209 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1251 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 626      Surfside Resort through innSeason                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Save 134 Menauhant Rd                                      When was the debt incurred?
          Falmouth, MA 02536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Surrey Grand Crowne Resort -
 627      Branson, MO                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Golf View Dr                                           When was the debt incurred?
          Branson, MO 65616
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 628      Susan & Daniel Sellman                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3618 North Woodbury Lane                                   When was the debt incurred?
          Janesville, WI 53545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1210 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1252 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 629      Susan & James Brewer                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1354 Switchgrass Road                                      When was the debt incurred?
           MO 65652
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 630      Susan & Nazario Vidaurre                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7 S Redwing Street                                         When was the debt incurred?
          La Marque, TX 77568
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 631      Susan And David Ekkela                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6234 92nd Place                                            When was the debt incurred?
          Pleasant Prairie, WI 53158
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1211 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1253 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 632      Susan And Jaison Sokolow                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13386 N. 88th Pl.                                          When was the debt incurred?
          Scottsdale, AZ 85260
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 633      Susan and Jerry Cowgill                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1827 Atlanta Ave                                           When was the debt incurred?
          Oxford, MS 38655
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 634      Susan and Raul Vasquez                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15702 Baldswelle Dr                                        When was the debt incurred?
          Tomball, TX 77377
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1212 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1254 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 635      Susan and Virgil Younger                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16131 E Lake Dr                                            When was the debt incurred?
          Centennial, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 636      Susan Archer                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7594 Route 66                                              When was the debt incurred?
          Averill Park, NY 12018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 637      Susan Avila                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          21320 Williamette                                          When was the debt incurred?
          Centennial, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1213 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1255 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 638      Susan Boer                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 Cedar Ridge Ln                                        When was the debt incurred?
          Apt #404
          Richton Park, IL 60471
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 639      Susan Eborall                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          308 May Stree                                              When was the debt incurred?
          Royse, TX 75189
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 640      Susan Griggs                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17342 E Quail Ridge Dr                                     When was the debt incurred?
          Fountain Hills, AZ 85268
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1214 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1256 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 641      Susan Kennedy                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1235 Holly Lane                                            When was the debt incurred?
          Deerfield, IL 60015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 642      Susan Lanzillo                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14838 South 47th Way                                       When was the debt incurred?
          Phoenix, AZ 85044
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 643      Susan Lewis and Frances Beck                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2800 Prince Dr.                                            When was the debt incurred?
          Clarksville, TN 37043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1215 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1257 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 644      Susan Nastri                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          328 Sweet Bay Circle                                       When was the debt incurred?
          Jupiter, FL 23458
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 645      Susan Weinstein                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2330 N. Leyden St                                          When was the debt incurred?
          Denver, CO 80207
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 646      Susana And Benjamin Manso (SPO)                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          429 Summersweet Lane                                       When was the debt incurred?
          Bartlett, IL 60103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1216 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1258 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 647      Suzanne & Jean Pariseau                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6490 Approach Rd                                           When was the debt incurred?
          Sarasota, FL 34238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 648      Suzanne and Charles Baldree                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16668 Vull Mesa Road                                       When was the debt incurred?
          Cederedge, CO 81413
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 649      Suzanne and Greg Kapulka                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6480 Vern Lane                                             When was the debt incurred?
          Evergreen, CO 80429
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1217 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1259 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 650      Suzanne Broussard                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1526 Sherl ST                                              When was the debt incurred?
          Leauge City, TX 77573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Suzette Simmons/Swift & Danny
 651      Simmons                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1703 Royal Avenue                                          When was the debt incurred?
          Pekin, IL 61554
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 652      Swallowtail                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          70 Lighthouse Rd                                           When was the debt incurred?
          Hilton Head, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1218 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1260 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 653      Sweet water Jackson Hole                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          85 S King St                                               When was the debt incurred?
          Jackson, WY 83001
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 654      Switch 10 Productions, LLC                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7012 S Cherokee St                                         When was the debt incurred?
          Littleton, CO 80120
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 655      Sy & Linda McGloughlin                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9300 Marilla Dr                                            When was the debt incurred?
          Lakeside, CA 92040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1219 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1261 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 656      Sylvia Andrews                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8227 Temple Road                                           When was the debt incurred?
          Philadelphia, PA 19150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 657      Sylvia Munoz and Kenneth Kirk                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Knox St                                                When was the debt incurred?
          Houston, TX 77007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 658      Sylvia Raye                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5254 Cedar Rock Drive                                      When was the debt incurred?
          Lithonia, GA 30038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1220 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1262 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Synchrony Home Design GENERIC
 659      / SYNCB 24                                                 Last 4 digits of account number                                                        $1,217.64
          Nonpriority Creditor's Name
          PO BOX 960061                                              When was the debt incurred?
          Orlando, FL 32896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.3
 660      SYSTEMA MARKETING, INC.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1503 S Coast Dr                                            When was the debt incurred?
          Costa Mesa, CA 92626
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 661      SYSTEMA MARKETING, INC.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22305 Caminito Tecate                                      When was the debt incurred?
          Laguna Hills, CA 92653
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1221 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1263 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 662      SYSTEMA MARKETING, INC.                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1433 Abelia                                                When was the debt incurred?
          Irvine, CA 92606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 663      Tabitha King                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11438 Ebony Street                                         When was the debt incurred?
          Firestone, CO 80504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 664      Tad and Corla Harrison                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 532                                                 When was the debt incurred?
          420 County Rd 860
           CO 80478
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1222 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1264 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 665      Tafer Residence Club                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          48390                                                      When was the debt incurred?
          Purto Vallarta, Jalisco Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 666      Tahati Village Resorts                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7200 S Las Vegas Blvd                                      When was the debt incurred?
          Las Vegas, NV 89119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 667      Tahiti Vacation Club                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5101 W Tropicana Ave                                       When was the debt incurred?
          Las Vegas, NV 89103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1223 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1265 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 668      Tahiti Village                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 29352                                             When was the debt incurred?
          Phoenix, AZ 85038
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 669      Tahiti Village Resorts                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7200 S Las Vegas Blvd                                      When was the debt incurred?
          Las Vegas, NV 89119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 670      Tahoe Beach & Ski Club                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3601 Lake Tahoe Blvd                                       When was the debt incurred?
          South Lake Tahoe, CA 96150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1224 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1266 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 671      Tahoe Sands                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6610 N Lake Blvd                                           When was the debt incurred?
          Tahoe Vista, CA 96148
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 672      Tahoe Seasons Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3901 Saddle Rd                                             When was the debt incurred?
          South Lake Tahoe, CA 96150
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Taisha Stevens, Walesha and April
 673      Duval                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          54 Maxwell St.                                             When was the debt incurred?
          Dorchester, MA 02124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1225 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1267 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 674      Takehiro and Chieri Yoshida                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          23954 Dorrington Estates Lane                              When was the debt incurred?
          Conroe, TX 77385
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 675      Talaurie Heidemann                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          905 Alyse                                                  When was the debt incurred?
          Deer Park, TX 77536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 676      Tamara & Brian Smith                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6985 County RD 111 B                                       When was the debt incurred?
          Salida, CO 81201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1226 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1268 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 677      Tamara & James Lamm                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1925 N 1250 W                                              When was the debt incurred?
          Mapleton, UT 84664
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 678      Tamarack Resort                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          311 Village Dr                                             When was the debt incurred?
          Tamarack, ID 83615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 679      Tamera Cottrell                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6534 S Swadley Ct                                          When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1227 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1269 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 680      Tami and David Gossett                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1640 Kansas Ave                                            When was the debt incurred?
          McPherson, KS 67460
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 681      Tammy and Charles Vaiana                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6875 Allison St                                            When was the debt incurred?
          Arvada, CO 80004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,495.00


 4.3
 682      Tammy and Donald Fuller                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          411 Walnut St                                              When was the debt incurred?
          PMB 14586
          Green Cove Springs, FL 32043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1228 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1270 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 683      Tammy and Mark Lyons                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          520 Lion Brooke Lane                                       When was the debt incurred?
          Pine, CO 80470
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 684      Tana And Horace Murray                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7533 NC Hwy 90 W                                           When was the debt incurred?
          Collettsville, NC 28611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 685      Taneea & Jermaine Pearson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8363 Millom CT                                             When was the debt incurred?
          Lorton, VA 22079
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1229 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1271 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 686      Tanglewood                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Junction of Route 6 & 507                                  When was the debt incurred?
          Hawley, PA 18428
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Tanglewood Vacation Villas
 687      Association                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7900 MARTIN BLUFF RD                                       When was the debt incurred?
          GAUTIER, MS 39553
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 688      Tanner Rosner                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3910 Elati St, N289                                        When was the debt incurred?
          Denver, CO 80216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1230 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1272 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 689      Tanya Berrios and Lawrence Smith                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7942 Joshua Tree Lane                                      When was the debt incurred?
          Jacksonville, FL 32256
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 690      Tara & Gabe Ornelas                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19774 E Wagontrail Drive                                   When was the debt incurred?
          Centennial, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 691      Tara Adams                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5006 S Malaya Way                                          When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1231 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1273 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 692      Taylor Nohelty                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5 Stone Hill Dr Apt 1D                                     When was the debt incurred?
          Stoneham, MA 02180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 693      TaylorWagner                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10797 Cedar Brook Lane                                     When was the debt incurred?
          Highlands Ranch, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 694      Team Logic                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2000 S Colorado BLVD STE 760                               When was the debt incurred?
          Denver, CO 80222
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1232 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1274 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 695      Team Player Productions                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          430 Indiana St                                             When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 696      Ted & Gail Szklenski                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1119 Sunset Dr                                             When was the debt incurred?
          Coatesville, PA 19320
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 697      Ted & Kathy Piunno                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15033 E Crestridge Dr                                      When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1233 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1275 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 698      Ted Forsmann and Mary Martinez                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2923 N Miller Road                                         When was the debt incurred?
          Scottsdale, AZ 85251
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 699      Ted Kimmes Jr.                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6870 Olive Strret                                          When was the debt incurred?
          Commerce City, CO 80022
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 700      Teddy & Bernice Crafton                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          517 Oconee Circle                                          When was the debt incurred?
          Evans, GA 30809
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1234 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1276 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 701      Tegna Media                                                Last 4 digits of account number       1594                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 637386                                              When was the debt incurred?
          Cincinnati, OH 00063-7386
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $254,024.67


 4.3
 702      Tegna Media                                                Last 4 digits of account number       2842                                                   $0.00
          Nonpriority Creditor's Name
          8350 Broad Street Suite 2000                               When was the debt incurred?
          Tysons, VA 22102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $41,864.26


 4.3      Temakie & Zachary
 703      McNutt/Raymond                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          480 Casad Rd                                               When was the debt incurred?
          Anthony, NM 88021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1235 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1277 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 704      Tennessee Attorney General                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 20207                                             When was the debt incurred?
          Nashville, TN 37202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 705      Terence And Elizabeth Rhone                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2905 Bearcreek Ct.                                         When was the debt incurred?
          Fullerton, CA 92835
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 706      Teresa and Justus Allen                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10606 Camino Ruiz # 8-173                                  When was the debt incurred?
          San Diego, CA 92126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1236 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1278 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 707      Teresa And Perry Winters-Strong                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          397 Pheasant Hill Drive                                    When was the debt incurred?
          North Aurora, IL 60542
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Teresa Cox, Lisha Famrbo and
 708      David Cox                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5810 West Ohio Street                                      When was the debt incurred?
          Chicago, IL 60644
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 709      Teresa Jones                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14883 E. 5th Circle Apt D                                  When was the debt incurred?
          Aurora, CO 80011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1237 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1279 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 710      Teresa Schlarmann                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10818 Cedar St                                             When was the debt incurred?
          Riverview, FL 33569
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 711      Teri & Gary Alexander                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          310 Independence Drive                                     When was the debt incurred?
          Garland, TX 75043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 712      Teri McMichael                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          439 Ranger Court                                           When was the debt incurred?
          Boulder City, NV 89005
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1238 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1280 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 713      Terrance (Terry) and Michelle Estrel                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8028 Claude Court                                          When was the debt incurred?
          Sylvania, OH 43560
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 714      Terrance (Terry) Nolan                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3573 Still Knoll Lane                                      When was the debt incurred?
          Sherrills Ford, NC 28673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 715      Terre & Jerald Baldwin                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12401 Maiden Lane                                          When was the debt incurred?
          Oklahoma City, OK 73142
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1239 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1281 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 716      Terrence & Trina Jackson                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12147 South Laflin Street                                  When was the debt incurred?
          Chicago, IL 60643
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 717      Terri and Jerry Flowers                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          29404 8th Ave E                                            When was the debt incurred?
          Roy, WA 98580
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 718      Terri and Mark Roberts                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19 E. Lavitt Lane                                          When was the debt incurred?
          Phoenix, AZ 85086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1240 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1282 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 719      Terry & Marcia Willmsen                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1045 Yellow Brick Rd #216                                  When was the debt incurred?
          Chaska, MN 55318
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 720      Terry and Lisa Beynon                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9215 Sandy Lane                                            When was the debt incurred?
          Conifer, Co 80433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 721      Terry and Margaret McCoy                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16710 Orchid Mist Dr                                       When was the debt incurred?
          Cypress, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1241 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1283 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 722      Terry Firkins (Cambra)                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          117 Kessler Lane                                           When was the debt incurred?
          Fayepteville, NY 13066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 723      Terry Stuive                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14102 E Linvale Pl                                         When was the debt incurred?
          Aurora, CO 80014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 724      Tessa & Kristen McFunk/ Santos                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14437 E. 1st Drive Apt A10                                 When was the debt incurred?
          Aurora, CO 80011
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1242 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1284 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 725      Texas Attorney General                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 12548                                               When was the debt incurred?
          Austin, TX 78711
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 726      The Asny Company LLC.                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          801 S Rampart Blvd STE 200                                 When was the debt incurred?
          Las Vegas, NV 89145-4898
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 727      The Atrium Owners Association                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2829 Guardian Lane #220                                    When was the debt incurred?
          Virginia Beach, VA 23452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1243 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1285 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 728      The Beach House and Racket club                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6800 N Ocean Blvd                                          When was the debt incurred?
          Myrtle Beach, SC 29572
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 729      The Berkley Group                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2626 E Oakland Park Blvd                                   When was the debt incurred?
          Ft. Lauderdale, FL 33306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 730      The Colonies at Williamsburg                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5380 Olde Towne Rd                                         When was the debt incurred?
          Williamsburg, VA 23188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1244 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1286 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 731      The Colonies at Williamsburg                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 9610                                              When was the debt incurred?
          Coral Springs, FL 33075-9610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 732      The Cove at Yarmounth Resort                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          183 Main St                                                When was the debt incurred?
          West Yarmouth, MA 02673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      The E.W. Scripps Company Attn:
 733      Mimi Dari                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          312 Walnut St.                                             When was the debt incurred?
          Cincinnati, OH 45202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1245 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1287 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 734      The Flagship in Atlantic City                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          60 N Maine Ave                                             When was the debt incurred?
          Atlantic City, NJ 08401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 735      The Grandview at Las Vegas                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O. Box 9610                                              When was the debt incurred?
          Coral Springs, FL 33075-9610
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 736      The Imperial in waikiki                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          205 Lewers St                                              When was the debt incurred?
          Honolulu,, HI 96815
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1246 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1288 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 737      The Imperial Vacation Club                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          205 Lewers St                                              When was the debt incurred?
          Honolulu,, HI 96815
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 738      The Imperial, Hawaii                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          205 Lewers St                                              When was the debt incurred?
          Honolulu,, HI 96815
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 739      The Inn and SilverCreek                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          62927 US-40,                                               When was the debt incurred?
          Granby, CO 80446
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1247 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1289 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 740      The Inn at Mazetlan                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av Camar n S balo 6291                                     When was the debt incurred?
          Zona Dorada,, Sin. Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 741      The Jockey Club                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3700 S Las Vegas Blvd,                                     When was the debt incurred?
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 742      The Kimball in Salt Lake                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          150 N Main St,                                             When was the debt incurred?
          Salt Lake City,, UT 84103
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1248 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1290 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 743      The Leviton Law Firm LTD                                   Last 4 digits of account number       9126                                                   $0.00
          Nonpriority Creditor's Name
          One Pierce Place, Suite 725W                               When was the debt incurred?
          Itasca, IL 60143
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 744      The Links Myrtle Beach                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          917 Thomas Ave,                                            When was the debt incurred?
          North Myrtle Beach,, SC 29582
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 745      The Lion Media Group                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1415 Park Ave. W                                           When was the debt incurred?
          Denver, CO 80205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1249 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1291 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 746      The Manhattan Club                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 W 56th St,                                             When was the debt incurred?
          New York, NY 10019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 747      The Minerva Group                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14501 W Amherst Place                                      When was the debt incurred?
          Lakewood, CO 80228-4867
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 748      The Palms Country Club                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1410 Laguna Heights Drive                                  When was the debt incurred?
          Filinvest City, Alabang Muntinlupa
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1250 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1292 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 749      The Palms Country Club                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          57000 Palms Dr                                             When was the debt incurred?
          La Quinta, CA 92253
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 750      The Pines at Meadow Creek                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13438 Berry Hill Ln,                                       When was the debt incurred?
          Pine,, CO 80470
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 751      The Resort on Coco Beach                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1600 N Atlantic Ave                                        When was the debt incurred?
          Cocoa Beach,, FL 32931
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1251 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1293 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 752      The Ridge at Tahoe                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 Ridge Club Dr,                                         When was the debt incurred?
          Stateline, NV 89449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      The Royal Cancun (Club
 753      Internacional de                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Paseo Kukulcan Km 4.5                                      When was the debt incurred?
          Lote C2 Y C2A Zona Hotelera,
          Cancun, Q.R
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 754      The Royal Haciendas                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Mza. 70 Lt. 2 Carr. Chetumal-Puerto                        When was the debt incurred?
          Ju r
          Km289+10, Centro Playa del
          Carmen, Solid
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1252 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1294 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 755      The Royal Islander                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          BLVD. Kukulcan Km 17                                       When was the debt incurred?
          Lote 51 Zona Hotelera, Cancun,
          Q.Roo 775
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 756      The Royal Sands                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          BLVD. Kukulcan KM 13.5 No. 32                              When was the debt incurred?
          Seccion A
          Segunda Etapa, Zona Hotelera,
          Cancun, Q.
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 757      The Shores At Lake Travis                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1917 American Dr                                           When was the debt incurred?
          Lago Vista, TX 78645
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1253 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1295 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 758      The Villa at Palm Springs                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1650 S Calle Palo Fierro,                                  When was the debt incurred?
          Palm Springs, CA 92264
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 759      The Villa Group (Puerto Vallarta)                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          CDMX, Cam. Viejo a San Jose KM                             When was the debt incurred?
          0.5,
          El Medano,, 23450 San Lucas BCS
          Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 760      The Village at Izaty                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8478 Par 5 Dr                                              When was the debt incurred?
          Onamia,, MN 56359
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1254 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1296 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 761      The Village Palmeadow Dune                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Trent Jones Ln,                                         When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 762      The Village Vacation Club Resort                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2626 E. Oakland Park Blvd.                                 When was the debt incurred?
          Ft. Lauderdale,, FL 33306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 763      The Villages Resort By Silverleaf                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18270 Singing Wood Ln                                      When was the debt incurred?
          Flink, TX 75762
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1255 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1297 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 764      The Villas at Summer Bay                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          126-200 Summer Bay Blvd,                                   When was the debt incurred?
          Clermont,, FL 34714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 765      The Villas of Sadona                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          55 Northview Rd                                            When was the debt incurred?
          Sedona, AZ 86336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 766      The Walt Disney Compnay                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          190 N State St                                             When was the debt incurred?
          Chicago, IL 60601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1256 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1298 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 767      The WIlliamsburg Plantation,                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5380 Olde Towne Rd                                         When was the debt incurred?
          Williamsburg, VA 23188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 768      The Wren at Vail Run                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 South Frontage Road E                                  When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 769      The Wren- Vail                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          500 S Frontage Rd E,                                       When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1257 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1299 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 770      Theda Ray and Cindy Melson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1040 Hickory Lane                                          When was the debt incurred?
          Indiana, PA 15701
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 771      Thedford & Lillie Lowery                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2300 Braunsroth Lane                                       When was the debt incurred?
          Hampton, GA 30228
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 772      Theodore (Ted) and Mary Sievert                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8953 Birch Avenue                                          When was the debt incurred?
          Morton Grove, IL 60053
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1258 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1300 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 773      Theresa & Earl Weldin                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4157 Miladies LN                                           When was the debt incurred?
          Doylestown, PA 18902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 774      Theresa & Warren Holloway                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5441 Odessa Street                                         When was the debt incurred?
          Denver, CO 80249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 775      Theresa And Herbert Jacobs III                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9733 South Vanvlissingen Road                              When was the debt incurred?
          Chicago, IL 60617
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1259 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1301 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 776      Theresa Dillard                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10315 Colony Court                                         When was the debt incurred?
          Houston, TX 77041
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 777      Theresa Hearold                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3639 New Haven Circle                                      When was the debt incurred?
          Castle Rock, CO 80109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 778      Theresa Herbert                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5226 Karl Pl.                                              When was the debt incurred?
          Washington, DC 20019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1260 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1302 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 779      Theresa Kollath                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7400 West GrantRanch Blvd. #32                             When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $1,495.00


 4.3
 780      Theresa Lathrop                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          141 Boones Ridge Parkway SE                                When was the debt incurred?
          Acworth, GA 30102
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 781      Therese (Teri) and Peter Wolfhagen                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12966 Kingsbridge Lane                                     When was the debt incurred?
          Houston, TX 77077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1261 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1303 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 782      Thomas & Claire La Rosa                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          65 South Locust Ave                                        When was the debt incurred?
          Marlton, NJ 08053
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 783      Thomas & Gina Young                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7213 Birchbark Ct                                          When was the debt incurred?
          Raleigh, NC 27615
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 784      Thomas & Jane Petrie                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          401 Jackson St                                             When was the debt incurred?
          Denver, CO 80206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1262 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1304 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 785      Thomas & Joy Vincent                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12620 Forest St                                            When was the debt incurred?
          Thornton, CO 80241
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 786      Thomas & Kathryn Dale                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15323 East Ritter Circle                                   When was the debt incurred?
          Houston, TX 77071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 787      Thomas & Linda Tabor                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11924 London St NE Lane                                    When was the debt incurred?
          Blaine, MN 55449
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1263 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1305 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 788      Thomas & Lynette Borman                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40 Crystal Sky Drive                                       When was the debt incurred?
          Sedona, AZ 89351
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 789      Thomas & Margaret Mathues                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          737 Hilltop Drive                                          When was the debt incurred?
          White Lake, MI 48386
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 790      Thomas & Mary Beachboard                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5417 Thetford Pl                                           When was the debt incurred?
          Alexandria, VA 22310
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1264 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1306 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 791      Thomas & Pamela Blake                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          905 Roble Ave                                              When was the debt incurred?
          Modesto, CA 95354
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 792      Thomas & Patricia Cormack                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          312 Kingstone Road                                         When was the debt incurred?
          Knightdale, NC 27545
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 793      Thomas & Rose Chaidez                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8571 S Springfield RD                                      When was the debt incurred?
          Globe, AZ 85501
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1265 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1307 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 794      Thomas & Una Fraser                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8222 W Gelding Dr                                          When was the debt incurred?
          Peoria, AZ 85381
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 795      Thomas and Adriana Mathews                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          716 NE Seabrook Circle                                     When was the debt incurred?
          Lee Summit, MO 64064
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 796      Thomas and Ann Ruhoff                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          105 center st                                              When was the debt incurred?
          scandanavia, WI 54977
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1266 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1308 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 797      Thomas and Barbara Schaub                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          741 Mason Drive                                            When was the debt incurred?
          Warminster, PA 18974
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 798      Thomas And Linda Goossens                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          248 Eastpoint Court                                        When was the debt incurred?
          SpringHill, FL 34606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 799      Thomas and Michelle Slamin                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8 Lookout Ave                                              When was the debt incurred?
          Natick, MA 01760
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1267 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1309 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 800      Thomas And Polly Lents                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6014 Bur Lane                                              When was the debt incurred?
          Silver Lake, IL 60014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 801      Thomas Bean                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7340 e Harvard ave D208                                    When was the debt incurred?
          denver, CO 80231
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 802      Thomas Billig                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2002 Alexis Ct                                             When was the debt incurred?
          Tarpon Springs, FL 34689
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1268 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1310 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 803      Thomas House                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16 WOODLAND DR.                                            When was the debt incurred?
          WEST MONROE, NY 13167
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 804      Thomas Kilgallon                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          330 summit ave                                             When was the debt incurred?
          Unit 105
          Boston, MA 02135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 805      Thousand Trails Campgrounds                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Po Box 644093                                              When was the debt incurred?
          Cincinnati, OH 45264
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1269 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1311 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 806      Threesa & Dontaniel Kimbrough                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          202 Gates Creek Dr.                                        When was the debt incurred?
          Oswego, IL 60543
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 807      Thunderbird Resort Club                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          200 Nichols Blvd                                           When was the debt incurred?
          Sparks, NV 89431
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 808      Tierney & Haymon & Mae Gentry                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4007 Weatherfield Court                                    When was the debt incurred?
          Sugarland, TX 77479
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1270 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1312 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 809      Tiffany & Sandra Cureth                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1950 Logan St.                                             When was the debt incurred?
          #302
          Denver, CO 80203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 810      Tiffany Chipman (Bedford)                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4800 S Springs Dr                                          When was the debt incurred?
          Chandler, AZ 85249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 811      Tiffany Roberts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1411 W 135th Dr                                            When was the debt incurred?
          Westminster, CO 80234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1271 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1313 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 812      Tim & Diana Fleck/White                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17959 E Oxford Pl                                          When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 813      Tim Motter                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8394 Sand Dollar Drive                                     When was the debt incurred?
          Windsor, CO 80528
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 814      Timothy & Rebecca Cowell                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          208 Elizabeth Way                                          When was the debt incurred?
          Homers City, PA 15748
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1272 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1314 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 815      Timothy & Vickie Gantt                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10303 S Herdic Place                                       When was the debt incurred?
          Vail, AZ 85641
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 816      Timothy and Ann Collum                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6581 S Ames Ct                                             When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 817      Timothy And Patricia O'Grady                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12414 Attlee Dr                                            When was the debt incurred?
          Houston, TX 77077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1273 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1315 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 818      Timothy and Ruth Ross                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25 Cottonwood Rd                                           When was the debt incurred?
          Wayne, NJ 07470
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 819      Timothy Harvin                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13220 Fox Bow Drive Unit 206                               When was the debt incurred?
          Upper Marlboro, MD 20774
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 820      Timothy Houser & Shelly Rodgers                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13009 S Parker Rd #369                                     When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1274 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1316 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 821      Timothy R. & Michelle A. Bair                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6 Kathleen Drive                                           When was the debt incurred?
          Landenberg, PA 19350
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 822      Timothy Spencer                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19063 Cottonwood Dr, 417                                   When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 823      Timothy Wells and Willie Parham                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3962 Fire Fox Drive                                        When was the debt incurred?
          North Las Vegas, NV 89032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1275 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1317 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 824      Tina & Marc Mcnair                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          109 Bala Road                                              When was the debt incurred?
          Cherry Hill, NJ 08002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 825      Tina Goodman (Holland)                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8425 Snow Goose Way                                        When was the debt incurred?
          Ft Worth, TX 76118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 826      Titilola Lakeru-Rivers                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4077 Hillside Road                                         When was the debt incurred?
          Lafayette Hill, PA 19444
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1276 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1318 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 827      TJ Maxx                                                    Last 4 digits of account number                                                              $5.95
          Nonpriority Creditor's Name
          PO Box 530948                                              When was the debt incurred?
          Atlanta, GA 30353
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.3
 828      TMACS Collections - WFAA                                   Last 4 digits of account number       21In                                                   $0.00
          Nonpriority Creditor's Name
          901 Main Street, Suite 3800                                When was the debt incurred?
          Dallas, TX 75202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Tobias & Tiffany
 829      Williams/Jensen-William                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          88 Barnstable Rd                                           When was the debt incurred?
          South Portland, ME 04106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1277 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1319 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 830      Tobin and Dawn Ewing                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19122 Camellia Bend Cir                                    When was the debt incurred?
          Spring, TX 77379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 831      Toby Waitt                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          #10 Fisherman Way                                          When was the debt incurred?
          East Gloucester, MA 01930
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 832      Todd & Debbie Brooks/Woolford                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12100 Peabody Lane                                         When was the debt incurred?
          Charlotte Lane, IL 20622
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1278 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1320 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 833      Todd and Shalimar Price                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          194 Grand Mesa Dr                                          When was the debt incurred?
          Ozark, Missouri 65721-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 834      Todd Hartley                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          299 N. Riverside Dr. Apt 203                               When was the debt incurred?
          Pompano Beach, FL 33062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 835      Todd Reynoldson                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13960 Hemlock Ln North                                     When was the debt incurred?
          Dayton, MN 55327
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1279 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1321 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 836      Tom & Linda McAvey/Garvarino                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          109 Cutler Rd.                                             When was the debt incurred?
          Greene, NY 13778
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 837      Tom & Marta Wohrley                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11432 E Regency Ct                                         When was the debt incurred?
          Parker, CO 80138
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 838      Tom & Susan Bernhardt III/Gillespie                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          129 Spinney Road                                           When was the debt incurred?
          East Quogue, NY 11942
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1280 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1322 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 839      Tom and Linda Parisi                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6839 Lupine Way                                            When was the debt incurred?
          Arvada, CO 80007
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $2,500.00


 4.3
 840      Tom Carllon                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18591 East 53rd Avenue                                     When was the debt incurred?
          Denver, CO 80249
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 841      Tom Shaughnessy                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11680 E Sahuaro Dr Unit 2032                               When was the debt incurred?
          Scottsdale, AZ 85259
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1281 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1323 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 842      Tomas And Ana Lopez                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3412 W 73rd Place                                          When was the debt incurred?
          Chicago, IL 60629
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 843      Tommy and Mary Biggs                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          948 Chestnut Ridge Road                                    When was the debt incurred?
          Manchester, MO 63021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 844      Toney Dvorak                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16389 West Ellsworth Drive                                 When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1282 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1324 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 845      Toni Booker                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3 Beacon Lane                                              When was the debt incurred?
          Newark, DE 19711
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 846      Toni H and Fred Young                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15722 Pointer Ridge Drive                                  When was the debt incurred?
          Bowie, MD 20716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 847      Tonika Butler                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1232 Plantation Pine Cir                                   When was the debt incurred?
          Garner, NC 27529
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1283 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1325 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 848      Tony and Mona Brown                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1170 Red Hawk Ridge Lane                                   When was the debt incurred?
          O' Fallon, IL 62269
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Tonya & Adebisi & Sonya
 849      Leeth/Ige/Teague                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6842 S Loomis Blvd                                         When was the debt incurred?
          Chicago, IL 60636
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 850      Tonya & Byron Welch                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          244 Lassiter Drive                                         When was the debt incurred?
          Ellenwood, GA 30294
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1284 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1326 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Tonya Danielewicz and Judith Ann
 851      Heldt T                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 Hesburgh Dr                                            When was the debt incurred?
          Manteno, IL 60950
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 852      Tonya Talley-Smith                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4825 Sheriff RD. NE                                        When was the debt incurred?
          Washington, DC 20019
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 853      Topsider Resort                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          75500 Overseas Hwy                                         When was the debt incurred?
          Islamorada, FL 33036
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1285 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1327 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 854      Torris & Leesha Johnson                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          121 Hillview Circle                                        When was the debt incurred?
          Aiken, SC 29801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Townhouses @ St. Augustine
 855      Beach & Tenni                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3960 A1A S                                                 When was the debt incurred?
          St. Augustine, FL 32080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 856      Toyia Williams                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          401 East 60th Drive                                        When was the debt incurred?
          Merillville, IN 46410
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1286 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1328 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Tracey & Starlet
 857      Ferguson/Robinson                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Connecticut Court                                       When was the debt incurred?
          Madison, WI 53719
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 858      Tracie Little                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1106 Barnaby Terrace SE                                    When was the debt incurred?
          Washington, DC 20032
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 859      Tracy & Andre Hambrick                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2731 Lauren Lake Drive                                     When was the debt incurred?
          Belleville, IL 06221
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1287 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1329 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 860      Tracy & Christopher Kasperitis                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14 Lilac Lane                                              When was the debt incurred?
          Levittown, PA 19054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 861      Tracy & Rob Manz                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          134 Sabre Rd                                               When was the debt incurred?
          Springbook, Alberta T4S 2H7
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 862      Tracy & Theodore McLaughlin                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          P.O Box 5431                                               When was the debt incurred?
          Cary, NC 27512
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1288 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1330 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 863      Tracy and John Landi                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1610 Rd                                                    When was the debt incurred?
          Voorhees, NJ 08043
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 864      Tracy Burke                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19303 E College Dr, Apt 109                                When was the debt incurred?
          Aurora, CO 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 865      Tracy Caswell                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2958 Piedmont Manor Drive                                  When was the debt incurred?
          Orange Park, FL 32065
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1289 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1331 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 866      Tracy Litzenberger                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          141 Grouse Place                                           When was the debt incurred?
          Littleton, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 867      Trapp Family Lodge                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          700 Trapp Hill Rd                                          When was the debt incurred?
          Stowe, VT 05672
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 868      Travel Advantage Network                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PMB #311 672 Old Mill Rd                                   When was the debt incurred?
          Millersville, MD 21108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1290 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1332 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Travel Resorts of America (Rocky
 869      Fort Re                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          74978 Broadhead Rd                                         When was the debt incurred?
          Kimbolton, OH 43749
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 870      Travel Smart                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8834 Jackwood St                                           When was the debt incurred?
          Houston, TX 77036-7328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 871      Travis & Courtney Madsen                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6221 W Fremont Drive                                       When was the debt incurred?
          Littleton, CO 80128
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1291 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1333 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 872      Travis Thomas                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
                                                                     When was the debt incurred?
            AZ 85015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 873      Treasure Lake Via Crown Resorts                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1372 Old State Highway 255                                 When was the debt incurred?
          DuBois, PA 15801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 874      Trecia Lascor                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6502 Shea Place                                            When was the debt incurred?
          Highlands Ranch, CO 80130
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1292 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1334 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 875      Tree Top Resort                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          290 Sherman Clabo Rd                                       When was the debt incurred?
          Gatlinburg, TN 37738
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 876      Trevor & Sally Raghoo/Bernard                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3830 nw 23rd pl                                            When was the debt incurred?
          Cocunut Creek, FL 33066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 877      Tribune Media                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          435 North Michigan Avenue                                  When was the debt incurred?
          Chicago, IL 60611
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1293 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1335 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 878      Tropic Shores Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3111 S Atlantic Ave                                        When was the debt incurred?
          Daytona Beach, FL 32118
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 879      Troy & Lesli Sambrano                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2020 Lake Landing Dr.                                      When was the debt incurred?
          League city, TX 77573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 880      Troy Anderson and Lidia Valasquez                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9655 Autumnwood Pl                                         When was the debt incurred?
          Highlands Ranch, CO 80129
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1294 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1336 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 881      Troy Gray                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1480 South Chase Ct.                                       When was the debt incurred?
          Lakewood, CO 80232
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 882      Troy Lybbert                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4696 66th Place North                                      When was the debt incurred?
          Pinellas, FL 33781
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt- $3,495.00


 4.3
 883      Troy Wright                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1001 W Willowick Dr                                        When was the debt incurred?
          Grovetwon, GA 30813
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1295 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1337 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 884      Tullymore Golf Resort                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9940 St. Ives Drive                                        When was the debt incurred?
          Stanwood, MI 49346
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 885      Turi & Brian Mcilquham                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10385 130th Ave                                            When was the debt incurred?
          Bloomer, WI 54724
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 886      Tuscany Village Vacations                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8122 Arrezzo Way                                           When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1296 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1338 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 887      Twin Rivers Condominiums                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Sterling Way                                           When was the debt incurred?
          Fraser, CO 80442
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Two Residence Club Barbados aka
 888      O2 Beach                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Dover Road St Lawrence Gap                                 When was the debt incurred?
          Bridgetown
          Christ Churc, BB15020 Barbados
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 889      Tyler & Rebekah Edwards                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          728 Squire St.                                             When was the debt incurred?
          Colorado Springs, CO 80911
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1297 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1339 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 890      Tyrone & Akira Alston                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          437 SunneyView Rd                                          When was the debt incurred?
          Henderson, NC 27536
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 891      Tyrone and Elise Stowe                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          19609 S McQueen Rd                                         When was the debt incurred?
          Chandler, AZ 85286
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 892      Tyrone And Jasmin Woods                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3905 Chain Bridge Road                                     When was the debt incurred?
          Fairfax, VA 22030
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1298 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1340 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Tyrone Howze and Andondra
 893      Howze                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5502 Howze Road                                            When was the debt incurred?
          Catawba, SC 29704
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 894      UC Health                                                  Last 4 digits of account number       6198                                                 $50.00
          Nonpriority Creditor's Name
          PO Box 732165                                              When was the debt incurred?
          Dallas, TX 75373
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal medical bill


 4.3
 895      Uche & Melissa Ebokah                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          31640 Fairhill Dr                                          When was the debt incurred?
          Wesley Chapel, FL 33543
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1299 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1341 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 896      UCHealth                                                   Last 4 digits of account number                                                           $360.00
          Nonpriority Creditor's Name
          1635 Aurora Ct                                             When was the debt incurred?
          Aurora, CO 80045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal medical bill


 4.3      Ukata Frank Thompson and Nneka
 897      Joshua-An                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11212 Westpark Dr. Apt 720                                 When was the debt incurred?
          Houston, TX 77042
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Ulla and Christopher
 898      Bingham/Bienko                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8511 Canton Common Lane                                    When was the debt incurred?
          Cypress, TX 77433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1300 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1342 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 899      United Chase                                               Last 4 digits of account number                                                        $5,611.02
          Nonpriority Creditor's Name
          P.O. Box 15298                                             When was the debt incurred?
          Wilmington, DE 19850
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Business debt personally guaranteed by
              Yes                                                       Other. Specify   Brian


 4.3
 900      United Healthcare                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6465 Greenwood Plaza Blvd #300                             When was the debt incurred?
          Centennial, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Universal Vacation Club Villa Del
 901      PalMar                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6850 Bermuda Rd                                            When was the debt incurred?
          Las Vegas, NV 89119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1301 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1343 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 902      Unlimited Vacation Club                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9450 Sunset Dr                                             When was the debt incurred?
          Miami, FL 33173-3206
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 903      Urvashi and Billy Joe Foster                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          40 Jacqueline Drive                                        When was the debt incurred?
          PO BOx 760
          Georgetown, GA 39854
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 904      US Bank                                                    Last 4 digits of account number                                                            $10.00
          Nonpriority Creditor's Name
          PO Box 1950                                                When was the debt incurred?
          St. Paul, MN 55101
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Overdrawn Business Bank Account




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1302 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1344 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 905      US Bank                                                    Last 4 digits of account number       2485                                             $9,463.71
          Nonpriority Creditor's Name
          PO Box 790179                                              When was the debt incurred?
          St. Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.3
 906      US Bank Line of Credit                                     Last 4 digits of account number       0255                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 790179                                              When was the debt incurred?
          St. Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.3
 907      US Bank Visa                                               Last 4 digits of account number       8816                                             $9,993.54
          Nonpriority Creditor's Name
          PO Box 790179                                              When was the debt incurred?
          St. Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1303 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1345 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 908      US Bank Visa Perks                                         Last 4 digits of account number       6681                                             $6,577.10
          Nonpriority Creditor's Name
          PO Box 790179                                              When was the debt incurred?
          St. Louis, MO 63179
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal credit card


 4.3      US Bank, NA
 909      Bankruptcy/Recovery Dept                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 5229                                                When was the debt incurred?
          Cincinnati, OH 45201
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 910      US Equal Employment Opportunity                            Last 4 digits of account number       0376                                                   $0.00
          Nonpriority Creditor's Name
          303 E 17th Ave #410                                        When was the debt incurred?
          Denver, CO 80203
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1304 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1346 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 911      US Recreation Properties Inc.                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          BOX 268                                                    When was the debt incurred?
          BANNING, CA 92220
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 912      Utah Attorney General                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 142320                                              When was the debt incurred?
          SLC, UT 84114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 913      Uyen and Craig Adams                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1154 Aspen St                                              When was the debt incurred?
          Broomfield, CO 80020
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1305 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1347 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Vacation Internationale aka VI
 914      resorts                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          116th Ave. N.E.                                            When was the debt incurred?
          Bellevue, WA 98004
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 915      Vacation Network                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3296 Summit Ridge Pkwy Ste 1900                            When was the debt incurred?
          Duluth, GA 30096-6302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 916      Vacation Resorts International                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25510 Commercentre Dr #100                                 When was the debt incurred?
          Lake Forest, CA 92630
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1306 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1348 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Vacation Village at Bonaventure
 917      Owner's                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1775 Bonaventure Blvd., Ste. 1104                          When was the debt incurred?
          Weston, FL 33326-3131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Vacation Village Corporate
 918      Headquarters                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2626 E. Oakland Park Blvd.                                 When was the debt incurred?
          Ft. Lauderdale, FL 33306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Vacation Village Corporate
 919      Headquarters                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2626 E. Oakland Park Blvd.                                 When was the debt incurred?
          Ft. Lauderdale, FL 33306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1307 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1349 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 920      Vacation Villas                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3795 Vacation Villas Lane                                  When was the debt incurred?
          Titusville, FL 32780
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 921      Vail Resorts                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          390 Interlocken Crescent                                   When was the debt incurred?
          Broomfield, CO 80021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 922      Vail Run                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 Lions Ridge Loop                                      When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1308 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1350 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 923      Vail Run Resort                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1000 Lions Ridge Loop                                      When was the debt incurred?
          Vail, CO 81657
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 924      Val (Valeslia) Spearman                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8669 S Addison Way                                         When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 925      Valarie And Peter Simpson                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          100 Central Avenue                                         When was the debt incurred?
          East Hartford, CT 06108
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1309 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1351 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 926      Valarie Smith                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7937 Telluride Dr                                          When was the debt incurred?
          Houston, Tx 77040
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 927      Valentin & Valerie Martinez/Ramos                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6235 Saint Anne Forest Drive                               When was the debt incurred?
          Houston, TX 77088
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 928      Valerie & Christian Cuevas                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4517 Sunnyhill Dr                                          When was the debt incurred?
          Colorado Springs, CO 80916
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1310 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1352 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 929      Valerie & Ernest Hall                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5451 Pine Forrest Circle                                   When was the debt incurred?
          Gainsville, GA 30504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 930      Valerie And Robert Amador                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          662 S 34th Avenue                                          When was the debt incurred?
          Brighton, CO 80601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 931      Valerie Serrall                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2142 hollins st                                            When was the debt incurred?
          Baltimore, MD 21223
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1311 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1353 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 932      Vallarta Gardens                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Km 1.2 Road, Punta de Mita                                 When was the debt incurred?
          63734 Cruz de Huanacaxtle, Nay.
          Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 933      Van (Gerald) and Teresa Krause                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          66 Glenwood Street                                         When was the debt incurred?
          Winston-Salem, NC 27106
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 934      Van Beasley                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          707 Happy Home Rd.                                         When was the debt incurred?
          Tyner, NC 27980
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1312 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1354 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 935      Vanessa & Colton Hampton/Smith                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8717 Greengrass Way                                        When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Vanessa & Darielle & Constance &
 936      Diedra                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          210 Plymouth Lane                                          When was the debt incurred?
          Bolingbrook, IL 60440
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 937      Vanessa & Vance Kendall/Pratt                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10738 Shawnbrook St                                        When was the debt incurred?
          Houston, TX 77071
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1313 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1355 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Vanessa Colletti and Susan Freund
 938      and Ca                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          721 N Lasalle St                                           When was the debt incurred?
          Chicago, IL 60654
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 939      Vanessa Jones                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16325 Winchester Ave                                       When was the debt incurred?
          Markham, IL 60428
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 940      Vanester And Nadine Jones                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1225 East River Drive                                      When was the debt incurred?
          Margate, FL 33063
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1314 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1356 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 941      Vanita And Robert Moore                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1238 W 135th Ave                                           When was the debt incurred?
          Westminster, CO 80234
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 942      Vashti & Marvin Hale                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          206 Oriole Rd                                              When was the debt incurred?
          Matteson, IL 60443
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 943      Velas Vallarta                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av Paseo de la Marina Nte 585,                             When was the debt incurred?
          Marina Va
          48354, Puerto Vallarta, Jal Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1315 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1357 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 944      Venture Out Campgrounds                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5001 E. Main Street                                        When was the debt incurred?
          Mesa, AZ 85205
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 945      Vermont Attorney General                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          109 State St                                               When was the debt incurred?
          Montpelier, VT 05609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 946      Vern & Pam Nelson                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6015 county road 30                                        When was the debt incurred?
          Silverthorne, CO 80498
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1316 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1358 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 947      Veronica & Lisa Watts                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1830 Plymouth CT                                           When was the debt incurred?
          Bowie, MD 20716
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 948      Veronica and Frank Allen Jr                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3219 Castledale Drive                                      When was the debt incurred?
          Houston, TX 77093
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 949      Veronica Sanchez                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          522 Lilac Terrance NE                                      When was the debt incurred?
          Leesburg, VA 20176
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1317 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1359 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 950      Veronica Veiga                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          872 Cresent St                                             When was the debt incurred?
          Brockton, MA 02302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 951      Vesta Schwartz                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18305 Queen Elizabeth Dr                                   When was the debt incurred?
          Olney, MD 20832
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 952      Vicente Gaan and Marie Epil-Gaan                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2719 Lily Ln                                               When was the debt incurred?
          Rolling Meadows, IL 60008
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1318 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1360 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 953      Vickie & Hugo Duenas                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4213 Sierra Redwood Drive                                  When was the debt incurred?
          Bakersfield, CA 93313
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 954      Vickie Craver                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6450 W 98th Ct                                             When was the debt incurred?
          Westminster, CO 80021
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 955      Vicky & Larry Zuckman                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1721 Roberts Bend                                          When was the debt incurred?
          Weatherford, TX 76086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1319 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1361 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 956      Vicky And Raymond Reid                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Cosmos Court West                                       When was the debt incurred?
          Homosassa
           FL 34446
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 957      Vicky Rocher                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2813 Shadow Woods Court                                    When was the debt incurred?
          Houston, TX 00077-0443
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Vicky&Laurel(Laurie)
 958      Bohlmann/Dexter                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9191 Lillian Lane                                          When was the debt incurred?
          Thornton, CO 80229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1320 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1362 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 959      Victor & Yolanda Almendarez                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2001 Foxglove Oaks CT                                      When was the debt incurred?
          Pearland, TX 77581
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 960      Victor And Iryna Queiros                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          76 Piermonth St                                            When was the debt incurred?
          Quincy, MA 02170
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 961      Victoria (Tori) Bebout                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          308 Spyglass Dr                                            When was the debt incurred?
          Rio Vista, CA 94571
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1321 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1363 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 962      Victoria and James Mueller                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7529 Donner Pass Vw.                                       When was the debt incurred?
          Fountain, CO 80817
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 963      Victoria Angelica and Robin Lee                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7689 Palmilla Drive Apt 1205                               When was the debt incurred?
          San Diego, CA 92122
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 964      Victoria Limas                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          268 Candy Street                                           When was the debt incurred?
          El Campo, TX 77437
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1322 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1364 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 965      Victoria Wright                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          606 N. 78th Ave                                            When was the debt incurred?
          Greeley, CO 80634
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 966      Vida Vacations/Mayan Resorts                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 911841                                              When was the debt incurred?
          Dallas, TX 75391-1841
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 967      Vidanta Resorts                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Nuevo Vallarta. Boulevard Riviera                          When was the debt incurred?
          Nayari
          #254 Bahia de Banderas, Nayarit CP
          63735
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1323 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1365 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 968      Villa at Regal Palms                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2700 Sand Mine Rd                                          When was the debt incurred?
          Davenport, FL 33897
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 969      Villa Cabo                                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Avenida Peatonal Pescadores in                             When was the debt incurred?
          front of
          Cabo San Lucas, B.C.S Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 970      Villa del Arco                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Cam. Viejo a San Jose Km 0.4, El                           When was the debt incurred?
          Medano
          Cabo San Lucas, B.C.S Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1324 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1366 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 971      Villa del Mar                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Bonaventure Crescent,                                      When was the debt incurred?
          , TKCA 1ZZ Providenciales
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 972      Villa Del Mar Cabo                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          fraccionamiento Portales, 23473                            When was the debt incurred?
          Cabo San Lucas, B.C.S Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 973      Villa Del Palmar                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Camino Viejo a San Jos Km.0.5 El                           When was the debt incurred?
          M dano
          Cabo San Lucas, B.C.S Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1325 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1367 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 974      Villa of Fortune Place                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1201 Simpson Rd                                            When was the debt incurred?
          Kissimmee, FL 34744
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Villa Roma Resort aka Sullivan
 975      Catskills                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          356 Villa Roma Rd                                          When was the debt incurred?
          Callicoon, NY 12723
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Villa Solarta aka Florida Vacation
 976      Homes                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1751 Sawyer Palm Pl                                        When was the debt incurred?
          Kissimmee, FL 34747
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1326 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1368 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3      Village Lando Resort and Lando
 977      Resort Co                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5405 Diplomat Cir # 106                                    When was the debt incurred?
          Orlando, FL 32810
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Village North Condominium
 978      Association                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8702 CHAMPIONS WAY                                         When was the debt incurred?
          PORT ST. LUCIE,, FL 34986
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 979      Village of Winnipesaukee                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          233 Endicott St N # 316                                    When was the debt incurred?
          Laconia, NH 03246
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1327 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1369 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 980      Village Palmeadow Dunes                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10 Trent Jones Ln                                          When was the debt incurred?
          Hilton Head Island, SC 29928
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 981      Village West Resort                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16010 IA-86                                                When was the debt incurred?
          Spirit Lake, IA 51360
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 982      Village West Resort                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20785 120th St.                                            When was the debt incurred?
          Spirite Lake, IA 51360
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1328 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1370 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 983      Villas at Cave Creek                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          38001 N School House Rd                                    When was the debt incurred?
          Cave Creek, AZ 85331
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 984      Villas at Fortune Place                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1201 Simpson Rd                                            When was the debt incurred?
          Kissimmee, FL 34744
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 985      Villas at Fortune Place                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 730119                                              When was the debt incurred?
          Ormond Beach, FL 32173
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1329 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1371 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 986      Villas at Regal Palm Vacations Club                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2700 Sand Mine Rd                                          When was the debt incurred?
          Davenport, FL 33897
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 987      Villas at Sedona                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          55 Northview Rd                                            When was the debt incurred?
          Sedona, AZ 86336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 988      Villas at Southgate and Velas                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          280 W 2025 S                                               When was the debt incurred?
          St. George, UT 84770
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1330 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1372 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 989      Villas at Summer Bay                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          126-200 Summer Bay Blvd                                    When was the debt incurred?
          Clermont, FL 34714
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 990      Villas at Treetop - PA                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Greystone Ct                                               When was the debt incurred?
          East Stroudsburg, PA 18302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 991      Villas on the Lake at Lake Conroe                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17578 TX-105                                               When was the debt incurred?
          Conroe, TX 77306
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1331 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1373 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 992      Villas Vallarta Resort                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Av Paseo de la Marina Nte 585,                             When was the debt incurred?
          Marina Va
          Puerto Vallarta, , Jal. Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Vincent & Felicia & Peach & Vincia
 993      Dixon                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          316 Sion Hill                                              When was the debt incurred?
          Christiansted, St. Croix, USVI
          00820-000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 994      Vincent Ortiz                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15263 W Gelding Drive                                      When was the debt incurred?
          Surprise, AZ 85379
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1332 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1374 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 995      Vintage Landing POA                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          179 Vintage Dr                                             When was the debt incurred?
          Village of Four Seasons, MO 65049
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 996      Violet Nettles                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2190 Aurora Ct                                             When was the debt incurred?
          Oak Harbor, WA 98277
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3
 997      Virgil & Patricia Leih/Sandberg-Leih                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7100 Metro Blvd                                            When was the debt incurred?
          #422
          Edina, MN 55439
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1333 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1375 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.3
 998      Virginia and Clarence Barrs                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          956 Silver Spring Ct.                                      When was the debt incurred?
          St. Augustine, FL 32092
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.3      Virginia And James
 999      Mickitsch/Beaumont                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3 Hahn Rd West                                             When was the debt incurred?
          Canonsburg, PA 15317
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 000      Virginia and Jerry Johnson                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3650 Vance St # 306                                        When was the debt incurred?
          Wheatridge, CO 80033
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1334 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1376 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 001      Virginia and Leonard Berwick                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1215 Club House Rd                                         When was the debt incurred?
          Gladwyne, PA 19035
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 002      Virginia and Paul Jensen                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 381                                                 When was the debt incurred?
          San Luis, CO 81152
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 003      Virginia Attorney General                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          202 North Ninth Street                                     When was the debt incurred?
          Richmond, VA 23219
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1335 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1377 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 004      Vista Mirage Resort                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          400 S Hermosa Dr                                           When was the debt incurred?
          Palm Springs, CA 92262
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 005      Vista Sheraton resort                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          160 W Beaver Creek Blvd                                    When was the debt incurred?
          Avon, CO 81620
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 006      Vistana                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6649 Westwood Blvd., Suite 300                             When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1336 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1378 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 007      Vivia Tucker and Ashley                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13 north 2nd St                                            When was the debt incurred?
          Darby, PA 19023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 008      Vivian and Rosalino Manila                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          210 Pomo Trail                                             When was the debt incurred?
          Harker Heights, TX 76548
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 009      Vivian Kovacs                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8150 S Valdai Ct                                           When was the debt incurred?
          Aurora, CO 80016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1337 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1379 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 010      Voyager Beach Club                                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11860 Gulf Blvd                                            When was the debt incurred?
          Treasure Island, FL 33706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 011      VRI - Villas of Sedona                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          55 Northview Rd                                            When was the debt incurred?
          Sedona, AZ 86336
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 012      VSA Resorts                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2829 Guardian Ln, Ste 220                                  When was the debt incurred?
          Virginia Beach, VA 23452
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1338 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1380 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 013      W Thomas and Joyce Buck                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5005 Heritage Dr                                           When was the debt incurred?
          Durham, NC 27712
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 014      W. Esther Bright                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          15555 E 40th Ave Unit 11                                   When was the debt incurred?
          Denver, CO 80239
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 015      Walt Disney Company                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1180 Celebration Blvd., Ste 201                            When was the debt incurred?
          Celebration, FL 03478
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt - $91,139.97




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1339 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1381 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 016      Walt Laycock                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3615 W Kings Ave                                           When was the debt incurred?
          Phoenix, AZ 85053
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 017      Walter And Anita Jo Golding                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7313 164th Street East                                     When was the debt incurred?
          Puyallup, WA 98375
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 018      Walter and Becky Scherer                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4121 FM563 South                                           When was the debt incurred?
          PO Box 172
          Anahuac, TX 77514
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1340 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1382 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 019      Walter and Wanda Fountain                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          877 Private Road 1050                                      When was the debt incurred?
          Halletsville, TX 77964
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 020      Walter Cuby                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11626 Sagewillow Lane                                      When was the debt incurred?
          Houston, TX 77089
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Walter, Toni, Evans, Kerbey,
 021      Bennett Fin                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3403 Banbury Place                                         When was the debt incurred?
          Houston, TX 77027
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1341 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1383 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 022      Wanda and Allen Fogo                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          512 Deframe Court                                          When was the debt incurred?
          Golden, CO 80401
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 023      Wanda Diane & Vincent Hayes                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          737 Carefree Drive                                         When was the debt incurred?
          San Diego, CA 92114
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 024      Wanda Williams and Daniel Clayton                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2508 Lancaster Rd NW                                       When was the debt incurred?
          Wilson, NC 27896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1342 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1384 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 025      Wapato Point                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Wapato Point Pkwy                                        When was the debt incurred?
          Manson, WA 98831
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 026      Warren & Jean Wegener                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13304 Oakland DR                                           When was the debt incurred?
          Brunsville, MN 55337
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 027      Washington Attorney General                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1125 Washington St SE PO Box                               When was the debt incurred?
          40100
          Olympia, WA 98504
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1343 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1385 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 028      Waste Connections                                          Last 4 digits of account number                                                           $300.00
          Nonpriority Creditor's Name
          5500 Franklin Street                                       When was the debt incurred?
          Denver, CO 80216
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   personal - dumpster


 4.4
 029      Wataha East Plantation                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          911 Riverwood Dr                                           When was the debt incurred?
          Murrells Inlet, SC 29576
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 030      WaveCrest (San Diego)                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1400 Ocean Ave                                             When was the debt incurred?
          Del Mar, CA 92014
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1344 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1386 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 031      Way-Fm Colorado                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4820 Centennial Blvd. Suite 115                            When was the debt incurred?
          Colorado Springs, CO 80919
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 032      Wayne & Beverly Meaders                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          114 Highland Park Trail                                    When was the debt incurred?
          Sandy Springs, GA 30350
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Wayne & Erma/Kenneth
 033      Faulk/Goodson                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1877 Miramonte Way                                         When was the debt incurred?
          Lawrenceville, GA 30045
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1345 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1387 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 034      Wayne & Walteria Joseph                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3622 Summerow RD                                           When was the debt incurred?
          Lincolnton, NC 00020-8112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 035      Wayne And Carol Speedling                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          35306 N. Star Lane                                         When was the debt incurred?
          Grand Rapid, MN 55744
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 036      Wayne And Deborah Craft                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          750 High View Drive                                        When was the debt incurred?
          Anchorage, AK 99515
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1346 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1388 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 037      Wayne Ducote                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          377 Big Beaver Creek Rd                                    When was the debt incurred?
          Trout Creek, MT 59784
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 038      WCNC                                                       Last 4 digits of account number       893A                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 637386                                            When was the debt incurred?
          Cincinnati, OH 45263
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 039      Webolutions                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6300 S Syracuse Way #100                                   When was the debt incurred?
          Centennial, CO 80111
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1347 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1389 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 040      Welk Resort                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Rancheros Dr., Suite 450                               When was the debt incurred?
          San Marcos, CA 92069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 041      Welk Resort Group                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          300 Rancheros Drive, Ste 450                               When was the debt incurred?
          San Marcos, CA 92069
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 042      Wellington Stanford                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3609 5th Avenue                                            When was the debt incurred?
          Los Angeles, CA 90018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1348 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1390 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 043      Wendie and Matthew Knowles                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8822 W Arbor Ave                                           When was the debt incurred?
          Littleton, CO 80123
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 044      Wendy and Alan Liljekrans                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1491 Northcrest Drive                                      When was the debt incurred?
          Highlands Ranch, CO 80126
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 045      Wendy Clark-Dillard                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7625 S. Chappel Ave                                        When was the debt incurred?
          Chicago, IL 60649
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1349 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1391 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 046      Wendy Forbes                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11051 W Rowland Dr                                         When was the debt incurred?
          Littleton, CO 80127
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 047      Wendye King                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          858 Mercury Circle                                         When was the debt incurred?
          Lone Tree, CO 80124
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 048      Wesley Mason                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12 Fox Crescent                                            When was the debt incurred?
          Red Deer, Alberta T4N4X9
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1350 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1392 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 049      West Gate                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5601 Windhover Dr                                          When was the debt incurred?
          Orlando, FL 32819
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 050      West Oaks                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25 Lakeshore Dr                                            When was the debt incurred?
          Arnolds Park, IA 51331
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 051      West Virginia Attorney General                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          State Capitol Complex, Bldg. 1,                            When was the debt incurred?
          Room E-2
          Charleston, WV 25305
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1351 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1393 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 052      Westgate Las Vegas Resort                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3000 Paradise road                                         When was the debt incurred?
          Las Vegas, NV 89109
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 053      Westgate Resorts                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2801 Old Winter Garden Road                                When was the debt incurred?
          Ocoee, FL 34761
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 054      Westin                                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          417 Fifth Ave, 9th Floor                                   When was the debt incurred?
          New York, NY 10016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1352 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1394 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4      Westin Hotels Corporate Office
 055      Headquart                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          417 Fifth Avenue, 9th Floor                                When was the debt incurred?
          New York, NY 10016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 056      Westlake Resort                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4785 Laurel Ave                                            When was the debt incurred?
          Westlake, OR 97493
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Westwood Condominium
 057      Association                                                Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Holly Forest Rd                                            When was the debt incurred?
          Lake Harmony, PA 18624
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1353 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1395 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 058      Westwood One                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3011 W. Grand Blvd Suite 700                               When was the debt incurred?
          Detroit, MI 48202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 059      WFAA                                                       Last 4 digits of account number       21In                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 637386 Cincinnati                                 When was the debt incurred?
          Cincinnati, OH 45263
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 060      WFOX-TV                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO BOX 809238                                              When was the debt incurred?
          Chicago, IL 60680-9238
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1354 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1396 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 061      WFTS                                                       Last 4 digits of account number       3816                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 864913                                            When was the debt incurred?
          Orlando, FL 32886
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 062      WFTS ABC                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4045 N Himes Ave                                           When was the debt incurred?
          Tampa, FL 33607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 063      WFXT                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6205 Peachtree Dunwoody Rd                                 When was the debt incurred?
          Atlanta, GA 30328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1355 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1397 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 064      Wheelsburg Plantation                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          404 Center St                                              When was the debt incurred?
          Wheelersburg, OH 45694
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 065      Whiskey Jack-Whistler                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2011 Innsbruck Dr #107                                     When was the debt incurred?
          Whistler, BC V8E0N3
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Whitney Catchings and Whitney
 066      Saunders                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8721 S. Essex Ave                                          When was the debt incurred?
          Chicago, IL 60617
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1356 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1398 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 067      Wilberto Algarin - Lopez                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          11456 Jersey Drive                                         When was the debt incurred?
          Thornton, CO 80233
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 068      Wild Oak Ranch                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9700 Military Dr W                                         When was the debt incurred?
          San Antonio, TX 78251
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 069      Wilfred Benitez-Aulet                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4080 71st Ave North                                        When was the debt incurred?
          Pinellas Park, FL 33781
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1357 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1399 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 070      Wilfredo & Lilia Rosario-Coreano                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16 Brown Ave                                               When was the debt incurred?
          Apt #1
          Prospect Park, NJ 07508
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 071      Wilio Pelico amd Zulma Ramos                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          211 William Street                                         When was the debt incurred?
          Portchester, NY 10573
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 072      William & Barbara Weis                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          61039 Latham Rd                                            When was the debt incurred?
          California, MO 65018
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1358 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1400 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 073      William & Brittany Payton                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7862 Hill Crest Dr.                                        When was the debt incurred?
          Louviers, CO 80131
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 074      William & Fritza Ewens                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25275 E Country Rd 1700                                    When was the debt incurred?
          Elmore City, OK 73433
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 075      William & Gloria Mitchell                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          213 Marsh Place South                                      When was the debt incurred?
          St Augustine, FL 32080
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1359 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1401 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 076      William & Joanne Daniels                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          12023 George Farm Dr.                                      When was the debt incurred?
          Lovettsville, VA 20180
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 077      William & Kelli Clark                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1040 32nd Ave                                              When was the debt incurred?
          Bellwood, IL
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 078      William & Linda Culver                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          17825 NW DeerCreek Ct                                      When was the debt incurred?
          Portland, OR 97229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1360 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1402 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 079      William & Linda Popowick                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2292 Richard Lee Street                                    When was the debt incurred?
          Orange Park, FL 32073
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 080      William & Mary Roberts                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          14 Memorial Drive                                          When was the debt incurred?
          Tewksbury, MA 01876
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 081      William & Patience Gaskill                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2 North St                                                 When was the debt incurred?
          Brookeville, MD 20833
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1361 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1403 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 082      William & Patricia Grego                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          938 Wayne Dr                                               When was the debt incurred?
          Winchester, VA 22601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 083      William & Rena Burrow                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2001 Campbell Parkway                                      When was the debt incurred?
          Richardson, TX 75082
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 084      William & Ruth Spencer                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          125 York Rd                                                When was the debt incurred?
          Cranberry Twp, PA 16066
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1362 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1404 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 085      William & Sue Waldroop                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8400 Champions Gate Blvd                                   When was the debt incurred?
          Apt 1312
          Champions Gate, FL 33896
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 086      William & Vedia Carmichael                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          18025 Woods View Drive                                     When was the debt incurred?
          Dumfries, VA 22026
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 087      William (Bill) & Jeanne Kingsbury                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          25 E. Jackson Street                                       When was the debt incurred?
          Villa Park, IL 60181
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1363 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1405 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 088      William (Bill) & Linda Schaefer                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          517 Fresh Pond Rd                                          When was the debt incurred?
          Ponte Vedra Beach, FL 32082
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      William (Brett) and Kimberly (Kim)
 089      Barbe                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          209 South Hess                                             When was the debt incurred?
          Hesston, KS 67062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 090      William (Mark) & Nancy Robertson                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4635 St. Kevin Court                                       When was the debt incurred?
          Suwanee, GA 30024
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1364 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1406 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 091      William (Rodney) & Letitia Lawson                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3703 Clairton Drive                                        When was the debt incurred?
          Bowie, MD 20721
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 092      William and April Dillow                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1876 Current St.                                           When was the debt incurred?
          Liberty, MO 64068
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 093      William and Barbara Hanna                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7219 Ballinger Ave.                                        When was the debt incurred?
          San Diego, CA 92119
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1365 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1407 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 094      William and Deborah Bommer                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5565 Stevenson Road                                        When was the debt incurred?
          Oxford, OH 45056
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 095      William and Denise Murray                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          227 Belaire Ter                                            When was the debt incurred?
          Mount Laurel, NJ 08054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 096      William and Jacquline Groeneveld                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6317 W 22nd Ct                                             When was the debt incurred?
          Lawrence, KS 66049
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1366 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1408 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 097      William And Mary Tibbetts                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6227 Westcroft Avenue                                      When was the debt incurred?
          Castle Rock, CO 80104
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 098      William and Nancy Walser                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8318 Quay Dr                                               When was the debt incurred?
          Arvada, CO 80003
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 099      William And Zelda Blocker                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          13719 Cottrell Court                                       When was the debt incurred?
          Houston, TX 77077
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1367 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1409 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 100      William Burch                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          563 Barclay                                                When was the debt incurred?
          Craig, CO 81625
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 101      William Chain                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2205 10th St NW                                            When was the debt incurred?
          Washington DC, D.C 20001-0000
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 102      William Luther                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          237 Perriwinkle Drive                                      When was the debt incurred?
          Sebastian, FL 32958
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1368 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1410 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 103      William Scott and Yuriko Hoen                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2689 Danielle Dr                                           When was the debt incurred?
          Carson City, NV 89706
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 104      William Watson                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6211 Pioneer Way E                                         When was the debt incurred?
          Puyallup, WA 98371
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 105      Williamsburg Plantation Resort                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          5380 Olde Town Rd                                          When was the debt incurred?
          Williamsburg, VA 23188
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1369 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1411 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 106      Willie & Mary Crawford                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          811 Stone Mountain Dr                                      When was the debt incurred?
          Conroe, TX 77302
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 107      Willie Eastland and Patricia Craft                         Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6011 Haight St                                             When was the debt incurred?
          Houston, TX 77028
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Willie Jr, Constance and Carmaine
 108      Means                                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2935 Chelsea Circle                                        When was the debt incurred?
          Olympia Fields, IL 60461
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1370 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1412 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 109      Willie Mae Cooper                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          336 Crimson Drive                                          When was the debt incurred?
          Albion, NY 14411
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 110      Willow Valley                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          354 Bairds Creek Rd                                        When was the debt incurred?
          Vilas, NC 28692
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Willy Tsang and Victoria Elaine
 111      Aldrich-                                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10616 Southeast Deer Fern Street                           When was the debt incurred?
          Happy Valley, OR 97086
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1371 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1413 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 112      Wilson Resorts Finance                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9271 S John Young Pkwy                                     When was the debt incurred?
          Orlando, FL 32819-8607
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 113      Windward Passage                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          418 Estero Blvd                                            When was the debt incurred?
          Fort Myers Beach, FL 33931
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 114      Winner Circle Resort                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          550 Via De La Valle                                        When was the debt incurred?
          Solana Beach, CA 92075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1372 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1414 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 115      Wisconsin Attorney General                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 7857                                                When was the debt incurred?
          Madison, WI 53707
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 116      WJLA                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1100 Wilson Blvd.                                          When was the debt incurred?
          Arlington, VA 22209
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      WKMG - Altus Receivables
 117      Management                                                 Last 4 digits of account number       1561                                                   $0.00
          Nonpriority Creditor's Name
          2400 Veterans Memorial Blvd., Ste                          When was the debt incurred?
          300
          Kenner, LA 70062
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1373 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1415 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 118      WKRN                                                       Last 4 digits of account number       3173                                                   $0.00
          Nonpriority Creditor's Name
          PO Box 743299 Atlanta                                      When was the debt incurred?
          Atlanta, GA 30384
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 119      WLS-TV/ABC 7 Chicago                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          190 North State Street                                     When was the debt incurred?
          Chicago, IL 60601
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 120      WM. Bryan Wright                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1958 East 7800                                             When was the debt incurred?
          South Weber, UT 84405
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1374 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1416 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 121      WMYD                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20777 West 10 Mile Rd.                                     When was the debt incurred?
          Southfield, MI 48075
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 122      WNCN                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1205 Front St                                              When was the debt incurred?
          Raleigh, NC 27609
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 123      WOAI                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4335 NW Loop 410                                           When was the debt incurred?
          San Antonio, TX 78229
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1375 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1417 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 124      Wolf Run - Crown Resorts                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Wolf Run Ct                                                When was the debt incurred?
          DuBois, PA 15801
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 125      Woodson And Jana Burr                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          PO Box 1710                                                When was the debt incurred?
          Show Low, AZ 85902
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 126      Woodstone Meadows                                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1822 Resort Dr                                             When was the debt incurred?
          Massanutten, VA 22840
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1376 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1418 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 127      World International Vacation Club                          Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          Pok-ta-pok, Kukulcan Boulevard,                            When was the debt incurred?
          Zona Hot
          Canc n, Q.R Mexico
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 128      Worldmark                                                  Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6277 Sea Harbor Drive                                      When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 129      Worldmark by Wyndham                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          6277 Sea Harbor Drive                                      When was the debt incurred?
          Orlando, FL 32821
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1377 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1419 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 130      WPLG - Miami                                               Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          3401 West Hallandale Beach                                 When was the debt incurred?
          Boulevard
          Pembroke Park, FL 33023
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 131      WPVI Attn: WPVI-606                                        Last 4 digits of account number       0301                                                   $0.00
          Nonpriority Creditor's Name
          P.O. Box 732384                                            When was the debt incurred?
          Dallas, TX 75373
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 132      WRAZ                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2619 Western Blvd                                          When was the debt incurred?
          Raleigh, NC 27606
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1378 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1420 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 133      WSMV Digital                                               Last 4 digits of account number       3253                                                   $0.00
          Nonpriority Creditor's Name
          29824 Network Place Chicago                                When was the debt incurred?
          Chicago, IL 60673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 134      WSMV Digital                                               Last 4 digits of account number       3253                                                   $0.00
          Nonpriority Creditor's Name
          29824 Network Place                                        When was the debt incurred?
          Chicago, IL 60673
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      WTLV and WTSP - TMACS
 135      Collections                                                Last 4 digits of account number       5311                                                   $0.00
          Nonpriority Creditor's Name
          901 Main Street, Suite 3800                                When was the debt incurred?
          Dallas, TX 75202
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1379 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1421 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 136      WTTE-TV                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1261 Dublin Rd                                             When was the debt incurred?
          Columbus, OH 43215
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 137      WUSA-TV and WUSA9.com                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4100 Wisconsin Ave NW                                      When was the debt incurred?
          Washington, DC 20016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 138      WXIA-TV                                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1 Monroe Pl NE                                             When was the debt incurred?
          Atlanta, GA 30324
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1380 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1422 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 139      Wyco Equities                                              Last 4 digits of account number                                                     $120,000.00
          Nonpriority Creditor's Name
          12835 E Arapahoe Road Tower II                             When was the debt incurred?
          STE100
          Centennial, CO 80112
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent

              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

                                                                                         Lease for Office Space for Timeshare
                                                                                         Termination Team, LLC that Debtors
              Yes                                                       Other. Specify   personally guaranteed


 4.4      Wyndham Vacation Resorts (
 140      Wyndham / Wor                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          10750 W. Charleston Blvd., Suite                           When was the debt incurred?
          130
          Las Vegas, NV 89135
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Wyndham Worldwide aka Club
 141      Wyndham, Dolc                                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          22 Sylvan Way                                              When was the debt incurred?
          Parsippany, NJ 07054
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1381 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1423 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 142      Wyoming Attorney General                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          109 State Capitol                                          When was the debt incurred?
          Cheyenne, WY 82002
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 143      Xan & Rose Noland/Dallen                                   Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          20403 Orchard Lane                                         When was the debt incurred?
          St. Joseph, MO 64505
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 144      Yasmin Murray/Granison Shines                              Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2665 E Gillcrest Rd                                        When was the debt incurred?
          Gilbert, AZ 85298
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1382 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1424 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 145      Yolanda and Jose Rodriguez                                 Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          9719 Youngcrest Dr.                                        When was the debt incurred?
          Stafford, TX 77477
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 146      Yolanda and Toby Dugan                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          30 North Park Street                                       When was the debt incurred?
          Porterville, CA 93257
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 147      Yolanda Austin                                             Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          7429 Pipers Way APT #4                                     When was the debt incurred?
          Downers Grove, IL 60516
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1383 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1425 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 148      Zach & Sarah Howser                                        Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4617 S Kittredge St                                        When was the debt incurred?
          Aurora, CO 80015
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 149      Zachary & Andrea Blass                                     Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          2148 E 4300 N                                              When was the debt incurred?
          Filer, ID 83328
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 150      Zachary and Theresa Eby                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1910 Sweetstem Dr                                          When was the debt incurred?
          Kingwood, TX 77345
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1384 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1426 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 151      Zackery & Taylor Fritts                                    Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          1020 Runnion Ave                                           When was the debt incurred?
          Fort Wayne, IN 46808
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4      Zebulon (Zeb) & Rebecka
 152      Lemley/Seyferth                                            Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8901 Cloverleaf Circle                                     When was the debt incurred?
          Parker, CO 80134
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 153      Zenaida Bendicio                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          8936 Parkside Dr.                                          When was the debt incurred?
          Des Plaines, IL 60016
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1385 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1427 of
                                              1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 154      Zieshan and Anna Khan                                      Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          16708 E Mansfiled Cir.                                     When was the debt incurred?
          Aurora, Co 80013
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 155      Zoho Corporation                                           Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          4141 Hacienda Drive                                        When was the debt incurred?
          Pleasanton, CA 94588
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 156      Zoom                                                       Last 4 digits of account number                                                              $0.00
          Nonpriority Creditor's Name
          55 Almaden Boulevard, Suite 600                            When was the debt incurred?
          San Jose, CA 95113
          Number Street City State Zip Code                          As of the date you file, the claim is: Check all that apply
          Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

              Check if this claim is for a community                    Student loans
          debt                                                          Obligations arising out of a separation agreement or divorce that you did not
          Is the claim subject to offset?                            report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt




Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1386 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1428 of
                                               1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 4.4
 157       Zoraida Vazquez Colon                                     Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           16011 Keystone Ridge Lane                                 When was the debt incurred?
           Houston, TX 77070
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 158       Zorina Mendoza                                            Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           23151 Rio Lobos Road                                      When was the debt incurred?
           Diamond Bar, CA 91765
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt


 4.4
 159       Zulema Espinoza                                           Last 4 digits of account number                                                              $0.00
           Nonpriority Creditor's Name
           207 Colony Creek Drive                                    When was the debt incurred?
           Dickinson, TX 77539
           Number Street City State Zip Code                         As of the date you file, the claim is: Check all that apply
           Who incurred the debt? Check one.
              Debtor 1 only                                             Contingent
              Debtor 2 only                                             Unliquidated
              Debtor 1 and Debtor 2 only                                Disputed
              At least one of the debtors and another                Type of NONPRIORITY unsecured claim:

               Check if this claim is for a community                   Student loans
           debt                                                         Obligations arising out of a separation agreement or divorce that you did not
           Is the claim subject to offset?                           report as priority claims

              No                                                        Debts to pension or profit-sharing plans, and other similar debts

              Yes                                                       Other. Specify   Business Debt

 Part 3:      List Others to Be Notified About a Debt That You Already Listed
5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For example, if a collection agency
   is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or 2, then list the collection agency here. Similarly, if you
   have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the additional creditors here. If you do not have additional persons to be
   notified for any debts in Parts 1 or 2, do not fill out or submit this page.



Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 1387 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                      Best Case Bankruptcy
           Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1429 of
                                               1444                                   10/01/21 5:12PM

 Debtor 1 Brian Stephen Wilbur
 Debtor 2 Holly Wilbur                                                                                   Case number (if known)

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Colorado Department of Regulatory                             Line 4.2691 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 Agency                                                                                                   Part 2: Creditors with Nonpriority Unsecured Claims
 Civil Rights Division
 Aubrey Elenis, Director
 1560 Broadway St., Suite 825
 Denver, CO 80202
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Fiserv Merchant Services                                      Line 4.1243 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 1600 Terrell Mill Rd.                                                                                    Part 2: Creditors with Nonpriority Unsecured Claims
 Marietta, GA 30067
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Greenspoon Marder LLP                                         Line 4.948 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 590 Madison Avenue, Suite 1800                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Greenspoon Marder LLP                                         Line 4.949 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 590 Madison Avenue, Suite 1800                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 New York, NY 10022
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Hogan Lovells US LLP                                          Line 4.1548 of (Check one):                  Part 1: Creditors with Priority Unsecured Claims
 600 Brickell Avenue Suite 2700                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 Suite 2700
 Miami, FL 33131
                                                               Last 4 digits of account number

 Name and Address                                              On which entry in Part 1 or Part 2 did you list the original creditor?
 Shutts & Bowen LLP                                            Line 4.309 of (Check one):                   Part 1: Creditors with Priority Unsecured Claims
 300 South Orange Avenue, Suite                                                                           Part 2: Creditors with Nonpriority Unsecured Claims
 1600
 Orlando, FL 32801
                                                               Last 4 digits of account number


 Part 4:       Add the Amounts for Each Type of Unsecured Claim
6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. §159. Add the amounts for each
   type of unsecured claim.

                                                                                                                                Total Claim
                        6a.   Domestic support obligations                                                  6a.       $                           0.00
 Total
 claims
 from Part 1            6b.   Taxes and certain other debts you owe the government                          6b.       $                           0.00
                        6c.   Claims for death or personal injury while you were intoxicated                6c.       $                           0.00
                        6d.   Other. Add all other priority unsecured claims. Write that amount here.       6d.       $                           0.00

                        6e.   Total Priority. Add lines 6a through 6d.                                      6e.       $                           0.00

                                                                                                                                Total Claim
                        6f.   Student loans                                                                 6f.       $                           0.00
 Total
 claims
 from Part 2            6g.   Obligations arising out of a separation agreement or divorce that
                              you did not report as priority claims                                         6g.       $                           0.00
                        6h.   Debts to pension or profit-sharing plans, and other similar debts             6h.       $                           0.00
                        6i.   Other. Add all other nonpriority unsecured claims. Write that amount          6i.
                              here.                                                                                   $                1,398,160.27

                        6j.   Total Nonpriority. Add lines 6f through 6i.                                   6j.       $                1,398,160.27


Official Form 106 E/F                                   Schedule E/F: Creditors Who Have Unsecured Claims                                                        Page 1388 of 1388
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                              Best Case Bankruptcy
              Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1430 of
                                                  1444                                   10/01/21 5:12PM


 Fill in this information to identify your case:

 Debtor 1                  Brian Stephen Wilbur
                           First Name                         Middle Name              Last Name

 Debtor 2                  Holly Wilbur
 (Spouse if, filing)       First Name                         Middle Name              Last Name


 United States Bankruptcy Court for the:               DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                             Check if this is an
                                                                                                                                        amended filing



Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                     12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1.      Do you have any executory contracts or unexpired leases?
              No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
              Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B:Property (Official Form 106 A/B).

2.      List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
        example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts
        and unexpired leases.


         Person or company with whom you have the contract or lease                      State what the contract or lease is for
                           Name, Number, Street, City, State and ZIP Code
  2.1
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.2
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.3
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.4
           Name


           Number        Street

           City                                     State                   ZIP Code
  2.5
           Name


           Number        Street

           City                                     State                   ZIP Code




Official Form 106G                                 Schedule G: Executory Contracts and Unexpired Leases                                                 Page 1 of 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                                Best Case Bankruptcy
              Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1431 of
                                                  1444                                   10/01/21 5:12PM


 Fill in this information to identify your case:

 Debtor 1                   Brian Stephen Wilbur
                            First Name                           Middle Name       Last Name

 Debtor 2                   Holly Wilbur
 (Spouse if, filing)        First Name                           Middle Name       Last Name


 United States Bankruptcy Court for the:                 DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                   Check if this is an
                                                                                                                              amended filing


Official Form 106H
Schedule H: Your Codebtors                                                                                                                    12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married
people are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page,
fill it out, and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write
your name and case number (if known). Answer every question.

       1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.

           No
           Yes

       2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
       Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

           No. Go to line 3.
           Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?


   3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person shown
      in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on Schedule D (Official
      Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D, Schedule E/F, or Schedule G to fill
      out Column 2.

                Column 1: Your codebtor                                                             Column 2: The creditor to whom you owe the debt
                Name, Number, Street, City, State and ZIP Code                                      Check all schedules that apply:


    3.1         Harold O. Miller                                                                     Schedule D, line
                5531 Cannes Cr. Ste. 201                                                             Schedule E/F, line 4.312
                Sarasota, FL 34231
                                                                                                     Schedule G
                                                                                                   Blugegreen Vacations Unlimited Inc.



    3.2         Harold O. Miller                                                                     Schedule D, line
                5531 Cannes Cr. Ste. 201                                                             Schedule E/F, line 4.309
                Sarasota, FL 34231
                                                                                                     Schedule G
                                                                                                   Bluegreen Vacations Unlimited Inc.



    3.3         Timeshare Termination Team, LLC                                                       Schedule D, line
                PMB #149                                                                              Schedule E/F, line    4.2291
                13009 S. Parker Road
                                                                                                      Schedule G
                Parker, CO 80134
                                                                                                   Libertas Funding




Official Form 106H                                                             Schedule H: Your Codebtors                                  Page 1 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
           Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1432 of
                                               1444                                   10/01/21 5:12PM



              Brian Stephen Wilbur
 Debtor 1 Holly Wilbur                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.4      Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line    4.3904
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         US Bank
             Primary Obligor - Business Debt



    3.5      Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line    4.541
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Chase Bank
             Primary Obligor - Business Debt



    3.6      Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line    4.403
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Canvas Bank
             Primary Obligor - Business Debt



    3.7      Timeshare Termination Team, LLC                                                Schedule D, line
             PMB #149                                                                       Schedule E/F, line 4.1243
             13009 S. Parker Road
                                                                                            Schedule G
             Parker, CO 80134
                                                                                         Fiserv Merchant Services
             Primary Obligor - Business Debt



    3.8      Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line    4.2609
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Merchant Services
             Primary Obligor - Business Debt



    3.9      Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line 4.1548
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Hogan Lovells US LLP



    3.10     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line    4.4139
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Wyco Equities
             Primary Obligor - Business Debt




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 2 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
           Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1433 of
                                               1444                                   10/01/21 5:12PM



              Brian Stephen Wilbur
 Debtor 1 Holly Wilbur                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.11     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line    4.2972
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Payment Depot
             Primary Obligor - Business Debt



    3.12     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line  4.389
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Business Capital One Spark Visa
             Primary Obligor - Business Debt



    3.13     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line    4.3899
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         United Chase
             Primary Obligor - Business Debt



    3.14     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line  4.1072
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         E-470 Public Highway Authority
             Primary Obligor - Business Debt



    3.15     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line 4.312
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Blugegreen Vacations Unlimited Inc.



    3.16     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line 4.309
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Bluegreen Vacations Unlimited Inc.



    3.17     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line 4.949
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Diamond Resorts US Colletion Development




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 3 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
           Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1434 of
                                               1444                                   10/01/21 5:12PM



              Brian Stephen Wilbur
 Debtor 1 Holly Wilbur                                                              Case number (if known)


            Additional Page to List More Codebtors
             Column 1: Your codebtor                                                     Column 2: The creditor to whom you owe the debt
                                                                                         Check all schedules that apply:
    3.18     Timeshare Termination Team, LLC                                               Schedule D, line
             PMB #149                                                                      Schedule E/F, line 4.948
             13009 S. Parker Road
                                                                                           Schedule G
             Parker, CO 80134
                                                                                         Diamond Resorts Hawaii Collection Develo




Official Form 106H                                                   Schedule H: Your Codebtors                                Page 4 of 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                         Best Case Bankruptcy
             Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1435 of
                                                 1444                                   10/01/21 5:12PM




Fill in this information to identify your case:

Debtor 1                      Brian Stephen Wilbur

Debtor 2                      Holly Wilbur
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF COLORADO

Case number                                                                                             Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                   Employed
       attach a separate page with           Employment status
       information about additional                                   Not employed                               Not employed
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name

       Occupation may include student        Employer's address
       or homemaker, if it applies.


                                             How long employed there?

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1       For Debtor 2 or
                                                                                                                         non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $             0.00     $              0.00

3.     Estimate and list monthly overtime pay.                                              3.   +$             0.00     +$             0.00

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $          0.00            $        0.00




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
           Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1436 of
                                               1444                                   10/01/21 5:12PM




Debtor 1    Brian Stephen Wilbur
Debtor 2    Holly Wilbur                                                                         Case number (if known)



                                                                                                     For Debtor 1            For Debtor 2 or
                                                                                                                             non-filing spouse
     Copy line 4 here                                                                     4.         $              0.00     $             0.00

5.   List all payroll deductions:
     5a.     Tax, Medicare, and Social Security deductions                                5a.        $              0.00     $               0.00
     5b.     Mandatory contributions for retirement plans                                 5b.        $              0.00     $               0.00
     5c.     Voluntary contributions for retirement plans                                 5c.        $              0.00     $               0.00
     5d.     Required repayments of retirement fund loans                                 5d.        $              0.00     $               0.00
     5e.     Insurance                                                                    5e.        $              0.00     $               0.00
     5f.     Domestic support obligations                                                 5f.        $              0.00     $               0.00
     5g.     Union dues                                                                   5g.        $              0.00     $               0.00
     5h.     Other deductions. Specify:                                                   5h.+       $              0.00 +   $               0.00
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $                  0.00     $               0.00
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $                  0.00     $               0.00
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00     $               0.00
     8b. Interest and dividends                                                           8b.        $              0.00     $               0.00
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $          56.00        $               0.00
     8d. Unemployment compensation                                                        8d.        $           0.00        $               0.00
     8e. Social Security                                                                  8e.        $           0.00        $               0.00
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                 0.00   $                    0.00
     8g. Pension or retirement income                                                     8g. $                  0.00   $                    0.00
     8h. Other monthly income. Specify: American Storage of Colorado                      8h.+ $                40.00 + $                    0.00

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $              96.00        $                0.00

10. Calculate monthly income. Add line 7 + line 9.                                    10. $                96.00 + $              0.00 = $            96.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                    0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                        12.   $            96.00
                                                                                                                                         Combined
                                                                                                                                         monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                       page 2
       Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1437 of
                                           1444                                   10/01/21 5:12PM




Fill in this information to identify your case:

Debtor 1                 Brian Stephen Wilbur                                                              Check if this is:
                                                                                                               An amended filing
Debtor 2                 Holly Wilbur                                                                          A supplement showing postpetition chapter
(Spouse, if filing)                                                                                            13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF COLORADO                                                       MM / DD / YYYY

Case number
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?

                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.
                                                   Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                            Son                                  3                    Yes
                                                                                                                                             No
                                                                                   Daughter                             4                    Yes
                                                                                                                                             No
                                                                                   Daughter                             6                    Yes
                                                                                                                                             No
                                                                                   Brian's Daughter                     16                   Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             5,192.46

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                            381.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                            382.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                            300.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              5.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                              0.00



Official Form 106J                                                   Schedule J: Your Expenses                                                           page 1
       Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1438 of
                                           1444                                   10/01/21 5:12PM




Debtor 1     Brian Stephen Wilbur
Debtor 2     Holly Wilbur                                                                              Case number (if known)

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                450.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                 20.32
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                454.00
      6d. Other. Specify: ADT Security                                                       6d. $                                                 71.71
7.    Food and housekeeping supplies                                                           7. $                                             1,230.00
8.    Childcare and children’s education costs                                                 8. $                                             1,090.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                50.00
10.   Personal care products and services                                                    10. $                                                300.00
11.   Medical and dental expenses                                                            11. $                                                100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 600.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 400.00
14.   Charitable contributions and religious donations                                       14. $                                                 100.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                   72.60
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  606.23
      15d. Other insurance. Specify: Umbrella Policy                                       15d. $                                                  100.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify:                                                                               16. $                                                    0.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Hand and Stone                                                      21. +$                                                120.00
      Google Drive Storage                                                                        +$                                                 2.00
      Apple Music and storage                                                                     +$                                                26.00
      Juice Plus                                                                                  +$                                                26.80
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                      12,080.12
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                      12,080.12
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                                  96.00
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                             12,080.12

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                            -11,984.12

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: My 3 year old will go from preschool to full day school next year




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
              Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1439 of
                                                  1444                                   10/01/21 5:12PM




 Fill in this information to identify your case:

 Debtor 1                    Brian Stephen Wilbur
                             First Name                     Middle Name             Last Name

 Debtor 2                    Holly Wilbur
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF COLORADO

 Case number
 (if known)                                                                                                                           Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Brian Stephen Wilbur                                                  X   /s/ Holly Wilbur
              Brian Stephen Wilbur                                                      Holly Wilbur
              Signature of Debtor 1                                                     Signature of Debtor 2

              Date       October 1, 2021                                                Date    October 1, 2021




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                             Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1440 of
                                              1444                                   10/01/21 5:12PM




Notice Required by 11 U.S.C. § 342(b) for
Individuals Filing for Bankruptcy (Form 2010)


                                                                                          Chapter 7:         Liquidation
 This notice is for you if:
                                                                                                  $245      filing fee
        You are an individual filing for bankruptcy,
        and                                                                                        $78   administrative fee

        Your debts are primarily consumer debts.                                          +        $15   trustee surcharge
        Consumer debts are defined in 11 U.S.C.
        § 101(8) as “incurred by an individual                                                    $338      total fee
        primarily for a personal, family, or
        household purpose.”                                                               Chapter 7 is for individuals who have financial
                                                                                          difficulty preventing them from paying their debts
                                                                                          and who are willing to allow their non-exempt
 The types of bankruptcy that are available to                                            property to be used to pay their creditors. The
 individuals                                                                              primary purpose of filing under chapter 7 is to have
                                                                                          your debts discharged. The bankruptcy discharge
 Individuals who meet the qualifications may file under                                   relieves you after bankruptcy from having to pay
 one of four different chapters of Bankruptcy Code:                                       many of your pre-bankruptcy debts. Exceptions exist
                                                                                          for particular debts, and liens on property may still
        Chapter 7 - Liquidation                                                           be enforced after discharge. For example, a creditor
                                                                                          may have the right to foreclose a home mortgage or
        Chapter 11 - Reorganization                                                       repossess an automobile.

        Chapter 12 - Voluntary repayment plan                                             However, if the court finds that you have committed
                   for family farmers or                                                  certain kinds of improper conduct described in the
                   fishermen                                                              Bankruptcy Code, the court may deny your
                                                                                          discharge.
        Chapter 13 - Voluntary repayment plan
                   for individuals with regular                                           You should know that even if you file chapter 7 and
                   income                                                                 you receive a discharge, some debts are not
                                                                                          discharged under the law. Therefore, you may still
                                                                                          be responsible to pay:
 You should have an attorney review your
 decision to file for bankruptcy and the choice of                                            most taxes;
 chapter.
                                                                                              most student loans;

                                                                                              domestic support and property settlement
                                                                                              obligations;




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                       page 1
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1441 of
                                              1444                                   10/01/21 5:12PM




        most fines, penalties, forfeitures, and criminal                                  your income is more than the median income for your
        restitution obligations; and                                                      state of residence and family size, depending on the
                                                                                          results of the Means Test, the U.S. trustee, bankruptcy
        certain debts that are not listed in your bankruptcy                              administrator, or creditors can file a motion to dismiss
        papers.                                                                           your case under § 707(b) of the Bankruptcy Code. If a
                                                                                          motion is filed, the court will decide if your case should
 You may also be required to pay debts arising from:                                      be dismissed. To avoid dismissal, you may choose to
                                                                                          proceed under another chapter of the Bankruptcy
        fraud or theft;                                                                   Code.

        fraud or defalcation while acting in breach of                                    If you are an individual filing for chapter 7 bankruptcy,
        fiduciary capacity;                                                               the trustee may sell your property to pay your debts,
                                                                                          subject to your right to exempt the property or a portion
        intentional injuries that you inflicted; and                                      of the proceeds from the sale of the property. The
                                                                                          property, and the proceeds from property that your
        death or personal injury caused by operating a                                    bankruptcy trustee sells or liquidates that you are
        motor vehicle, vessel, or aircraft while intoxicated                              entitled to, is called exempt property. Exemptions may
        from alcohol or drugs.                                                            enable you to keep your home, a car, clothing, and
                                                                                          household items or to receive some of the proceeds if
 If your debts are primarily consumer debts, the court                                    the property is sold.
 can dismiss your chapter 7 case if it finds that you have
 enough income to repay creditors a certain amount.                                       Exemptions are not automatic. To exempt property,
 You must file Chapter 7 Statement of Your Current                                        you must list it on Schedule C: The Property You Claim
 Monthly Income (Official Form 122A–1) if you are an                                      as Exempt (Official Form 106C). If you do not list the
 individual filing for bankruptcy under chapter 7. This                                   property, the trustee may sell it and pay all of the
 form will determine your current monthly income and                                      proceeds to your creditors.
 compare whether your income is more than the median
 income that applies in your state.

 If your income is not above the median for your state,
 you will not have to complete the other chapter 7 form,                                  Chapter 11: Reorganization
 the Chapter 7 Means Test Calculation (Official Form
 122A–2).
                                                                                                      $1,167    filing fee
 If your income is above the median for your state, you
 must file a second form —the Chapter 7 Means Test                                           +           $571    administrative fee
 Calculation (Official Form 122A–2). The calculations on
                                                                                                      $1,738    total fee
 the form— sometimes called the Means Test—deduct
 from your income living expenses and payments on
                                                                                          Chapter 11 is often used for reorganizing a business,
 certain debts to determine any amount available to pay
                                                                                          but is also available to individuals. The provisions of
 unsecured creditors. If
                                                                                          chapter 11 are too complicated to summarize briefly.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                            page 2
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                     Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1442 of
                                              1444                                   10/01/21 5:12PM



        Read These Important Warnings

             Because bankruptcy can have serious long-term financial and legal consequences, including loss of
             your property, you should hire an attorney and carefully consider all of your options before you file.
             Only an attorney can give you legal advice about what can happen as a result of filing for bankruptcy
             and what your options are. If you do file for bankruptcy, an attorney can help you fill out the forms
             properly and protect you, your family, your home, and your possessions.

             Although the law allows you to represent yourself in bankruptcy court, you should understand that
             many people find it difficult to represent themselves successfully. The rules are technical, and a mistake
             or inaction may harm you. If you file without an attorney, you are still responsible for knowing and
             following all of the legal requirements.

             You should not file for bankruptcy if you are not eligible to file or if you do not intend to file the
             necessary documents.

             Bankruptcy fraud is a serious crime; you could be fined and imprisoned if you commit fraud in your
             bankruptcy case. Making a false statement, concealing property, or obtaining money or property by
             fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to
             20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                                                                                          Under chapter 13, you must file with the court a plan
 Chapter 12: Repayment plan for family                                                    to repay your creditors all or part of the money that
             farmers or fishermen                                                         you owe them, usually using your future earnings. If
                                                                                          the court approves your plan, the court will allow you
                                                                                          to repay your debts, as adjusted by the plan, within 3
                   $200       filing fee                                                  years or 5 years, depending on your income and other
 +                  $78       administrative fee                                          factors.
                   $278       total fee
                                                                                          After you make all the payments under your plan,
 Similar to chapter 13, chapter 12 permits family farmers                                 many of your debts are discharged. The debts that are
 and fishermen to repay their debts over a period of time                                 not discharged and that you may still be responsible to
 using future earnings and to discharge some debts that                                   pay include:
 are not paid.
                                                                                                 domestic support obligations,

                                                                                                 most student loans,
 Chapter 13: Repayment plan for
             individuals with regular                                                            certain taxes,
             income
                                                                                                 debts for fraud or theft,

                   $235       filing fee                                                         debts for fraud or defalcation while acting in a
 +                  $78       administrative fee                                                 fiduciary capacity,
                   $313       total fee
                                                                                                 most criminal fines and restitution obligations,
 Chapter 13 is for individuals who have regular income
 and would like to pay all or part of their debts in                                             certain debts that are not listed in your
 installments over a period of time and to discharge                                             bankruptcy papers,
 some debts that are not paid. You are eligible for
 chapter 13 only if your debts are not more than certain                                         certain debts for acts that caused death or
 dollar amounts set forth in 11 U.S.C. § 109.                                                    personal injury, and

                                                                                                 certain long-term secured debts.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 3
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1443 of
                                              1444                                   10/01/21 5:12PM



                                                                                          A married couple may file a bankruptcy case
               Warning: File Your Forms on Time                                           together—called a joint case. If you file a joint case and
                                                                                          each spouse lists the same mailing address on the
 Section 521(a)(1) of the Bankruptcy Code requires that                                   bankruptcy petition, the bankruptcy court generally will
 you promptly file detailed information about your                                        mail you and your spouse one copy of each notice,
 creditors, assets, liabilities, income, expenses and                                     unless you file a statement with the court asking that
 general financial condition. The court may dismiss your                                  each spouse receive separate copies.
 bankruptcy case if you do not file this information within
 the deadlines set by the Bankruptcy Code, the                                            Understand which services you could receive from
 Bankruptcy Rules, and the local rules of the court.                                      credit counseling agencies

 For more information about the documents and                                             The law generally requires that you receive a credit
 their deadlines, go to:                                                                  counseling briefing from an approved credit counseling
 http://www.uscourts.gov/forms/bankruptcy-forms                                           agency. 11 U.S.C. § 109(h). If you are filing a joint
                                                                                          case, both spouses must receive the briefing. With
                                                                                          limited exceptions, you must receive it within the 180
 Bankruptcy crimes have serious consequences                                              days before you file your bankruptcy petition. This
                                                                                          briefing is usually conducted by telephone or on the
        If you knowingly and fraudulently conceal assets                                  Internet.
        or make a false oath or statement under penalty
        of perjury—either orally or in writing—in                                         In addition, after filing a bankruptcy case, you generally
        connection with a bankruptcy case, you may be                                     must complete a financial management instructional
        fined, imprisoned, or both.                                                       course before you can receive a discharge. If you are
                                                                                          filing a joint case, both spouses must complete the
        All information you supply in connection with a                                   course.
        bankruptcy case is subject to examination by the
        Attorney General acting through the Office of the                                 You can obtain the list of agencies approved to provide
        U.S. Trustee, the Office of the U.S. Attorney, and                                both the briefing and the instructional course from:
        other offices and employees of the U.S.                                           http://www.uscourts.gov/services-forms/bankruptcy/cre
        Department of Justice.                                                            dit-counseling-and-debtor-education-courses.

 Make sure the court has your mailing address                                             In Alabama and North Carolina, go to:
                                                                                          http://www.uscourts.gov/services-forms/bankruptcy/cre
 The bankruptcy court sends notices to the mailing                                        dit-counseling-and-debtor-education-courses.
 address you list on Voluntary Petition for Individuals
 Filing for Bankruptcy (Official Form 101). To ensure                                     If you do not have access to a computer, the clerk of
 that you receive information about your case,                                            the bankruptcy court may be able to help you obtain
 Bankruptcy Rule 4002 requires that you notify the court                                  the list.
 of any changes in your address.




Notice Required by 11 U.S.C. § 342(b) for Individuals Filing for Bankruptcy (Form 2010)                                                           page 4
Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                                    Best Case Bankruptcy
          Case:21-15040-KHT Doc#:1 Filed:10/01/21 Entered:10/01/21 17:29:59 Page1444 of
                                              1444                                   10/01/21 5:12PM




                                                               United States Bankruptcy Court
                                                                      District of Colorado
            Brian Stephen Wilbur
 In re      Holly Wilbur                                                                        Case No.
                                                                                Debtor(s)       Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


The above-named Debtors hereby verify that the attached list of creditors is true and correct to the best of their knowledge.



 Date: October 1, 2021                                               /s/ Brian Stephen Wilbur
                                                                     Brian Stephen Wilbur
                                                                     Signature of Debtor

 Date: October 1, 2021                                               /s/ Holly Wilbur
                                                                     Holly Wilbur
                                                                     Signature of Debtor




Software Copyright (c) 1996-2021 Best Case, LLC - www.bestcase.com                                                       Best Case Bankruptcy
